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                                                                                    FILED
                            IN THE UNITED STATES DISTRICT COURT   March 04, 2019
                                NORTHERN DISTRICT OF TEXAS         KAREN MITCHELL
                                      LUBBOCK DIVISION         CLERK, U.S. DISTRICT COURT
                                                     §
FIRST BANK & TRUST,                                  §
                                                     §
                  Plaintiff,                         §
                                                     §
vs.                                                  §   Cause No.5:18-cv-00234-C
                                                     §
REAGOR AUTO MALL, LTD. d/b/a                         §
REAGOR-DYKES OF LEVELLAND and                        §
d/b/a  REAGOR-DYKES       IMPORTS,                   §
FIRSTCAPITAL BANK OF TEXAS, N.A.,                    §
BART REAGOR, RICK DYKES, SHANE                       §
SMITH, SHEILA MILLER, BRAD D.                        §
BURGESS, and KENNETH L. BURGESS,                     §
                                                     §
                  Defendant.                         §


                       PLAINTIFF’S THIRD AMENDED COMPLAINT
                    AND APPLICATION FOR WRIT OF SEQUESTRATION

         Pursuant to Federal Rule of Civil Procedure 15(a)(1)(B), Plaintiff First Bank & Trust

(“First Bank”) files its Third Amended Complaint and Application for Writ of Sequestration

against Defendants Reagor Auto Mall, Ltd. d/b/a Reagor-Dykes of Levelland and d/b/a Reagor-

Dykes Imports (“RAM”), FirstCapital Bank of Texas, N.A. (“FirstCapital”), Bart Reagor

(“Reagor”), Rick Dykes (Dykes”), Shane Smith (“Smith”), Sheila Miller (“Miller”), Brad D.

Burgess ("B. Burgess”), and Kenneth L. Burgess (“K. Burgess”) and would respectfully show

the Court as follows.




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                                            I.
                                   NATURE OF THE ACTION

         Plaintiff First Bank brings this action to enforce its rights as a secured creditor pursuant

to a number of agreements with some of the Defendants. Certain Defendants have breached their

agreements and are in default for, among other things, selling vehicles pledged as collateral to

Plaintiff, failing to remit the required payments for those vehicles to First Bank, falsely reporting

the sales status and location of the collateral, and overdrawing RAM’s checking account at First

Bank. In addition, First Bank seeks to recover the money out of which it was defrauded due to

Defendants’ involvement in a fraudulent scheme that involved check-kiting. Accordingly, First

Bank seeks to recover monetary damages caused by Defendants as well as possession of the

collateral pledged by Defendants, so that it may be sold by the private power of foreclosure sale

under the parties’ agreements and Article 9 of the Uniform Commercial Code.

                                               II.
                                             PARTIES

         1.       Plaintiff First Bank & Trust (“First Bank” or “Plaintiff” or “Lender”) is a bank

chartered under the laws of the State of Texas with its principal place of business located at 9816

Slide Road, Lubbock, Texas 79424.

         2.       Defendant Reagor Auto Mall, Ltd. d/b/a Reagor-Dykes of Levelland and d/b/a

Reagor-Dykes Imports (“RAM” or “Borrower”) is a limited partnership formed under the laws

of the State of Texas with its principal place of business located at 1219 19th Street, Lubbock,

Texas 79401. RAM may be served with process via its registered agent in Texas, Reagor Auto

Mall I, LLC, at 1215 Avenue J, Lubbock, Texas 79401.



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         3.       Defendant FirstCapital Bank of Texas, N.A. (“FirstCapital”) is a national banking

association with its principal place of business located at 310 W. Wall Street, Suite 100,

Midland, Texas 79701. FirstCapital may be served with process via its registered agent in Texas,

Kenneth Burgess, Jr, at 1141 Hollis Drive, Abilene, Texas 79605.

         4.       Defendant Bart Reagor (“Reagor”) is an individual residing in Texas who may be

served at 2809 19th Street, Lubbock, Texas 79410, 8504 Oxford Avenue, Lubbock, Texas 79423,

or wherever else he may be found.

         5.       Defendant Rick Dykes (“Dykes”) is an individual residing in Texas who may be

served at 4705 21st Street, Lubbock, Texas 79407, 2108 Vicksburg Avenue, Lubbock, Texas

79407, or wherever else he may be found.

         6.       Defendant Shane Smith (“Smith”) is an individual residing in Texas who may be

served at 3804 106th Street, Lubbock, Texas 79243, 5016 County Road 7890, Lubbock, Texas

79424, or wherever else he may be found.

         7.       Defendant Sheila Miller (“Miller”) is an individual residing in Texas who may be

served at 1111 19th Street, Lubbock, Texas 79401, 2810 75th Street, Lubbock, Texas 79423, or

wherever else she may be found.

         8.       Defendant Brad D. Burgess (“B. Burgess”) is an individual residing in Texas who

may be served at 3802 111th Street, Lubbock, Texas 79243, 8611 Indiana Avenue, Lubbock,

Texas 79413, or wherever else he may be found.

         9.       Defendant Kenneth L. Burgess, Jr. (“K. Burgess”) is an individual residing in

Texas who may be served at 310 W. Wall Street, Suite 100, Midland, Texas 79701, 5501



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Sherwood Drive, Apt. D104, Midland, Texas 79707, or wherever else he may be found. B.

Burgess and K. Burgess are collectively referred to as the “Burgess Defendants.”

                                           III.
                                 JURISDICTION AND VENUE

          10.      On September 21, 2018, Defendant FirstCapital Bank of Texas, N.A. removed

this suit to this Court from the 72nd Judicial District Court of Lubbock County, Texas pursuant to

28 U.S.C. §§ 1441 and 1446 (the “Removal”). The Removal papers allege that this Court has

original jurisdiction pursuant to 28 U.S.C. § 1331 because the removal was based upon a claim

arising under federal law, making removal proper under 28 U.S.C. § 1441(a). Specifically, the

Removal was based on Plaintiff’s claim for violation of 12 C.F.R. § 229.38(a), which grants

concurrent jurisdiction to the United States district courts and state courts. 12 U.S.C. § 4010(d).

See Notice of Removal [Dkt. 1] at ¶¶ 2-3.

                                            IV.
                                   FACTUAL ALLEGATIONS

A.        The RD-Levelland Agreements.

          The Business Loan Agreement and Promissory Note.

          11.     On or about September 29, 2017, RAM obtained a loan from Plaintiff for use in

renewing an existing floor plan line of credit at its Levelland location, pursuant to the terms of a

Business Loan Agreement. A true and correct copy of the Business Loan Agreement is attached

as Exhibit A (the “RD-Levelland Business Loan Agreement”).                RAM also executed a

Promissory Note payable to Plaintiff in the principal amount of $1,000,000.00. A true and

correct copy of the Promissory Note is attached as Exhibit B (the “RD-Levelland Promissory

Note”).

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         12.      The RD-Levelland Promissory Note is payable on demand under the “Payment”

provision. If no demand is made, RAM is required to pay the loan in one payment of all

outstanding principal plus all accrued unpaid interest on October 1, 2018. In addition, RAM is

required to pay regular monthly payments of all accrued unpaid interest due as of each payment

date, beginning November 1, 2017, with all subsequent interest payments to be due on the same

day of each month after that. See RD-Levelland Promissory Note at 1.

         13.      The RD-Levelland Business Loan Agreement and the RD-Levelland Promissory

Note list several events that constitute an event of default, including, but not limited to:

                          failure to make any payment when due under the RD-Levelland
                           Promissory Note;

                          failure to comply with or to perform any other term, obligation, covenant
                           or condition contained in the RD-Levelland Promissory Note or in any of
                           the related documents;

                          failure to comply with or to perform any term, obligation, covenant or
                           condition contained in any other agreement between Lender and
                           Borrower;

                          any warranty, representation or statement made or furnished to Lender by
                           Borrower or on Borrower’s behalf under the RD-Levelland Promissory
                           Note or the related documents is false or misleading in any material
                           respect, either now or at the time made or furnished, or becomes false or
                           misleading at any time thereafter;

                          a material adverse change occurs in Borrower’s financial condition, or
                           Lender believes the prospect of payment or performance of the RD-
                           Levelland Promissory Note is impaired; or

                          Lender in good faith believes itself insecure. See RD-Levelland Business
                           Loan Agreement at 3-4; RD-Levelland Promissory Note at 1.

         14.      Since one or more defaults described herein have occurred, First Bank is entitled

to, and did, accelerate and declare due the entire indebtedness, including the unpaid balance, all

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accrued unpaid interest, and all other amounts, costs and expenses for which RAM is responsible

under the RD-Levelland Promissory Note or any other agreements with First Bank pertaining to

the loan, immediately, without notice. See RD-Levelland Business Loan Agreement at 4; RD-

Levelland Promissory Note at 2. RAM also agreed to pay First Bank’s attorneys’ fees, court

costs and fees, incurred in collecting on the RD-Levelland Promissory Note. See id.

         The Commercial Security Agreement.

         15.      In exchange for the financing provided under the Business Loan Agreement and

Promissory Note, RAM granted Plaintiff a security interest in its inventory.

         16.      On or about September 29, 2017, RAM executed a Commercial Security

Agreement. A true and correct copy of the Commercial Security Agreement is attached as

Exhibit C (the “RD-Levelland Security Agreement”). Pursuant to the RD-Levelland Security

Agreement, RAM granted Plaintiff a security interest in the following collateral:

         All inventory, together with the following specifically described property: all
         debtor’s inventory of property of every description (specifically including by [sic]
         not limited to) all new and used motor vehicles, which includes but is not limited
         to automobiles, motorcycles, mobile homes, motor homes, travel trailers, boats,
         vans, pickups, together with all accessories, attachments, or accessions related to
         any of the foregoing collateral hereafter acquired and evidenced by mso and/or
         title, whether held for rental, lease, sale or use, of whatever nature and whosoever
         located and all debtor’s accounts, accounts receivable, notes receivable, checks,
         drafts, contract rights and general intangibles of every nature evidencing debtor’s
         right to the payment of monies arising from the sale, leasing, or rental of such
         inventory items and/or from the performance of debtor of services in connection
         therewith or related thereto all the foregoing whether now owned or hereafter
         acquired by debtor and the proceeds and products thereof[.]

         In addition, the word “Collateral” also includes all of the following, whether now
         owned or hereafter acquired, whether now existing or hereafter arising, and
         wherever located:



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                  (A) All accessions, attachments, accessories, tools, parts, supplies,
                  replacements of and addition to any of the collateral described herein,
                  whether added now or later.

                  (B) All products and produce of any of the property described in this
                  Collateral section.

                  (C) All accounts, general intangibles, instruments, rents, monies,
                  payments, and all other rights, arising out of a sale, lease, consignment or
                  other disposition of any of the property described in this Collateral section.

                  (D) All proceeds (including insurance proceeds) from the sale, destruction,
                  loss, or other disposition of any of the property described in this Collateral
                  section, and sums due from a third party who has damages or destroyed
                  the Collateral or from that party’s insurer, whether due to judgment,
                  settlement or other process.

                  (E) All records and data relating to any of the property described in this
                  Collateral section, whether in the form of a writing, photograph,
                  microfilm, microfiche, or electronic media, together with all of Grantor’s
                  right, title, and interest in and to all computer software required to utilize,
                  create, maintain, and process any such records or data on electronic media.
                  See RD-Levelland Security Agreement at 1.

         17.      The RD-Levelland Security Agreement also requires that RAM:

         shall not pledge, mortgage, encumber or otherwise permit the Collateral to be
         subject to any lien, security interest, encumbrance, or charge, other than the
         security interest provided for in this Agreement, without the prior written consent
         of Lender. This includes security interests even if junior in right to the security
         interests granted under this Agreement. Unless waived by Lender, all proceeds
         from any disposition of the Collateral (for whatever reason) shall be held in trust
         for Lender and shall not be commingled with any other funds; provided however,
         this requirement shall not constitute consent by Lender to any sale or other
         disposition. Upon receipt, Grantor shall immediately deliver any such proceeds to
         Lender. RD-Levelland Security Agreement at 1-2.

         18.      The RD-Levelland Security Agreement lists several events that constitute an

event of default, including, but not limited to:

                          failure to make any payment when due on the related indebtedness;


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                          failure to comply with or to perform any other term, obligation, covenant
                           or condition contained in the RD-Levelland Security Agreement or in any
                           of the related documents;

                          failure to comply with or to perform any term, obligation, covenant or
                           condition contained in any other agreement between Lender and
                           Borrower;

                          any warranty, representation or statement made or furnished to Lender by
                           Borrower or on Borrower’s behalf under the RD-Levelland Security
                           Agreement or the related documents is false or misleading in any material
                           respect, either now or at the time made or furnished, or becomes false or
                           misleading at any time thereafter;

                          failure of any collateral document to create a valid and perfected security
                           interest or lien at any time and for any reason;

                          a material adverse change occurs in Borrower’s financial condition, or
                           Lender believes the prospect of payment or performance of the
                           indebtedness is impaired; or

                          Lender in good faith believes itself insecure. See RD-Levelland Security
                           Agreement at 3.

         19.      Since one or more defaults described herein have occurred, First Bank is entitled

to, and did, accelerate and declare the entire indebtedness immediately due and payable, without

notice of any kind to RAM. First Bank may also require RAM to deliver all or any portion of the

collateral and any and all certificates of title and other documents related to the collateral. In

addition, First Bank may also enter upon RAM’s property to take possession of and remove the

collateral. See RD-Levelland Security Agreement at 3.

         20.      Pursuant to the RD-Levelland Security Agreement, if RAM defaults, First Bank

has the “full power to sell, lease, transfer, or otherwise deal with the Collateral or proceeds

thereof in Lender’s own name or that of Grantor.” Id. Further, First Bank may collect the



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payments, rents, income and revenues from the collateral and obtain a deficiency judgment from

RAM. See id.

         21.      In addition to its common law rights, Plaintiff also reserved “a right of setoff in all

Grantor’s accounts with Lender (whether checking, savings, or some other account),” including

“all accounts Grantor holds with someone else and all accounts Grantor may open in the future.”

RAM authorized Plaintiff “to charge or setoff all sums owing on the indebtedness against any

and all such accounts,” and to “administratively freeze all such accounts to allow Lender to

protect Lender’s charge and setoff rights[.]” See RD-Levelland Security Agreement at 1.

         22.      RAM also agreed to pay all of First Bank’s costs and expenses, including First

Bank’s reasonable attorneys’ fees and expenses, incurred in connection with enforcing the RD-

Levelland Security Agreement. Id. at 3-4.

         Guaranties of RAM’s Indebtedness.

         23.      On or about September 29, 2017, Bart Reagor executed and delivered to Plaintiff

a continuing Commercial Guaranty, pursuant to which Reagor, as Guarantor:

         [A]bsolutely and unconditionally guarantees full and punctual payment and
         satisfaction of the indebtedness of Borrower to Lender, and the performance and
         discharge of all Borrower’s obligations under the Note and the Related
         Documents. This is a guaranty of payment and performance and not of collection,
         so Lender can enforce this Guaranty against Guarantor even when Lender has not
         exhausted Lender’s remedies against anyone else obligated to pay the
         indebtedness or against any collateral securing the indebtedness, this Guaranty or
         any other guaranty of the indebtedness. Guarantor will make any payments to
         Lender or its order, on demand, in legal tender of the United States of America, in
         same-day funds, without set-off or deduction or counterclaim, and will otherwise
         perform Borrower’s obligations under the Note and Related Documents. Under
         this Guaranty, Guarantor’s liability is unlimited and Guarantor’s obligations are
         continuing. See Commercial Guaranty, a true and correct copy of which is
         attached as Exhibit D (the “RD-Levelland Reagor Commercial Guaranty”).


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The indebtedness guaranteed by Reagor includes “overdraft indebtedness.” See id at 1.

         24.      Reagor also agreed to pay all of First Bank’s costs and expenses, including First

Bank’s reasonable attorneys’ fees and expenses, incurred in connection with enforcing the RD-

Levelland Reagor Commercial Guaranty. See id. at 2.

         25.      On or about September 29, 2017, Rick Dykes executed and delivered to Plaintiff a

continuing Commercial Guaranty, pursuant to which Dykes, as Guarantor:

         [A]bsolutely and unconditionally guarantees full and punctual payment and
         satisfaction of the indebtedness of Borrower to Lender, and the performance and
         discharge of all Borrower’s obligations under the Note and the Related
         Documents. This is a guaranty of payment and performance and not of collection,
         so Lender can enforce this Guaranty against Guarantor even when Lender has not
         exhausted Lender’s remedies against anyone else obligated to pay the
         indebtedness or against any collateral securing the indebtedness, this Guaranty or
         any other guaranty of the indebtedness. Guarantor will make any payments to
         Lender or its order, on demand, in legal tender of the United States of America, in
         same-day funds, without set-off or deduction or counterclaim, and will otherwise
         perform Borrower’s obligations under the Note and Related Documents. Under
         this Guaranty, Guarantor’s liability is unlimited and Guarantor’s obligations are
         continuing. See Commercial Guaranty, a true and correct copy of which is
         attached as Exhibit E (the “RD-Levelland Dykes Commercial Guaranty”).

The indebtedness guaranteed by Dykes includes “overdraft indebtedness.” See id at 1.

         26.      Dykes also agreed to pay all of First Bank’s costs and expenses, including First

Bank’s reasonable attorneys’ fees and expenses, incurred in connection with enforcing the RD-

Levelland Dykes Commercial Guaranty. See id. at 2.

B.       The RD-Imports Agreements

         The Business Loan Agreement and Promissory Note.

         27.      On or about September 29, 2017, RAM obtained a loan from Plaintiff for use in

renewing an existing floor plan line of credit at its Imports location, pursuant to the terms of a


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Business Loan Agreement. A true and correct copy of the Business Loan Agreement is attached

as Exhibit F (the “RD-Imports Business Loan Agreement”). RAM also executed a Promissory

Note payable to Plaintiff in the principal amount of $2,500,000.00. A true and correct copy of

the Promissory Note is attached as Exhibit G (the “RD-Imports Promissory Note”).

         28.      The RD-Imports Promissory Note is payable on demand under the “Payment”

provision. If no demand is made, RAM is required to pay the loan in one payment of all

outstanding principal plus all accrued unpaid interest on October 1, 2018. In addition, RAM is

required to pay regular monthly payments of all accrued unpaid interest due as of each payment

date, beginning November 1, 2017, with all subsequent interest payments to be due on the same

day of each month after that.

         29.      The RD-Imports Business Loan Agreement and RD-Imports Promissory Note list

several events that constitute an event of default, including, but not limited to:

                          failure to make any payment when due under the RD-Imports Promissory
                           Note;

                          failure to comply with or to perform any other term, obligation, covenant
                           or condition contained in the RD-Imports Promissory Note or in any of the
                           related documents;

                          failure to comply with or to perform any term, obligation, covenant or
                           condition contained in any other agreement between Lender and
                           Borrower;

                          any warranty, representation or statement made or furnished to Lender by
                           Borrower or on Borrower’s behalf under the RD-Imports Promissory Note
                           or the related documents is false or misleading in any material respect,
                           either now or at the time made or furnished, or becomes false or
                           misleading at any time thereafter;




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                          a material adverse change occurs in Borrower’s financial condition, or
                           Lender believes the prospect of payment or performance of the RD-
                           Imports Promissory Note is impaired; or

                          Lender in good faith believes itself insecure. See RD-Imports Business
                           Loan Agreement at 3-4; RD-Imports Promissory Note at 1.

         30.      Since one or more defaults described herein have occurred, First Bank is entitled

to, and did, accelerate and declare due the entire indebtedness, including the unpaid balance, all

accrued unpaid interest, and all other amounts, costs and expenses for which RAM is responsible

under the RD-Imports Promissory Note or any other agreements with First Bank pertaining to the

loan, immediately, without notice. See RD-Imports Business Loan Agreement at 4; RD-Imports

Promissory Note at 2. RAM also agreed to pay First Bank’s attorneys’ fees, court costs and fees,

incurred in collecting on the RD-Imports Promissory Note. See id.

         The Commercial Security Agreement.

         31.      In exchange for the financing provided under the Business Loan Agreement and

Promissory Note, RAM granted Plaintiff a security interest in its inventory.

         32.      On or about September 29, 2017, RAM executed a Commercial Security

Agreement. A true and correct copy of the Commercial Security Agreement is attached as

Exhibit H (the “RD-Imports Security Agreement”).            Pursuant to the RD-Imports Security

Agreement, RAM granted Plaintiff a security interest in the following collateral:

         All inventory, together with the following specifically described property: all
         debtor’s inventory of property of every description (specifically including by [sic]
         not limited to) all new and used motor vehicles, which includes but is not limited
         to automobiles, motorcycles, mobile homes, motor homes, travel trailers, boats,
         vans, pickups, together with all accessories, attachments, or accessions related to
         any of the foregoing collateral hereafter acquired and evidenced by mso and/or
         title, whether held for rental, lease, sale or use, of whatever nature and whosoever
         located and all debtor’s accounts, accounts receivable, notes receivable, checks,

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         drafts, contract rights and general intangibles of every nature evidencing debtor’s
         right to the payment of monies arising from the sale, leasing, or rental of such
         inventory items and/or from the performance of debtor of services in connection
         therewith or related thereto all the foregoing whether now owned or hereafter
         acquired by debtor and the proceeds and products thereof[.]

         In addition, the word “Collateral” also includes all of the following, whether now
         owned or hereafter acquired, whether now existing or hereafter arising, and
         wherever located:

                  (A) All accessions, attachments, accessories, tools, parts, supplies,
                  replacements of and addition to any of the collateral described herein,
                  whether added now or later.

                  (B) All products and produce of any of the property described in this
                  Collateral section.

                  (C) All accounts, general intangibles, instruments, rents, monies,
                  payments, and all other rights, arising out of a sale, lease, consignment or
                  other disposition of any of the property described in this Collateral section.

                  (D) All proceeds (including insurance proceeds) from the sale, destruction,
                  loss, or other disposition of any of the property described in this Collateral
                  section, and sums due from a third party who has damages or destroyed
                  the Collateral or from that party’s insurer, whether due to judgment,
                  settlement or other process.

                  (E) All records and data relating to any of the property described in this
                  Collateral section, whether in the form of a writing, photograph,
                  microfilm, microfiche, or electronic media, together with all of Grantor’s
                  right, title, and interest in and to all computer software required to utilize,
                  create, maintain, and process any such records or data on electronic media.
                  See RD-Imports Security Agreement at 1.

         33.      The RD-Imports Security Agreement also requires that RAM:

         shall not pledge, mortgage, encumber or otherwise permit the Collateral to be
         subject to any lien, security interest, encumbrance, or charge, other than the
         security interest provided for in this Agreement, without the prior written consent
         of Lender. This includes security interests even if junior in right to the security
         interests granted under this Agreement. Unless waived by Lender, all proceeds
         from any disposition of the Collateral (for whatever reason) shall be held in trust
         for Lender and shall not be commingled with any other funds; provided however,

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         this requirement shall not constitute consent by Lender to any sale or other
         disposition. Upon receipt, Grantor shall immediately deliver any such proceeds to
         Lender. RD-Imports Security Agreement at 1-2.

         34.      The RD-Imports Security Agreement lists several events that constitute an event

of default, including, but not limited to:

                          failure to make any payment when due on the related indebtedness;

                          failure to comply with or to perform any other term, obligation, covenant
                           or condition contained in the RD-Imports Security Agreement or in any of
                           the related documents;

                          failure to comply with or to perform any term, obligation, covenant or
                           condition contained in any other agreement between Lender and
                           Borrower;

                          any warranty, representation or statement made or furnished to Lender by
                           Borrower or on Borrower’s behalf under the RD-Imports Security
                           Agreement or the related documents is false or misleading in any material
                           respect, either now or at the time made or furnished, or becomes false or
                           misleading at any time thereafter;

                          failure of any collateral document to create a valid and perfected security
                           interest or lien at any time and for any reason;

                          a material adverse change occurs in Borrower’s financial condition, or
                           Lender believes the prospect of payment or performance of the
                           indebtedness is impaired; or

                          Lender in good faith believes itself insecure. See RD-Imports Security
                           Agreement at 3.

         35.      Since one or more defaults described herein have occurred, First Bank is entitled

to, and did, accelerate and declare the entire indebtedness immediately due and payable, without

notice of any kind to RAM. First Bank may also require RAM to deliver all or any portion of the

collateral and any and all certificates of title and other documents related to the collateral. In




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addition, First Bank may also enter upon RAM’s property to take possession of and remove the

collateral. See RD-Imports Security Agreement at 3.

         36.      Pursuant to the RD-Imports Security Agreement, if RAM defaults, First Bank has

the “full power to sell, lease, transfer, or otherwise deal with the Collateral or proceeds thereof in

Lender’s own name or that of Grantor.” Id. Further, First Bank may collect the payments, rents,

income and revenues from the collateral and obtain a deficiency judgment from RAM. See id.

         37.      In addition to its common law rights, Plaintiff reserved “a right of setoff in all

Grantor’s accounts with Lender (whether checking, savings, or some other account),” including

“all accounts Grantor holds with someone else and all accounts Grantor may open in the future.”

RAM authorized Plaintiff “to charge or setoff all sums owing on the indebtedness against any

and all such accounts,” and to “administratively freeze all such accounts to allow Lender to

protect Lender’s charge and setoff rights[.]” See RD-Imports Security Agreement at 1.

         38.      RAM also agreed to pay all of First Bank’s costs and expenses, including First

Bank’s reasonable attorneys’ fees and expenses, incurred in connection with enforcing the RD-

Imports Security Agreement. Id. at 3-4.

         Guaranties of RAM’s Indebtedness.

         39.      On or about September 29, 2017, Bart Reagor executed and delivered to Plaintiff

a continuing Commercial Guaranty, pursuant to which Reagor, as Guarantor:

         [A]bsolutely and unconditionally guarantees full and punctual payment and
         satisfaction of the indebtedness of Borrower to Lender, and the performance and
         discharge of all Borrower’s obligations under the Note and the Related
         Documents. This is a guaranty of payment and performance and not of collection,
         so Lender can enforce this Guaranty against Guarantor even when Lender has not
         exhausted Lender’s remedies against anyone else obligated to pay the
         indebtedness or against any collateral securing the indebtedness, this Guaranty or

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         any other guaranty of the indebtedness. Guarantor will make any payments to
         Lender or its order, on demand, in legal tender of the United States of America, in
         same-day funds, without set-off or deduction or counterclaim, and will otherwise
         perform Borrower’s obligations under the Note and Related Documents. Under
         this Guaranty, Guarantor’s liability is unlimited and Guarantor’s obligations are
         continuing. See Commercial Guaranty, a true and correct copy of which is
         attached as Exhibit I (the “RD-Imports Reagor Commercial Guaranty”).

The indebtedness guaranteed by Reagor includes “overdraft indebtedness.” See id at 1.

         40.      Reagor also agreed to pay all of First Bank’s costs and expenses, including First

Bank’s reasonable attorneys’ fees and expenses, incurred in connection with enforcing the RD-

Imports Reagor Commercial Guaranty. See id. at 2.

         41.      On or about September 29, 2017, Rick Dykes executed and delivered to Plaintiff a

continuing Commercial Guaranty, pursuant to which Dykes, as Guarantor:

         [A]bsolutely and unconditionally guarantees full and punctual payment and
         satisfaction of the indebtedness of Borrower to Lender, and the performance and
         discharge of all Borrower’s obligations under the Note and the Related
         Documents. This is a guaranty of payment and performance and not of collection,
         so Lender can enforce this Guaranty against Guarantor even when Lender has not
         exhausted Lender’s remedies against anyone else obligated to pay the
         indebtedness or against any collateral securing the indebtedness, this Guaranty or
         any other guaranty of the indebtedness. Guarantor will make any payments to
         Lender or its order, on demand, in legal tender of the United States of America, in
         same-day funds, without set-off or deduction or counterclaim, and will otherwise
         perform Borrower’s obligations under the Note and Related Documents. Under
         this Guaranty, Guarantor’s liability is unlimited and Guarantor’s obligations are
         continuing. See Commercial Guaranty, a true and correct copy of which is
         attached as Exhibit J (the “RD-Imports Dykes Commercial Guaranty”).

The indebtedness guaranteed by Dykes includes “overdraft indebtedness.” See id at 1.

         42.      Dykes also agreed to pay all of First Bank’s costs and expenses, including First

Bank’s reasonable attorneys’ fees and expenses, incurred in connection with enforcing the RD-

Imports Dykes Commercial Guaranty. See id. at 2.


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C.       The Defaults.

         43.      In August 2018, First Bank began investigating the status of RAM’s inventory at

its Levelland and Imports (the “Dealerships”) locations. Though the investigation is ongoing,

First Bank has discovered that some of its collateral has been sold, is missing, or has been double

pledged.

         44.      When a car dealership obtains financing on a vehicle in its inventory, the

dealership will pledge that vehicle as collateral to its lender and place the vehicle on its floor

plan until that vehicle is sold. This is known as “floor planning.” On occasion, a dealership may

finance a vehicle and pledge it as collateral to two different lenders, thereby illegally double

pledging that vehicle as collateral. This is known as “double-flooring.”

         45.      Regarding the Levelland location’s pledged inventory, First Bank has discovered

that of the 40 vehicles on the Levelland floor plan, 21 have been sold, but still floor planned,

allowing RAM to continue to obtain financing payments from First Bank while avoiding and/or

delaying paying First Bank the amounts owed to it for the sold inventory. The payoff amount

that RAM owes First Bank for these 21 vehicles is $420,025.00. In addition, 1 vehicle is missing

from the floorplan with no explanation as to its location. For this missing vehicle, RAM owes

First Bank $31,750.00. First Bank’s inspection of the Levelland inventory has also revealed 7

instances of RAM “double-flooring” vehicles pledged as collateral to First Bank.

         46.      With regard to the pledged inventory at the Imports location, First Bank’s

inspection has revealed that of the 101 units on the Imports floor plan, 43 have been sold, but

still floor planned, allowing RAM to continue to obtain financing payments from First Bank

while avoiding and/or delaying paying First Bank the amounts owed to it for the sold inventory.

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The payoff amount that RAM owes First Bank for these 43 vehicles is $1,084,025.00. First

Bank’s inspection also revealed that 6 of the 101 units are inexplicably missing from the

floorplan. For these 6 vehicles, RAM owes First Bank $69,750.00. Plaintiff has also discovered

that 13 units were double-floored.

         47.      RAM’s false representations regarding the status of the pledged inventory allowed

it to avoid and/or delay paying First Bank the amounts it is owed for such inventory.

         48.      These acts and omissions show that Defendants have experienced a material

adverse change in their respective financial conditions. Certainly, they give rise to First Bank’s

good faith belief that it is insecure under its agreements with each of the Defendants.

         49.      All of these acts constitute Events of Default and therefore violate the

aforementioned agreements with First Bank.

         50.      As of September 7, 2018, the estimated total amount outstanding and due to First

Bank on the aforementioned contracts is in excess of $3 million. This debt exceeds the value of

the remaining inventory collateral available to First Bank.

         51.      First Bank made demand upon RAM, Reagor and Dykes to pay the amounts

owing on the promissory notes. Payment has not been received.

D.       The RAM Check-Kiting Scheme and Resulting Overdrafts.

         Rick Dykes: Insider, FirstCapital Board Member and Large Shareholder.

         52.      Defendant Dykes is a co-owner of various corporate entities commonly referred

to as “Reagor-Dykes Auto Group” (“Reagor-Dykes”) with Defendant Reagor. Reagor-Dykes is a

well-known regional auto dealership enterprise, of which RAM is an affiliate.



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         53.      Until very recently, Dykes was a member of FirstCapital’s Board of Advisors and

previously served as a Director on FirstCapital’s Board of Directors. Further, upon information

and belief, Dykes is a large shareholder in FirstCapital’s parent, holding at least 375,000 shares,

and personal friend of the Burgesses.        Upon information and belief, Reagor also owns a

significant number of shares.

         54.      RAM maintained active deposit accounts with First Bank and FirstCapital.

         Check Kiting.

         55.      Check kiting is a form of check fraud that involves the interplay between the

provisional credit given to a customer account by a collecting bank upon deposit of checks by the

customer and the “midnight deadline” for subsequent dishonor and return by a payor bank where

the same customer also maintains an account against which those checks are drawn when

presented for payment by the collecting bank. When a collecting bank (such as First Bank, here)

receives deposit of a check, it increases the available balance in the customer’s account by the

check amount. The collecting bank, however, will not receive actual funds on account of the

check until the check-clearing process is completed through cash letters with the Federal Reserve

and final payment by the payor bank (such as FirstCapital, here). If the account holder withdraws

funds credited to the account for a deposited check before the collecting bank receives final

payment on that check, the account holder can receive cash on the account of the check, even

though the check ultimately has no cash value due to the payor bank’s refusal to pay it.

Essentially, check kiting allows the account holder to withdraw non-existent funds from an

account, such that checks are misused as a form of fraudulently-procured credit, because the

customer knows that the checks crossing back and forth between the collecting and payor banks

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are not ultimately backed by funds that will finally pay the checks. Due to its insider role with

RAM, in this case, FirstCapital also had such knowledge.

         56.      Check kiters use accounts at two or more banks, intentionally writing worthless

checks from their unfunded account at the payor bank and depositing these worthless checks into

their account at the collecting bank. In the two to three days before the payor bank dishonors and

returns unpaid the deposited check, the collecting bank has increased the provisional balance in

the check kiter’s account, allowing the check kiter to withdraw funds on the account into which

the check was deposited. When the collecting bank receives the dishonored and returned check

and charges back the provisional credit previously given to the account when the check was

deposited, there is nothing in the account to fund the chargeback. An overdraft is created,

leaving the collecting bank only with a claim for refund against a customer which (as here) is

generally insolvent and incapable of paying the refund. The collecting bank is thus left with a

loss in the amount of the overdraft.

         57.      As detailed below, RAM and its former Chief Financial Officer (“CFO”),

Defendant Smith, with the assistance of FirstCapital and the Burgess Defendants, perpetrated a

massive fraud, including selling inventory vehicles out of trust and not paying First Bank for its

loans made against such vehicles, double-pledging vehicle inventory to First Bank which was

also pledged to other lenders, taking trade-ins when selling such collateral inventory and using

the trade-ins as collateral for new First Bank loans but failing to pay off loans already secured by

such trade-ins, and conducting a multi-million dollar check-kiting scheme.

         58.      FirstCapital was the primary bank used by RAM and Smith and was both the hub

and a spoke of the check-kiting scheme. FirstCapital knew in advance of Ford Motor Credit

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Company LLC’s lawsuit against several Reagor-Dykes affiliates and in advance of the

bankruptcies filed by several Reagor-Dykes affiliates that Defendants were perpetuating a check-

kiting scheme. FirstCapital had the largest role in the check-kiting scheme and knew or should

have known of the scheme much earlier than it acted to freeze accounts or dishonor checks

presented for payment due to the depth of its involvement with RAM and Smith, receiving daily

floorplan lists and daily deposits from RAM. In fact, FirstCapital was so intertwined with RAM

that it loaned money to both Reagor and Smith after the Reagor-Dykes’ bankruptcy filings. With

respect to the check-kiting scheme, FirstCapital and the Burgess Defendants conspired with

RAM and Smith to continue the scheme long enough to shift overdraft losses of nearly $1

million from FirstCapital to First Bank.

         The RAM Check-Kiting Scheme against First Bank and Resulting Overdrafts.

         59.      RAM maintained active deposit accounts with First Bank and FirstCapital. In

connection with opening RAM’s account with First Bank, Defendants Reagor, Dykes, Smith,

and Miller, Reagor-Dykes’ former Controller, executed an Account Agreement, a true and

correct copy of which is attached as Exhibit K.

         60.      Pursuant to the Account Agreement, Defendants Reagor, Dykes, Smith, and

Miller agreed to certain Terms and Conditions, a true and correct copy of which is attached as

Exhibit L. Subparagraph 3 of the Terms and Conditions provides in relevant part:

         Each of you also agrees to be jointly and severally (individually) liable for any
         account shortage resulting from charges or overdrafts, whether caused by you or
         another with access to this account. This liability is due immediately, and can be
         deducted directly from the account balance whenever sufficient funds are
         available. You have no right to defer payment of this liability, and you are liable
         regardless of whether you signed the item or benefited from the charge or
         overdraft.

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         You will be liable for our costs as well as for our reasonable attorneys’ fees, to the
         extent permitted by law, whether incurred as a result of collection or in any other
         dispute involving your account. This includes, but is not limited to, disputes
         between you and another joint owner; you and an authorized signer or similar
         party; or a third party claiming an interest in your account. This also includes any
         action that you or a third party takes regarding the account that causes us, in good
         faith, to seek the advice of an attorney, whether or not we become involved in the
         dispute. All costs and attorneys’ fees can be deducted from your account when
         they are incurred, without notice to you. See Terms and Conditions, ¶ (3).

         61.      RAM subsequently used the account as part of its fraudulent check-kiting scheme.

RAM had a practice of regularly writing and depositing a high volume of large denomination

checks between its First Bank and FirstCapital accounts. RAM wrote several multi-thousand

dollar checks from a FirstCapital account, deposited these checks into a First Bank account and

then issued payments from the First Bank account based on provisional credit obtained from

First Bank upon making these deposits to cover obligations or make deposits to its accounts at

another financial institution. Given the size of the RAM business and volume of transactions,

such account activity did not seem irregular. In doing this, RAM obtained millions of dollars in

fraudulent credit from First Bank during the “float” period while First Bank completed the cash

letter process with the Federal Reserve and waited for FirstCapital to pay the deposited items.

         62.      At times when RAM’s account at First Bank would become overdrawn, First

Bank would contact RAM’s then CFO, Defendant Smith, to determine the issue(s), who would

assure First Bank that RAM was just paying off vehicles and the money to cover the overdrawn

amounts would immediately be deposited. Upon information and belief, this was just Smith’s

cover-up of the ongoing RAM check-kiting scheme and was intended to make sure that First

Bank kept providing provisional credit to RAM. In fact, just one week before RAM’s check-



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kiting scheme blew up, Smith contacted First Bank to request additional time for RAM to pay off

vehicles it had floored with First Bank.

         63.      Smith also made misrepresentations about RAM’s financial condition. In the

months leading up to the bankruptcy of several Reagor-Dykes entities and affiliates of RAM,

Smith continually assured First Bank that the Reagor-Dykes Auto Group was financially sound,

and, in fact, growing more profitable every year.

         64.      RAM’s cycle of deposits and fraudulent float credit survived only as long as

RAM maintained the volume and speed of its deposit cycle to keep ahead of the check-clearing

process. However, the bankruptcy filing of several Reagor-Dykes entities and affiliates of RAM

broke the cycle and revealed the scheme, and FirstCapital and the Burgess Defendants scrambled

to return the items RAM wrote on its FirstCapital account that were deposited on Friday, July 27,

2018, Monday, July 30, 2018, and Tuesday, July 31, 2018. Upon information and belief,

FirstCapital used Dykes’ inside information, at the direction of the Burgess Defendants, to

unload nearly $1 million in losses and damages to First Bank, thereby knowingly profiting from

the scheme.

         FirstCapital and the Burgess Defendants Conspire with RAM and Smith to Pin the
         Damages on First Bank.

         65.      As described above, Dykes held management and ownership roles at both RAM

and FirstCapital’s parent. RAM used this close relationship with the Burgess Defendants and

FirstCapital to prolong and continue its check-kiting scheme against First Bank. Specifically,

RAM implemented the scheme through several multi-thousand dollar check deposits at

FirstCapital and First Bank.      As detailed below, the Burgess Defendants and FirstCapital


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exploited their personal and special insider relationship with Dykes to improperly shift the

scheme’s fraud and resulting injury to First Bank.

         66.      Some time on or before Saturday, July 28, 2018, Ford Motor Credit Company,

LLC (“Ford”), Reagor-Dykes’ largest inventory lender, notified Dykes of its discovery of

massive fraud at Reagor-Dykes. Ford terminated Reagor-Dykes’ funding, declared default, and

threatened immediate legal action, including seizing Reagor-Dykes’ assets.

         67.      Upon information and belief, on or before Monday, July 30th, Dykes met with

Defendant B. Burgess, FirstCapital’s CEO, to ask them for financial assistance through loans and

warn them of Ford’s impending legal action, Reagor-Dykes’ severe financial problems, and

Reagor-Dykes’ planned bankruptcy filing. Upon information and belief, Dykes alerted no other

creditors of these facts.

         68.      On July 31st, Ford sued nine of the Reagor-Dykes entities, in addition to Bart

Reagor and Rick Dykes, in the United States District Court for the Northern District of Texas,

Lubbock Division, alleging, among other things, breach of contract and claiming tens of millions

of dollars of damages.

         69.      The very next day, Wednesday, August 1st, six of the nine Reagor-Dykes entities

filed for bankruptcy. RAM was not one of the Reagor-Dykes entities that filed for bankruptcy.

First Bank learned of these bankruptcies through local Lubbock news reports and word of mouth.

         70.      The timing of these events and FirstCapital’s contemporaneous and highly

irregular banking transactions set forth below show that the Burgess Defendants and FirstCapital

used the inside information provided by Dykes to improperly shift approximately $1 million in

losses to First Bank.

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         FirstCapital and the Burgess Defendants Act on Inside Information.

         71.      Prior to Dykes providing the inside information, FirstCapital timely cleared and

paid RAM’s items deposited with First Bank during normal hours and in a normal volume and

never returned items unpaid. On July 31st, however, FirstCapital, acting at the Burgess

Defendants’ direction, abruptly changed its practice and returned all items presented for

payment, regardless of applicable banking deadlines, while simultaneously presenting items

deposited with FirstCapital for payment by First Bank.

         72.      As explained above, upon information and belief, RAM and Smith used RAM’s

FirstCapital account to run a number of multi-thousand dollar checks through its First Bank

account, thereby creating funds in the FirstCapital account which FirstCapital could then set off

to reduce its overdraft balance rather than pay the checks deposited with First Bank and

presented to FirstCapital for payment.

         73.      Specifically, on Friday, July 27, 2018, First Bank processed numerous RAM

deposits and transmitted its outgoing cash letter to the Federal Reserve. On the next business

day, Monday, July 30, 2018, the Federal Reserve provided the items to FirstCapital in an

incoming cash letter.

         74.      On Tuesday, July 31, 2018, FirstCapital should have identified and returned any

items from First Bank’s July 27th outgoing cash letter that FirstCapital refused to pay by issuing

an outgoing return cash letter to the Federal Reserve no later than midnight central standard time.

Then, on Wednesday, August 1, 2018, no later than 4 p.m. central standard time, First Bank

would have received an incoming return cash letter and large time return notification listing



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FirstCapital’s July 31st outgoing return cash letter items. FirstCapital, however, completely

deviated from this process.

         75.      On July 31, 2018, at the same time it was scrambling to dishonor and return

checks presented for payment by First Bank, FirstCapital presented for payment to First Bank

$487,167.00 worth of checks by RAM. Unaware of the fraud, First Bank timely paid the

$487,167.00 to FirstCapital.

         76.      On August 1, 2018, at approximately 10:15 a.m. central time, six Reagor-Dykes

entities (not including RAM) filed bankruptcy.

         77.      On August 1, 2018, at 8:52 p.m., after the 4:00 p.m. deadline, First Bank received

notice of FirstCapital’s dishonor and return of 24 RAM checks1 totaling $1,190,916.00, stamping

on the checks as the reason for dishonor: “uncollected funds.” Because the return was submitted

after business hours, First Bank did not learn of the returned items until the next morning,

August 2nd. Upon information and belief, FirstCapital had already set off the balance of funds

in RAM’s account there, so the truthful or additional reason for return of the checks to First Bank

was that there were “insufficient funds” in the account for payment. First Capital knew there

would never be collected funds because it was offsetting all funds received into the account to

minimize the overdraft loss at FirstCapital. Prior to FirstCapital’s return of these 24 items,

FirstCapital had never returned a single RAM item to First Bank for nonpayment. Of those 24

items, 12 of them (totaling $602,280.00) were untimely under the UCC and Federal Reserve



         1
          FirstCapital’s August 1, 2018 return cash letter contained 12 returned items from First Bank’s July 27,
2018 cash letter and 12 returned items from First Bank’s July 30, 2018 cash letter.


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guidelines, as they were the return of items presented in First Bank’s July 27th outgoing cash

letter (which FirstCapital should have returned by August 1 by 4 p.m.).

         78.      Then, on August 3, 2018, First Bank received notice of FirstCapital’s return and

nonpayment of 10 of RAM’s items totaling $502,908.00 from First Bank’s July 31, 2018

outgoing cash letter, under the return reason of “uncollected funds.” Upon information and

belief, FirstCapital had already set off the balance of funds in RAM’s account there, so the

truthful or additional reason for return of the checks to First Bank was that there were

“insufficient funds” in the account for payment. FirstCapital submitted such a large volume of

returns in its (late) August 1st and August 3rd outgoing return cash letters for several reasons.

         79.      First, FirstCapital’s late August 1st cash letter included 12 returned items from

First Bank’s July 27, 2018 outgoing cash letter, totaling $602,280.00 in returns. Having missed

the July 31, 2018 return deadline for July 27, 2018 dated items, these 12 items were late under

the Federal Reserve guidelines.       Upon information and belief, this required FirstCapital to

engage in the labor-intensive investigation, processing and manual entry of all such late returns.

To have processed and submitted all these late returns after business hours on August 1st

indicates that FirstCapital used the manual return process in an effort to unload the return losses

onto First Bank.

         80.      Second, FirstCapital’s submission of the voluminous July 27th late returns on the

evening of August 1st also indicates that FirstCapital initially approved these July 27th items for

payment, but reversed course following Brad Burgess's meeting with Dykes, trying, but failing,

to timely return these items by the July 31, 2018 Federal Reserve cutoff.



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         81.      Third, out of all of RAM’s banking institutions, including, upon information and

belief, FirstCapital, IBC Bank of Oklahoma, Vista Bank, AIM Bank and First Bank, only

FirstCapital attempted to charge back July 27, 2018 RAM items.

         FirstCapital Misleads Its Shareholders

         82.      On September 28, 2018, a letter from Defendant K. Burgess to the shareholders of

First Bancshares of Texas, Inc. “to give [them] an update on this situation, given the fact that

FirstCapital Bank (Bank) is involved in two . . . lawsuits” resulting from the bankruptcy of one

of its “longtime customers in Lubbock” was posted on FirstCapital’s website.2

         83.      The letter reads in relevant part:

         [A]s a result of the financial condition of a group of related companies that are
         customers of our Bank, a lawsuit was filed on July 31, 2018 by Ford Motor Credit
         Company against those companies and their individual owners. On the next day,
         August 1, 2018, six of those companies filed for Chapter 11 Bankruptcy
         protection. Immediately following these filings, our Bank took internal steps to
         protect our Bank, our customers and our shareholders from what we had
         determined was a possible check-kiting scheme that had apparently been
         orchestrated by someone internally associated with those companies. Despite our
         efforts, various banks, including ours, sustained losses in the process.

         ...

         I want to assure you that neither the Bank, Brad, nor I took any actions outside of
         the law in the efforts that were taken to protect the Bank.

         84.      Defendant K. Burgess would like the shareholders and the public to believe that it

was only after the Reagor-Dykes’ bankruptcy filings that FirstCapital and the Burgess

Defendants “determined [there] was a possible check kiting scheme,” when, upon information


         2
            A true and correct copy of this letter may be found at https://www.fcbtexas.com/wp-
content/uploads/2018/09/Shareholder-Letter_092818.pdf.


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and belief, FirstCapital and the Burgess Defendants already knew of and were facilitating the

check-kiting scheme. It was only when FirstCapital and the Burgess Defendants learned that

discovery of the check-kiting scheme by others (particularly those banks it targeted) was

imminent (from Brad Burgess's meeting with Defendant Dykes), that they decided to dishonor

RAM checks by falsely representing the reason for their return.

         First Bank is Damaged by Approximately $1 Million.

         85.      FirstCapital and the Burgess Defendants’ actions in conspiring with RAM and

Smith, directly, knowingly, and intentionally damaged First Bank. As officers, directors, and

owners of a financial institution, they understood well the check-clearing and dishonor and return

processes and how to exploit their timing to ensure First Bank absorbed the damages for the

RAM check-kiting collapse. FirstCapital also knew that a collecting bank would not conclude

that a check would ultimately not be paid by a payor bank such as FirstCapital if the check was

returned because of “uncollected funds” because a resubmission of the check for payment could

be successful after the subject funds were collected in the meantime. FirstCapital knew that if it

truthfully disclosed that the reason for dishonor was “insufficient funds” following its set off of

the balance in the account or because it knew of the fraudulent nature of RAM’s deposits, the

collecting bank would know to then dishonor and return checks deposited with the collecting

bank. In essence, the Burgess Defendants and FirstCapital took advantage of the check-clearing

process to unload nearly $1 million in damages onto First Bank.

         86.      Specifically, by simultaneously accelerating the mass returns and dishonor of

checks presented by First Bank for payment by FirstCapital (including the manual late returns of

RAM items to First Bank after the deadline on August 1st) while presenting for payment checks

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drawn on RAM’s account at First Bank, the Burgess Defendants and FirstCapital acted on

Dykes’ inside information to accelerate and exploit First Bank’s exposure to the RAM scheme,

while intentionally depriving First Bank of any opportunity to avoid accepting RAM’s deposits

from FirstCapital.

         87.      In addition, FirstCapital’s use of the “uncollected funds” reason (meaning a

frozen account) as opposed to the “NSF” reason (meaning an unfrozen account that lacks

sufficient funds) indicates that FirstCapital froze or set off RAM’s bank accounts, even though

RAM was not a part to the Reagor-Dykes bankruptcy filing, when, upon information and belief,

these accounts otherwise held available funds to pay items on First Bank’s July 27th, 30th and

31st outbound cash letters. Instead of paying First Bank as it should have, FirstCapital applied

the balance in the account to the overdraft at FirstCapital, in furtherance of the RAM check-

kiting scheme.

         88.      In total, FirstCapital and the Burgess Defendants’ actions damaged First Bank by

actively funneling nearly $1 million in RAM returns and losses onto First Bank, allowing them

to improperly profit from their insider relationship with Dykes. After all lawful offsets and

credits, RAM’s account remains overdrawn by $993,115.83.

         FirstCapital Wrongfully Fails to Account for Proceeds from the Sale of Collateral Subject
         to First Bank's Security Interest.

         89.      As described above, First Bank held a security interest in RAM’s inventory of

vehicles.




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         90.      After investigation, it appears that in or around July 2018, RAM sold over 60

vehicles in which First Bank held a security interest out of trust, resulting in proceeds of

approximately $1.4 million.

         91.      Pursuant to both the security agreements and TEX. BUS. & COM. CODE § 9.315,

First Bank also held a security interest in the proceeds from the sale of those vehicles.

         92.      RAM failed to account for and pay over the proceeds from those sales to First

Bank. On information and belief, RAM’s operating account was maintained at FirstCapital. As

such, on information and belief, RAM deposited the bulk of those proceeds into its operating

account and/or other accounts held at FirstCapital.

         93.      FirstCapital has failed to transfer any of those proceeds from those sales to First

Bank.

                                               V.
                                       CLAIMS FOR RELIEF

A.       Count 1: Breach of the RD-Levelland Business Loan Agreement (against RAM).

         94.      Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         95.      As set forth in greater detail above, Plaintiff and RAM entered into the RD-

Levelland Business Loan Agreement, which is a valid and enforceable contract.

         96.      Plaintiff, as the Lender under the RD-Levelland Business Loan Agreement, is the

proper party to sue for breach of contract.

         97.      Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.




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         98.      Defendant RAM has materially breached the RD-Levelland Business Loan

Agreement by, among other things:

                  a.       failing to pay installments when due;

                  b.       failing to remit payments to First Bank when vehicles are sold;

                  c.       pledging collateral and allowing it to become subject to other liens,
                           security interests, encumbrances or charges other than the security interest
                           provided for in the aforementioned agreements, without First Bank’s prior
                           written consent;

                  d.       making false representations and warranties regarding the status of
                           collateral pledged as security;

                  e.       removing collateral from its existing location without First Bank’s prior
                           written consent;

                  f.       failing to pay when due all liens upon the collateral;

                  g.       failing to hold in trust for First Bank all proceeds from the disposition of
                           any collateral;

                  h.       experiencing a material adverse change in their respective financial
                           conditions (or First Bank believes the prospect of payment or performance
                           of the indebtedness is impaired); and

                  i.       causing First Bank to in good faith believe itself insecure.

         99.      These breaches proximately caused First Bank to sustain damages, and pursuant

to the agreement, First Bank is owed approximately $967,000.

         100.     First Bank made demand for payment of this amount and no payment was made

by RAM.

B.       Count 2: Breach of the RD-Levelland Promissory Note (against RAM).

         101.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.



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         102.     As set forth in greater detail above, RAM executed the RD-Levelland Promissory

Note, which is a valid and enforceable contract.

         103.     Plaintiff, as the Lender under the RD-Levelland Promissory Note, is the proper

party to sue for breach of contract.

         104.     Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.

         105.     Defendant RAM has materially breached the RD-Levelland Promissory Note by,

among other things:

                  a.       failing to pay installments when due;

                  b.       failing to remit payments to First Bank when vehicles are sold;

                  c.       pledging collateral and allowing it to become subject to other liens,
                           security interests, encumbrances or charges other than the security interest
                           provided for in the aforementioned agreements, without First Bank’s prior
                           written consent;

                  d.       making false representations and warranties regarding the status of
                           collateral pledged as security;

                  e.       removing collateral from its existing location without First Bank’s prior
                           written consent;

                  f.       failing to pay when due all liens upon the collateral;

                  g.       failing to hold in trust for First Bank all proceeds from the disposition of
                           any collateral;

                  h.       experiencing a material adverse change in their respective financial
                           conditions (or First Bank believes the prospect of payment or performance
                           of the indebtedness is impaired); and

                  i.       causing First Bank to in good faith believe itself insecure.




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         106.     These breaches proximately caused First Bank to sustain damages, and pursuant

to the agreement, First Bank is owed approximately $967,000.

         107.     First Bank made demand for payment of this amount and no payment was made

by RAM.

C.       Count 3: Breach of the RD-Levelland Security Agreement (against RAM).

         108.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         109.     As set forth in greater detail above, RAM executed the RD-Levelland Security

Agreement, which is a valid and enforceable contract.

         110.     Plaintiff, as the Lender under the RD-Levelland Security Agreement, is the proper

party to sue for breach of contract.

         111.     Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.

         112.     Defendant RAM has materially breached the RD-Levelland Security Agreement

by, among other things:

                  a.       failing to pay installments when due;


                  b.       failing to remit payments to First Bank when vehicles are sold;

                  c.       pledging collateral and allowing it to become subject to other liens,
                           security interests, encumbrances or charges other than the security interest
                           provided for in the aforementioned agreements, without First Bank’s prior
                           written consent;

                  d.       making false representations and warranties regarding the status of
                           collateral pledged as security;

                  e.       removing collateral from its existing location without First Bank’s prior
                           written consent;

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                  f.       failing to pay when due all liens upon the collateral;

                  g.       failing to hold in trust for First Bank all proceeds from the disposition of
                           any collateral;

                  h.       experiencing a material adverse change in their respective financial
                           conditions (or First Bank believes the prospect of payment or performance
                           of the indebtedness is impaired); and

                  i.       causing First Bank to in good faith believe itself insecure.

         113.     These breaches proximately caused First Bank to sustain damages, and pursuant

to the agreement, First Bank is owed approximately $967,000.

         114.     First Bank made demand for payment of the amounts owing and no payment was

made by RAM.

D.       Count 4: Breach of RD-Levelland Reagor Commercial Guaranty (against Reagor).

         115.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         116.     As set forth in greater detail above, Defendant Reagor executed the RD-Levelland

Reagor Commercial Guaranty, which is a valid and enforceable contract.

         117.     Plaintiff, as the Lender under the RD-Levelland Reagor Commercial Guaranty, is

the proper party to sue for breach of contract.

         118.     Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.

         119.     First Bank made demand for payment of the amounts owing and no payment was

made by Reagor.

         120.     Reagor has materially breached the RD-Levelland Reagor Commercial Guaranty

by failing to perform his obligations thereunder, specifically by not paying the outstanding


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amounts due to Plaintiff from RAM on the RD-Levelland Agreements and by not paying the

overdraft indebtedness described in Section VI.D, above.

         121.     These breaches proximately caused First Bank to sustain damages, and pursuant

to the agreements, First Bank is owed in excess of $967,000 on the RD-Levelland Agreements

and nearly $1 million in overdraft indebtedness.

         122.     As a result, Reagor is liable to First Bank for breach of the RD-Levelland Reagor

Commercial Guaranty in the amount of the indebtedness under the RD-Levelland Agreements,

plus interest, costs and fees incurred in connection with First Bank’s efforts to collect the

indebtedness thereunder, in addition to the nearly $1 million in overdraft indebtedness.

E.       Count 5: Breach of RD-Levelland Dykes Commercial Guaranty (against Dykes).

         123.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         124.     As set forth in greater detail above, Defendant Dykes executed the RD-Levelland

Dykes Commercial Guaranty, which is a valid and enforceable contract.

         125.     Plaintiff, as the Lender under the RD-Levelland Dykes Commercial Guaranty, is

the proper party to sue for breach of contract.

         126.     Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.

         127.     First Bank made demand for payment of the amounts owing and no payment was

made by Dykes.

         128.     Dykes has materially breached the RD-Levelland Dykes Commercial Guaranty by

failing to perform his obligations thereunder, specifically by not paying the outstanding amounts



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due to Plaintiff from RAM on the RD-Levelland Agreements and by not paying the overdraft

indebtedness described in Section VI.D, above.

         129.     These breaches proximately caused First Bank to sustain damages, and pursuant

to the agreements, First Bank is owed in excess of $967,000 on the RD-Levelland Agreements

and nearly $1 million in overdraft indebtedness.

         130.     As a result, Dykes is liable to First Bank for breach of the RD-Levelland Dykes

Commercial Guaranty in the amount of the indebtedness under the RD-Levelland Agreements,

plus interest, costs and fees incurred in connection with First Bank’s efforts to collect the

indebtedness thereunder, in addition to the nearly $1 million in overdraft indebtedness.

F.       Count 6: Breach of the RD-Imports Business Loan Agreement (against RAM).

         131.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         132.     As set forth in greater detail above, Plaintiff and RAM entered into the RD-

Imports Business Loan Agreement, which is a valid and enforceable contract.

         133.     Plaintiff, as the Lender under the RD-Imports Business Loan Agreement, is the

proper party to sue for breach of contract.

         134.     Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.

         135.     Defendant RAM has materially breached the RD-Imports Business Loan

Agreement by, among other things:

                  a.       failing to pay installments when due;

                  b.       failing to remit payments to First Bank when vehicles are sold;



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                  c.       pledging collateral and allowing it to become subject to other liens,
                           security interests, encumbrances or charges other than the security interest
                           provided for in the aforementioned agreements, without First Bank’s prior
                           written consent;

                  d.       making false representations and warranties regarding the status of
                           collateral pledged as security;

                  e.       removing collateral from its existing location without First Bank’s prior
                           written consent;

                  f.       failing to pay when due all liens upon the collateral;

                  g.       failing to hold in trust for First Bank all proceeds from the disposition of
                           any collateral;

                  h.       experiencing a material adverse change in their respective financial
                           conditions (or First Bank believes the prospect of payment or performance
                           of the indebtedness is impaired); and

                  i.       causing First Bank to in good faith believe itself insecure.

         136.     These breaches proximately caused First Bank to sustain damages, and pursuant

to the agreement, First Bank is owed approximately $2.1 million.

         137.     First Bank made demand for payment of the amounts owing and no payment was

made by RAM.

G.       Count 7: Breach of the RD-Imports Promissory Note (against RAM).

         138.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         139.     As set forth in greater detail above, RAM executed the RD-Imports Promissory

Note, which is a valid and enforceable contract.

         140.     Plaintiff, as the Lender under the RD-Imports Promissory Note, is the proper

party to sue for breach of contract.




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         141.     Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.

         142.     Defendant RAM has materially breached the RD-Imports Promissory Note by,

among other things:

                  a.       failing to pay installments when due;

                  b.       failing to remit payments to First Bank when vehicles are sold;

                  c.       pledging collateral and allowing it to become subject to other liens,
                           security interests, encumbrances or charges other than the security interest
                           provided for in the aforementioned agreements, without First Bank’s prior
                           written consent;

                  d.       making false representations and warranties regarding the status of
                           collateral pledged as security;

                  e.       removing collateral from its existing location without First Bank’s prior
                           written consent;

                  f.       failing to pay when due all liens upon the collateral;

                  g.       failing to hold in trust for First Bank all proceeds from the disposition of
                           any collateral;

                  h.       experiencing a material adverse change in their respective financial
                           conditions (or First Bank believes the prospect of payment or performance
                           of the indebtedness is impaired); and

                  i.       causing First Bank to in good faith believe itself insecure.

         143.     These breaches proximately caused First Bank to sustain damages, and pursuant

to the agreement, First Bank is owed approximately $2.1 million.

         144.     First Bank made demand for payment of the amounts owing and no payment was

made by RAM.




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H.       Count 8: Breach of the RD-Imports Security Agreement (against RAM).

         145.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         146.     As set forth in greater detail above, RAM executed the RD-Imports Security

Agreement, which is a valid and enforceable contract.

         147.     Plaintiff, as the Lender under the RD-Imports Security Agreement, is the proper

party to sue for breach of contract.

         148.     Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.

         149.     Defendant RAM has materially breached the RD-Imports Security Agreement by,

among other things:

                  a.       failing to pay installments when due;

                  b.       failing to remit payments to First Bank when vehicles are sold;

                  c.       pledging collateral and allowing it to become subject to other liens,
                           security interests, encumbrances or charges other than the security interest
                           provided for in the aforementioned agreements, without First Bank’s prior
                           written consent;

                  d.       making false representations and warranties regarding the status of
                           collateral pledged as security;

                  e.       removing collateral from its existing location without First Bank’s prior
                           written consent;

                  f.       failing to pay when due all liens upon the collateral;

                  g.       failing to hold in trust for First Bank all proceeds from the disposition of
                           any collateral;

                  h.       experiencing a material adverse change in their respective financial
                           conditions (or First Bank believes the prospect of payment or performance
                           of the indebtedness is impaired); and


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                  i.       causing First Bank to in good faith believe itself insecure.

         150.     These breaches proximately caused First Bank to sustain damages, and pursuant

to the agreement, First Bank is owed approximately $2.1 million.

         151.     First Bank made demand for payment of the amounts owing and no payment was

made by RAM.

I.       Count 9: Breach of RD-Imports Reagor Commercial Guaranty (against Reagor).

         152.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         153.     As set forth in greater detail above, Defendant Reagor executed the RD-Imports

Reagor Commercial Guaranty, which is a valid and enforceable contract.

         154.     Plaintiff, as the Lender under the RD-Imports Reagor Commercial Guaranty, is

the proper party to sue for breach of contract.

         155.     Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.

         156.     First Bank made demand for payment of the amounts owing and no payment was

made by Reagor.

         157.     Reagor has materially breached the RD-Imports Reagor Commercial Guaranty by

failing to perform his obligations thereunder, specifically by not paying the outstanding amounts

due to Plaintiff from RAM on the RD-Imports Agreements and by not paying the overdraft

indebtedness described in Section VI.D, above.

         158.     These breaches proximately caused First Bank to sustain damages, and pursuant

to the agreements, First Bank is owed approximately $2.1 million on the RD-Imports

Agreements and approximately $1 million in overdraft indebtedness.

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         159.     As a result, Reagor is liable to First Bank for breach of the RD-Imports Reagor

Commercial Guaranty in the amount of the indebtedness under the RD-Imports Agreements, plus

interest, costs and fees incurred in connection with First Bank’s efforts to collect the

indebtedness thereunder, in addition to the nearly $1 million in overdraft indebtedness.

J.       Count 10: Breach of RD-Imports Dykes Commercial Guaranty (against Dykes).

         160.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         161.     As set forth in greater detail above, Defendant Dykes executed the RD-Imports

Dykes Commercial Guaranty, which is a valid and enforceable contract.

         162.     Plaintiff, as the Lender under the RD-Imports Dykes Commercial Guaranty, is the

proper party to sue for breach of contract.

         163.     Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.

         164.     First Bank made demand for payment of the amounts owing and no payment was

made by Dykes.

         165.     Dykes has materially breached the RD-Imports Dykes Commercial Guaranty by

failing to perform his obligations thereunder, specifically by not paying the outstanding amounts

due to Plaintiff from RAM on the RD-Imports Agreements and by not paying the overdraft

indebtedness described in Section VI.D, above.

         166.     These breaches proximately caused First Bank to sustain damages, and pursuant

to the agreements, First Bank is owed approximately $2.1 million on the RD-Imports

Agreements and nearly $1 million in overdraft indebtedness.



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         167.     As a result, Dykes is liable to First Bank for breach of the RD-Imports Dykes

Commercial Guaranty in the amount of the indebtedness under the RD-Imports Agreements, plus

interest, costs and fees incurred in connection with First Bank’s efforts to collect the

indebtedness thereunder, in addition to the approximately $1 million in overdraft indebtedness.

K.       Count 11: Application for a Writ of Sequestration against RAM.

         168.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         169.     RAM continues to hold and possess collateral pledged to First Bank, which is

subject to First Bank’s security interest, including, but not limited to, their new and used vehicle

inventory, including all attachments, accession, and accessories.

         170.     The vehicles that remain in RAM’s inventory, and which are subject to First

Bank’s security interests, are sorted by dealership and listed on the attached Exhibit M. The

vehicles are believed to be located at (1) Reagor-Dykes of Levelland, 2379 East Highway 114,

Levelland, Texas, 79336, in Hockley County, and (2) Reagor-Dykes Imports, 1301 19th Street,

Lubbock, Texas 79401, in Lubbock County.

         171.     The value of the collateral is believed to be $1,563,000.00. However, vehicles

depreciate every day such that the collateral is diminishing in value while it is being held by

RAM.

         172.     This is a case in which the legislature has specifically authorized the issuance of a

writ of sequestration and in which the grounds specified by the legislature for the issuance of the

writ exist, as follows: Plaintiff sues for the enforcement of a security interest in personal

property and a reasonable conclusion may be drawn that there is immediate danger that RAM

will remove the property out of the limits of the county during the pendency of the suit.

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         173.     The collateral has not been taken for any tax, assessment or fine levied by virtue

of any law of this State against the property of First Bank, or against it individually, nor seized

under any lawful process or against the goods and chattels of First Bank subject to such lawful

process, nor held by virtue of any order of replevin against First Bank.

         174.     Due to the defaults by RAM, its continued possession of the collateral would be

wrongful. As a result of their default, First Bank is entitled to immediate possession of the

collateral pursuant to the security agreements with First Bank and pursuant to TEX. CIV. PRAC. &

REM. CODE § 62.001(1). Sequestration is permitted under FED. R. CIV. P. 64(a)-(b).

         175.     Because RAM has breached its agreements with First Bank and because it has

moved vehicles without paying First Bank, there is an immediate danger that RAM will continue

to do so. There is also an immediate danger it will conceal, dispose of, ill-treat, waste or destroy

the collateral. Accordingly, First Bank is entitled to immediate possession of the collateral. See

id. It would require a breach of the peace for Plaintiff to obtain possession of the collateral.

Accordingly, Plaintiff seeks a writ of sequestration in order for it to peacefully obtain its legal

right to possession of the collateral so that it may sell the vehicles pursuant to the aforementioned

agreements and Article 9 of the UCC.

         176.     Plaintiff requests that the court schedule a hearing ex parte to consider the legal

propriety of issuance of the writ.

         177.     Plaintiff requests that after the hearing, the court issue a written order granting

this application in which it specifically finds the statutory grounds that exist for issuance of the

writ; makes specific findings of facts to support the statutory grounds found to exist; describes



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and specifies the value of the property to be sequestered; and specifies the amount of bond

required of Plaintiff.

         178.     Plaintiff requests that it be allowed to segregate funds into a separate account, in

lieu of posting a bond, pending further order of the Court. Plaintiff requests that the Court set an

amount to be segregated that will adequately compensate RAM in the event Plaintiff fails to

prosecute this suit to effect, and pay all damages and costs which may be adjudged against him

for wrongfully suing out the writ of sequestration, including the elements of damages stated in

TEX. CIV. PRAC. & REM. CODE §§ 62.044 and 62.045.

         179.     Plaintiff requests that the order specify that the amount of the bond required of

RAM to replevy be $1,563,000.00, which is an amount equal to the value of the property

sequestered and the estimated costs of court.

         180.     Because of the express provisions of TEX. CIV. PRAC. & REM. CODE § 62.021,

plaintiff requests that the writ be issued by a judge and not by a clerk.

         181.     Please display on the face of the writ, in ten-point type and in a manner calculated

to advise a reasonably attentive person of its contents, the following:

         YOU HAVE A RIGHT TO REGAIN POSSESSION OF THE PROPERTY BY
         FILING A REPLEVY BOND. YOU HAVE A RIGHT TO SEEK TO REGAIN
         POSSESSION OF THE PROPERTY BY FILING WITH THE COURT A
         MOTION TO DISSOLVE THIS WRIT.

         182.     Plaintiff requests that this court issue a writ of sequestration, returnable to this

court, on the basis of the specific facts stated in this application and affidavit on oath, and that

the described property be taken into the possession of the proper officer.




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         183.     The Affidavit of First Bank representative Jared Townsend in support of First

Bank’s Application for a Writ of Sequestration is made on personal knowledge of the truth and

correctness of the facts stated in this application and in the affidavit, and it attached as Exhibit N

(the “Townsend Affidavit”).

L.       Count 12: Recovery of Overdraft/Refund under UCC § 4.214 (against RAM).

         184.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         185.     As set forth above, RAM presented several items for deposit to First Bank, upon

which First Bank provided RAM credit totaling $993,115.83. This amount remains unpaid by

RAM.

         186.     Pursuant to UCC § 4.214, Plaintiff, having provided provisional credit to RAM

for items that later failed by reason of dishonor, is entitled to a refund from RAM. See UCC §

4.214.

         187.     Accordingly, and pursuant to UCC § 4.214, Plaintiff seeks to recover from RAM

the $993,115.83 that it has failed to pay.

M.       Count 13: Fraud (against Defendants RAM and Smith).

         188.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         189.     As set forth above, in perpetrating the RAM check-kiting scheme, RAM, though

its then-CFO, Defendant Smith, made misrepresentations regarding the business and its use of

funds overdrawn in its First Bank account. Specifically, Smith represented that checks written,

which caused RAM’s account to be overdrawn, were used to pay off vehicles RAM had floored

with First Bank, when in reality, those checks, upon information and belief, were part of RAM’s



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check-kiting scheme.            Smith also misrepresented that the Reagor-Dykes Auto Group was

financially sound and profitable.

         190.     These misrepresentations were material and false.

         191.     When Smith made these misrepresentations, he knew they were false, or made the

misrepresentations recklessly, as a positive assertion, and without knowledge of their truth.

         192.     Smith made the representations with the intent that First Bank act on them by

providing RAM access to funds it did not actually have in its First Bank account.

         193.     First Bank relied on RAM’s misrepresentations by continuing to provide RAM

access to funds.

         194.     First Bank’s reliance on these misrepresentations caused it damages of at least

$993,115.83.

N.       Count 14: Money Had and Received/ Unjust Enrichment/Restitution (against RAM
         and FirstCapital).

         195.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         196.     RAM and FirstCapital hold money payable to First Bank.

         197.     As set forth above, RAM and FirstCapital knowingly facilitated a check-kiting

scheme so long as they believed it would go undetected. Then FirstCapital waited to pick a day

to freeze RAM’s account at a time to minimize its losses and maximize First Bank’s losses and

dishonored checks presented for payment with a false reason for dishonor so that First Bank

would continue to extend provisional credit to RAM as long as possible and thereby pay any

checks presented by FirstCapital for payment, causing First Bank to suffer $993,115.83 in

damages. This money belongs to First Bank in equity and good conscience.


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         198.     RAM and FirstCapital unjustly enriched themselves at First Bank’s expense as a

result of fraud and undue advantage. Therefore, First Bank asserts a claim against this money,

which in equity and good conscience, belongs to First Bank.

O.       Count 15: Statutory Liability under the Expedited Funds Availability Act and
         Federal Reserve Regulation CC (against FirstCapital).

         199.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         200.     The Expedited Funds Availability Act authorizes the Federal Reserve to impose

or allocate among banks the risks of loss and liability in connection with any aspect of the check

payment system. In cases of bad faith, damages suffered by a bank as a proximate consequence

of any act or omission by another bank giving rise to a loss or liability may be imposed. 12

U.S.C. 4010(f). The Federal Reserve has implemented this authority by enactment of Regulation

CC (“Reg CC”). 12 CFR Part 229.

         201.     Pursuant to Reg CC, at 12 C.F.R. § 229.38(a), “[a] bank shall exercise ordinary

care and act in good faith in complying with the requirements of this subpart. A bank that fails

to exercise ordinary care or act in good faith under the subpart may be liable to the depositary

bank[.]” Thus, FirstCapital had a duty to exercise ordinary care and act in good faith in the

check-clearing process with First Bank.

         202.     As set forth in greater detail above, FirstCapital failed to exercise ordinary care

and failed to act in good faith when it simultaneously dishonored and returned checks presented

to it by First Bank for payment, while at the same time presented checks to First Bank for

payment, when it knew that, due to the fraudulent check-kiting scheme, there would never be

sufficient funds in RAM’s First Bank account to cover any RAM checks. Upon information and


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belief, FirstCapital knew of, facilitated and participated in the RAM check-kiting scheme before

it learned from Dykes that the scheme would soon fail and froze RAM’s account to protect itself

from the losses caused by the scheme. FirstCapital also failed to exercise ordinary care and

failed to act in good faith by erroneously stating the reason for the check returns. FirstCapital

thus violated Reg CC, causing First Bank damages of nearly $1 million.

P.       Count 16: Liability under TEX. BUS. & COM. CODE (“UCC”) (against FirstCapital).

         203.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         204.     Pursuant to UCC § 4.215(a)(3), the aforementioned items were “finally paid,” and

FirstCapital is therefore liable to First Bank because, as set forth in greater detail above,

FirstCapital “made a provisional settlement for the item[s] and failed to revoke the settlement in

the time and manner permitted by statute, clearing-house rule, or agreement.”                   UCC §

4.215(a)(3).

         205.     In addition, pursuant to UCC § 3.418, First Bank should be awarded recovery of

the payments it made to FirstCapital, because First Bank is entitled to restitution under Texas

law. See UCC § 3.418(b). FirstCapital’s simultaneous dishonor of items presented for payment

by First Bank, late return of RAM checks, not freezing the account as soon as it suspected the

kiting scheme, and erroneously stating the reason of the returns, establishes that FirstCapital did

not present the RAM items for payment in good faith.                See UCC § 3.418(c). Moreover,

FirstCapital is liable for the amount of the checks presented in First Bank's letters of July 27, 30,

and 31, because FirstCapital failed to exercise ordinary care and to act in good faith in

processing those items as more particularly set forth above. Because of FirstCapital’s lack of

good faith and erroneously-stated reason for the returns, First Bank, operating on the

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presumption that FirstCapital was making honest representations regarding the reason for

dishonor, mistakenly accepted RAM checks presented for payment. Accordingly, First Bank is

entitled to restitution to restore the amounts taken from it due to FirstCapital’s fraud and taking

undue advantage of First Bank.

         206.     Similarly, FirstCapital is liable for the $487,167.00 in checks it presented to First

Bank for payment on July 31, because FirstCapital failed to exercise ordinary care and to act in

good faith in presenting those items when FirstCapital knew that it was simultaneously

dishonoring and returning checks to First Bank without complying with the regulatory obligation

to accurately and fully disclose the reason for such return and dishonor as more particularly set

forth above. Again, because of FirstCapital’s lack of good faith in its simultaneous dishonor of

items presented for payment by First Bank, late return of RAM checks, not freezing the account

as soon as it suspected the kiting scheme, and erroneously stating the reason of the returns, First

Bank, operating on the presumption that FirstCapital was making honest representations

regarding the reason for dishonor, mistakenly paid these RAM checks.

         207.     Relief under UCC § 3.418 is not precluded by subsection (c), because the

foregoing facts establish that FirstCapital did not act in good faith. Moreover, FirstCapital’s

unlawful and wrongful acts in perpetuating the fraudulent check-kiting scheme, rather than

shutting it down as soon as it suspected it, created a duty of disclosure to First Bank.

Q.       Count 17: Breach of Account Agreement (against Reagor, Dykes, Smith, and
         Miller).

         208.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.




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         209.     As set forth in greater detail above, Reagor, Dykes, Smith, and Miller executed an

Account Agreement, which is a valid and enforceable contract.

         210.     Plaintiff, as the bank that opened RAM’s checking account, is the proper party to

sue for breach of contract.

         211.     Plaintiff has performed, tendered performance of, or was excused from

performing its contractual obligations.

         212.     Defendants Reagor, Dykes, Smith, and Miller have materially breached the

Account Agreement by failing to pay Plaintiff for the account’s overdraft of $993,115.83.

         213.     Defendants’ breaches proximately caused First Bank to sustain damages, and

pursuant to the Account Agreement, First Bank is owed $993,115.83.

R.       Count 18: Conspiracy to Commit Fraud (against RAM, Smith, FirstCapital and the
         Burgess Defendants).

         214.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         215.     Each of these Defendants entered into an agreement among themselves and had a

meeting of the minds to commit an unlawful act or a lawful act in an unlawful manner to

accomplish the check-kiting scheme, which resulted in damages to Plaintiff of at least

$993,115.83.

         216.     As set forth above, in perpetrating the check-kiting scheme, RAM, through Smith,

made material and false representations regarding the business and its use of overdrawn funds in

its First Bank account. Specifically, Smith represented that checks written, which caused RAM’s

account to be overdrawn, were used to pay off vehicles RAM had floored with First Bank, when

in reality, those checks, upon information and belief, were part of RAM’s check-kiting scheme.


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Smith also misrepresented that the Reagor-Dykes Auto Group was financially sound and

profitable.

         217.     Smith knew that these representations were false when he made them, or he made

them recklessly, as a positive assertion without knowledge of their truth. He made them with the

intent that First Bank act on them by providing RAM access to funds it did not actually have in

its First Bank account.

         218.     First Bank relied on RAM’s misrepresentations by continuing to provide RAM

access to funds, which caused it damages of at least $993,115.83.

         219.     Then, each of these defendants agreed to take advantage of the inside information

provided by Dykes as part of the fraudulent scheme to ensure First Bank continued to provide

provisional credit to RAM. As set forth above, upon information and belief, Defendants knew of

and helped facilitate the check-kiting scheme until learning that it would likely be discovered.

Only then did FirstCapital and the Burgess Defendants pick a day to freeze or set off RAM’s

funds and returned all checks First Bank presented to FirstCapital for payment and

simultaneously sent checks drawn on RAM’s First Bank account for payment by First Bank,

even though they knew the funds at First Bank that would pay those checks would never be

sufficient because FirstCapital froze or set off RAM’s funds. In other words, Defendants

facilitated the check-kiting scheme until they knew it would be discovered by others, did not

freeze the account when they first suspected the check kiting, but waited to freeze the account at

a time that would minimize their losses and maximize First Bank’s losses, thereby defrauding

Plaintiff out of at least $993,115.83.



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         220.     Defendants also had a meeting of the minds on another object or course of action,

which was to induce First Bank to provide RAM access to funds through its First Bank account,

knowing that FirstCapital would not honor the items subsequently presented for payment by First

Bank against the balance established by First Bank’s payment in good faith of checks presented

by FirstCapital.

         221.     As a proximate result of Defendants’ common scheme and the acts done in

furtherance of it, i.e., by facilitating rather than stopping the scheme as long as Defendants felt

no one would discover it, First Bank was injured resulting in damages of at least $993,115.83.

S.       Count 19: Aiding and Abetting Fraud (against RAM, Smith, FirstCapital and the
         Burgess Defendants).

         222.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         223.     Specifically, each of these defendants agreed to take advantage of the inside

information provided by Dykes to aid and abet the fraudulent scheme with the intention that First

Bank would continue to provide provisional credit to RAM.                  As set forth above, upon

information and belief, Defendants knew of and helped facilitate the RAM check-kiting scheme

before ultimately putting a stop to it.         Once Defendants suspected the scheme would be

discovered, FirstCapital and the Burgess Defendants waited to freeze the account until a time

that would minimize their losses and maximize First Bank’s losses, and returned all checks First

Bank presented to FirstCapital for payment and simultaneously sent checks drawn on RAM’s

First Bank account for payment by First Bank, even though they knew the funds at First Bank

that would pay those checks would never be sufficient because FirstCapital froze or set off




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RAM’s funds. Defendants facilitated the check-kiting scheme until they knew it would be

discovered by others, thereby defrauding Plaintiff out of at least $993,115.83.

         224.     Each of these defendants aided and abetted the check-kiting scheme, giving

substantial assistance in defrauding Plaintiff, and their actions were a substantial factor in

causing the fraud on Plaintiff.

         225.     As a proximate result of FirstCapital and the Burgess Defendants’ acts, First Bank

was injured resulting in damages of at least $993,115.83.

T.       Count 20: Conversion (against FirstCapital).

         226.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         227.     Plaintiff held a security interest in the vehicles being sold by RAM. Plaintiff

therefore held a security interest in the proceeds from the sale of those vehicles.

         228.     RAM sold dozens of vehicles in which Plaintiff held a security interest. Those

sales were out of trust and RAM failed and refused to pay the proceeds of those sales to Plaintiff.

         229.     On information and belief, the proceeds from those sales were deposited into

accounts held at FirstCapital.       As such, FirstCapital has unlawfully and without Plaintiff’s

authorization assumed and exercised dominion and control over the property to the exclusion of,

or inconsistent with, Plaintiff’s ownership rights.

         230.     Despite Plaintiff’s security interest in the proceeds from those sales, and

Plaintiff’s demand for the return of such proceeds, FirstCapital has not paid those proceeds to

Plaintiff.

         231.     As a proximate result of FirstCapital’s acts, Plaintiff has suffered potential

damages of approximately $1,400,000.00.

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U.       Count 21: Money Had and Received (against FirstCapital).

         232.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         233.     Plaintiff held a security interest in the vehicles being sold by RAM. Plaintiff

therefore held a security interest in the proceeds from the sale of those vehicles.

         234.     RAM sold dozens of vehicles in which Plaintiff held a security interest. Those

sales were out of trust and RAM failed and refused to pay the proceeds of those sales to Plaintiff.

         235.     On information and belief, the proceeds from those sales were deposited into

accounts held at FirstCapital.

         236.     Plaintiff held a security interest in the proceeds from those sales. However,

FirstCapital has not paid those proceeds to Plaintiff. This money belongs to Plaintiff in equity

and good conscience.

         237.     As a proximate result of FirstCapital’s acts, Plaintiff has suffered potential

damages of approximately $1,400,000.00.

V.       Count 22: Marshaling (against FirstCapital).

         238.     Plaintiff repeats and realleges the preceding paragraphs as if fully set forth herein.

         239.     In the alternative, to the extent that a Court determines that FirstCapital held a

security interest in the proceeds of the vehicles sold out of trust by RAM and deposited into

account(s) at FirstCapital, and FirstCapital’s security interest was senior to Plaintiff’s security

interest, FirstCapital may not satisfy its debts against those proceeds.

         240.     Plaintiff and FirstCapital were both secured creditors with claims against a

common debtor, RAM.



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         241.     To the extent that FirstCapital was a senior secured creditor, it also had a security

interest in other collateral sources beyond the inventory vehicles.

         242.     Plaintiff did not hold a security interest in those other sources of collateral.

         243.     Accordingly, FirstCapital should be prohibited from marshaling its claims against

RAM and should proceed against its other sources of collateral, releasing the proceeds from the

sales of the inventory vehicles to Plaintiff.

         244.     Neither FirstCapital nor any third parties would be unduly prejudiced by

marshaling.

                                             VI.
                                      EXEMPLARY DAMAGES

         245.     Plaintiff’s damages resulted from RAM, Smith, FirstCapital, and the Burgess

Defendants’ participation in fraud, which entitles Plaintiff to exemplary damages under TEXAS

CIVIL PRACTICE AND REMEDIES CODE § 41.003(a).

                                            VII.
                                 ATTORNEYS’ FEES AND COSTS

         246.     Pursuant to Chapter 38 of the TEX. CIV. PRAC. & REM. CODE, the Business Loan

Agreements, the Promissory Notes, the Commercial Security Agreements, the Commercial

Guaranties, and the Account Agreement, Plaintiff is entitled to recover its reasonable and

necessary attorneys’ fees and costs.

                                            VIII.
                                    CONDITIONS PRECEDENT

         247.     All conditions precedent necessary to the relief sought herein have occurred or

have been performed.


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                                              IX.
                                       PRAYER FOR RELIEF

         WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully prays that:

         1.       Defendants be cited to appear and answer;

         2.       The Court set Plaintiff’s Application for Writ of Sequestration for hearing on the
                  nearest available date and time;

         3.       A writ of sequestration be issued for the collateral identified in the Townsend
                  Affidavit and incorporated by reference herein;

         4.       Plaintiff be granted possession of collateral identified in the Townsend Affidavit
                  and incorporated by reference herein;

         5.       Plaintiff be granted judgment against Defendants for damages in an amount to be
                  determined by the trier of fact;

         6.       Exemplary damages to be proven at trial on all issues available;

         7.       Attorneys’ fees and costs;

         8.       Pre- and post-judgment interest at the highest rate allowed by law; and

         9.       Such other and further relief to which Plaintiff may show itself entitled.

                                                        Respectfully submitted,


                                                        STINSON LEONARD STREET LLP

                                                        By: /s/ Paul B. Lackey
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                                                      ATTORNEYS FOR PLAINTIFF FIRST
                                                      BANK & TRUST




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                                CERTIFICATE OF SERVICE

       I certify that on March 1, 2019, a true and correct copy of the foregoing document was
served on all counsel of record via the Court’s electronic filing system.

                                                      /s/ Matthew R. Miller
                                                      Matthew R. Miller




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                                                BUSINESS LOAN AGREEMENT
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 tooti:dooX.io                         10-01.2018          1009818597                 4A:/ 45             RAA2554.             JET
    References in the hoses above are for Lender's use only and do not Ilmd the applicability of this document to any particular loon o item.
                              Any Item above containing "•••" hes been omitted duo to text length limtetions.
Borrower;        Rimer Auto Mall, Ltd., Oa Raegor•Dykes of                   Lender:         First Bank & Trust
                 Loveltand (TIN; 20.02750221                                                 First Bank & Trust. South
                 1215 Ave. J                                                                 7905'Indiana Ave
                 Lubbock. TX 79401                                                           Lubbock. TX 79423
                                                                                             18061776-0800


 THIS BUSINESS LOAN AGREEMENT dated September 29. 2017, is made and executed between Reaper Auto Mall, Ltd.. dbe Reegor•Dykes of
 Levelland rElarrawerl and First Bank & Trust I'Lenderl on the following terms and conditions. Borrower has received prior commercial loans
 from Lender or hes applied to Lender for a commercial loan or loans or other financial accommodations. Including those which may be described
 an any exhibit or schedule attached to this Agreement. Borrower understands and agrees that: (Al in granting, renewing, or extending any
 Loan. Lender Is retying upon Borrower's representations, warranties, and agreements as set forth in this Agreement; MO the granting,
 renewing, or extending of any Loan by Lender at all times shell be subject to Lender's sole Judgment end discretion; and 101 all such Loans
 shall be and remain subject to the terms and conditions of this Agreement,
 TERM. This Agreement shell be effective as of September 29, 2017, and shall continue In full force and effect until such tens as al, of
 Borrower's Loans in fairer of Lender have been paid in full, including principal, Interest, costs. expenses, attorneys' fees. and other fees end
 chortles, or until October 1, 2018,
 CONDITIONS PRECEDENT TO EACH ADVANCE. Lender's obligation to make the ,nitial Advance end each subsequent Advance under this
 Agreement shall be subject to the fulfillment to Lender's satisfectIon of all of the conditions sat forth in this Agreement end in the Related
 Documents.
     Loan Documents. Borrower shoe provide to Lender the following documents for the Loan:             the Note; 121 Security Agreements
     granting to Lender security interests In the Collateral; 131 financing statements and all other documents perfecting Lender's Security
     interests; 141 evidence of insurance as required below; 151 guaranties; (61 together with all such Rotated Documents as Lender may
     require for the teen; all In form and substence satisfactory to Lander end Lender's counsel.
      Borrower's Authorization, BerrOWer she•: have provided in form and substance satisfactory to Lender properly certified resolutions, duty
      authorising the execution and delivery of this Agreement, the Note end the Related Documents, In addition, Borrower shell have provided
     such other resolutions, a..thortzstions, documents and instruments as Lender or its counsel, may require,
     Payment of Fees and Expensea. Borrower shell have paid to Lender all lean, charges. and other expanses which are then duo and payable
      as specified in this Agreement or any Related Document.
     Ilepressntations and Warranties. The representations and warrantee sat forth in this Agreement, In the Related Documents, and in any
     document or certificate delivered to Lender under this Agreement era true and correct,
     No Event of Default, There shall not exist at the time of any Advance a condition which would constitute en Event of Default under this
     Agreement or under any Related Omen:int,
REPRESENTATIONS AND WARRANTIES. Borrower represents and warrants to Lender, as of the date of this Agreement, as of the dale of each
ciabi.reement of loan proceeds, as of the dote of any renewal, extension or mod 'Heenan of any Loan, and at all times any indebtedness exists:
     Organization. Borrower is a limited partnership which Is, and at all times shall be, duly organized, validly existing, and in good standing
     under and by virtuo of the laws of the State of Texas. Borrower la duly authorized to transact business in all other states in which
     Borrower is doing business, having obtained all necessary filings, governmental licensee and approvals for each state in which Borrower Is
     doing business. Specifically, Borrower is, and at all times shall be, duly qualified as a foreign limited partnership In all states in which the
     failure to so qualify would have a materiel adverse effect art Its business or financial condition, Borrower has the full power and authority
     to own he properties and to transact the business in which it is presently engaged or presently proposes to engage. Borrower maintains an
     office at 1215 Ave. .1, Lubbock, TX 79401, Unless Borrower has designated otherwise in writing, the principal office is the office at
     which Borrower keeps Ito books end records Including Its records concerning the Collateral, Borrower will notify Lender prior to any change
     In the location of Borrower's principal office address or any change In Borrower's name. Borrower shell do all things necessary to preserve
     and to keep In lull force end affect Its existence, rights end privileges, and shall comply with all regulations, rules, ordinances, statutes,
     orders and decrees of any governmental or quaelLgovernmental authority or court applicable to Borrower end Borrower'a business activities,
     Assumed Business Names, Borrower has filed or recorded all documents or filings required'by few relating to all assumed business names
     used by Borrower. Excluding the name of Borrower, the following is a complete list of all assumed business names under which Borrower
     does business: Nano.
     Authorization. Borrower's execution, delivery, and performance of this Agreement and all the Related Documents have bean duly
     authorized by all necessary action by Borrower and do not conflict with, result In a violation of, or constitute a default under (II any
     provision of (a) Borrower's articles or agreements of partnership, or lb) any agreement or other Instrument binding upon Borrower or 121
     any law. governmental regulation, court decree, or order applicable to Borrower or to Borrower's properties.
    Financial Information, Each of Borrower's financial statements supplied to Lender truly and completely disclosed Borrower's financle
    condition as of the date of the statement, end there has been no material adverse change In Borrower's financial condition subsequent to
    the date of the most recent financial statement supplied to Lander. Borrower has no materiel contingent obligations except as disclosed in
    such financial statements.
    Legal Effect. This Agreement constitutes, end any Instrument or agreement Borrower Is required to give under this Agreement when
    delivered will constitute legal, valid, and binding obligations of Borrower enforceable against Borrower In accordance with their respective
    terms.
    Properties, Except as contemplated by this Agreement or as previously disclosed in Borrower's 'Mendel statements or in writing to Lender
    and se accepted by Lender, end except for property tax liens for texas not presently due and payable, Borrower owns and has good title to
    all of Borrower's properties free and clear of ell Security interests, and hes not executed any security documents or financing statements
    relating to such properties. Ali of Borrower's properties are titled in Borrower's legal name, and Borrower has not used or filed a financing
    statement under any other name for et least the last five (Si years.
    Hazardous Substances. Except es disclosed to end acknowledged by Lender in writing, Borrower represents and warrants that: Ill During
    the period of Borrower's ownership of the Collateral, there has been no use, generation, manufacture, storage, treatment, disposal, release
    or threatened release of any Hazardous Substance by any person on, under, about or from any of the Collateral, CZ Borrower hem no
    knowledge of, or reason to believe that there has been MI any breech or violation of any Environmental Lews; tb1 any use, generation.
    manufacture, storage, trainmen*, disposal, rateaso or threatened totem of any Hazardous Substance on, under, about or from the
    Collateral by any prior owners or occupants of arty of the Collateral; or lei any actual or threatened litigation or claims of eny kind by arty
    person relating to such matters, 131 Neither Borrower nor any tenant, contractor, agent or other authorized user of any of the Co lateral
    shall use, generate, manufacture, store, treat, dispose of or release any Hazardous Substence on, under, about or horn arty of the
    Collateral; and any such activity shell be conducted in compliance with all applicable federal, state, and local laws, regulations, and
    ordinances, including without !Imitation all Environmental Laws, Borrower authorizes Lender and its agent* to enter upon the Collateral to
    make such Inspections end tests as Lender may deem appropriate to determine compliance of the Collateral with this section of the
    Agreement. Any inspections or tests made by Lender shaft be at Borrower's expense and for Lender's purposes only and shall not be
    construed to create eny responsibility or liability on the part of Lender to Borrower or to arty other person, The repratentatIons and
    warranties contained herein ere based on Borrower's due diligence in Investigating the Collateral for hazardous waste and Hazardous
    Substances. Borrower hereby            releases and waives any future claims against Lender far Indemnity or contribution in the event
    Borrower becomes liable for cleanup or other costs under any such laws, and (21 agrees to indemnify, defend, and hold harmless Lander
    against any and all claims, limes, liabilities, damages, penalties, and expenses which Lender may directly or indirectly sustain or suffer
    resulting from a breach of this section of the Agreement or es a consequence of any use, generation, manufacture, storage, disposal,
    release or threatened release of a hazardous waste or substance an the Collateral. The provisions of *hie section of the Agreement,
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    Including tho °begotten to Indemnify and defend, shall survive the payment of the Indabledneas and the termination, expiration or
    satisfaction of this Agreement and shall not be effected by Lender's acquisition of any interest In any of the Collateral, whether by
    foreclosure or otherwise.
    Litigation end Claims. No litigation, claim, investigation, administrative proceeding or similar action (Including those for unpaid taxes)
    against Borrower Is pending or threatened, and no other event has occurred which may materially adversely affect Borrower's financial
    condition or properties, other than litigation, claims, or other events, If any, that have been disclosed to end acknowledged by Lender In
    writing.
    Taxes. To the best of Borrower's knowledge, ell of Borrower's tax mums and reports that are or were required to be filed, have been
    filed, and all taxes, assessments and other governmental charges have been paid In full, accept shore presently being or to be contested by
    Borrower in good faith In the ordinary course of business and for which adequate reserves have bean provided.
    Lien Priority. Unless otherwlaa previously disclosed to Lender In writing, Borrower has not entered into or granted any Security
    Agreements, or permitted the filing or attachment of any Security Interests an or affecting any of the Cantwell directly or indirectly
    securing repayment of Borrower's Loan and Note, that would be prior or that may In any way be superior to Lender's Security Interests and
    rights in and to such Collateral,
    Binding Effect. This Agreement, the Note, all Security Agreements fit any), and all Related Documents are binding upon the signers
    thereof, as well as upon their successors, representatives and assigns, and ere legally enforceable in accordance with their respective
    terms,
AFFIRMATIVE COVENANTS. Borrower covenants and agrees with Lender that, so long as this Agreement remains in effect. Borrower will:
    Notices of Claims and Litigation, Promptly inform Lender in writing of (1) all material adverse changes in Borrower?) financial condition,
    and 12) al: existing and a'threatened litigation, claims, investigations, adm.nlatratve proceedings or similar actions affecting Borrower or
    any Guarantor which could molt:018"y effect the finonc'al condition of Borrower or the financial condition of any Guarantor.
    Financial Records. Maintain Its books and records in accordance with GAAP, misled an a consistent basis, and permit Lender to examine
    and audit Borrower books and record. at all reasonable limes.
    Financial Statements. Furnish Lander with the following;
         Interim Statements. As soon as available, but in no avant later than thirty 130) days after the and of each fiscal quarter, Borrower's
         balance Chest and profit and lass statement for the period ended, prepared by Borrower in form 'satisfactory to Lender,
         Tax Returns. As soon as available altar the applicable filing date for the tax reporting period ended, Borrower's Federal and other
         governmental tax returns, prepared by a tax professional satisfactory to Lender.
         Additional Requirements.
         Annual Statements. As soon as available or by September 30th of each fecal year, Borrower's balance sheet and income statement
         for the year ended, audited by a untried public accountant satisfactory to lender,
         Inventory Listing, As soon as aveable after the and of each fiscal month, company prepared in form satisfactory to Lander
         Guarantorts) agrees to furnish Lender with the following;
         Annual Statements. As aeon as available after the and of each fiscal year, Guarantor's balance sheet and income statement for the
         year ended, prepared by Gummier In form satisfactory to Lender
         Tax Returns. As soon as available after the applicable filing date for. the tax reporting period ended, Federal and other governmental tee
         returns, prepared by a tax professional satisfactory to Lender
    AI financial reports required to be provided under this Agreement shall be prepared In accordance with GAAP, applied ono consistent
    baste, and certified by Borrower as being true and correct.
    Additional information. Furnish such additional Information and statements, as Lender may request from time to time,
   Additional Requirements.
   Minimum Annual DSCR: 1.00)( after distribution debt service coverage ratio required for the companies on a consolidated basis measured
   quarterly. Failure to meet requirement will result in al related debt increasing to a rate of FB&T base + 3 00%. The DSCR will be
   calculated as:
   Earnings before Intermit, depreciation, and amortization tE1313A1:
   • Partner draws from equity
   + Partner contrIbuons to equity
    ci Cash flow to service debt
   Divided by annual debt service
    a Debt Service Coverage Ratio
   Maximum Currant Ratio: Current ratio required at or above 1,00:1 Including re:categorization of owner receivable to long-term assets,
   Curtailments: 10% duo at 90 days; 10% due every 30 days thereafter until paid In full
    Mooring Fee: $25 fee per floored hem
   Monthly Inspections: Monthly inspections of a t units.
   Insurance. Maintain fire end other risk insurance, peat liability Insurance, and such other ineurance as Lender may require with respect to
   Borrower's properties land operations, <ri form, amounts, and averages raasimatiy acceptable to Lender and by insurance companies
   authorized to transact business in Texas, BORROWER MAY FURNISH THE INSURANCE REQUIRED BY THIS AGREEMENT WHETHER
   THROUGH EX(STINO POLICIES OWNED OR CONTROLLED BY BORROWER OR THROUGH EQUIVALENT COVERAGE FROM ANY
   INSURANCE COMPANY AUTHORIZED TO TRANSACT BUSINESS IN TEXAS. Borrower, upon request of Lender, will deliver to Lender'from
   time to time the policies or cartIllealas of Insurance +I form sat stetter,' to Lender, including stipulations that coverages will not be
   cancelled or diminished without at least thirty 1301 days prior written notice to Lender, Each insurance policy also shell Include en
   endorsement providing that coverage in favor of Lender wi;t not be impaired in any way by any act, omission or default of Borrower or any
   other person, In canner:eon with all policies covering assets in which Lender holds or Is offered a security interest for the Loans, Borrower
   will provide Lender with such renders loss payable or other andersomente as Lender may require,
   Insurance Reports, Furnish to Lender, upon request of Lender, reports on each existing Insurance policy showing such Information as
   Lender may rensonably request, Including without limitation the forowing: III the name of the 'insurer: 121 the risks Insured: 131 the
   amount of the policy; (4) the properties Insured: 16) the then current property values on the basis of which insurance has been obtained,
   end the mariner of determining those values; and MI the expiration date of the policy. in addition, upon request of Lender {however not
   more often than annually), Borrower wilt have an Independent appraiser sat'sfactory to Lender determine. as app cable, tho actual cash
   value or replacement cost of any Collateral, The cost of such appraisal shall be pa4 by Borrower,
   Guaranties. Prior to disbursement of any Loon proceeds, furnish executed guaranties of the Loans In favor of (,ender, executed by the
   guarantors named below, on Lender's forms, and in the amounts and under the conditions set forth In those guaranties,
                Nemec of Guarantors                         Amounts
                  Bart Reagan                                   Unlimited
                  Rick Dykes                                    Unlimited
   Other Agreements, Comply with all terms end conditions of all other agreements, whether now or hereafter existing, between Borrower
   and any other party end notify Lender immediately in writing of any default In connection *rah any other such agreements,
   Loan Proceeds. Use ell Loan proceeds solely for Borrower's business operations, unless apacifically consented to the contrary by Lender in
    writing.
   Taxes, Charges and Liens. Pay and discharge when duo all of its Indebtedness and obligations, including without limitation all assessments,
   taxes, governmentei charges,:ales and liens, of every kind and nature, imposed upon Borrower or its properties, income, or profits, prier
   to the date on which penalties ward attach, and all lawful claims that, II unpaid, might become a len or charge upon any of Borrower's
   properties, income, or profile. Provided however, Borrower w.i not be required to pay end discharge any such assessment, tax, charge,
   levy, lion or claim so long as Iil the legality of the same sha be contested in good faith by appropriate proceedings, end 12) Borrower
   shell have established on Borrower's books adequate reserves with respect to such contested amassment, tax, charge, levy, lion, or claim
   In accordance with GAAP,
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       Parlormence. Perform and comply. In a timely manner, with all terms, conditions, and provisions sot forth in this Agreement. In the Related
       Documents, and In all other instruments and agreements batArerent Borroriner 'and Lender. Borrower shall notify Lander Immediately in
       writing of any default in connection with any agreement.
       Operations. Maintain executive and management personnel with aubstentlolly the same qualifications and experience as the present
       executive and management personnel; provide written notice to Lender of any change In executive and management personnel; conduct its
       business affairs in a reasonable and prudent manner.
       Environmental Studies, Promptly conduct and complete, at Borrower's expense, all such investigations, studies, samplings and test ngs es
       may be requested by Lender or any governmental authority relative to any substance, or any waste or byproduct of any substance defined
       as toxic or a hazardous substance under applicable federal, state, or lace! law, rule. regulation, order or directive, at or effectng any
       property or any facility owned,leased or used by Borrower.
       Compliance with Governmental Requirements, Comply with all laws, ordinances, and regulations, now or hereafter In effect, of et
      governmental authorities applicable to the conduct of Borrower's properties, businesses end operations, and to the use or occupancy of the
       Collateral, including without limitation, the Americana With Disabilities Act. Borrower may contest In good faith any such law, ordinance,
      or regulation and withhold compliance during any proceeding, including appropriate appeals, so long as. Borrower has notified Lender in
       writing prior to doing so and so tong es, in Lender's sole opinion, Lender's Interests in the Collateral ore not Jeopardised. Lender may
      require Borrower to post adequate security or a surety bond, reasonably satisfactory to Lender, to protect Lender's interest.
      Inspection. Permit employees or agents of Lender at any reasonable time to Inspect any and all Collateral for the Loan or Loans and
       Borrower's other properties end to examine or audit Borrower's beak*, accounts, end records and to make copies and memoranda of
      Borrower's books, accounts, and records. If Borrower now or al any time hereafter maintains any records (Including without limliet.on
      computer generated records and computer software programs for the generation of such records) In the possession of a third party,
      Borrower, upon request of Lender, shall notify such party to permit Lender free access to such records at all reasonable times and to
       provide Lender with copies of any records it may request, all et Borrower's expanse.
      Compliance Certificates, Unless waived in writing by Lender, provide Lander at feast annually, with a certificate executed by Borrower's
      chief financial officer, or other officer or person acceptable to Lender, certifying that the representations end warranties set forth In that
      Agreement are true and correct as of the date of the certificate end further certifying that, as of the date of the certificate. no Event of
      Default exists under this Agreement.
      Environmental Compliance and Reports, Borrower shell damply in alt respects with any and till Environmental Laws; not owes or permit to
      exist, as a result of en intentional or unintentional action or omission on Borrower's pert or on the part of any third party, on property
      owned andfor occupied by Borrower, any environmental activity where damage may result to the environment, unless such environmental
      activity Is pursuant to end In compliance with the conditions of a permit issued by the appropriate federal, state or local governmental
      authorities; shall furnish to Lender promptly end in any event within thirty (301 days after receipt thereof a copy of any notice, summons,
      lien, citation, directive, letter or other communication from any governmental agency or instrumentality concerning any Intentional or
       unintentional bear:in or omission on Borrower's part in connection with any environmental activity whether or not there is Omega to the
      environment andfor other natural resources.
       Additional Assurances. Make, execute end deliver to Lender such promissory notes, mortgages, deeds of trust, security agreements,
      essigronente. financing statements, instruments, documents end other *momenta as Lender or its attorneys may reasonably request to
      evidence and secure the Loans and to perfect all Security Interests,         '
LENDER'S EXPENDITURES. 11 any action or proceeding is commenced that would materially effect Lender's interest in the Collateral or if
Borrower falls to comply with any provision of this Agreement or any Related Documents, including but not limited to Borrower's failure
discharge or pay when due any amounts Burrower fs required to discharge or pay under this Agreement or any Related Documents, Lender on
Borrower's behalf may (but shall not be obligated to) take eny action that Lender deems appropriate. Including but not limited to discharging or
paying all taxes, liens, security interests, encumbrances and other claims, et any time levied or placed on any Collateral and paying a edits for
Mewing, maintaining and preserving arty Collateral. All such expenditurea paid by Lender for such purposes will then bear Interest at the Note
rata from the date paid by Lender to the date of repayment by Borrower. To the extent permitted by applicable law, ell such expenses will
become a part of the Indebtedness end, at Lender's option, will (Al be payable on demand; (B) be added to the balance of the Note end be
apportioned among end be payable with any installment payments to become due dining either II) the term of any applicable Insurance policy;
or 12) the remaining term of the Note; or (C) be treated es a balloon payment which will be due and payable at the Note's maturity.
 NEGATIVE COVENANTS. Borrower covenants and agrees with Lender that while this Agreement is In effect, Borrower she not, without the
 prior written consent of Lender;
      Indebtedness and Liens, (1) Except for trade debt incurred 'n the normal course of business end ndebtedness to Lender contemplated by
      this Agreement, create, Incur Of assume Indebtedness for borrowed money, including capital leases, (21 sell transfer, mortgage, estrgn,
      pledge, lease, grant a security interest in, or encumber any of Borrower's assets lancet es allowed as Permitted Liens), or (3) sell with
      recourse any of Borrower's accounts, except to Lender.
      Continuity of Operations. (1) Engage in any business activities subsiondolly different than those In which Borrower Is presently engaged,
      (2) cease operations, liquidate, merge, transfer, acquire or consolidate with any other entity, change its mune, dissolve or transfer or sell
      Collateral out of the ordinary course of bus nese. 'or 13) make any distribution with respect to any capital account, whether by reduction of
      capital or otherwise.
      Loans, Acquisition' and Guaranties. Ill Loan, Invest in or advance money or assets to any other person, enterprise or entity, (2)
      purchase, create or acqu re any interest n any other enterprise or entity, or (3) incur any obligation as surety or guarantor other than In
      the ordinary course of business.
      Agreements. Enter into any agreement containing any provisions which would be violated or breached by the performance of Borrower's
      obligations under this Agreement or in connection harewah.
 CESSATION OF ADVANCES. If Lender has made any commitment to make any Loan to Borrower, whether under this Agreement or under any
other agreement, Lender shell have no ob "potion to make Loan Advances or to disburse Loan proceeds If; (Al Borrower or any Guarantor is in
default under the terms of this Agreement or any of the Related Documents or any other agreement that Borrower or any Guarantor has with
 Lander; 10) Borrower or any Guarantor dies, becomes incompetent or becomes insolvent, files a petition in bankruptcy or similar proceedings,
 Or la adjudged a bankrupt; IC) there occurs a material adverse change in Borrower's financial condition, in the !inane* condition of any
 Guarantor, or in the value of any Collateral securing any Loan; or (D) any Guarantor teaks, claims or otherwise attempts to limit, modify or
 revoke such Guarantor's guaranty of the Loan or any other loan with Lender; or (E) Lender in good faith deems itself insecure, even though no
Event of Default shell have occurred.
RIGHT OF SETOFF. To the extant permitted by app cable law, Lander reserves a right of setoff In all Borrower's accounts with Lender (whether
checking, savings, or some other accountl. This Includes at accounts Borrower holds jointly with someone else and all accounts Borrower may
open In the future. However, this does not Include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited be
law. Borrower authorises Lender, to the extent permitted by app'ceba law, to charge or setoff a 1 sums owing on the Indebtedness against any
end ell such accounts, and, at Lender's option, to administratively freeze all such accounts to allow Lender to protect Lender's charge and setoff
rights provided in this paragraph.
DEFAULT. Each of the following she constitute en Event of Default under this Agreement:
    Payment Default. Borrower falls to make any payment when due under the Loan,
                                                                                                                                           Agreement
    Other Defaults. Borrower fails to comply with or to perform any other term, obligation, covenant or condition contained in this             other
    or in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in eny
    agreement between Lender end Borrower.
                                                                                                                                            under this
    False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf becomes
    Agreement or the Related Documents is false or misleading in any meter al respect, either now or et the time made or furnished or
    false or misleading et any time thereafter.
                                                                                                                                       the Insolvency
    Death or insolvency. The dissolution or term'nellon of Borrower's existence as a going business or the death of any partner,
    of Borrower, the appointment of a receiver for any port of Borrower's property, any assignment for the          benefit of creditors, any type of
                                                                 under any  bankruptcy   or Insolvency laws   by or :Talmo  Borrower.
    creditor workout, or the commencement of any proceeding
    Defective Colleteralization. This Agreement or any of the Related Documents ceases to be to any    full force and effect Oncluding failure of any
                                                                                                            reason.
    collateral document to create a valid and perfected security Interest or Ilan) at any rime and for
                                                                                           proceedings, whether by judicial proceed rig, self.help,
    Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture   governmental agency against any construe securing the Lean
    repossession or eny other method, by any medico of Borrower or by any
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      This includes a garnishment of any of Borrower's accounts, Including deposit accounts, with Lender. However, this Event of Default shall
      not apply If there Is a good faith dispute by Borrower as to the validity or reasonableness of the claim which is the basis, of the creditor or
      forfeiture proceeding and if Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender monies or
      a surety bond for the creditor or forfeiture proceeding, In an amount determined by Lender, In Its sole discretion, as being en adequate
      reserve or bond for the dispute.
      Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or any
      Guarantor dies or becomes incompetent, or revokes or disputes the validity of, or liability under, any Guaranty of the Indebtedness.
     Events Affeetkig Gartered Partner of Renewer. Any of the preceding events occurs with respect to any general partner of Borrower or any
     general partner dies or becomes incompetent,
     Change In Ownership. The resignation or expulsion of any general partner with an ownership Interest of twenty.fiva percent 125%1 or more
     In Borrower.
     Adverse Change. A 'materiel adverse change occurs in Borrower's financial condition, or Lender believes the prospect of payment or
     performance of the Loon Is impaired.
     Insecurity. Lender in good faith believes itselfInsecure.
     Right to Cure. If any default, other then a default on Indebtedness, is curable and if Borrower or Grantor, as the case may be, has not bean
     given a notice of a similar default within the preceding twelve (12) months, it may be cured if Borrower or Grantor, as the case may be,
     after Lender sends written notice to Borrower or Grantor, es the case may be, demanding cure of such default; 1.11 cure the default within
     thirty 130) days; or 421 if the cure requires more than thirty 130) days, immediately initiate stops which Lender deems in Lender's solo
     discretion to be sufficient to cure the default and thereafter continuo and complete all reasonable and necessary steps sufficient to produce
     compliance as soon as reasonably practical.
EFFECT OF AN EVENT OF DEFAULT. If any Event of Default shell occur, except whore otherwise provided In this Agreement or the Related
Documents, all commitments and obligations of Lander under this Agreement or the Related Documents or arty other agreement immediately will
terminate (including any obligation to make further Loan Advances or disbursements), end, at Lender's option, all Indebtedness immediately will
become due and payable, all without notice of any kind to Borrower, except that In the case of en Event of Default of the type described In the
'Insolvency' subsection above, such accaleretian shall be automatic and not optional, In addition, Lender shall have all the rights and remedies
provided in the Related Documents or available at law, In equity, or otherwise. Except as may be prohibited by applicable law, ell of Lender's
rights and remedies shall be cumulative and may be exercised singularly or concurrently, Election by Lender to pursue arty remedy Olen not
exclude pursuit of arty other remedy, and an election to make expenditures or to take action to perform en obligation of Borrower or of any
Grantor shall not affect Lender's right to declare a default and to exercise its rights and remedies.
 ORIGINAL DOCUMENT. 'The parties whose signatures appear below agree that a photographic, photoetatio, facsimile, electronic, copy or
 similar reproduction of this document shall be valid as the original.'.
 CANCELLATION PROVISION. "Notwithstanding anything to the contrary contained In this Loan Agreement or the Related Documents this Loan
 may be cancelled at any time and for any reason in the sate discretion of Lender end Lender shall have no obligation to make any additional
 Advances thereafter. Lender shall so notify Borrower of Lender's decision to cancel the loan, which notification shall be immediately effective or
 effective at the time stated therein If another effective time is stated in the notice. All Advances made prior to the cancellation of the Loan thee
 ramein payable pursuant to the terms of the Lean Agreement and the Related Documents.".
 MISCELLANEOUS PROVISIONS, The following miscellaneous provisions are a part of this Agreement:
     A mendments. This Agreement, together with any Related Documante, constitutes the entire understanding and agreement of the parties
     as to the menus sat forth in this Agreement. No alteration of or amendment to this Agreement shall be effective unless given in writing
     and signed by the party or parties sought to be charged or bound by the alteration or amendment.
     Attorneys' Feu; Expanses. Borrower agrees to pay upon demand all of Lender's costs and expenses, including Lender's reasonable
     attorneys' fees and Lender's legal expanses, incurred in connection with the enforcement of this Agreement. Lender may hire or pay
     someone else to help enforce this Agreement, end Borrower shall pay the Mil and expenses of such enforcement. Costs and expenses
     include Lender's reasonable attorneys' fees end legal expenses whether or not there is a lawsuit, Including Lender's reasonable attorneys'
     lees and legal expenses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay or Injunction), appeals, end
     any anticipated post-judgment collection services. Borrower also than pay all court costs and such additional foes as may be directed by
     the court.
     Caption Headings. Caption headings in this Agreement ere for convenience purposes on.y and are not to be used to interpret or define the
     provisions of this Agreement.
    Consent to Loan Participation. Borrower agrees and consents to Lender's sale or transfer. whether now or later, of one or more
     participation interests at the Loan to one or more purchasers, whether related or untreated to Lender, Lender may provide, without any
     limitation whatsoever, to any one or mere purchasers, or potential purchasers, any ,nformetion or knowledge Lender may have about
     Borrower or about any other matter relatng to the Loan, and-Borrower hereby wolves any rights tdprivecy Borrower may have with respect
     to such matters, Borrower eddlienally weives any and re" notices of safe of panic:patron interests, as wall as all notices of any repurchase
    of such pert cipation Interacts. Borrower also agrees that the purchasers of any such participation Interests will be considered as the
     absolute owners of such Interests In the Loan end will have ell the right. granted under the participation agreement or agreements
     governing the sale of such penIcIpation interests. Borrower further waives alt rights of offset or counterclaim that it may have now or later
     against Lender or against any purchaser of such a participation interest and unconditionally agrees that either Lender or such purchaser may
    enforce Borrower's obligation under the Loan ri respective of the faAira or insolvency of any hoidor of any interest in the Loan. Borrower
    further agrees that the purchaser of arty such participation Intereate may enforce its Interests orespeceve of any personal claims or
     defenses that Borrower may have against Lander.
     Governing Law. This Agreement will be governed by federal law applicable to Lender and, to the extent not preempted by federal law, the
    laws or the State of Taxes without regent to Ire conelets,or law provisions, -This Agreement has been mowed by Lender In the State of
    Texas.
    No Waiver by Lender. Lander shall not bo deemed to have waived any right; under title Agreement unless such waiver is given In writing
    and signed by Lender, No delay or omission on the part of Lender in exercising any right she) operate ss a waiver of such right or any
    other right. A waiver by Lender of a provision of this Agreement shell not prejudice or consume a waiver of Lender's tight otherwise to
    demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender. nor any course of
    dealing between Lander and Borrower, or between Lender and any Grantor, shall constitute a waiver of any of Lander's rights or of any of
    Borrower.* or any Grantor's obligations es to any future *resections, Whenever the consent of Lender is required under this Agreement,
    the granting of such consent by Lender in any instance shall not constitute continuing consent to subsequent instances where such consent
    Is required and in all cases such consent may be granted or withhe4 in the sole discret on of Lender,
     Notices. Any notice required to be given under this Agreement shell be given in writing, and shall be effective when actually delivered,
     when actually received by telefecalmile (union otherwise required by law), when deposited with a nationally recognized overnight courier,
     or, II meeed, when deposited in the United States mall, es that dem certified or registered mall postage prepaid, directed to the addresses
     shown near the beginning of this Agreement. Any pony may change Its address for notices under this Agreement by giving formal written
     notice to the other parties, specifying that the purpose of the notice is to change the party's address, For notice purposes, Borrower
     egress to keep Lender Informed at all times of Borrower's current address. Unless atherwilse provided or required by law, If there Is more
     than one Borrower, any notice given by Lender to any Borrower is deemed to be notice given to all Borrowers,
     Payment of Interest and Fees. Notwithstanding any other provision of this Agreement or any provision of any Related Document, Borrower
     does not agree or Intend to pay, and Lender does not agree or intend.to charge, coiect, take, reserve or tomtits (collectively referred to
     herein as "charge or collect"), any amount rn the nature of Interest or in the nature of a fee for the Loon which would in any way or avant
     fine uding demand, prepayment, ar accelarationi cause Lender to contract for, charge or collect more for the i,oan than the maximum
     Lender would be permitted to charge or collect by any-applicable federal or Texas state law. Any such excess interest or unauthorized fee
     w I, named of anything stated to the contrary, be applied.rest to reduce the unpaid principal balance of the Loan, and when the principal
     hoe bean geld in full, be refunded to Borrower.
     severebtlity. 1 a court of competent (urethan° finds any provision of this Agreement to be illegal, invalid, or unenforceable as to any
     circumstance, that finding shirt not make the offending provision Inept invalid, or unanforraeble as to any other circumstance, If faanible,
     the offending provision shall be considered modified so that it becomes legal, valid and enforceable, If the offending provision cannot be so
     modified, It she be considered deleted from this Agreement. Unless otherwise required by law, the ,'legality, Inva dity, or unenferceability
     of any provision of this Agreement shat= not affect the legality, validity or enforceability of any other provision of this Agreement.
     SubsIdlerlett and Affiliates of Borrower. To the extent the context of any provisions of this Agreement makes it appropriate, Including
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                                                  BUSINESS LOAN AGREEMENT
Loan No: 1009818597                                      (Continued)                                                                        Pogo 6

      without limitation any representation, warranty or covenant, the word "Borrower" as used In this Agreement shell Include oil of Borrower's
     subsidiaries and affiliates, Notwithstanding the foregoing however, under rip Cleaumstencrut shalt this Agreement be construed to require
     Lender to make any Loan or other financial accommodation to any of Borrower's subsidiaries or affiliates.
     Successors and Assigns. All covenant* and agreements by or art behalf of Borrower contained in this Agreement or any Related
     Documents shall bind Borrower's successors and assigns and shell Inure to the benefit of Lender and its successors and assign', Borrower
     shall not, however, have the right to assign Borrower's rights under this Agreement or any interest therein, without the prior written
     consent of Lender.
     Survival of Representations end Watranties. Borrower understands end meet that in extending Lean Advances, Lender is relying on all
     representations, warranties, end covenants made by Borrower in this Agreement or In any certificate or other instrument delivated by
     Borrower to Lender under this Agreement or the Related Documents, Borrower further agrees that ragerdlens of any Investigation made by
     Lender, all such representations, warranties and covenants will survive the extension of Loan Advances end de:very to Lender of the
     Related Documents, shall be continuing in naturi, shall be deemed made end redated by Borrower at the time each Loan Adverted Is made,
     end shell remain in NO force and effect until such time as Berfowere indebtedness she. be paid In fulu, or until theAgreement shall be
     terminated in the manner provided above, whichever la the lest to occur.                                                    •
     Time is of the Essence. Time is of the essence in the performance of this Agreement.
DEFINITIONS. The following capitalized words end towel shalt have the following meanings when used In this Agreement. Unless specifically
stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of Amer ca. Words and terms
used in the singular shall include the plural, and the plural shell include the singular, as the context may require. Words and terms not otherwise
defined vt this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Code. Accounting words and terms not
otherwise defined in this Agreement shell have the meanings assigned to them in accordance w tit generally accepted accounting principles as in
offeet on the date of this Agreement:
     Advance. The word "Advance' meant a disbursement of Loan funds made, or to be made, to Borrower or on Borrower's behalf on a line
     of credit or multiple advance bask under the terms and conditions of this Agreement.
    Agreement. The ward "Agreement" means this Business Loan Agreement, as this Business Loan Agreement may be amended Or modified
    from time to time, together with al exhibits and schedules attached to this Business Loan Agreement from time to time.
    Borrower. The word "Borrower" means Firmer Auto Melt, Ltd., dbe Reagor•Dykes of Levelland and includes a'1 co•signers and co-makers
    signing the Note end all their successors and assigns,
    Collateral, The word "Collateral" means all property and assets granted as collateral security for a Loan, whether real or personal property,
    whether granted dlectly or Indirectly, whether granted now or In the future, end whether granted in the form of a security Interest,
    mortgage, collateral mortgage, deed of trust, assignment, pledge, crop Woe,chattel mortgage, collateral chattel mortgage, chattel trust,
    factor's lien, equipment trust, conditional sale, trust receipt, lien, charge, Ilan or title retention contract, lease or consignment intended es
    security device, or any other security or lien interest whatsodver, whether crested by law, contract, or otherwise.
    Environmental Laws. The words 'Environmental Laws' mean any and a1 state, federal and local statutes, regulations end ordinances
    relating to the protection of human health or the environment, including without limitation tha Comprehensive Environmental Response,
    Compensation, end Lieb I ty Act of 1980, as amended, 42 U,S C. Section 9801, et sag rCERCLA`1, the Superfund Amendments and
    Reauthorization Act of 1986. Pub. L. No. 99.499 I'SARA"I, the Hazardous Matbriels Transportation Act, 49 U.S.C, Section 1801, et suf..
    the Resource Conservation end Recovery Act, 42 U.S.C. Section 6901, et seq,, or other applicable state or federal laws, rules, or
    regulet one adopted pursuant thereto,
    Event of Default. The wards "Event of Default" mean ony of the events of default set forth in this Agreement In the default section of this
    Agreement,
    GAAP. The word 'GAAP" means generally accepted accounting principles.
    Grantor. The word 'Grantor" moons each and all of the parsons or entities granting a Socurty Interest `n any Collateral for the Loan,
    including without lmitat on all Borrowers granting such a Security Interest.
    Guarantor. The word 'Guarantor means any guarantor, surety, or accommodation party of any or all of the Loan,
    Guaranty. The word "Guaranty' means the guaranty from Guarantor to Lender, nclud ng without Lim tenon a guaranty of ell of pert of the
    Note.
   Hazardous Substances. The words 'Hazardous Substances" mean materials that, because of their quantity, concentration or physical,
   chemical or Infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when
   improperly used, treated, stored, disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous
   Substances' are used in their very broadest sense and include without limitation any and oil hazardous or toxic substances, materials or
    waste es defined by or listed under the Environmental Laws. The term *Hazardous Substances' also Includes, without limitation, petroleum
   and petroleum byproducts or any fraction therool and asbestos
   Indebtedness. 'The word "Indebtedness" means the indebtedness evidenced by the Note or notated Documents, Including ell principal and
   Interest together with all other indebtedness and costs and expanses for which Borrower Is responsible under this Agreement or under any
   of the Related Documents,
   Lender. The word 'Lender" means First Bank & Trust, Its successors and assigns.
   Loan. Thn word "Loan' means any end all loans and financial accommodations from Lender to Borrower whether now or hereafter
   existing, and however evidenced, including without limitation those forms end financial accommodations described herein or described on
   any exhibit or schedule attached to this Agreement from time to time,
   Note. The word 'Nate" means the Note dated September 29, 2017 and executed by Realtor Auto Mall, Ltd dbe Reegor•Dykes of
   Levellend in the principal amount of 51,000,000.00, together with all renewals of, extensions of, modifications of, refinancings of,
   consolidations of, and substitutions for the note or credit agreement.
   Permitted Liens, The words "Permitted Liens' mean ill liens and security interests securing indebtedness owed by Borrower to Lender;
   i21 liens for taxes, assessments, or sirniier charges either not yet due or being contested In good faith; 13) liens of materialmen,
   mechanics, warehousemen, or carriers, or other like liens arising in the ordinery course of business and securing obligations which are not
   yet delinquent; Mt purchase money liens or purchase money security interests upon or In any property acquired or held by Borrower in the
   ordinary course of business to secure Indebtedness outstanding on the date of this Agreement or permitted to be Incurred under the
   paragraph of thls Agreement titled "Indebtedness end Lions'; t5I liens end security Interests which, as of the date of this Agreement,
   have been disclosed to and approved by the Lander in writing; and 161 those liens and security interacts which in the aggregate constitute
   en Immaterial and insignificant monetary amount with respect to the net value of Borrower's assets,
   Related Documents. The words 'Related Documents" mean all promissory notes, credit agreements, loan agreements, environmental
   agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, end all other instruments,
   agreements and documents, whether now or hereafter existing, executed in connection with the Loen,
   Security Agreement. The words 'Security Agreement" mesa and include without limitation any agreements, promises, covenants,
   arrangements, understandings or other agreements, whether created by law, contract, or otherwise, evidencing, governing, representing, or
   creating a Security Interest.
   Security Interest. The words 'Security Interest" moon, without limitation, any end all types of collateral security, present and fume,
   whether in the form of e lien, charge, encumbrance, mortgage, deed of trust, security deed, assignment, pledge, crop pledge, chattel
   mortgage, collateral chattel mortgage, chattel trust, factor's lien, equipment trust, conditional sale, trust receipt, lien or title retention
   contract, lease or consignment intended as a security device, or any other security or lien interest whatsoever whether created by law,
   contract, or otherwise,
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                                               BUSINESS LOAN AGREEMENT
Loan No: 1009318597                                   (Continued)                                                                        Page 6


BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS BUSINESS LOAN AGREEMENT AND BORROWER AGREES TO
ITS TERMS. THIS BUSINESS LOAN AGREEMENT IS DATED SEPTEMBER 29. 2017.

BORROWER:



REAGOR AUTO MALL. LTD,, OSA REAGOR,DYNES OF LEVELLAND


REAG                                at Partnar of Reactor Auto MaII, Ltd.,                               LaysBand

By:
      Bars Nagar, Manage                Mall I, L.L.C.                                Dy                r of Roarror Auto Mall I. L,L,

LENDER:


FIRST BANK & TRUST


By:
      Joe     and Town and, Senior Vice Prosidont

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            Case 5:18-cv-00234-C Document 103 Filed 03/04/19                                                                   Page 68 of 137 PageID 2056

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                                                      PROMISSORY NOTE
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t .$7,000,000.00 09E204201.7 10.01t.201 El                  7000E11E1597              .   1 .146 - *.        HAA2564              Jel.               .
      References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particuthr loan a   item,
                                Any item above containing          hem been am tied dus to text length limitations.
 Borrower:        Resler Auto Mail, Ltd., dbe Reagor-Dykes of                  Lander:        First Bank & Trust
                  Levelland (TIN: 20.02750221                                                 First Bank & 'Neat- South
                  1215 Ave. J                                                                 71108 Indiana Ave
                  Lubbock, TX 79401                                                           Lubbock, TX 79423
                                                                                              1806)776.0800

 Principal Amount: $1,000,000.00                                                                          Date of Note: September 29, 2017
 PROMISE TO PAY. Room Auto Mall, Ltd„ dbe Reagor-Dykes of Livaliond ('Borrower") promises to pay to First Sank & Trust Mender-I, or
 order, in lawful money of the United States of America, the principal amount of One Million & 001100 Dollars 1$1.000.000,00) or so much as
  may be outstanding, together with Interest on the unpaid outstanding principal balance of each advance. Interest shell be calculated from the
 date of each advance until repayment of each advance or maturity, whichever occurs first.
 CHOICE OF USURY CEILING AND INTEREST RATE. The Interest rate on this Note has bean implemented under the 'Weekly Ceiling' as referred
  to In Sections 303.002 end 303.003 of the Texas Finance Code.
 PAYMENT. Borrower will pay this loan In full Immediately upon Lender's demand. it no demand is made. Borrower will pay this loan lit one
 payment of all outstanding principal plus all accrued unpaid interest an October 1, 2018, in addition. Borrower will pay regular monthly
 payments of all ;monied unpaid Interest due as of each payment date, beginning November 1,2017, with all subsequent interest payments to be
 due an the same day of each month otter that, Unless otherwise agreed or required by apptliable law, payments will be applied first to any
 accrued unpaid Interest; than to principal; then to any unpaid collection costs: and then to any late charges. Borrower will pay Lender at
 Lender's address shown above or et such other piece as Lender may designate in writing. Notwithstanding any other provision of this Nate,
 Lender wilt not charge Interest on any undiebursed loon proceeds, No estheduled payment, whether of principal or Interest or both, wilt be duo
 unless sufficient loan funds have been disbursed by the scheduled payment date to justify the payment.
 VARIABLE INTEREST RATE. The interest rale on this Note is subject to change from time to time based on changes In on index which is the the
 First Bank & Trust Base Rate (the "Index"). The Index is not necessarily the lowest ram charged by Lender on its loans and is set by Lender in
 its sale discretion. If the Indoe becomes unavailable during the term of th s loan, Lender may designate a substitute index after notifying
 Borrower. Lender will tell Borrower the currant index rate upon Borrower's request, The interest rate change will not occur more often than
each day. Borrower understands that Lender may make loans based on other rates es well, The Index currently Is 5.750% per annum. Interest
 prior to maturity on the unpaid principal bedtime of this Note will be cathuisted 'as described in the INTEREST CALCULATION METHOD'
 paragraph using a rate equal to the index, adjusted If necessary for any minimum end maximum rate limitations described below, resulting n en
 initial rate of 6.125% par annum based one year of 360 days. NOTICE; Under no circumstances will the interest rata on this Note be leas than
8.126% per annum or more than (except for any higher default rate or Post Maturity Rate shown below) the lesser at 1E1.000% per annum or
 the maximum rate allowed by applicable law. For purposes of this Note, the `maximum rata allowed by applicable love moons the greater of
 IAI the maximum rate of Interest permitted under federal or other law applicable to the Indebtedness evidenced by this Note, or Oh the
'  Weekly Ceiling' as referred to in Sections 303.002 and 303,003 of the Texan Finance Coda.
INTEREST CALCULATION METHOD. Interest on this Note Is computed on a 3651360 basis; that Is, by applying the ratio of the interest rate
over a year of 360 dem multiplied by the outstanding principal balance, muliplied by the actual number of days the principal infanta Is
outstanding, unless such calculation would result in a usurious rate, in wh7ch case Interest shall be calculated on a per diem basis of a year of
365 or 386 days, as the case may be. All interest payable under this Note is computed using this method.
PREPAYMENT, Borrower agrees that all then fees and other prepaid finance charges era earned fully as of the date of the then and will not be
subject to refund upon early payment (whether voluntary or as a result of default), except es otherwise required by lew. Except for the
foregoing, Borrower. may pay without penalty all or a portion of the amount owed earlier then It is due, Prepayment In full shat consist of
payment of the remaining unpaid principal balance together with all accrued arid unpaid interest and all other amounts, costs and expenses for
Which Borrower It responeible under this Note or any other agreement with Lender pertaining to this loan, and in no avant w I Borrower ever be
required to pay any unearned interaat. Early payments wilt not, unless agreed to by Lender in writing, relieve Borrower of Borrower's obligation
to continua to make payments of accrued unpaid interest, Rather, early payments will reduce the principal balance due. Borrower agrees not to
send Lender payments marked "paid In full", 'without recourse", or similar language. If Borrower sends such a payment, Lender may accept t
without losing any of Lender's rights under this Note, and Borrower we remain obligated to pay any further amount owed to Lender. All written
communications concerning disputed amounts. including any check or other payment Instrument that Indicates that the payment constitutes
'  payment in full'. of the amount owed or that is tendered with other conditions or limitations or as full satisfaction of a disputed amount must be
mailed or delivered for First Bank F. Trust, 9818 Slide Road Lubbock. TX 79424.
LATE CHARGE. If a payment Is 10 days or more late, Borrower will be charged 5,000% of the regularly scheduled payment.
POST MATURITY RATE. The Post Maturity Rate on this Note is the leaser of NO the maximum rate allowed by law or IB) 15.000% par
annum based on a year of 360 days. Borrower will pay interest on al sums due after final maturity, whether by acceleration or otherwise, at
that rate
DEFAULT. Each of the following shell constitute en avant of delimit {'Event of Default") under this Note:
       Payment Default. Borrower falls to make any payment when due under this Note.
       Other Defaults. Borrower falls to comply with or to perform any other term, obligatthn, covenant or condition contained In this Note or in
       any of the related documents or to comply with or to perform any term, obligation, covenant or condition contained In any other agreement
       between Lender and Borrower.
       False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under teat
       Note or the related documents is false or misleadng in any materiel respect, either now or at the time made or furnished or becomes false
      or misleading at any time thereafter.
      Death or insolvency. The dissolution or termination of Borrower's existence as a going boldness or the death of any partner, the insolvency
      of Borrower, the appointment of a receiver for any part of Borrower's property, any assignment for the benefit of creditors, any type of
      creditor workout, or the commencement of any proceeding under any bankruptcy or Insolvency laws by or against Borrower.
      Creditor or Forfeiture Proceedings. Commencement of forectosure or forfeiture proceedings, whether by judicial proceeding, selithelp,
      repossasean or any other method, by any creditor-of Borrower or by any governmental agency peeing any collateral securing the loan,
      This includes a gerniehment of any of Borrower's accounts, Including deposit accounts, with Lander. However, this Event of Default shaft
       not apply if there Is a good faith dispute try Borrower as to the validity or reasonableness of the claim which le the bells of the creditor or
      forfeiture proceedng and If Borrower gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender monies or
      a surety bond for the creditor or forfeiture proceeding, in en amount determined by Lender, In Its sole discretion, as being an adequate
      reserve or bond for the dispute.
      Events Affecting Guarantor, Any of the procelng events occurs with respect to any Guarantor of any of the indebtedness or any
      Guarantor dies or becomes incompetent,'or revokes or disputes the validity of, or liability under, any guaranty of the Indebtedness
      evidenced by this Note.
      Events Affecting General Partner of Borrower. Any of the preceding events occurs with respect to any general partner of Borrower or any
      general partner dies or becomes incompetent.
      Change In Ownership, The reeignation.or expulsion of any general partner with an ownership interest of twentyttive percent 125%1 or more
      in Borrower.
      Adverse Change. A material adverse change occurs In Borrower's financial condition, or Lender believes the prospect of payment or
      performance of this Nato is impaired.
      Insecurity. Lender in good faith believes Itself insecure.
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                                                           PROMISSORY NOTE
 Loon No: 1009818597                                          (Continued)                                                                   Page 2

      Cure Provisions, If any default, other than a default in payment, is curable and If Borrower hes not been given a notice of a breach of the
      same provision of this Note within the preceding twelve 1121 months, it may. be cured If Borrower. alter Lender sands written notice ut
      borrower demanding cure of such default: (I) cures the default within thirty (30) days; or 121 if the cure requires more than thirty 130)
      days, Immediately initiates steps which Lender deems In Lender's sole discretion to be sufficient to cure the default end thereafter
      continues and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
 LENDER'S RIGHTS, Upon default, Lender may declare tho entire indebtedness, including the unpaid principal balance under this Note, all
 accrued unpaid Interest, and all other amounts, costs and expenses for which Borrower is responsible under this Note or any other agreement
 with Lender pertaining to this tun,Immediately duo, without notice, and than Borrower will pay that amount,
 ATTORNEYS' FEES; EXPENSES. Lander may hire an ettorney to help collect this Note if Bahama does not pay, and Borrower will pay Lender's
 reasonable attorneys' fees. Borrower also will pay Lender all other amounts Lender actually incurs as court costs, lawful tees for filing,
 recording, releasing to any public office any instrument securing this Note; the reasonable cost actually upended for repossessing, storing,
 preparing for sale, and selling any security; and fees for noting a lien on or transferring a certificate of title to any motor vehicle offered as
 security for this Note, or premiums or Identifiable charges received in connection with the wale of authorized insurance,
 GOVERNING LAW. This Note wig be governed by federal law applicable to Lender and, to the extent not preempted by federal law, the laws of
 the State of Texas without regard to Its conflicts of taw provisions. This Note has been accepted by Lender in the State of Texas.
 DISHONORED CHECK CHARGE. Borrower will pay a processing fee of $30.00 if any check given by Borrower to Lender es a payment on this
 loan Is dishonored.
 RIGHT OF SETOFF. To the extent permitted by applicable law, Lander reserves a right of setoff In all Borrower's accounts with Lander (whether
checking, savings, or some other account). This includes all accounts Borrower holds jointly with someone else and elf accounts Borrower may
open In the future. However, this does net include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
law. Borrower authorizes Lander, to the extent permitted by applicable law, to charge or setoff all sums owing on the ,ndebtedness against any
end all euch accounts, and, at Lender's option, to administratively freeze all such accounts to allow Lender to protect Lender's charge and Beloit
re)hts provided In this paragraph.
COLLATERAL. Borrower acknowledges this Note s secured by a Commercial Security Agreement from Realtor Auto MaJ, Ltd., dba
fleageriDykris of Levolland to First Bank & Trust, dated September 29, 20t7, secured by AP inventory, together with the following *puce cey
described property: all debtor's Inventory of property of every description {specifically including by not limited tol all new end used motor
vehlc'ee, which eludes but Is not limited to automobiles, motorcycles, mobilo homes, motor homes, travel traJors, boots, vans, pickups,
together with all accessories, attachments, or accetaiont related to any of the foregoing collateral hereafter 'teetered and evidenced by mso
miter title, whether held for rental, lease, sale or use, of whatever nature and whosoever located and all debtor's accounts, accounts
receivable, notes ma:treble, chocks, drafts, contract rights and general intangibles of every nature evidencing debtor's tight to the payment of
menu :teeing from the sale, leasing, or rental of such inventory items add/or from the performance of debtor of services in connection
therewith or related thereto all the foregoing whether now owned or hereafter acquired by debtor and the proceeds and products thereof.
LINE OF CREDIT. This Note evidences a revolving line of credit. Advertent under this Note, as welt as directions for payment from Borrowers
accounts, may be requested orally or in writing by Borrower or by an authorized person. Lender may, but need net, require that apt oral requests
be centroad in writing. Borrower agrees to be liable for all sums either' (Ai advanced In accordance with the Instructions of an authorized
parson or IS) credited to any of Borrower'. accounts with Lender, The unpaid prindpol balance owing on tha Note at any tans may be
evidenced by endorsements an this Note or by Lender's internal records, including deify computer printatuts. This revolving line of credit shelf
not ba subject to Ch. 348 of the Texas Finance Code.
ORIGINAL DOCUMENT. "The parties whose signetures appear below agree that ei photographic, photostatic, facsimile, electronit, copy cr
similar reproduction of this document shell be valid as the orlginte,".
CHOICE OF VENUE. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the jurisdiction of the Courts of Lubbock County,
Taxes. The parties agree that Lubbock County, Texas Is the sofa and exdusrva venue for any lawsuit arising out of this transaction.
CANCELLATION PROVISION. "Notwithstanding any language to the contrary contained herein, the loan represented by this Note may be
cancelMd at any time and for any reason in the sole discretion of Lender and Lender shall have no obligation to make any addit anal advances
thereafter. Lander shoe so notify Borrower of Lender's decision to cancel this loan, which notification shall be immediately effective or effective
at the time stated therein if another effective tine he stated in the notice, Al: principal advanced prior to the cancellation of this loan shelf
continue to accrue Interest and shell remain payable pursuant to the terms at this Note,".
RENEWAL AND EXTENSION. This Note is given In renewal and extension and not in novation of the following described indebtedness: a
Promissory Note 0'1009818597 from Reegor Auto Meil, Ltd., ribs ReepooDykas of Let/offend to First Bank & Trust, doted August 23, 2016, in
tho original commitment amount of 41,000,000.00, with a current principal balance of *997.000,00.
SUCCESSOR INTERESTS. The terms of this Note shall be binding upon Borrower, and upon Borrower's heirs, personal representatives,
successors and assigns, and thee inure to the benefit of Lender and its successors and assigns.
GENERAL PROVISIONS. This Note Is payable an demand, The inclusion of specific default provisions or rights of Lender shell not preclude
Lender's right to declare payment of this Note on its demand. If any part of this Note cannot be enforced, this fact will not ailect the rest of the
 Note. Borrower does not agree or intend to pay, and Lender does not agree or Intend to contract for, charge, collect, take, reserve or receive
lcollectieely referred to herein as "charge or cohort, any amount in the nature of interest or bi the nature of a fee for this loon, which would in
any way or event ;including demand, prepayment, or acceleration) cause Lender to charge or collect more for this loan than the maximum
Lender would be permitted to cheeps or collect by federal law or the law of the State of Texas (as applicable). Any such excess interest or
unauthorized fee shell, Instead of anything stated to the contrary, be applied first to reduce the principal balance of this loan, end when the
principal hoe been paid In full, be refunded to Borrower. The right to accelerate maturity of sums due under this Note does not Include the right
to accelerate any Interest which has not otherwise accrued on the date of such aecateration, and Lender does not Intend to charge or collect any
unearned Interest in the event of acceleration. All sums paid or agreed to be paid to Lender for the use, forbearance or detention of sums due
hereunder shell, to the extent permitted by applicable law, be amortized, prorated, allocated and spread throughout the full term of the loan
evidenced by this Note until payment In full so that the rate or amount of interest en account of the loan evidenced hereby does not exceed the
applicable usury ceiling. Lender may delay or forge enforcing any of its rights or remedies under this Note without losing them. Borrower end
any other person who signs, guarantees or endorses this Note, to the extern :Wowed by law, waive presentment, demand for payment, notice of
&talc:Mtn, notice of intent to accelerate the maturity of this Note, and notice of acceleration of the maturity of this Nate. Upon any change in the
terms of this Note, and unless otherwise expressly stated In writing, no party who signs this Note, whether as maker, guarantor,
accommodation maker or endorser, shall be released from liability. Ail such parties agree that Lender may renew or extend (repeatedly end far
any length of time) this loan or release any party, partner, or guarantor or collateral; or Impair, fell to realize upon or perfect Lender's security
interest in the collateral without the consent of or notice to anyone, All such parties also agree that Lender may modify this loan without the
consent of or notice to anyone other than the party with whom the modification Is made. The obligations under this Note are joint and several,
PRIOR TO SIGNING THIS NOTE, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS NOTE, INCLUDING THE VARIABLE
INTEREST RATE PROVISIONS. BORROWER AGREES TO THE TERMS OF THE NOTE.
BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSORY NOTE,

BORROWER:



REAGOR AUTO MALL, LTD.. DOA REAGOR.DYKES OF LEVELLAND



                               , General Partner of Realtor Auto Mall, Ltd,. dba                                land

                                                                              By:
                                     Auto Mall I, L,L.C.                            RI     ices,           t.Reactor Auto Ma



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           Case 5:18-cv-00234-C Document 103 Filed 03/04/19                                                                     Page 71 of 137 PageID 2059
                                         COMMERCIAL SECURITY AGREEMENT
    Ptiridlpal           i.Onti Gate                              lmin No'               our/ to:            AOCCUilt          OfffoOf .initials
   iff00,000.00 .0B-29-2017 1041.28 8. . 1009E118597                                                      ' IAA 2564             JET
     References in the boxes above are for Lender's use only and do not limit the applicability of this document to any particular loan or stem.
                                 Any item above containing "•••" has bean omit ed due to text length ''rnitations,
Grantor:        Ream Auto Moll. Ltd., dba Reaper-Dykes of                      Lender:         First Bank & Trust
                Lovelland (TIN: 20.0275022)                                                    First Bank & Trust. South
                1215 Ave. J                                                                    7808 Indiana Ave
                Lubbock, TX 79401                                                              Lubbock. TX 79423
                                                                                              (80617764/000


  THIS COMMERCIAL SECURITY AGREEMENT doted September 29, 2017, Is made and executed between Rearm Auto Malt Ltd,. dba
  Ranger-Dykes of LevedandrOrantorl and First Bank & Trust Mender").
  GRANT OF SECURITY INTEREST. For valuable consideration, Grantor grants to Lender a security Interest in the Collateral to secure the
  indebtedness and egress that Lender shall have the rights stated In this Agreement with respect to the Collateral, In addition to e'l other rights
  which Lander may have by law.
  COLLATERAL DESCRIPTION. The word "Collateral" as used in this Agreement means the following described property, whether now owned or
  hereafter acquired, whether now existing or hereafter arising, end wherever teemed, in which Grantor is giving to Lender a seemly interest for
  the payment of the indebtedness and performance of alt other obligations under the Note and this Agreement:
       All Inventory, together with the following specifically described property: all debtor's Inventory of property of every description (specifically
       Including by not limited to) all new end used motor vehfcles, which includes but Is not limited to automobiles, motorcycles, mobile homes,
       motor homes, travel hailers, boats, vans, pickups, together with all acceseorlea, attachments. or accessions related to
                                                                                                                                    any of the foregoing
      collateral hereafter acquired end evidenced by mso endtor title, whether bald for rental, lease, sale or use, of whatever nature              and
       whosoever located and ell debtor's accounts, accounts resolvable, noise receivable, checks, drafts, contract rights and general Intangibles
      of every nature evidencing debtor's right to the payment of monies tithing from the sale, leasing, or rental of such inventory Items andlor
      from the performance of debtor of services in connection therewith or related thereto all the foregoing whether now owned or hereafter
      acquired by debtor and the,proceeds and products thereof
 in addition, the word 'Collaterpl• also includes ail the following, whether now owned or hereafter acquired, whether now existing or hereafter
 arising, and wherever located:
     (Al All accessions, attachments, accessories, loots, parts, supplies, replacements of and additions to any of the et/Aare/al described heroin,
      whether added now of later.
      19i All products and produce of any of the properti described in this Collateral section.
      ICI All accounts,'general intangibles, Instruments, rents, monies, payments, and allother rights, arising out 01 a sale, lease, consignment
      or other disposition of any of the property described In this Collateral section.
     (Dt Al proceeds linclutfing Insurance proceeds) from the sale, destruction, loss, or ether disposition of any of the property described In this
      Collateral section, and same due front a thrd party who has damaged or destroyed the Collateral or front that pony's Insurer, whether due
      to judgment, settlement or other process,
     (El Al records and data relating to any of the property described In this Collateral section, whether In the form of a writing, photograph,
      microfilm, microfiche, or electronic media, together with all of Grantor's right, title, and Interest in and to all computer software required to
      utilize, create, maintain, and process any such records or dela on electronic media.

CROSS-COLLATEFIALIZATION. In addition to the Note, this Agreement secures all obligations, debts and liabilities, plus Interest thereon, of
Grantor to Lender, or any one or more of them, as well at ell claims by Lender against Grantor or arty one or more at them, whether now
existing or hereafter arising, whether related or Unrelated to the purpose of the Note, whether voluntary or otherwise, whether due or not due,
direct or indirect, determined or undetermined, absolute or contingent, liquidated or unliquidated, whether Grantor may be liable Individucly or
jointly with others, whether obligated as guarantor, surety, accommodafion party or otherwise, However, this Agreement shell not secure, and
the "Indebtedness:- shall not include, any obliged ens arising under Subchapters E end F of Chapter 342 of the Texas Finance Code, as amended,
RIGHT OF SETOFF. To the extent permitted by appliceble law, Lender reserves a right of setoff in all Grantor's accounts with Lender (whether
checking, savings, or some other account). This includes all accounts Grantor holds jo ntly with someone else and all accounts Grantor may
open In the future. However, this does not Include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
law. Grantor authorizes Lender, to the extent permitted by app cable law, to charge or setoff all sums owing on the Indebtedness against any
and all such accounts, and, at Lender's option, to administratively (meta all such account. to allow Lender to protect Lender's charge and setoff
rights provided In this paragraph,
GRANTOR'S REPRESENTATIONS'AND WARRANTIES WITH RESPECT TO THE COLLATERAL. With respect to the Cokateral, Grantor represents
and promises to Lender that:
      Perfection at Security interest. Grantor agrees to take whatever actions era requested by Lender to perfect and continua Lender's security
      interest In the Collateral, Upon request of Lender, Grantor soli deliver to Lender any end all of the documents evidencing or constituting the
      Collateral, and Grantor wit note Lender's Interest upon any and all chattel paper and instruments if not delivered to Lender for peasesslon
      by Lender. This is a continuing Security Agreement and will continue In effect even though all or any part of the indebtedness Is paid In full
      and even though for a period of time Grantor may not be indebted to Lender,
      Notices to Lender. Grantor wilt promptly notify Lender in writing at Lender's address shown above (or such other addresses as Lender may
     designate from time to time) prior to any (11 change in Grantor's name: 12) change In Grantor's assumed business hornets,: 131 change
      In the partners of the partnership,including the addelon of new partners or the departure of current partners from the partnership Grantor;
      141 change in the authorized signerts1; (SI change in Grantor's principal office address; (Si change in Grantor's stale of organisation; ill
      conversion of Grantor to a new or different typo of business entity; or (8) change n any other aspect of Grantor that directly or indirectly
     relates to any agreements between Grantor and Lender. No change in Grantor's name, state or organization, or principal office address will
     take effect until alter Lender hos received notice.
     No Violation, The execution and delivery of this Agreement will not violate any law or agreement governing Grantor or to which Grantor Is
     a Party, and its partnership agreement does not prohibit any term or condition of this Agreement.
     Enforceability of Collateral, To the extent the Collateral consists of accounts, chattel paper, or general Intangibles, as defined by the
     Uniform Commerce) Code, the Collateral Ill enforceable In accordance with its terms, Is genuine,.and fully complies with ell applicable laws
     and regulations concerning form, content and manner of preparation and execution, and, all parsons appearing to be obligated on the
     Collateral have authority and capacity to contract and ere in fact obligated es they appear to be on the Collateral, There shall be no setoffs
     or counterclaims against any at the Co:lateral, and no agreement shall hove been made under' which any deductions or discounts may be
     claimed concerning the Col/moral except those disclosed to Lender in writing.
     Location of the Collateral, Except n the ordinary course of Grantor's business, Grantor agrees to keep the Collateral at Grantor's eddross
     shown above or it such other beat ons as are acceptable to Lender. Upon Lender's request, Grantor will delver to Lender in form
     satisfactory to Lender a schedule of reel properties and Collateral locations relating to Grantor's operations, including without limitation the
     following: 111 all real property Grantor owns or is purchasing; 12) all real property Grantor Is renting or leasing; (3) ell storage facilities
     Grantor owns, rents, leases, or usos; end 141 all other properties where Collateral is or may be located.
    Removal of the Collateral, Except In the ordinary course of Grantor's business, including the sales of inventory, Grantor shall not remove
    the Cal &tend from Its !Warne locution without Lender's prior wr tton consent. To the extant that the Collateral consists of vehicles, or
    other titled property. Grantor shell not take or permit any action which would require application for certificates of title for the vehicles
    outside the State of Texas, without Lender's prior written consent. Grantor she, whenever requested, advise Lender of the exact location
    of the Collateral,
    Transactions Involving Collateral. Except (or inventory acrid or accounts collected In the ordinary course of Grantor's business, or as
    otherwise provided for In this Agreement, Grantor shell not sell, offer to se`, or otherwise transfer or dispose of the Collateraf, While
    Grantor Is not in default under this Agreement, Grantor may sell inventory, but only in the ordinary course of Its business and only to buyers
    who qualify as a buyer In the ordinary course of business. A sale In the ordinary course of Grantor's business does not include a transfer In
    partial or total satisfaction of a debt or any bulk sale, Grantor shal not pledge, mortgage, encumber or otherwise permit the Collateral to
    be subject to any lien, security interest, encumbrance, or charge, other than the security !martial provided for In this Agreement, without
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      the prior written consent of Lander. This includes security interests oven if junior to right to the security interests granted under this
      Agreement. Untest waived by Lando., all proceeds from any disposition of the Collateral (for whatever reasonl shall be held In trust for
      Lander and shalt not bo commingled with any other funds; provided however, this requirement shell not constitute consent by Lender to any
      sale or other disposition. Upon receipt, Grantor shall immediately deliver any such proceeds to Lender.
      Title. Grantor represents end warrants to Lender that Grantor holds good and marketable title to the Collateral, free and clear of all liens
      and encumbrances except for the lion of this Agreement. No financing stattiment covering any of the Collateral Is on file in any public
      office other than those which tefiact the security interest meted by this Agreement or to which Lender has specifically consented.
      Grantor shall defend Lender's rights in the Collateral against the claims and demands of all other persona.
      Repairs and Maintenance. Grantor agrees to keep end maintain, end to cause others to keep and maintain, the Collateral in good order,
      repair end condition at all times white this Agreement remains In effect. Grantor further agrees to pay when due all claims for work done
      on, or services rendered or material furnished in connection with the Collateral ao that no lien or encumbrance may ever attach to or be
      filed against the Collateral.
      Inspection of Collateral. Lander anti Lender's designated torments/Ives end agents shell have the right at all reasonable times to examine
      and inspect the Collateral whatever faceted.
      Tease. Asssss manta and Liens. Grantor will pay when due all taxes. assessments and liens upon the Collateral, its use or operation, upon
      this Agreement, upon any promissory note or notes evidencing the indebtedness, or upon any of the other Rotated Documents. Grantor
      may withhold any such payment or may elect to contest any lien If Grantor is in good lath conducting en seventieth) proceeding to contest
      the obligation to pay and so long as Lender's interest In the Collateral Is not jeopardized in tender's solo opinion. in any contest Grantor
      shell defend Itself end Lender and shell satisfy arty final adverse Judgment before enforcement against the Collatetal, Grantor shalt name
      Lender as an additional obligee under any surety bond furnished in the contest proceedings. Grantor further agrees to furnish Lander with
      evidence thet.such taxes,'assessment', end governmental and other charges have boon paid in full end In a timely manner. Grantor may
      withhold any such payment or may elect to contest any lien if Grantor Is in good faith conducting en appropriate proceeding to contest rho
      obligation to pay and so long as Lander's interest in the Collateral is not jeopardized,
      Compliance with Governmental Requirements. Grantor shall comply prompt'y with all taws. Ordinances, rules and regulations of all
     governmental authorities, now or hereafter in effect, applicable to the ownership, producten, disposition, or use of the Collateral, including
     all haws or regulations relating to the undue erosion of highly-erod blo land or relating to the conversion of wounds for the production of an
     agricultural product or commodity. Grantor may contest in good teeth any such law, ordinance or regulation and withhold comp!once
     during any proceeding, Including.appropriate appeals, so long as Lender's interact in the Collateral, in tender's opinion, Is not jeopardized.
     Hazardous Substences, Grantor reprosente end warrants that the Collateral never has bean, and never will be so long as this Agreement
     remains a lien en the Collateral, used in violation of any Environmental laws or far the generation, manufacture, storage, transportation,
     treatment, demots!, release or threatened release of any Hazardous Substance. The representations and warranties contained herein are
     based on Grentor'e due diligence in Investigating the Collateral for Hazardous Substances. Grantor hereby 111 releases end waives any
     future claims against Lender for indemnity or contribution in the event Grantor becomes liable for cleanup or other coats under any
     Environmental Laws, and 121 agrees to indemnify, defend. and hold harmiels Lender against arty and all claims and lessee resulting from a
     breech of this provision of this Agreement. This obligation to Indemnify end defend shell survive the payment of the Indebtedness and the
     satisfaction of this Agreement.
     Maintenance of Casualty Insurance. Grantor shall procure and maintain ee •Oaks insurance, including without limitation fire, theft and
     liability coverage together with such other insurance as Lender may require with respect to the Collateral, in form, amounts, coverages end
     belle reasonably acceptable to Lender. Grantor, upon request of Lander, will deliver to Lender from time to time the policies or cortificatea
     of insurance in form satisfactory to Lender, including stipulations that coverages wilt not be cancelled or diminished without at least thirty
     1301 days' prior sodium notice to Lender and not including any disclaimer of the Insurer's liability for failure to give such a notice. Each
     insurance policy also shall include an endorsement providing that coverage In favor of Lender will not be impaired In any way by any act,
     ornieslon or default of Grantor or any other person. in connection w th a I policies covering assets in which Lender holds or Is offered a
     security interest, Gem°, will provide Lender with Such loss payable or other endorsements as Lender may require, If Grantor et any time
     fails to obtain or maintain any insurance as required under this Agreement, Lender may (but shall not be obligated to) obtain such insurance
     es Lender deems appropriate, including if Lender so chooses *single interest insurance,* which will cover only Lender's interest in the
     Collateral,
      Application of Insurance Proceeds. Grantor shell promptly notify Wider of any loss or damage to the Collateral, whether or not such
      casualty or lots is covered by insurance,;Lender may make proof of loss if Grantor fails to do so within fifteen (151 days of the casualty,
      All proceeds of apy.Insurance on the Collateral, including accrued proceeds thereon, shell he held by tender as pert of the Collateral, If
      Lender consents to repair or reptabement of the dardaged or destroyed Collateral, Lander shall, upon satisfactory proof of expenditure, pay
      or reimburse Grantor from the proceeds for the reasonable cost of repair or restoration. II Lender does riot consent to repair or replacement
      of the Collateral, Lender retell retain a sufficient emount of the'proceeds to pay all of the Indebtedness, and shell pay the balance to
      Grantor. Any proceeds which have not bean disbursed within six MI months after their receipt end which Grantor has not committed to
      the repair or restoration of the Collateral shall be used to prepay the Indebtedness.
      Insurance Reserves. Lender may require Grantor to maintain with Luther reserves for payment of insurance premiums, which reserves shell
      be crested by monthly payments from ,Grantor of a suirt astfritated by tender to be sufficient to produce, at least fifteen NW days before
      the premium due date, amounts at least equal to the Intuiting* premiums to be paid. If Fifteen 115) days before payment is .dute, the reserve
     funds ore insufficient, Grantor shall upon demand pay any deficienby to'Lender. The reserve funds shell be held by Lander es a general
     deposit and shall constitute a non-intereet.baaring account which Lender may satisfy by payment of the insurances premiums required to be
      paid by Grantor as they become due, Lender does not hold the reserve funds In trust for Grantor, and Lender Is not the agent of Grantor
     for payment of the insurance premiums'retheired .to be paid by Grantor: - The responsibility for the payment of premiums shalt remain
     Grantor's sole responsibility
     Insurance Reports. Grantor, upon request of Lender, shall furnish to Lander reports on each existing policy of insurance showing such
     information as Lender may reasonably request Inch:Wino the following;'111 the name of the illiterate 121 the risks frittered; (3) the amount
     of the policy; (4) the property insured; (5) the then current value on the basis of which insurance has been obtained and the manner of
    .dotermining that value; and IS) the expliation date of the policy. In addition, Grantor shall upon request by Lender (howetier not more
     often then annually) have en independent appraiser aetlifectory to Lender determine, es applicable, the cash value or replacement coat of
     the Collateral.
     Financing Statement., Grantor authorizes Lender to Illa a UCC financing statement, or alternatively, a copy of this Agreement to perfect
     Lander's security interest. At Lender's request, Grantor additionally agrees to sign ell other documents that are necessary to perfect,
     protect, end continue tender's security Interest In the Property. Grantor will pay all filing fees, title transfer fees, end other foes end costs
     involved unless prohibited by law or uniass Lender'is required by taw to pay such fees and costs. Grantor Irrevocably appoints Lender to
     execute documents necessary to transfer title if there is a default. Lender may file a copy of this Agreement as a financ'ng stetement,
     Grantor will promptly notify Lender of any change to Grantor's rime or the name of any individual Grantor, any Individual who :s a partner
     fora Grantor, and any Individual who Is a trustee or aettlor or truster for a Grantor under this Agreement. Grantor will also promptly notify
     Lander of any change to the name that appears on the most recently Issued, unexpired driver's license or state-issued Went fication card,
     any aspiration of the most recently issued driver's license or steheissued identification card for Grantor or any individual for whom Grantor
     Is required to provide notice regarding name changes.
 GRANTOR'S RIGHT TO POSSESSION. Until default. Grantor may have peasession of the tangible personal property and beneficial use of all the
 Collateral end may use it in any lawful manner not inconsistent with this Agreement or the Related Documents, provided that Grantor's right to
 poste:eon and beneficial use shall not timely to any Collateral where' possession of the Collateral by Lender is required by law to perfect
tender's temerity interest in such Collateral. If Lander of any time has possession of any Collateral, whether before or after en Event of Default,
 Lender shall be deemed to have exercised seasonable care in the custody end preservation of the Collaterat it Lender takes such action for that
 purpose as Grantor shell request or as Lender, in Lender's sole discretion, shall deem appropriate under the circumstances, but failure to honor
any request by Grantor shell not of Itself be deemed to bo a Nikita to exercise reasonable care, Lender shall not be required to take any stops
 necessary to preserve any rights in the Collateral against prior parties, not to protect, preserve or maIntain any security interest given to secure
the indebtedness.
LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially effect Lender's interest in the Co -"linnet or if
Grantor fells to comply with any provision of this Agreement or any Related Documents, including but not limited to Grantor's failure to
discharge or pay when due any amounts Grantor Is required to discharge 'or pay under thle Agreement or any Related Documents, Lander on
Grantor's behalf may (but shall not be obligated to) take any action that Lender deems appropriate, including but not limited to (recharging or
paying ail taxers, liens, security intermits, encumbrances and other claims, at any time levied or placed on the Collateral and paying alt costs for
insuring, mainteining and preserving the Collateral, All such expenditures paid by Lender for such purposes will then boar Interest at the Note
rate from the date paid by Lender to the data of repayment by Grantor. To the extant permitted by applicable law, all such expenses will
become a part at the Indebtedness and, at Undoes option, will 141 be payable en demand; ISI be added to the balance of the Note and be
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 apportioned among end be payable with any installment payments.to become due during either Iii the term of any applicable Insurance policy;
 or t21 the remaining term of the None or IC) be treated ins, a balloon paymerii which Will be due and payable at the Nate's maturity. The
 Agreement also will secure payment of these amounts. Such right shell be In addition to ell other rights and yarned as to which Lender may be
 entitled upon Default.
 DEFAULT. Each of the following shell constitute en Event of Default under this Agreement:
      Payment Default: Grantor fails to make any payment when due under the Indebtedness,
       Other Defaults. Grantor fails to comply with or to perform any other term, obligation, covenant or condition conta ned in this Agreement or
       in any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any other
       agreement between Lender and Grantor.
       Feiss Statements. Any warranty. representation or statement made or furnished to Lender by Grantor or on Grantor's behalf under this
       Agreement or the Violated Documents Is false or misleading in any material respect, either now or at the time made or furnished or becomes
       false or misleading at any time thereafter.
      Defective Collateralleation. This Agreement or any of the Related Documents ceases to be in full force and effect (including failure of any
      collateral document to create a weld and perfected security interest or lien) et any time and for any reason.
      Insolvency. The dissolution or termination of Grantor's existence es a pine business or the death of arty partner, the insolvency of
      Grantor, the appointment of a receiver for any part of Grantor's property, arty assignment for the benefit of creditors, any type of creditor
      workout, Cr the commencement of arty proceeding under any bankruptcy or insolvency laws by or against Grantor.
      Creditor or Forfeiture Proceedings, Commencement of foreclosure or forfeiture proceedings, whether by betidel proceeding, sell-help,
      repossession or any other method, by any creditor of Grantor or by any governmental agency against any collateral securing the
      Indebtedness. This includes a garnishment at any of Grantor's accounts, including deposit accounts, with Lander. However, this Event of
      Default shall not apply If there Ise good faith dispute by Grantor as to the validity or reasonableness of the claim which Is the bests of the
     creditor or forfeiture proceeding and if Granter gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender
      monies or a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, In Is sole discretion, as being art
      adequate reserve or bond for the dispute.
     Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the indebtedness or Guerentor
     dies or beComes incompetent or revokes or disputes the Validity of, or liability under, any Guaranty of the indebtednees. '        '
  • Adverse Change. A material adverse change occurs in Grantor's finance,' condition, or,Lander 'believes the prospect of payment or
      performance of the Indebtedness is Impaired. "
     Insecurity. Lender in good faith believes itself Insecure.
     Cure Provisions. If any delimit, other than a default in payment, is curable and f Grantor has not been given a notice of a breech of the
     same provision of this Agreement within the preceding twelve (121 months, it maybe cured It Grantor, after Lender sands written notice to
     Grantor damending cure ai such default: ill ewes the delault within thirty (301 days; or 12) if the cure requires more then thirty 1301
     dam Immediately Initiates steps which Lender deems in Lender's sole discretion to be sufficient to cure the default and thereafter
     continues and completes a)reasonable and necessary steps sufficient to produce compliance all soon as reasonably peace!.
RIGHTS AND REMEDIES ON DEFAULT, if an Event of Default occurs under this A' greement, at any time thereafter. Lender shelf have all the
ridge of a secured party under the Taxes Uniform Commercial Code. in addition end-without linemen, Lender may exercise any one or more of
the to Owing right's and remedies:
     Accelerate Indebtedness. Lender may declare the entire Indebtedness immediately due and payable, without notice 01 any kind to Grantor.
     Assemble Collateral. Lender may require Grantor to deliver to Lender all or any portion of the Cei tnap! and any and all certificates of tide
     and other documents relating to the Collateral. Lender may require Grantor to assemble the Collateral and make It available to Lender et e
     place to be designated by Lender, Lender also shag have full power to enter, provided Lander does ao without a breach of the peace or a
     trespass, upon the property of Grantor to take possession al and remove the Collateral, if the Collateral contains other goods not covered
     by this Agreement at the emit of repossession, Grantor agrees Lender may take such other goods. provided that Lender makes reasonable
     efforts to return them to Granter alter repossession.
     Sall the Collateral, Lender shell have full power to sell, lease, transfer, or otherwise deal with the Collateral or proceeds thereof in Lender's
     own name or that of Gram or. Lender may sell the Collateral at public auction or private sale. Unless the Collatare threatens to decline
     speedily in value or is of a type customarily sold art a recognised market, Lander will give Grantor, and other parsons as required by taw,
      reasonable notice of the time and place of any public sale, or the time after which any private sale or any other disposition of the Collateral
      Is to be made, However, no notice need be provided to any person who, after Event of Default occurs, enters into end authenticates an
      agreement waiving that person's right to notification of sale. The requirements of reasonable notice shall be met if such notice it given at
     least ten 1101 days before the time of the sale or disposition. All expenses relating to the disposition of the Collateral, including without
     limitation the expenses of retaking, ho'ding, insuring, preparing for sale and selling the Collateral, shell become a part of the Indebtedness
     secured by this Agreement and shell be payable on demand, with interest at the Note rate from date of expenditure until repaid.
      Appoint Receiver. Lender shall have the ught to have a receiver appointed to take possession of all or any pert of the Collateral, with the
     power to protect end preserve the Collateral, to operate the Collateral preceding foreclosure or sale, end to collect the rents from the
      Collateral and apply the proceed., over and above the cost of the receivership, against the Indebtedness, The receiver may serve without
     bond if permitted by law. Lander's right to the appointment of a receiver shall exist whether or not the apparent value of the Cot
     exceade the Indebtedness by a substantial amount. Enwoyment by Lender shall not disqualify a person from serving as a receiver.
     Collect Revenues, Apply Accounts. Lender, either itself or through a receiver, may collect the payments, rents, Income, and revenues from
     the Collateral. Lander may at any time in Lender's discretion transfer any Collates` into Lander's own name or that of Lender's nominee
     and receive the payments, rents, Income, and revenues therefrom and hold the same as security for the Indebtedness or apply It to
     payment of the Indebtedness In such order of preference es Lender may determine, insofar as the Collateral consists of accounts, genera
     intangibles. Insurance policies, instruments, chattel paper, choses in action, or similar property, Lander may demand, collect, receipt for,
     settle, compromise, adjust, sue for, foreclose, or ree,ize on the Cot:sterol as Lender may determine, whether or not Indebtedness or
     Collateral la then due, For these Purposes. Lender may, on behalf of and in the name of Grantor, receive, open and dispose of moll
     addressed to Grantor; change any address to which mail and payments are to be sent; and endorse notes, checks, drafts, money orders,
     documents of title, instruments and items pertaining to payment, shipment, or storage of any Collateral To facilitate collection, Lender
     may notify account debtors and ob.'gore on any Collateral is make payments directly to Lander,
    Obtain Deficiency, it Lender chooses to salt any or all of the Collateral, Lender may obtain a,'udgment against Grantor for any deficiency
    remaining on the Indebtedness due to Lender after application of all amounts received from the exercise of the rights provided in this
    Agreement. Grantor shall be liable for a deVciancy even if the trans/mewl described In this subseetlon Is a sale of accounts or chattel
    paper.
    Other Rights and Remedies.. Lender than have ell the rights end remedies of a secured creditor under the provisions of the Uniform
    Commercial Code, as may be amended from time to time. In ed&tion, Lender shall have and may exercise any or all other rights and
    remedies it may have available at law, In equity, or otherwise.
    Election of Remedies. Except as may be prohibited by applicable law, ail of Lender's rights and remedies, whether evidenced by this
    Agreement, the Related Documents, or by any other wrung, shall be cumulative and may be exereited singuitely or concurrently. Election
    by Lender to pursue any remedy shell not exclude pursuit of any other remedy, end an reaction to make expenditures or to take action to
    perform en °begat:On Of Grantor under this Agreement, after Grantor's focus to perform, shall not reflect Lender's right to declare a default
    and exercise its remedies.
ORIGINAL DOCUMENT. 'The parties whose signatures appear ba ow agree that a photographic, photostatic, fecalma, electronic, copy or
gime& reproduction of this document Shall be va.id as the orlginel.",
CHOICE OF VENUE. If Mere Js a lawsuit, Grantor agrees upon Lender's request to submit to the Jurisdiction of the Courts of Lubbock County,
Texas, The parties agree that Lubbock County, Texas is the sole and exclusive venue for any lawsuit arising out of this transaction.
MISCELLANEOUS PROVISIONS. The following misceartisous provisions are a pert of this Agreement:
   A mendments. This Agreement. together with any Related Documenta, constitutes the entre understanding and agreement of the parties
   as to the matters set forth in this Agreement. No alteration of or amendment to thl Agreement shell be effective unless given In writing
   and signed by the party or parties 'ought to be charged or bound by the alteration or amendment.
   Attorneys' Fees: Expanses. Grantor agrees to pay upon demand et of Lender's costs and expenses, Including Lender's, reasoneble
   attorneys' fees end Lender's legal expeneas, Incurred in connection with the enforcement of this Agreement. Lender may hire or pay
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    someone etas to help enforce this Agreement, and Grantor shall pay the costs and expenses of such enforcement. Costs end expenses
    Include Lander'■ reasonable attorneys' fees and legal expenses whether or not there is a lawsuit, Includ'ng Lender's reasonati'a attorneys'
    foes and legal expenses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay or injunction), appeals, end
    any anticipated post.judgment collection SCHVICAL Grantor also shell pay a court costs and such additional fees as may be d meted by the
    court.
    Caption Headings. Caption heading; in this Agreement are for convenience purposes only and are not to be used to interpret or define tho
    provisions of this Agreement,
    Governing Law, This Agreement will be governed by federal law applicable to Lender and. to Aire extent not preempted by federal law, the
    law; of the State of Texas without regard to its conflicts of law provisions. This Agreement has been accepted by Lender in the State of
    Texas.
    No Waiver by Lander. Lender shell not be deemed to have waived any rights under this Agreement unless such waiver is given in writing
    and signed by Lender. No delay or =Osten on the pert of Lender In exorcising any right shell operate ea a waiver of such right or any
    other right, A waiver by Lander of a provision of this Agreement shall not prejudice or constitute a waver of Lender's right otherwise to
    demand *Wet compliance w th that provision or any other proyision of title Agreement. No prior waiver by Lender, nor any course of
    dealing between Lender end Grantor, shell constitute a waiver of any of Lender's rights or of any'of Grantor's obligations as to arty future
    transactions. Whenever the consent of Lander Is required under this Agreement, the granting of such consent by Lender in any Instance
    shall not constitute continuing consent to subsequent instances where such consent Is required and in all cases such consent may be
    granted or withheld in the sole discretion of Lander,
    Notices. Any notice required to be given under this Agreement shall be given In writing, and shell ba effective when Mealy delivered,
    when actually received by telefacelmikt (unless otherwise required by law), when deposited with a nationally recognized overnight courier,
    or, If mailed, when deposited in the United States mall, as ihst class, certified or registered mall postage prepaid, directed to the addresses
    shown near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giving formei written
    notice to the other parties, specifying that the purpose of the notice is to change the party's address• For note() purposes, Grantor agrees
    to keep Lender informed at ail times of Grantor's currant address. Unless otherwise provided or required by law, if there is more then ono
    Grantor, any notice given by Lender to any Grantor deemed to be notice given to ell Grantors.
    Power of Attorney. Grantor hereby appoints Lander es Grantor's irrevocable ettorneyin•fnat for the purpose of executing env documents
    necessary to perfect, amend, or to continue the security interest granted in this Agreement or to demand termination of Vngs Of other
    secured parties, Lander may at arty time, and without further authorization from Grantor, Ills a carbon, photographic or other reproduction
    of any financing statement or of this Agreement for use as a financing statement. Grantor 1.01 reimburse Lender for all expenses for the
    perfection and the continuation of the perfection of Lenders security interest in the Collateral.
    Severability. if a court of competent Jurisdiction finds any provision of this Agreement to be Magee, invalid, or unenforceable as to any
    circumstance, that finding shah not make the offending provision Illegal-, invalid, or unenforceable as to any other circumstance. It fessibia,
    the offending provision shall be considered mod lied so that it becomes legal, valid and enforceable. If the offending provision cannot be so
    modified, ft shall be considered deleted from this Agreement. Unless otherwise required by law, the illegality, invalidity, or unenterceabitity
    of any provision at this Agreement shall not affect the logety, validly or enforceability of any other provision of this Agreement.
    Successors and Ageism. Subject to any limitations elated in thia Agreement on transfer of Grantor's interest, this Agreement shoe be
    binding upon end Inure to the benefit of the parties, Shear successors and assigns, 11 Ownership of the Collateral becomes vested
    person other than Grantor. Lender, without notice to Grantor, may deal with Grantor's successors with reference to this Agreement and the
    Indebtedness by way of forbearance or extension without releasing Grantor from the ob.'gatIons of this Agreement or Lability under the
    Indebtedness.
    Survival of Representations and Warranties. All represontatons, warranties, and agreements made by Grantor In this Agreement shalt
     survive the execution end delivery of thin Agreement, shell be contewing In nature, and ahall remain in full force end effect until such time
    as Grantor's Indebtedness shall be paid In full.
    Time is of the Essence, Time is of the essence 'n the performance of this Agreement.
DEFINITIONS. The following capitalized words and terms shell have the following meanings when used in this Agreement. Unless specilically
stated to the contrary, all references to dollar amounts shall mean amounts in lawful money of the United States of America. Words and terms
used in the singular shell Include the plural, and the plural shell include the singular, as the context may require. Words and terms not otherwise
defined In this Agreement shell hewethe meanings attributed to such terms In the Uniform Commercial Codoi
     Agreement. The word "Agreement* means this Commercial Security Agreement. as this Commercial Security Agreement may be amended
     or modified from time to time, together with all exhibits and schedules attached to this Commercial Security Agreement from time to time.
    Borrower. The word 'Borrower' means Roger Auto Mall,               dbe Raegor•Dykes of Levelland and includes all co,slonots and co•makere
    signing the Note end all their tuccessors and assigns.
    Collateral. The word 'Collateral* means al/ of Grantor's right. title and interest in and to ell the Collateral es described in the Collateral
    Description section of this Agreement.
    Default. The word 'Default' moans the Default set forth in this Agreement in the section titled "Dufour.
    Environmental Law!. The words "Environmental Laws' mean any and all state, federal and local statutes, regulations and ordinances
    misstep to the protection of human health or the environment, Including without limitation the Comprehensive Environmental Response.
    Compensation, and Liability Act of 1980. as emended. 42 U.S.C. Section 9601, et seq. ("CERCLAI. the Suporfund Amendments and
    Reauthorization Act of 1986, Pub. L. No. 99.499 ("SARA"), the Hazardous Materiels Transportation Act, 49 U.S C, Section 1801, et lea ,
    the Resource Conservation and Recovery Act, 42 U.S.C. Section 0901, at seq., or other applicable state or federal laws, rules, or
    regulations adopted pursuant thereto.
    Event of Default, The word. "Event of Default" mean any of the avant, of default sot forth in this Agreement In the default section of this
    Agreement.
    Grantor. The word "Grantor• moans Reagor Auto Mail. Ltd , dbe Reiner-Dykes of Levelland.
    Guarantor. The word "Guarantor" means any guarantor, surety, or accommodation party of any or all of the Indebtedriese.
   Guaranty. The word 'Guaranty" means the guaranty from Guarantor to Lender, Including without limitation a guaranty of all or part of the
   Note,
   Hazardous Substances. The words 'Hazardous Substances" mean materials that, because of their quantity, concentration or physical,
   chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when
   Improperly used, treated, stored, disposed of, generated, manufactured, transported or otherwise handled. The words "Hazardous
   Substances' are used in their vary broadest sense and include without limitation any and all hazardous or toxic substances, materials or
    waste as defined by Of listed under the Environmental Lam, The term "Hatardous Substances" also includes, without limitation, petroleum
   and petroleum byproducts or any fraction thereof and asbeatee.
   Indebtedness. The word Indebtedness' means the Indebtedness evidenced by the Note or Related Documents, Including 6{1 principal end
   interest together with all other Indebtedness and costs and expenses for which Grantor is responsible under this Agreement or under any of
    the Rotated Documents. 60101001y, without limitation, indebtedness Inctudee ell amounts that may be indirectly secured by the
   Cross-Conatertilization provision of this Agreement,
   Lender. The word 'Lender" means First flank & Trust, its successors and assigns.
   Note. The word "Note" means the Note doted September 29. 2017 end executed by Reaper Auto Mall, Ltd„ dba Reagor•Dykos of
   Levallend In the principal amount of 01,000,000 00, together with MI renewals of, extensions of, modifications of, refinancings of,
   consolidations of, and substitutions for the nets or credit agreement.
   Property. The word "Property' means ell of Granter's right, title and interest in and to all the Property es described In the 'Collateral
   Description' section of this Agreement.
   Related Documents. The words "Related Documents' moan all promissory notes, credit agreements, loan agreements, environmental
   agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other instruments,
   agreements and documents, whether now or hereafter existing, executed in connection with the Indebtedness.
GRANTOR HAS READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS COMMERCIAL SECURITY AGREEMENT AND AGREES TO ITS
TERMS. THIS AGREEMENT IS DATED SEPTEMBER 29, 2017.
                                                                                 t 1.1•1•1;
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                                                                                    ;         -




                                      COMMERCIAL. SECURITY AGREEMENT
Loan No: 1009818597                             (Continued)                                                                           Page 5


GRANTOR:



REAGOR AUTO MALL, LTD., ORA REAGOR•DYKES OF LEVELLAND



REAGO          Lt. I, .L.C., General Farmer of Raegor Auto Men, Ltd., Ogg, Rea or.       Ir

                                                                   By:
                              r Auto Mall I, L L,C.                      Rick                              agor Auto Mall I. L,L,C.

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           Case 5:18-cv-00234-C Document 103 Filed 03/04/19                                                                       Page 77 of 137 PageID 2065

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                                         0000000010098 8597%0220%092920 7%00000000FIAA2564
                                                                                                       11 1
                                                     COMMERCIAL GUARANTY
Borrower;        Reamer Auto Mail, Ltd.. dbs ileagot-Dykes of                   Lender:         First Bank ea Trust
                 Lavanand (TIN: 20.02750221                                                     First Bank & Trust- South
                 1215 Ave. J                                                                    7806 Indiana Ave
                 Lubbock. TX 79401                                                              Lubbock, TX 79423
                                                                                                ISOM 776.0800
G uarantor:      Bert Ranger ISSN: 454.53-7835t
                 8504 Oxford Ave
                 Lubbock, TX 79423

     CONTINUING GUARANTEE OF PAYMENT AND PERFORMANCE. For good and veritable consideration, Guarantor absolutely and unconditionally
    guarantees full and punctual payment end satisfaction of the Indebtedneas of Borrower to Lender, and the performance and discharge of all
    Borrower's obligations under the Note and the Related Document,. This is a guaranty of payment end performance and not of collection, so
     Lender can enforce this Guaranty against Guarantor even when Lender has not exhausted Lender's remedies aorenst anyone else obligated to
     pay the Indebtedness or against any collateral securing the indebtedness, this Guaranty or any other guaranty of tine Indebtedness. Guarantor
     will make any payments to Lender or its order, on demand, in toned tender of the United States of America, In
                                                                                                                       same'dey funds, without setoff or
    deduction or counterclaim, and will otherwise perform Borrower's obligations under the Note and Related Documents. Under this Guaranty,
    Guarantor's liebillty is unlimited and Guarantor
                                                  ' . obligations ere continuing.
    INDEBTEDNESS. The word "Indebtedness" as used In this Guaranty means all of the principal amount outstanding from time to time and at any
   one or more times, accrued unpaid interest thereon and all collection costs and legal expenses related thereto permitted by law, Lender's
    reasonable attorney*. fees, arising from any arid all debts, liabilities and obligations of ovary nature or form, now existing or hereafter arising or
    acquired, that Borrower Individually or collectively or interchangeably with others, owes or will owe Lander. 'Indebtedness' Includes, without
   limitation, loans, advances, debts, overdraft indebtedness, credit card Indebtedness, lease oblIaationa, liabilities and obligations under any
   Interest rate protection agreements or foreign currency exchange agreements or commodity price protection agreements, other obligations, and
   liabilities of Borrower, end any present or future judgments against Borrower, future advances, loans or transactions that renew, extend, modify,
   refinance, consolidate or substitute those debts, liabilities and Obligations whether: voluntarily or involuntarily incurred; due or to become due by
   their terms or acceleration; absolute or contingent; liquidated or unllquldatad; determined or undetermined; direct or Indirect; primary or
   secondary In nature or arising from a guaranty or surety; secured or unsecured; joint or several or Joint and several; evidenced by a negotiable or
   nonmegotittble instrument or writing; originated by Lender or another or others; barred or unenforceeble against Borrower for any reason
   whatsoever; for arty transactions that may be voidable for any reason (such as Infancy, insanity, ultra vire' or otherwise); and originated then
   reduced or extinguished end then afterward' increased or reinstated.
   If lender presently holds one or more guaranties, or hereafter receives additional guaranties from Guarantor, Lender's rights under all guaranties
   shell be cumulative. This Guaranty shall not (unless speelfIcally provided below to the contrary) effect or invalidate any such other guaranties.
   Guarantor's liability will be Guarantor's aggregate liability under the terms of this Guaranty and any such other unterminated guarentlec.
   CONTINUING GUARANTY. THIS IS A 'CONTINUING GUARANTY' UNDER WHICH GUARANTOR AGREES TO GUARANTEE THE FULL AND
   PUNCTUAL PAYMENT, PERFORMANCE AND SATISFACTION OF THE INDEBTEDNESS OF BORROWER TO LENDER, NOW EXISTING OR
   HEREAFTER ARISING OR ACQUIRED, ON AN OPEN AND CONTINUING BASIS, ACCORDINGLY, ANY PAYMENTS MADE ON THE
   I NDEBTEDNESS WILL NOT DISCHARGE OR DIMINISH GUARANTOR'S OBLIGATIONS AND LIABILITY UNDER THIS GUARANTY FOR ANY
   REMAINING AND SUCCEEDING INDEBTEDNESS EVEN WHEN ALL OR PART OF THE OUTSTANDING INDEBTEDNESS MAY BE A ZERO
   BALANCE FROM TIME TO TIME.
   DURATION OF GUARANTY, This Guaranty will take effect when received by Lender without the necessity of arty acceptance by Lender, or any
  notice to Guarantor or to Borrower, and wilt continue in full farce until all the Indebtedness Incurred or contracted before receipt by Lender of
  any notice of revocation shell hove been fully and finally paid end satisfied and all of Guarantor's other obligations under this Guaranty shall have
  been performed in full. It Guarantor elects to revoke this Guaranty, Guarantor may only do so In writing. Guarantor's written notice of
  revocation must be mailed to Lender, by certified me, at Lender's address listed above or such other place as Lender may designate in writing
  Written revocation of the Guaranty will apply any to new Indebtedness created after actual receipt by Lender of Guarantor's written revocation
  and Lender's written acknowledgment of receipt. For this purpose and without natation, the term 'new ndebtedness' does not include the
  Indebtedness which at the time of notice of revocation is contingent, unlIquIdated, undetermined or not due and which later becomes absolute,
  liquidated, determined or due. For this purpose end without limitation,'new Indebtedness' does not Include ell or part of the indebtedness that
  Is: incurred by Borrower prior to revocation; Incurred under a commitment that became binding before revocation; any renewals.'extensions,
  substitutions, and modilications of the Indebtedness, This Guaranty shall bind Guarantor's estate as to the indebtedness created both before
  and after Guarantor's death or Incapacity, regardless of Lender's actual notice of Guarantor's death. Subject to the foregoing, Guarantors
  executor or administrator or other legal representative may terminate this Guaranty in the Berne manner in which Guarantor mght have
  terminated it end with the earns affect, Release of any other guarantor or termination of any other guaranty of the indebtedness shall not affect
  the liability of Guarantor under this Guaranty. A revocation Lander receives from any one or more Guarantors shall not affect the liability of any
  remaining Guarantors under this Guaranty. It is =detested that fluctuations may occur In the aggregate amount of the indebtedness covered by
  this Guaranty, end Guarantor specifically acknowledges end agrees that reduction* in the amount of the Indebtedness, even to tom defiers
 00.001, shall not constitute a termination of this Guaranty. This Guaranty is binding upon Guarantor and Guarantor's heirs, successors and
  assigns so tong es any of the Indebtedness remains unpaid and oven though the indebtedness may from time to time be zero deem (10.00).
  GUARANTOR'S AUTHORIZATION TO LENDER, Guarantor outhenzes Lender, either before or otter any revocation hereof. without notice or
 demand and without Intoning or otherwise affecting Guarantor's !lability under this Guaranty, from time to time: (A) prior to revocation as sat
  forth above, to make one or more addinonel secured or unsecured tisane to Borrower, to lease equipment or other goods to Borrower, or
 otherwise to extend additional credit to Borrower; (131 to alter, compromise, renew, extend, accelerate, or otherwise change one or more Imes
 the time for payment or other terms of the indebtedness or any pert of the Indebtedness, Including increases and chicle:axes of the rate of
 interest on the Indebtedness; extensions may be repeated and may be for tenger then the original loon term; IC) to take and hold security ((li-
 the payment of this Guaranty or the Indebtedness, end exchange, enforce, we've, subordinate, fell or decide not to perfect, and release any
 such security, with or without the substitution of new co'marsh (Di to release, substitute, agree not to sue, or deal with any one or more of
 Borrower's sureties, endorsers, or other guarantors on any terms or In any manner Lender may choose; (El to determ ne how, when and what
 application of payments end credits shall be Made on the Indebtedness; 1F1 to apply such security and direct the order or manner of sate
 thereof, Including without limitation, any nonJudIcial sale permitted by the terms of the controlling security agreement or deed of trust, as Lender
In it. discretion may determine; 101 to se I, transfer, assign or grant particfpations In elf or any part of the indebtedness; and (HI to assign or
 transfer this Guaranty in whole or In part
 GUARANTOR'S REPRESENTATIONS AND WARRANTIES. Guarantor represents and warrants to Lender that IA) no representations or
agreements of any kind have bean made to Guarantor which would gm's or qualify In any way the terms of this Guaranty; WI this Guaranty Is
executed at Borrower's request and not at the request of Lender; IC) Guarantor has full power, right and authority to enter Into this Guaranty;
 MI the provisions of the Guaranty do not conflict with or result In a default under any agreement or other Instrument binding upon Guarantor
and do not result In a violatten of any law, regulation, court decree or order app cable to Guarantor; (E) Guarantor has not and will not, without
the prior written consent of Lender, sell, tease, assign, encumber, hypothecate, transfer, or otherwise depose of all or substentialy all of
Guarantor's assets, or any Mterest therein; (F) upon Lender's request, Guarantor will provide to Lender I treacle! end credit Information In form
acceptable) to Lender, and all such financial information which currently has been, and all future financial Information which will be provided to
Lender Is end will tie true end correct in all material respects and fairly present Governor's financial condition as of the date" the Menial
information is provided;            no material adverse change has occurred in Guarantor's f              condition since the date of the most recent
financial statemente'provided to Lander end no event has occurred which may materially adversely affect Guarantors financial condition; Oil
no litigation, claim, investigetion, administrative proceeding or similar action (including those for unpaid texas) against Guarantor is pending or
threatened; II Lender hes made no representation to Guarantor as to the creditworthiness of Borrower; and (J) Guarantor has established
adequate means of obtaining from Borrower on a continuing beats Information regarding Borrower's financial condition. Guarantor agrees to
keep adequately informed from such means of any facts, events, or circumstanees which might In any way affect Guarantor's risks under this
Guaranty, and Guarantor lurther agrees that, absent a request for information, Lender shell have no obligation to disclose to Guarantor eny
information or documents acquired by Lender in the course of its relationship with Borrower.
GUARANTOR'S WAIVERS. Except as prohibited by applicable law, Guarantor waives any right to require Lender (A) to continue endaig
money or to extend other credit to Borrower; MI to make any presentment, protest, demand, or notice of any kind, including notice of any
nonpayment of the Indebtedness or of any nonpayment related to any collateral, or not:co of any act on or nOneetion on the pert of Borrower,
Lender, any surety, endorser, or other guarantor in connection with the lndabledneas or In connection with the creation of now or additional
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                                                      COMMERCIAL GUARANTY
 Loan No: 10098113597                                            (Continued)                                                                Page 2

loans or obligations: IC) to resort for payment or to proceed directly or at once against any parson, including Borrower or Any other guarantor;
031 to proceed directly against or exhaust any collatorsl held by Lender from Borrower, any other guarantor, or any other person; (E) to give
notice of the terms, time, and place of any public or private sate of pareonal property security held by Lender from Borrower or to comply with
any other applicable provisione of the Uniform Commercial Code; IF) to pursue any other remedy within Lender's power; or (GI to commit any
act or omission of any kind, or at arty time, with respect to any matter whatsoever.
Guarantor waives all rights of Guarantor under Chapter 43 of the Texat Civil Practice end Remedial Coda. Guarantor also waives any and ail
rights or defenses based on suretyahlp or impairment of collateral Includ ng, but not limited to, any rights or defenses arising by reason of tea
arty "ono action" or "anti-deficiency' law or any other law which may prevent Lander from bringing any action, including a claim for deficiency,
against Guarantor, before or after Lander's commencement or completion of any foreclosure action, either judicially or by exercise of a power of
sale; lB) any election of ramedlea by Lender which destroys or otherwise adversely affects Guarantor's subrogation rights Of Guarantor's rights
to proceed against Borrower for reimbursement. including without limitation, any lass of rights Guarantor may Buffer by reason of arty law
limiting, qualifying, or discharging the Indebtedness; (C) any disability or other defense of Borrower, of any other guarantor, or of any tither
person, or by reason of the cessation of Borrower's liability from any cause whatsoever, other than payment in full in legal tender, of the
indebtedness; ID) arty right to claim discharge of the Indebtedness on the bas"+s of unjustified Impairment of any collateral for the Indebtedness;
1E1 any statute of limitations, if at any time any action or suit brought by Lender against Guarantor is commenced, there Is outstanding
Indebtedness which Is not barred by any applicable statute of limitations; or (F) any defenses given to guarantors at few or in equity other than
actual payment and performance of the Indebtedness. If payment is made by Borrower, whether voluntarily or otherwise, or by any third party,
on the Indebtedness end thereafter Lender is forced to remit the amount of that payment to Borrower's trustee in bankruptcy or to any similar
person under any federal or state bankruptcy law or law for the relief of debtors, the Indebtedness shall be considered unpaid for the purpose of
the enforcement of this Guaranty.
Guarantor further waives and agrees not to assert Or claim at arty time any deductions to the amount guaranteed under this Guaranty for any
darn of setoff, counterclaim, counter demand, recoupmont or similar right, whether such claim, demand or right may be asserted by the
Borrower, the Guarantor, or both.
GUARANTOR'S UNDERSTANDING WITH RESPECT TO WAIVERS, Guarantor warrants end agrees that each of the waivers sat forth above is
made with Guarantor's full knowledge of Its sign.teance and consequences and that, under the circumstances, the waivers are reasonable and
not contrary to public policy or law, If any such waiver Is determined to be contrary to any applicable 'ow or public poi-icy, such waiver shell be
effective only to the extent permitted by law or public policy
RIGHT OF SETOFF. To the extant permitted by applicable law, Lender reserves a rght of setoff in all Guarantors accounts with Lender
(whether checking, savings, or some other account). This Includes a accounts Guarantor holds jointly with someone else end WI accounts
Guarantor may open in the future. However, this does not include any IRA or Keogh accounts. or any trust accounts for which setoff would be
prohibited by law. Guarantor authorizes Lender, to the extent permitted by applicable law, to hold these funds If there la a default, and Lender
may apply the funds in these accounts to pay whet Guarantor *Was under the terms of ttes Guaranty.
SUBORDINATION OF BORROWER'S DEBTS TO GUARANTOR. Guarantor' agrees that the indebtedness, whether now existing or hereafter
created, shall be superiOr to any claim that Guarantor may now have or hereafter acquire against Borrower, whether or not Borrower becomes
insolvent, Guarantor hereby (*prosily subordinates any claim Guarantor may have against Borrower, upon any account whomever, to any
c elm that Lender may now or hereafter have against Borrower, rt the event of insolvency and consequent liquidation of the assets of Borrower,
through bankruptcy, by en assignment for the benefit of creditors, by voluntary liquidation, or otherwise, the assets of Borrower applicable to
the payment of the claims of both Lender and Guarantor shall be paid to Lender and shall be first applied by Lander to the Indebtedness.
Guarantor does hereby assign to Lender all' claims which it may have or acquire egotist Borrower or against any assignee or trustee In
bankruptcy of Borrower; provided however, that such assignment shell be affective only for the propeee of assuring to Lender full payment in
legal tender of the indebtedness. if Lender an requests, any notes or credit agreements now or hereafter evidencing any debts or obligations of
Borrower to Guarantor shell be marked with a legend that the same era eublatt to this Guaranty and shall be delivered to Lander. Guarantor
agrees. and Lender is hereby authorized, In the name of Guarantor, from time to ems to file financing statements and continuation statements
and to execute documents and to take such other actions as Lender deems necessary or appropriate to perfect, preserve and enforce its rights
under this Guaranty,
MISCELLANEOUS PROVISIONS. The following miscelaneaus provis on. are a pert of this Guaranty:
     Amendments. This Guaranty, together with any Related Documents, constitutes the entire understanding and agreement of the parties oe
         the matters set forth in this Guaranty. No alteration of or amendment to this Guaranty shall be affective unless given in writing and
     trigned by the party or parties ought to be charged or bound by the alteration or amendment.
     Attorneys' Fees; Expanses. Guarantor tepees to pay upon demand all of Lender's costs and expenses, Including Lender's reasonable
     attorneys' fees and Lender's legal expenses, incurred In connection with the enforcement of this Guaranty, Lender may hire or pay
     someone else to help enforce this Guaranty, and Guarantor shell- pay the costs and expenses of such enforcement. Costs and expenses
     Include Lender's reasonable attorneys' fees and legal expert:tee whether or not there Is a lawsuit, Mcluding Landere reasonable attorneys'
     feed, and legal expenses for bankruptcy proceedings (Including efforts to modify or vacate any automatic stay or Ikunction), appeals, and
     any anticipated poatiudgment collection services, Guarantor also shall pay ail court coats and such additional fees as may be directed by
     the court.
    Caption Headings. Caption headings n this Guaranty ore for convenience purposes only and era not to be used to interpret or define the
    provisions of this Guaranty.
    Governing Law. This Guaranty will be governed by federal law epplicable to Lander and, to the extent not preempted by federal law, the
    laws of the State of Taxes without regard to its.conflicts of law provisions.
    integration. Guarantor further agrees that Guarantor has read and fully understands the terms of this Guaranty; Guarantor has had 'the
    opportunity to be advised by Guarantor's attorney with respect to this Guaranty; the Guaranty fu y reflects Guarantor's intentions arid pare(
    evidence Is not required to Interpret the terms of this Guaranty. Guarantor hereby indemnifies and holds Lender harmless from WI losses,
    eta ms, damages, and costs (Including Lender's attorneys' fees) attitude or Incurred by Lender as a result of any breech by Guarantor of the
    warranties, representations and agreements of fists paragraph.
    Interpretation. In all canes where there is more than one Borrower or Guarantor, then a I words used In this Guaranty In the singular shoe
    be deemed to have been used in tho plural where the context and construct on an require; and where there =s more than one Borrower
    nomad in this Guaranty or when this Guaranty is executed by more than one Guarantor, the words 'Borrower" end "Guarantor"
    respectively shag mean ell and any one or more of them. The words `Guarantor." 'Borrower,' and "Lender' Include the heirs, successors,
    insigne, and transferees of each of them. If a court finds that any provision of this Guaranty is not valid or should not be enforced, that
    fact by itself will not mean that the rest of this Guaranty will not be vett or enforced. Therefore, a court wit enforce the rest of the
    provisions of this Guaranty even If a provis on of this Guaranty may be found to be invalid or unenforceable, If any one or more of
    Borrower or Guarantor are corporations, partnersh pa, mired liability companies, or emiler enaes, ft Is not necessary for Lender to inquire
    into the powers of Borrower or Guarantor or of the officers, drover*, partners, managers, or other agents acting Of purporting to act on
    their behalf, and any Indebtedness made or created in ream upon the en:dossed exercise of such powers shalt be guaranteed under this
    Guaranty.
    Notices. Any notice required to be given under this Guaranty shell be given In writing, and, except for revocation notices by Guarantor,
    shall be affective when actually delivered, when actually received by talefacsimile (unless otherwise required by law), when deposited with
    a nationally recognized overnight courier, or, if mailed, when deposited in the United States mall, as first class, certified or registered mail
    postage prepaid, d reeled to the addresses shown near the beginning of this Guaranty. All revocation notices by Guarantor shall be In
    writing and shall be effective upon delivery to Lender as provided in the section of this Guaranty entitled "DURATION OF GUARANTY."
    Any party may change its address for notices under this Guaranty by giving format written notice to the other parties, specifying that the
    purpose of the notice is to change the party's address, For notice purposes, Guarantor agree* to keep Lender Informed at ail times of
    Guarantor's current address. Unless otherwlea provided or required by law, If there la more than one Guarantor, any notice given by Lender
    to any Guarantor is deemed to be notice given to all Guarantors.
   No Waiver by Lender, Lender shall not be deemed to have waived any rights under this Guaranty unless such waiver as given In writing and
   signed try Lender. No delay or omission art the pert of Lender In exercising any right shall operate as a waiver of such right or any other
   right, A welvar by Lender of a provision of th,e Guaranty shell not prejudice or constitute a waiver of Lender's right otherwise to demand
   atrial compliance with that provision or any other provision of this Guaranty. No prior waiver by Lender, nor any course of dealing between
   Lender and Guarantor. shall constitute a waiver of any of Lender's rights or of any of Guarantor's obligations as to any future transactions.
   Whenever the consent of Lender Is required under this Guaranty, the granting of such consent by Lender In any instance shall not constitute
   continuing consent to subsequent instances where such consent Is required and In all caries such consent may be granted or withheld In
   the solo d aeration 01 Lender.
   Successors and Assigns. Subject to any ern:iodises stated in this Guaranty on transfer of Guarantor's Warn*, this Guaranty ghee be
   binding upon and inure to the benefit of the parties, their successors end assigns.
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                                                           COMMERCIAL GUARANTY
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     Waive Jury. Lander and Guarantor hereby waive the right to any jury trial in.any action, proceeding, or counterclaim brought by either
     Lender or Guarantor against the other.
     Original Document. 'The parties whose signatures appear below agree that a photographic, photostatic, facitim le, a ectronlc, copy or
     slmJar reproduction of this document shell be yard ma the original.",
     Choice of Venue. If there ie a lawsuit, Guarantor sprees upon Lender's request to submit to the jurisdiction of the Courts at Lubbock
     County, Texas The parties agree that Lubbock County, Texas is the sole end axcluaiva venue for any lawsuit arising out of this Guaranty,
DEFINITIONS, This following capitalized words and terms shell have the following meanings when used in this Guaranty. Unless epecIfically
stated to the contrary, all references to dollar amounts shell mean amounts In lawful money of the United States of America. Wards and terms
used in this singular shall Include the plural, end the plural shell Include the singular, as the context may require. Words end terms not otherwise
defined In this Guaranty shall have the meanings attributed to such terms in the Uniform Commercial Coda:
    Borrower. The word 'Borrower" means Reactor Auto Mall, Ltd., dire Reagor•Dykes of Lavalland and includes all co-signors and co•mziters
    signing the Note end all their successors and assigns.
     Guarantor. The word 'Guarantor" means everyone signing this Guaranty, including without limitation Bart Reegor, end in each case, any
    s gner's successors and assigns,
    Guaranty. The word "Guaranty' means this guaranty from Guarantor to Lander.
    Indebtedness. This word 'Indebtedness" means Borrower.* Indebtedness to Lender as more particularly described in this Guaranty.
    Lander. The word "Lender" manna First Bank & Trust, Its successors and assigns.
     Note. The word 'Note" means and includes without limitation all of Borrower's promissory notes and/or credit agreements evidencing
     Borrower's loan obligations In favor of Lender, together with all renewals of, extensions of, modifications of, refinancings of, consolidations
    of and substitutions for promissory notes or credit agreements,
    Related Documents, The words 'Related Documents' mean ail promissory notes, credit agreements, loan agreements, anvyonmantal
    epreaments, guaranties, security agreements, mortgages, deeds of trust, security deeds, collatera: mortgages, and al other Instruments,
    agreements end documents, whether now or hereafter existing, executed In connection with the Indebtedness.
EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES•HAVING READ ALL THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
TERMS. IN ADDITION. EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR'S EXECUTION AND
DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
IN THE SECTION TITLED "DURATION OF GUARANTY". NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAKE THIS GUARANTY
EFFECTIVE, THIS GUARANTY IS DATED SEPTEMBER 29, 2017.

GUARANTOR:




                                                 INDIVIDUAL ACKNOWLEDGMENT

STATE OF


COUNTY OF    LJ,ADLA_______                                             155




Th's Instrument was acknow'edged be         me on           -AurAvir A                                        by Bart Reogor.

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                   iP•     Vs NolcuyPublIC, Mateo, boos
                                 orri Expires 05•22•2019                                              ,State of Texas
                                NolOtY ID 125582733


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                                                    COMMERCIAL GUARANTY

Borrower:       Reaper Auto Mali, Ltd., dha neagor-Dykas of                   Lender:         First Bank & Trust
                Levolland (TIN: 20.0275022)                                                  First Bank & Trust' South
                1215 Ave. J                                                                   MB Indiana Ave
                Lubbock, TX 79401                                                             Lubbock, TX 79423
                                                                                             (BOB)778.0800
Guarantor:      Rick Dykes ISSN; 457-17.5345)
                4705 21st Street
                Lubbock, TX 79407

  CONTINUING GUARANTEE OF PAYMENT AND PERFORMANCE. For good and valuable consideration, Guarantor absolutely and unconditionally
 guarantees full and punctual payment and satisfaction of the Indebtedness of Borrower to Lander, and the performance and discharge of all
  Borrower's obligations under the Note and the Related Documents, This is a guaranty of payment and performance and not of collection, so
  Lender can enforce this Guaranty sgainst Guarantor even when Lender has not exhausted Lender's remedies against anyone else obligated to
  pay the Indebtedness or against any collateral aocuring the Indebtedness, this Guaranty or any other guaranty of the Indebtedness. Guarantor
  will make any payments to Lender or Its order, on demand, in legal tender of the United States of America, in same-day funds, without set-off or
 deduction or counterclaim, and will otherwise perform Borrower's obligations under the Note end Related Documents. Under this Guaranty,
 Guarantor's liability is unlimited end Guarantor's obligations ere continuing.
  INDEBTEDNESS. The word 'Indebtedness' as used In this Guaranty means all of the principal amount outstanding from time to time end at any
 one or more times, accrued unpaid interest thereon end all collection costs and legal expanses related thereto permitted by law, tender's
  reasonable attorneys' lees, arising from any and all debts, liabilities and obligations of every nature or form, now existing or hereafter arising or
 acquired, that Borrower individually or collectively or interchangeably with others, owes or wilt owe Lender. indebtedness" Includes, without
 IMItation, loans, advances, debts, overdraft.Indebtedness, credit card Indebtedness, lease obligations, liabilities end obligations under any
 interest rate protection agreements or foreign currency exchange agreements or commodity price protection agreements, other obligations, and
 liabilities of Borrower, and any present or future judgments against Borrower, future advances, loans or transactions that renew, wand, modify,
 refinance, consolidate or subatitute these debts, ilebilities and obligations whether: voluntarily or involuntarily incurred; due or to become due by
 their terms or acacia:mien; absolute or contingent; liquidated or unliquIdated; determined or undetermined; direct or indirect; primary or
 secondary In nature or arising from a guaranty or surety; secured or unsecured; Mint,or several or joint and several; evidenced by a,nogotioble or.
 norimegotiab instrument or writing; originated by Lender or another or others; barred or unenfOrcerable against Borrower for any reason
 whatsoever; for any transactions that may be voidable far any reason (such as infancy, insanity, ultra visas or otherwise); and originated then
 reduced or extinguished and than afterwards increased or reinstated.
 II Lender presently holds one or mere guaranties, or hereafter receives additional guaranties from-Guarantor, Lender's rights under all guaranties
 shall be cumulative. This Guaranty she'1 not funiets specifically provided below to the contrary) affect or Invalidate any such other guaranties.
 Guarantees liability will be Guarantor's aggregate liability under the terms at this Guaranty and any such other unterminated guaranties,
 CONTINUING GUARANTY. THIS IS A 'CONTINUING GUARANTY' UNDER WHICH GUARANTOR AGREES TO GUARANTEE THE FULL AND
 PUNCTUAL PAYMENT, PERFORMANCE AND SATISFACTION OF THE INDEBTEDNESS OF BORROWER TO LENDER, NOW EXISTING OR
 HEREAFTER ARISING OR ACQUIRED, ON AN OPEN AND CONTINUING BASIS. ACCORDINGLY, ANY PAYMENTS MADE ON THE
 INDEBTEDNESS WILL NOT DISCHARGE OR DIMINISH GUARANTOR'S OBLIGATIONS AND LIABILITY UNDER THIS GUARANTY FOR ANY
 REMAINING AND SUCCEEDING INDEBTEDNESS EVEN WHEN ALL OR PART OF THE OUTSTANDING INDEBTEDNESS MAY BE A ZERO
 BALANCE FROM TIME TO TIME.
 DURATION OF GUARANTY. This Guaranty will take effect when received by Lender without the necessity of any acceptance by Lender, or any
 notice to Guarantor or to Borrower, and will continuo in full force until all the Indebtedness Incurred or connected before receipt by Lender of
 any notice of revocation shall have bean fully and finally paid and satisfied and ell of Guarantor's other obligations under thie Guaranty shall have
 been performed In full, If Guarantor elects to revoke this Guaranty, Guarantor may only do so in writing. Guarantor's written notice of
 revocation must be melted to Lender, by certified mail, at Lender's address listed above or such other place as Lender may designate in writing.
 Written revocation of this Guaranty will apply only to new Indebtedness created after actue` receipt by Lander of Guarantor's written revocation
 and tender's written acknowledgment of race pt. For this purpose and without ilm'tation, the term 'new Indebtedness' does not inciuda the
 Indebtedness which at the time of notice or revocation is contingent, unliquideted, undetermined or not due and when later becomes absolute,
 liquidated, determined or due. For this purpose end without intuition, 'new Indebtedness" does not Include ell or part of the Indebtedness that
 is; Incurred by Borrower prior to revocation; Incurred under a commitment that became binding before revocation; any renewals, extensions,
 substitutions, and modifications of the Indebtedness This Guaranty shell bind Guarantor's estate es to the Indebtedness created both before
 end after Guarantor's death or Incapacity, regardless of Lender's actual notice of Guarantor's death. Subject to the foregone, Guarantor's
 executor or administrator or other legal representative may terminate this Guaranty In the same manner In which Guarantor might have
 terminated It end with the same effect, Release of any other guarantor or termination of any other guaranty of the Indebtedness she!) not effect
 the liability of Guarantor under this Guaranty. A revocation tender receives from any one or mere Guarantors she not affect the Iletrdy of any
 remaining Guarantors under this Guaranty. It is anticipated that fluctuations may occur in the aggregate amount of the Indebtedness covered by
 this Guaranty, and Guarantor specifically acknowledges- and agrees that reductions In the amount of the Indebtedness, even to zero dollars
(40.001, shall not constitute a termination of this Guaranty. This Guaranty Is binding upon Guarantor end °mentor's heirs, successors and
 assigns so long as any of the Indebtedness remains unpaid and even though the Indebtedness may from tints to time be zero dollars (00.00),
 GUARANTOR'S AUTHORIZATION TO LENDER. Guarantor authoritee Lender, either before or after any revocston hereof, without notice or
 demand end without lessening or otherwise affecting Guarantor's liability under this Guaranty, from time to time: IA) prior to revocation as sot
 forth above, to make one or more additional secured ar unsecured loans to Borrower, to tease equipment or other goods to Borrower, or
 otherwise to extend additional credit to Borrower; WI to alter, comprom se, renew, extend, accelerate, or otherwise change one or more times
 the time for payment or other terms of the Indebtedness or any part of the Indebtedness, Including Increases and decreases of the rate of
 interest on the Indebtedness; extensions may be repeated and may be for longer than the original loan term; ICI to take and hold security for
 the payment of this Guaranty or the indebtedness, and exchange, enforce, waive, subordinate, fell or decide not to perfect, and release arty
such security, with or without the substitution of new collateral; ID) to release, substitute, agree not to sue, or deal with any one or more of
 Borrower's sureties, endorsers, or other guarantors on any terms or In any manner Lender may choose; 1E) to determine how, when and what
 application of payments and credits shell be made on the indebtedness;              to apply such security and elrem the order or manner of sate
 thereof, including without limitation, any nonJudicle, sale permitted by the terms of the controlling security agreement or deed of trust, as Lender
in Its discretion may determine; IGI to sell, transfer, assign or grant participations in all ar any pert of the Indebtedness; end (1-1) to ensign or
transfer this Guaranty in whole or in part
GUARANTOR'S REPRESENTATIONS AND WARRANTIES, Guarantor represents and warrants to Lander that IA) no representations or
agreements of any kind have been made to Guarantor which would limit or qua .fy in any way the terms of this Guaranty; 15) the Guaranty is
executed at Borrower's request and not at the request of Lender; IC) Guarantor has full power, right and authority to enter into this-Guaranty;
ID) the provisions of this Guaranty do not canna wdh or result In a default under any agreement or other instrument binding upon Guarantor
and do not result in a violation of any law, regulation, court decree or order app cable to Guarantor; (El Guarantor has not and will not, without
the prior written consent of Lander, sell, lease, awl" encumber, hypothecate, transfer, or otherwise dispose of all or substantially alt of
Guarantor's assets, or any Interest therein, WI upon Lender's request, Guarantor will provide to Lender financial and credit information in form
acceptable to Lender, and all such financial information wh ch currently has bean, and all future flnanc'al Informaton which will be provided to
Lender Is and will be true and correct In all materiel respects and fairly present Guarantor's financial condition as of the dates the nancial
Information Is provided; 10) no material adverse change has occurred :it Guarantor's financial condition since the date of the moat recent
financial statements provided to Lender and no event has occurred which may meter ally adversely affect Guarantor's financial condition; (Hi
no litigation, claim, investigation, administrative proceed ng or similar action (including those for unpaid taxes) against Guarantor Is pending or
threatened; ill Lender has made no representation to Guarantor es to the creditworthiness of Borrower. and (J1 Guarantor has established
adequate means of obtaining from Borrower on e continuing basis information regarding Borrower's financial condition. Guarantor agrees-to
keep adequately Informed from such means of any facts, events, or circumstances which might In any way affect Guarantor's risks under this
Guaranty, and Guarantor further agrees that, absent 4 request for information, Lender shall have no obligation to disclose to Guarantor any
Information or documents acquired by Lender in the course of its relationship with Borrower.
GUARANTOR'S WAIVERS. Except as proh Wed by applicable law, Guarantor waives any right to require Lender (A1 to cent nue lend ng
money or to extend other credit to Borrower; 101 to make any presentment, protest, demand, or notice of any kind, including notice of any
nonpayment of the Indebtedness or of any nonpayment reeled to any collateral, or notice of any action or r:inaction on the part of Borrower,
Lender, any surety, endorser, or other guarantor n connection with the Indebtedness or in connection wait the creation of new or additional
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 loans or obligations; IC) to resort for payment or to proceed directly or et once against any person, including Borrower or any other guarantor;
  ID) to proceed directly agitate' or exhaust any collateral hold by tender from Borrower, any other guarantor, or any other person; 1E) to give
 notice of the terma, time, and place of any public or private sale of personal property security held by Lender from Borrower or to comply with
 any other applicable provisions of the Uniform Commercial Coda; IF) to pursue any other remedy within Lender's power; or (GI to commit any
 act or omission of any kind, or at any time, with respect to any matter whatsoever.
 Guarantor waives all rights of Guarantor under Chapter 43 of the Texas Civil Practice and Remedies Coda, Guarantor olio waives any and all
 rights or defenses based on suretyship or Impairment of collateral Including, but not limited to, any rights or defenses arising by reason of (A)
 any 'one action" or 'antl.deliciancy" law or any other law which may prevent Lander from bringing any action, including a claim for deficiency,
 against Guarantor, before or after Lender's commencement or completion of any foreclosure action, either judicially or by exercise of a power of
 seta; 1E) any election of ramediem by Lander which destroys or otherwise adversely affects Guarantor's subrogation rights or Guarantor's rights
 to proceed against Borrower for reimbursement, including without amitatidn, any loss of rights Guarantor may suffer by reason of any law
 limiting, qualifying, or discharging the Indebtedness; (CI any disability or other defense 01 Borrower, of any other guarantor, or of any other
 parson, or by reason of the cessation of Borrower's liability from any osuse whatsoever, other then payment lit full in legal tender, of the
 Indebtedness; ID) any right to claim discharge of the Indebtedness on the basis of unjustified impairment of any collateral for the indebtedness,
(El arty statute of limitations, if at any time any action or suit brought by Lender against Guarantor is commented, there is outstanding
 Indebtedness which is not barred by any applicable statute of limitations; or (F) any defenses given to guarantors at law or in equity other than
actual payment end performance of the Indebtedness. If payment is made by Borrower, whether voluntarily or otherwise, or by any third party,
on the Indebtedness and thereafter Lander is forced to remit the amount of that payment to Borrower's trustee in bankruptcy or to any similar
 person under any federal or state bankruptcy few or law for the relief of &Attars, tho Indebtedness shall be considered unpaid for the purpose of
 the enforcement of this Guaranty.
 Guarantor further waives end agrees not to assert or claim et arty time any deductions to the amount guaranteed under this Guaranty for any
claim of setoff, counterclaim, counter demand, 'accruement or similar right, whether such claim, demand or right may be asserted by the
Borrower, the Guarantor, or both,
 GUARANTOR'S UNDERSTANDING WITH RESPECT TO WAIVERS. Guarantor warrants end agrees that each of the waivers set forth above is
 made with Guarantor's full knowledge of its significance and consequences and that, under the circumstances, the waivers are reasonable and
 not contrary to public policy or law. If any such waiver la determined to be contrary to any applicable law or public policy, such waiver she be
effective only to the extent permitted by low or public policy.
 RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of sotofl in all Guarantor's accounts with Lender
(whether checking, savings, or soma other amount). This includes ell accounts Guarantor holds jointly with someone else end all accounts
Guarantor may open in the future. However, this does not include any IRA or Keogh accounts, or any twat accounts tar which setoff would be
prohibited by law. Guarantor authorizes Lender, to the extent permitted by applicable law, to hold those funds if there is a default, and Lender
may apply the funds in theta accounts to pay what Guarantor owes under the terms of this Guaranty.
SUBORDINATION OF BORROWER'S DEBTS TO GUARANTOR. Guarantor agrees that the indebtedness, whether now existing or homelier
created, shell be superior to any claim that Guarantor may now have or hereafter acquire against Borrower, whether or not Borrower becomes
Insolvent. Guarantor hereby expressly subordinates any claim Guarantor may have against Borrower, upon any eccount whatsoever. to any
claim that Lender may now or hereafter have against Borrower. In the avant of insolvency and consequent liquidation of the musts of Borrower,
through bankruptcy, by en assignment for the benefit of creditors, by voluntary liquidation, or otherwise. the easels of Borrower apptcabm to
the payment of the claims at both Lander and Guarantor shall be paid to Lander and shall be first applied by Lender to the indebtedness
Guarantor does hereby assign to Lander alt claims which it may have or acquire against Borrower or against any assignee or trustee in
bankruptcy of Borrower; provided however, that such assignment shall be effective only for the purpose of assuring to Lender full payment in
legal tender of the Indebtedness. If Lander so requests, any notes or Credit agreement' now or hereafter evidencing any debts or obilgetbns of
Borrower to Guarantor shall be marked with a legend that the same are subject to this Guaranty and shall be delivered to Lander. Guarantor
agrees, and Lender is hereby authorized, in the name of Guarantor, from limo to time to file financing statement; and,continuation statements
and to execute documents end to take such other actions as Lender deems necessary or appropriate to perfect, preserve and enforce its rights
under this Guaranty,
MISCELLANEOUS PROVISIONS. The•following miscellaneous provisions are a part of this Guaranty:
       Amendments, This Guaranty, together with any Related Documents, constitutes the entire understanding and agreement of the parties as
       to tha matters sat forth In this Guaranty. No alteration of or amendment to this Guaranty shall be effective unless given in writing and
      signed by the party or parties sought to be charged or bound by the alteration or amendment,
       Attorneys' Feast Expanses. Guarantor agrees to pay upon demand all of Lender's costs and expenses, including Lender's reasonable
       attorneys' leas and Lender's legal expenses, incurred in connection with the enforcement of this Guaranty. Lender may hire or pay
       someone else to help enforce this Guaranty, end Guarantor shell pay the costs and expanses of such enforcement. Costs and expanses
       Include Lender's reasonable attorneys' fees end legal expenses whether or not there is a lawsuit, including Lender's reasonable attorneys'
       Mee and legal expenses for bankruptcy proceedings (Including efforts to modify or vacate any automatic stay or injunctions, appeals, end
       any anticipated post-jtidgment ctillection aervices. Guafantor also shall pay ell court costs end such additional foes as may be directed by
       the court,
       Caption Headings. Caption headings in this Guaranty are for convenience purposes only and are not to be used to interpret or define the
       provisions at this Guaranty.
       Governing Law. This Guaranty wilt be governed by federal law applicable to tender and, to the extent not preempted by federal law, the
      laws of tho State of Texas without regard to Its conflicts of law provisions.
      Infatuation. Guarantor further agrees that Guarantor has road and fully understande 'the terms of this Guaranty; Guarantor has had the
      opportunity to be advised by Guarantor's attorney with respect to this Guaranty; the Guaranty fully reflects Guarantor's Intentions and perol
      evidence Is not required to Interpret the terms of this Guaranty. Guaramor.hereby indemnities end holds Lender harmless from all lassos,
      claim., damage!, and casts (Including Lender's attorneys' fees) suffered or incurred by Lender as s result of any breech Cy Guarantor of the
       warranties, representations and agreements of this paragraph.
      Interpretation. In ail cases.where there is more than one Borrower or Guarantor, than all words used In this Guaranty In the singular 'shall
       be deinted to havalmon used 'in the plural whore the context and construction ■o require; and where there Is more then one Borrower
      named in this Guaranty or when this Guaranty is executed by more then one Guarantor, the words "Borrower' and "Guarantor'
      respectively shall mean all and any one or more of them. The words "Guarantor." Borrower," and 'Lender' include the hairs, successors.
       assigns, end transferees of each of them, If a court finds that any provision of this Guaranty is not valid or should not be enforced, that
       tact by Reel( will not mean that the rent of this Guersnly will not ba valid or enforced. Therefore, a court will enforce the rest al the
      provisions of this Guaranty oven if a provision of this Guaranty may be found to be invalid or unenforceable. If any one or more of
      Borrower or Guarantor ore corporations, partnerships, limited liability companies, or similar entities, it is not necessary for Lender- to.inquire
      into the powers of Borrower or Guarantor or of the officers, directors, partnere, managers, or other agents acting or purporting to act on
       their behalf, and any indebtedness made or crested in reliance upon the professed exorcise of such powers shall be guaranteed under this
      Guaranty.
    • Notices. Any notice required to be given under this Guaranty shell be given in writing, and, except for revocation notices by Guarantor,
      shall be effective when actually delivered, when actually received by tolefacalmile (unless otherwise required by tow), when deposited with
      a notionally recognized overnight courier, or, if mailed, when deposited In the United States mall, as first close, certified or registered mall
      patties prepaid, directed to the addresses shown near the beginning of this Guaranty. Ali revocation notices by Guarantor shell be in
      writing.and shall be effective upon delivery to Lender as provided In the section of this Guaranty entitled 'DURATION OF GUARANTY.*
      Any party may change its address for notices under this Guaranty by giving formal written notice to the other parties, specifying that the
      purpose of the notice Is to change the party's address For notice purposes, Guarantor agrees to keep Lender informed at all times of
      Guarantor's current address, Unless otherwise provided or required by law, il there is more than one Guarantor, any notice given by Lender
      to any Guarantor Is deemed to be notice given to all Guarantors.
      No Waiver by tender. Lender shall not be deemed to have waived any rights under this Guaranty unless such waiver is given in writing end
      signed by Lender. No delay or omission an the pert of Lender In exercising any right shall operate es a waiver of such right or any other
      right. A waiver by Lander of a provision of this Guaranty shell not prejudice or constitute a waiver of Lender's right otherwise to demand
      strict compliance with that provision or any other provision of this Guaranty. No prior waiver by Lender, nor any course of dealing between
      tender and Guarantor, shall constitute a waiver of any of Lender's rights or of any of Guarantor'a obligations as to any future transactions.
      Whenever the consent of Lander is required underihis Guaranty, the granting of such consent by Lender in any instance shall not constitute
      continuing Consent to subsequent instances where such consent is required and In ail cases such consent may be granted or withheld In
      the sole discretion of Lender.
      Successors and Assigns. Subject to any limitations stated in this Guaranty on transfer of Guarantor's interest, this Guaranty shall be
      binding upon and inure to the benefit of the parties, their successors and assigns.
                                .201,7-1:prr.
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                                                         COMMERCIAL GUARANTY •
Loan No: 1009818597                                           (Continued)                                                                 Pagi 3

      Waive Jury. Lender and Guarantor hereby welw the right to any jury W..1111
                                                                             ..4 1,
                                                                                  7cellar', proceeding, or counterclaim brought by either
      Lender or Guarantor against the other,          Cr
      Original Document, -The nettles whose signatures appear below agree that a photographic, photostatic, fecoimlie, electronic, copy or
      similar reproduction of this document shell be vend es the origin/IL'.
     Choice of Venue. If there is a lawsuit, Guarantor agrees upon Lender's request to submit to the jurisdiction of the Courts of Lubbock
     County, Texas, The parties agree that Lubbock County. Taxes Is the sole and exclusive venue for any lawsuit arising out of this Guaranty.
DEFINITIONS. The following capitalized words and terms shall have the following meanings when used in this Guaranty, Unless specifically
Slated to the contrary, all references to dollar amounts shell mean amounts In lawful money of the United Stems of America. Words and terms
used In the singular shall Include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
defined In this Guaranty shall have the meanings attributed to such terms in the Uniform Commercial Code:
    Borrower. The word 'Borrower' moons Ranger Auto Mall, Ltd,, dba Reagor•Dykee of levelland and Includes all cosigners and co.makers
    signing the Note end all their successors and assigns,
    Guarantor. The word 'Guarantor' moans everyone signing this Guaranty, Including without limitation Rick Dykes, end In each me, any
    signer's successors end Insigne.
    Guaranty, The word "Guaranty" means this guaranty from Guarantor to Lander,
    Indebtedness. The word 'Indebtedness' means Borrower's Indebtedness to Lender as more particularly described in this Guaranty.
    Lender, The word `Lender' means First Bank & Trust, its successors and ass gns.
    Nate, The word 'Note' means and Includes without imitation ell of Borrower's promissory notes and/or credit agreements evidencing
    Borrower's loan obligations In favor of Lender, together with all renewers of, extension& of, modifIcatront of, refinancings of, consolidations
    of end substitutions for promissory notes or credit agreements,
    Related Documents. The words 'Related Documents' mean a promissory notes, credit agreements, loan agreements, environments:
    agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, colt/sterol mortgages, end ell other instruments,
    agreements end documents, whether now or hereafter existing, executed In connection with the Indebtedness,
EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
TERMS. IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR'S EXECUTION AND
DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
IN THE SECTION      LED "DURATION r F GUARANTY", NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAKE THIS GUARANTY
EFFECTIVE.                     IS DA      SEPTEMBER 29. 2017.

GUARANIS:VI;
      • \

X
    Rick Dykes


                                                 INDIVIDUAL ACKNOWLEDGMENT
STATE OF               1_,X4C6
                                                                       I SS
COUNTY OF        L.9...air9OLA




This Instrument was acknowledged before me an                                                   2121   -     by Rick Dykes.


                              LYNETTE BONHAM
                  r :-N4 Notary Puoso, Stare of torsos                                 Note      ublic, State of a
            9;i  .• .    Comm.Expires 05.22.2019
                           Notary ID 123582733

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                                                 BUSINESS LOAN AGREEMENT
   PrfnOlptll        ' Lottn Date •     Maturity            Loan No.  :.            Call(pea             ,A0gottrtt         Officer      Initials
52.500.O00.00 09;292017 10,01-208                        4009E1220E18              - 44745               BAAi664              JET
   References in the Moms above era for Lender's Use only end do not limit the applicability of this document to any particular loan or hem,
                             Any Item above containing'•      has been omitted cc: to text length limItatans.
Borrower:       Ranger Auto Mali. Ltd. dbe Reagor•Dykes imports                 Lender:         First Bank ,et Trust
               (TIN; 20-02760221                                                                First Bonk Centre
                1215 Ave .1                                                                    9818 Slide Road
                Lubbock. TX 79401                                                               Lubbock, TX 79424
                                                                                               (806)788.0800


 THIS BUSINESS LOAN AGREEMENT dated September 29, 2017, is made end executed between Reagan Auto Moll. Ltd. dbe ReagoeDykas
 Imports rBorroweel and First Bank & Trust ('Lender") on the following terms and conditions. Borrower has received prior commercial loans
 from Lender or has applied to Lender (or a commercial loan or loans or other financial accommodations, Including those which may be described
 on any exhibit or schedule attached to this Agreement. Borrower underetende and agrees that: (A) m granting. renewing. or extending any
 Loan. Lender is relying upon Borrower's representations. warranties, and agreements as sat forth In this Agreement; (B) the granting,
 renewing, or extending of any Loan by Lender at all times shall bo subject to Lender's sole Judgment and discretion; end (C) all such Loans
 shell be and remain subject to the terms and conditions of this Agreement.
 TERM. This Agreement shalt be effective ee of September 29, 2017, and shret continua in full farce and effect until such time as ell of
 Borrower it Loans In favor of Lander have been paid In full, including princ,pal, interest, costs, expenses, attorneys' fees, and other fees end
 charges, or until October 1. 2018.
 CONDITIONS PRECEDENT TO EACH ADVANCE. Lender's obligatun to make the initial Advance and each subsequent Advance under this
 Agreement shell be sublect to the fulfillment to Lender's satisfaction of as ti the conditions set forth in this Agreement and In the Related
 Documents.
      Loan Documents. Borrower shall provide to Lender the follow ng documents for the Loans Ili the Note; 121 Security Agreements
     granting to Lender security Interests in the Collateral; (3) financing atatements and all other documents perfecting Lender's Security
     interests; (4) evidence of insurance as requited below; (6) pewees; (6) together with ell such Related Documents as Lender may
      require for the Loan; all In form end substance satisfactory to Lender end Lender's counsel.
      Borrower's Authorization. Borrower shell have provided in form end substance satisfactory to Lender properly certified resolutions, duly
      euthorlIng the execution and delivery of this Agreement, the Note and the Related Documents, In addition, Borrower shell have provided
     such other resolutions, authorizations, documents and instruments as Lander or Its counsel, may require.
     Payment of Fees and Expense*. Borrower shell have paid to Lender a.f fess, charges, and other expenses which are then due and payable
      as specified In this Agreement or any Related Document.
      Representations and Warranties. The representations and warranties set forth in this Agreement, in the Related Documents, end in any
     document or cerfineete delivered to Lender under this Agreement are true and correct,
      No Event of Default. There shall not exist et the time of any Advance a condition which would constitute an Event of Default under this
     Agreement or under any Related Document.
 REPRESENTATIONS AND WARRANTIES. Borrower represents end warrants to Lender, es of the data of this Agreement, es of the date of each
 disbursement of eon proceeds, as of the date of any renewal, extension er modification of any Loan, end et all times any Indebtedness exists:
     Organization. Borrower is a limited partnership which is, end at el times shell be, duly organized, validly existing, and in good standing
      under end by virtue of the laws of the State of Teem Borrower is duly authorized to transact business in all other states In which
     Borrower is doing business, having obtained all necessary filings, governmental lemmas and approvals for each state In which Borrower Is
      doing business Specifically, Borrower Is, and at all times shall be, duly qualified es a foreign limited partnership in a states in which the
      failure to so qualify would have a material *dyers* effect on its business or financial condition, Borrower has the full power and authority
     to own Its properties and to transact the believers in which it is presently engaged or presently propose* to engage. Borrower maintains en
     office at 1215 Ave .1, Lubbock, TX 79401. Unless Borrower hes designated otherwise in writing, the principal office Is the office at which
     Borrower keeps Its books and records Including Its records concerning the Collateral. Borrower will not f y Lender prier to any change in the
     location of Borrower's principal office address or any change In Borrower's name, Borrower shall do all things necessary to preserve and to
      keep In full force and effect its existence, rights and privileges, and shell comply with all regulations, rules, ordinances, statutes, orders and
     decree: of any governmental or quesliovernmental authority or court applicable to Borrower end Borrower's business activities.
     Assumed Business Names. Borrower hes filed or recorded all documents or filings required by law relating to all assumed business names
     used by Borrower, Excluding the name of Borrower, the following is a complete list of all assumed business nemee under which Borrower
      does business: Nene.
     Authorisation. Borrower's execution, delivery, and performance of this Agreement and all the Related Documents have been duly
     authorized by all necessary action by Borrower and do not conflict with, result In a violation of, or constitute a default under 11) any
      provision of fa) Borrower's articles or agreements of partnership, or (b1 any agreement or other Instrument binding upon Borrower or (2)
     any law, governmental regulation, court decree, or order applicable to Borrower or to Borrower's properties.
     Financial Information. Each of Borrower's flnenciel statements supplied to Lender truly and completely disclosed Borrower's finencial
     condition as of the date of the statement, and there has been no meterlal adverse change In Borrower's financial condition subsequent to
     the data of the most recent financial statement supplied to Lender. Borrower has no materiel contingent obligations except as dleciosed in
     such financial statements,
     Legal Effect. This Agreement constitutes, and any instrument or agreement Borrower is required to give under th e Agreement when
     delivered will constitute legal, valid, and binding obliget ens of Borrower enforceable against Borrower in accordance with their respective
     terms.
     Properties. Except as contemplated by this Agreement or as previously disclosed in Borrower's financial ;Moments or in writing to Lender
     and es accepted by Lender, and except for property tax liens for taxes not present y due and payable, Borrower owns end hes good title to
     all of Borrower's properties free and clear of all Security Interests, and hes not executed any security documents or financing statements
     relating to such properties. All of Barroweee properties ore titled in Borrower's legal name. and Borrower hat not used or filed a financing
     statement under any other name for at least the last five 191 years.
     Hazardous Substances. Except as disclosed to and acknowledged by Lender in writing, Borrower represents and warrants that: el) During
     the period of Borrower': ownership of the Collateral, there hes been no use, generation, manufacture, storage, treatment, disposal, release
     or threatened release of any Hazardous Substance by any parson on, under, about at from any of the Colateral, f21 Borrower has no
     knowledge of, or meson to believe that there has been le) any breach or violation of any Environmental Laws; OA arty use, generation,
     manufacture, storage, 'treatment, disposal, reteese or threatened release of any Hazardous Substance on, under, about or from the
     Collateral by any prior owners or occupants of any of the Collateral; or          any actual or threatened ;11gation or claims of any kind by any
     person relating to such matters. 131 Neither Borrower nor any tenant, contractor, agent or other authorised user of any at the Collateral
     shell  use,  generate,  manufacture,   store,  treat. dispose of  or  mimesis any  Hazardous Substance on, under, about or from any of the
     Collateral; and any such activity shall be conducted In compliance with all applicable federal, state, and local lawn, regulations, end
     ordinances, Including without limitation all Environmental    Laws.    Borrower  authorizes Lender end its agents to enter upon the Collateral to
     make such inspections end tests as Lender miry doom appropriate to determine comp' tines of the Collateral with this section of the
     Agreement, Any inspections or tests made by Lender shall be et Borrower's expense end for Lender's
                                                                                                                        purposes only and shall not be
     construed to create any responsibility or liability on the part of Lender to Borrower or to any other person. The representations and
     warranties contained herein are based an Borrower's due diligence in Investigating the Cvateral for hazardous waste end Hazardous
                                                                                                                                            in the event
     Substances. Borrower hereby 111 releases and waives any future claims against Lender !or Indemnity or contribution                 harmless Lender
     Borrower becomes noble for cleanup or other costs under any such laws, end 121 agrees to indemnify, defend, end hold
                                                                                                                 directly or Indirectly wittier' or suffer
     against any end all claims. lames, liabilities, damages, penulties, and expenses which Lender may
     resulting from a breech of rills section of the Agreement or as a consequence of any use, generation, manufacture, storage, disposal,
     release or threatened release of a hazardous waste or substance on the Collateral. The provisions of this section of the Agreement,
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                                                 BUSINESS LOAN AGREEMENT
Loan No: 4009822988                                     (Continued)                                                                       Page 2

    Including the obligation to indemnify end defend, shall survive the payment of the Indebtedness and the termination, expiration or
    satisfaction of this Agreement and shall not be affected by Lender's acquisition of any interest in any of the Collateral, whether by
    foreclosure or otherwise.
    Litigation and Claims. No litigation, claim, invastlgotion, administrative proceeding or similar action (including those for unpaid taxes)
    against Borrower Is pending or threatened, and no other event has occurred which may materially adversely affect Borrower's financial
    condition or properties, other than litigation, claims, or other events, If any, that have been disclosed to and acknowledged by Lender In
    writing.
    Taxes, To the best of Borrower's knowledge, ail of Borrower's tee returns and reports that are or wore required to be filed, have been
         and all taxes, assessments and other governmental charges have been paid in full, except those presently being or to be contested by
    Borrower In good faith In the ordinary course of business and for which adequate reserves have bean provided.
    Lion Priority. Unless otherwise previously disclosed to Lander in writing, Borrower has not entered into or granted any Security
    Agreements, Or permitted the tiling or attachment of any Security Interacts on or affecting any of the Collateral directly or indirectly
    SOCurng comment of Borrower's Coen and Note, that would be prior or that may in any way be superior to Lender a Security interests end
    rights In and to such Collateral.
    Binding Effect. This Agreement, the Nom, all Security Agreements el any), and all Related Documents are binding upon the signors
    thereof, as well as upon thee successors, representatives and assigns, sod are legally enforceable in accordance with their respective
    terms,
AFFIRMATIVE COVENANTS, Borrower covenants end agrees with Lender that, so lone es this Agreement remains in effect, Borrower will:
    Notices of Claims and Litigation. Promptly inform Lender in writing of (1) ail material adverse changes In Borrower's financial condition,
    and 12) all existing and all threatened litigation, claims, investigations, administrative proceedings or similar actions affecting Borrower or
    any Guarantor which could materisty affect the financial condition of Borrower or the blander condition of any Guarantor,
    Financial Records. Maintain its books and records in accordance with GAAP, applied on a consistent basis, and permit Lender to examine
    and audit Borrower's books end records at all reasonable times.
    Fineneel Statements. Furnish Lender with the following:
         Interim Statements. As soon as available, but In no event later than thirty (30) days alter the end of each fiscal quarter, Borrower's
         balance sheet end profit and foss statement for the period ended, prepared by Borrower in form satisfactory to Lender.
        Tax Returns. As soon as available alter the applicable fling date far theme reporting period ended, Borrower's Federal and other
        governmental tax returns, prepared by a lax professional satisfactory to Lender.
        Addition*) Requitements.
        Annual Statements. As soon at malletsc or by September 30th of each fiscal year, Borrower's balance sheet and income statement
        for the year ended, audited by a certified nubile accountant satisfactory to Lender
        Inventory Listing. As soon es availebte after the end of each fiscal month, company prepared In form satisfactory to Lender
        Gutuantoris) egress to furnish Lender with the following:
         Annual Statements. As soon as available alter the end of each fiscal year, Guarantor's balance sheet and income statement for the
         year ended, prepared by Guarantor in form satisfactory to Lender
         Tex Returns, As icon as avelerbie after the applicable filing data for the tax reporting period ended, Federal and other governmental tax
         returns, prepared by a tax prole:lel:1nel satisfactory to Lander
    Ail financial reports required to be provided under this Agreement shell be prepared in accordance with GAAP.,applied on a consistent
    heels, and certified by Borrower as being true and correct.
    Additional Information. Furnish such additional information and statements, a; Lander may request from time to time.
    Additional Requirements.
    Minimum Annual DSCR: 1.00X aher.distribution debt service coverage ratio required for the companies on a consolidated bees measured
    quarterly. Failure to meet requirement wilt result In all mimed debt increasing to a tate of FB&T Base + 3.00%.
   The DSCR will be calculated as:
   Earmings before Interest, depreciation, and amortization IEBIDAI:
   •Partner draws from equity
   +Partner contributions to equity
   . Cash flow to service debt
   Divided by annual debt service
   . Debt Service Coverage Ratio
    Maximum Current Ratio: Current ration required at or above I 001 including mcategorization of owner receivables to fong.torm assets
    Curtailments: 10% due at 90 days; 10% due every 20 days thereafter until paid n full
    Flooring Feet $26.00 foe per floored item
   Monthly Inspection: Monthly Inspections of all unite. .
   Insurance. Maintain fire and other risk insurance, public liability insurance, end such other insurance as Lender may require with respect to
   Borrower's properties and operations, In form, amounts, and mower reasonably acceptable to Lender and by insurance companies
   authorized to transact business in Texas, BORROWER MAY FURNISH THE INSURANCE REQUIRED BY THIS AGREEMENT WHETHER
   THROUGH EXISTING POLICIES OWNED OR CONTROLLED 8Y BORROWER OR THROUGH EQUIVALENT COVERAGE FROM ANY
   INSURANCE COMPANY AUTHORIZED TO TRANSACT BUSINESS IN TEXAS. Borrower, upon request of Lender, will deliver to Lander from
   time to time tha policies or certificates of insurance In form satisfactory to Lender, including stipulations that coverages will not be
   cancelled or diminished without at least tinny (30) days prior written notice to Lender. Bath insurance policy also shell Include en
   endorsement providing that coverage in laver of Lender will not be impaired in any way by any act, omission or default of Borrower or any
   other parson, In connection with all pal ales covering assets In which Lender holds or is offered a security interest far the Leans, Borrower
   will provide Lender with such lender's loss payable or other endorsement* as Lender may require,
   Insurance Reports. Furnish to Lender, upon request of Lender, reports on each existing Insurance policy showing such Information an
   Lander may reasonably request, including without limitation the fo "owing: I1) the name of the insure() t2) the risks insured; (31 the
   amount of the policy; 141 the properties Insured; IS) the than current property values on the Mali of which insurance has been obte ned,
   and the manner of determining those valves; and (6) the expiration date of the po cy. In addition, upon request of Lender (however not
   more often than annually), Borrower will have en independent appraiser sat &factory to Lender determine, as applicable, the actual cash
   value or replacement cost of arty Collateral. The cost of such appraisal shell be paid by Borrower.
   Guaranties. Prior to disbursement of any Loan proceeds, furn sh executed guaranties of the Loans In favor of Lender, executed by the
   guarentore named below, on Lender's forms, and in the amounts end    and under the conditions set forth in those guaranties.
                  Names of Guarantori                           Amounts
                   Bart Reaper                                  Unlimited
                   Rick Dykes                                   Unlimited
   Other Agreements. Comply with all terms and conditions of all other agreements, whether now or hereafter existing. between Borrower
   and any other party and notify Lender Immediately in writing of any default in connection with any other such agreements.
   Loan Proceeds. Ueo all Loon proceeds solely for Borrower's bus nest Monitions, unless specifically consented to the contrary by Lender in
   writing.
   Taxes, Charges end Liens. Pay end discharge when due alt of its Indebtedness and obligations, including without limitation all assessments,
   taxes, governmental charges, levies and liens, of ovary kind and nature, imposed upon Borrower or its properties, Income. or profits, prior
   to the date on which penalties would attach, end all lawful cialms that, if unwed, might become a lien or charge upon any of Borrower's
   properties, Income, or profits. Provided however, Borrower will not be required to pay and discharge any such assessment, tax, chew,
   levy, lien or claim so long as 11) the legality of the earns shall be contested In good faith by appropriate proceedings, and (21 Borrower
   shall have established on Borrower's books adequate reserves with respect to such contested amassment, tax, charge, levy, Ilan, or claim
   In accordance with GAAP.
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                                                      „               •
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     Performance. Perform and comply, in a timely manner, wish all terms, conditions, and provisions eat forth in this Agreement, In the Related
     Documents, and In all other instruments and agreements bat'Ween 0orrow'ai.end` Lander, Borrower shall notify Lender immediately In
     writing of any default In connection with any agreement.
     Operations. Maintain executive end, management personnel with substantially the same qualifications and experience es the present
     executive and management personnel; provide written notice to Lender of any change In executive and management personnel; conduct its
     business affairs In a reasonable and prudent manner,
     Environmental Studies. Promptly conduct arid complete, at Borrower's expense, all such investigations, studies, samplings and teetings as
     may be requested by Lander or any governmental authority relative to any substance, or any waste or byproduct of any substance defined
     as toxic or a hazardous substance under eppliceee federal, state, or local law, rule, regulation, order or directive, at or affecting any
     property or any facility owned, leased or used by Borrower.
     Compliance with Governmental Requirements. Comply with all laws, ordinances, and regulations, now or hereafter to ettact, of all
     governmental authorities applicable to the conduct of Borrower's properties, businesses and operations, and to the use or occupancy of the
     Collateral, Including without limitation, the Americana With Disabilities Act. Borrower may contest in good fads any such law, ordinance,
     of regulation and withhold compliance during any proceeding, including appropriate appeals, so long as Borrower has notified Lender In
     writing prier to defile so and so long as, in Lender's sole opinion, Lender's interests In the Colaterel are not Jeopardised. Lender may
     require Borrower to post adequate security or a surety bond, reasonably satisfactory to Lander, to protect Lender's Interest, •
     Inspection. Permit empfoyeea or agents of Lender at any reasonable time to Inspect any and all Colligate for the Loan or Loans and
     Borrower's other properties and to examine or audit Borrower's books, accounts, and records and to make copies and memoranda of
     Borrower's books, accounts, and records, If Borrower now or at any time hereafter maintains any records (including without limitation
     computer generated records and computer software programs for the generation of such records) in the possession of a third party,
     Borrower. upon request of Lender, shall notify such party us permit Lender free access to such records at all reasonable times and to
     provide Lender with copies of arty records it may request, all at Borrower's expense,
     Compliance Certificates. Unless waived in writing by Lender, provide Lander at least annually, with a certificate executed by Borrower's
     chief financial officer, or other ottcer or parson acceptable to Lander, certifying that the representations and warranties set forth In this
     Agreement are true and correct as of the date of the certificate and further certifying that, as of the date of the certificate, no Event of
     Default exists under this Agreement.
     Environmental Con:genes and Reports. Borrower shall comply in all respects with any and all Environmentel Laws; not cause or Permit to
     exist, as a result of en Intentional or unintentional action or omission on Borrower's part or on the part of any third party, on property
     owned and/or occupied by Borrower, any environmental activity where damage may result to the environment, unless such environmental
     activity Is pursuant to and in compliance with the conditions of a permit :slued by the appropriate federal, state or local governmental
     authorities) shall furnish to Lender promptly and in any event within thirty 1301 days after receipt thereof a copy of any notice, summons,
     Ilan, citation, directive, -• otter or other communication from any governmental agency or instrumental.ty concerning any Intentional or
     unintentional action or omission on Bonowees part in connection with any environmental activ ty whether or not there is damage to the
     environment and/or other natural resources,                                          "
     Additional Assurances. Make, execute and deliver to Lender such promissory.notes, Mortgages, deeds of trust, security agreements,
     assignments, financing statements, instruments, documents end other agreements as Lander or Is attorneys may reasonably request to
     evidence and secure the Loans end to perfect all Security Interests.
LENDER'S EXPENDITURES. If any action or proceeding is commenced that would materially effect Lender's Interest in the Collateral or II
Borrower fails to comply with any provis on of this Agreement or any Related Documents, including but not I ratted to Borrower's failure to
&schlep or pay when due any amounts Borrower Is required to discharge or pay under this Agreement or any Related Documents, Lender an
Borrower's behalf may ibut shalt not be obligated tat take any action that Lender deems appropriate, Twits:ling but riot limited to discharging or
paying all taxes, liens, security interests, encumbrances and other c=alms, at any time levied or placed an any Collateral and paying ail costs for
insuring, maintaining and preserving any Collateral. All such expenditures pod by Lender for such purposes will then boar Miami at the Note
rate from the date paid by Lander to the data of repayment by Borrower. To the extent permitted by applicable law, all such expense* will
become a part of the indebtedness and, at Lender's option, will (A) be payable on demand; (B) be added to the balance of the Note and be
apportioned among and be payable with any installment payments to become due during either 11) the term of any apt:Acetate insurance policy;
or (2) the remaining term of the Note; or IC) be treated as a balloon payment which wilt be due arid payable at the Notes maturity.
NEGATIVE COVENANTS. Borrower covenants end agrees with Lender that while this Agreement la In affect, Borrower shall not, without the
prior written consent of Lender:
      indebtedness and Lions. (I) Except for trod° debt incurred in the normal enurse of business and indebtedness to Lender contemplated by
      this Agreement, create, incur or assume indebtedness for borrowed money, including capital leases, 121 sell, tionsfer, mortgage, assign,
      pledge, lease, grant a security interest in, or encumber any of Borrower's assets (except as allowed as Permitted Liens), or 431 sea w.th
      recourse any of Borrower's accounts, except to Lender,
      Continuity of Operations. Ili Engage In any business activities substantially different then those in which Borrower Is presently engaged,
     (2) cease operations, liquidate, merge, transfer, acquire or consolidate with any other entity, change its name, dissolve or transfer or sell
     Collateral out of the ordinary cootie of business, or (3) make any distribution with respect to any capital account, whether by reduction of
     capital or otherwise,
     Loans, Acquisitions and Guaranties. (I) Loan, invest in or advance money or assets to any other person, enterprise or entity, (21
      purchase, create or acquire any interest In any other enterprise or entity, or 0) incur any obligation as surety or guarantor other than in
      the ordinary course of business.
      Agreements. Enter Into any agreement Containing any provisiona which would be violated or breached by the performance of Borrower's
     obilgetions under this Agreement or in connection herewith,
CESSATION OF ADVANCES. if Lender has made any commitment to make any Lean to Borrower, whether under this Agreement or under any
other agreement, Lander shell have no obligation to make Lean Advances or to disburse Loon proceeds if; (Al Borrower or any Guarantor Is in
default under the terms of this Agreement or any of the Related Documents or any other agreement that Borrower or any Guarantor has with
Lender; MI Borrower or any Guarantor dies, becomes incompetent or becomes insolvent, lees a petition in bankruptcy or similar proceed nes,
or is adjudged a bankrupt; ICI there occurs a material adverse change In Borrower's financial condition, In the financial condition of any
Guarantor, or in the value of any Collateral securing any Loan; or ID) any Guarantor seeks, claims or otherwise attempts to limit, modify or
revoke such Guarantor's guaranty 01 the Loan or any other loan with Lender; or IN Lander In good faith deems itself Insecure, even though no
Event of Default shall.have occurred,
RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff In ell Borrower's accounts with Lender (whether
checking, savings, or some other account). This includes all accounts Borrower holds jointly with someone else and all accounts Borrower may
open In the tutors". However, this does not include any IRA or Keogh accounts, or any trust accounts for which *atoll would be prohibited by
law. Borrower authorizes Lender, to the extent permitted by applicable law, to charge or setoff all stuns owing on the Indebtedness age net any
and ell such accounts, and, at Lender's option, to administretively freeze all such accounts to allow Lender to protect Lender's charge and setoff
rights provided In this paragraph
DEFAULT. Each of the following shall constitute en Event of Default under this Agreement:
    Payment Default. Borrower falls to make any payment when due under the Loan,
    Other Defaults. Borrower falls to comply with or to perform any other term, obligation, covenant or condition contained in this Agreement
    or In any of the Related Documents or to comply with or to perform any term, obligation, covenant or condition contained in any other
    agreement between Lender and Borrower.
    False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower's behalf under this
    Agreement or the Related Documents is false or misleading In any material respect, either now or at the time made or furnished or becomes
    false or misleading at any time thereafter.
    Death or Insolvency. The dissolution or termination of Borrower's existence as a going business or the death of any partner, the insolvency
                                                                                                                                         type of
    of Borrower, the appointment of a receiver for any part of Borrower's property, any assignment for the benefit of creditors, any
                                                                                                                     Borrower.
    creditor workout, or the commencement of any proceeding under any bankruptcy or insolvency laws by or against
                                                                                                                                  failure of any
    Defective Collateralization. This Agreement or any of the Related Documents ceases to be In lull force and effect ancluding
    collateral document to create a void and perfected security Interest or Ilan) at any time and for any reason.
                                                                                                                         proceeding, saf•help.
    Creditor or Forfeiture Proceeding*. Commencement of foreclosure or forfeiture proceedings, whether by ludicial                    the Loan.
    repossession or any other method, by any Creditor of Borrower or by any governmental agency against any collateral securing
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     This includes e garnishment of any of Borrower's accounts, includng deport accounts, with Lander, However. this Event of Default sheer
      not apply if there is a good teeth dispute by Borrower os to the validity or reasonableness of the claim which is the baste of the creditor or
      forfeiture proceeding and ,1 Borrower gavel Lander written notice of the creditor or forfeiture proceeding end deposits with Lender monies or
      a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, In its sole discretion, as being en adequate
      reserve or bond for the dispute.
     Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the indebtedness or any
      Guarantor dies or becomes incompetent, or revokes or disputes the validly of, or liability under, any Guaranty of the Indebtedness,
      Events Affecting General Partner of Borrower. Any of the preceding events occurs with respect to any general partner of Borrower or any
      general partner dies or becomes Incompetent.
     Change In Ownership. The resignation or expulsion of any general partner with an ownersh p Interest of twenty-five percent (25%) or mare
      in Borrower.
      Adverse Change. A materiel adverse change occurs In Borrower's finanilei condition, or Lender believes the prospect of payment or
      performance of the Loan is impelled.
      Insecurity. Lender n good faith be laves Itself Insecure,
      Right to Cure. If any default, other than a derma on Indebtedness, is curable and if Borrower or Grantor, as the case may be, has not been
     given a notice of a similar default within the preceding twelve (12) months, 1 may be cured if Borrower or Grantor, as the case may be.
      after Lender sands written notice to Borrower or Grantor, as the case may be, demanding cure of such default: It) cure the default within
      thirty 130) days; or f2) if the cure requires more than thirty (30) days, immediately in t ate steps which Lender deems in Lender's sole
     discretion to be cutlicient to cure the default end thereafter continue and complete all reasonable and necessary steps sufficient to produce
     compliance as soon as reasonably practical.
EFFECT OF AN EVENT OF DEFAULT. If any Event of Default shall occur, except where otherwie provided in this Agreement or the Refuted
Documents, all commitments end obligations of Lender under this Agreement or the Related Documents or any other agreement immediately wi
terminate (including any obligation to make further Loan Advances or disbureaments), and, at Lender's option, all indebtedness immediately wilt
become due and payable, all without notice of any kind to Borrower, except that n the case of an Event of Default of the type described In the
'Insolvency" subsection above, such accoiarat on shall be automatic and not optional, In addition, Lender shat have an the rights and remedies
provided in the Related Documents or avertable at law, In equity, or otherwise. Except as may be prohibited by applicable law, ail of Lender's
rights and remedies shall be cumulative and may be exercised singularly or concurrently. Election by Lender to pursue any remedy shall not
exclude pursuit of any other remedy, and an election to make expand turas or to take action to perform en ob'getion of Borrower or of any
Grantor shall not affect Lender's right to declare a default end to exercise its rights and remedies,
ORIGINAL DOCUMENT. "The partici, whose signaturea appear be ow agree thata photographic, photostatic, facsimile, electronic, copy or
similar reproduction of this document shall be valid as the orig'nel".
CANCELLATION PROVISION. "Notwithstanding anything to the contrary contained in this Loan Agreement or the Related Documents this Loan
may be cancelled at any lime and for any reason in the sole discretion of Lender end Lender shall have no obligation to make any additional
Advances thereafter. Lender she so notify Borrower of Lender's decision to cancel the lean, which notification shall be immedietoty effective or
effective at the time stored therein if another effective time is stated in the notice, All Advances made prior to the cancellation of the Loan shell
remain payable pursuant to the terms of the Loon Agreement and the Rested Documents.'.
MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Agreement:
     Amendments, This Agreement. together with any Related Documents, constitutes the entire understanding and agreement of the parties
     es to the matters set forth in this Agreement. No alteration of or amendment to this Agreement shell be effective unless given in writing
     and signed by the party or genies sought to be charged or bound by the alteration or amendment.
      Attorneys' Fees; Expanses. Borrower agrees to pay upon demand all of Lender's costs end expanses, including Lender's reasonable
     attorneys' fees and Lender's legal expense*, Incurred In connection with the enforcement of this Agreement, Lender may hire or pay
     someone else to help enforce this Agreement, and Borrower shell pay the costs and expenses of such enforcement. Colts and expenses
     include Lender's reasonable attorneys' fees and agal expenses whether or not there Is a lawsuit, including Lender's reasonable attorneys'
     fees and legal expanses for bankruptcy proceedings line uding efforts to modify or vacate any automatic stay or injunction), appeals, and
     any anticipated paet•judgment collection services. Borrower also she pay all court costa end such add t onal fees as may be directed by
     the court.
     Caption Headings. Caption headings in this Agreement era for convenience purposes only and are not to be used to Interpret or define the
     provisions of tills Agreement.
     Consent to Loan Participation. Borrower egress and consents to Lender'. se4e or transfer, whether now or later, of one or more
     participation interests In the Loan to one or more purchasers, whether related or unrelated to Lender. Lender may provide, without any
     limitation whensoever, to any one or more purchasers, or potential purchasers, any information or knowledge Lender may have about
     Borrower or about any other matter relating to the Loan, and Borrower hereby waive' any rights to privacy Borrower may have with respect
     to such metiers. Borrower additionally waives any add sit notices of sale of panic potion interests, as well as all notices of any repurchase
     of such participation interests. Borrower also agrees that the purchasers of any such participatIon interest!' will be considered es the
     absolute owners of 'such interests in the Loan and will have ell the rights granted under the participation agreement or agreements
     governing the sale of such participation interests. Borrower further waives all rights of offset or counterclaim that it may have now or later
     against Lender or against any purchaser of such a participation interest and unconditionally agrees that either Lender or such purchaser may
     enforce Borrower's obligation under the Loan irrespective of the failure or insolvency of any holder of any interest in the Loon, Borrower
     further agrees that the purchaser of any such panic pillion interests may enforce Its interests irrespective of any personal cielms or
     defenses that Borrower may have against Lender.
     Governing Law. This Agreement will be governed by federal law applicable to Lander arid, to the extent not preempted by federal law, the
     taws of the State of Texas without regard to its conflicts of taw provisions. This Agreement has base accepted by Lend., In the Stets of
     Texas.
     No Waiver by Lender. Lander shall not be deemed to have wa-ved any rights under this Agreement unlace such waiver la given m writing
     and signed by Lender. No delay or omission on the part of Lender in exam sing any r ght shell operate as a waiver of such right or any
     other right. A waiver by Lender of a provision of this Agreement shall not prejudice or constitute a waiver of Lender's right otherwise to
     demand strict compliance with that provision or any other provision of this Agreement. No prior waiver by Lender, nor any course of
     dealing between Lender and Borrower, or between Lender and any Grantor, thee constitute a waiver of any of Lender's r'ghts or of any of
     Borrower's or any Grantor's obligations as to any future transactions Whenever the consent of Lender is required under this Agreement,
     the granting of such consent by Lender in any Instance shall not constitute continuing consent to subsequent instances where such consent
     is required and in elf cases such consent may be granted or withheld in rho stria discretion of Lander,
     Notices. Any notice required to be given under this Agreement shall be given in writing, and shall be effective when actually deWerod,
     when actually received by telefacsimile (unless otherwise required by taw). when deposited with a nationally recogn.zed overnight COUr:Sir,
     or, if melted, when deposited In the United States mall, as first class, certified or registered mall postage prepaid, directed to the addresses
     shown near the beginning of this Agreement. Any party may change its address for notices under this Agreement by giv ng format wrtten
     notice to the other parties, specifying that the purpose of the notice is to change the party's address, For not_to purposes. Borrower
     egress to keep Lender informed et ell times of Borrower's current address. Unless otherwise provided or required by law. 11 there is more
     than one Borrower, any notice given by Lender to any Borrower is deemed to be notice given to ell Borrowers.
     Payment of Interest and Fees. Notwithstanding any other provision of this Agreement or any provision of any Related Document, Borrower
     does not agree or intend to pay, and Lender dose not agree or intend to charge, collect, take, reserve or receive Icollectvoly referred to
     herein as 'charge or coliect'I, any amount in the nature of nterest or in the nature of a fee for the Loan which would in any way or event
    (including demand, prepayment. or accaleretiorti cause Lender to contract for, charge or collect more for the Loan than the maximum
     Lender would be permitted to charge or collect by any applicable federal or Taxes state law, Any such excess interest or unauthorized fee
     will, instead of anything stated to the contrary, be applied first to reduce the unpaid principo balance of the Loan, and when the principal
     has been paid in full, be refunded to Borrower.
     Sevarability. If a court of competent jurisdiction finds any provision of this Agreement to be Illegal, ewe id, or unenforceable as to any
     circumstance, that finding shell not make the offending provision Illegal, invalid, or unenforceable as to any other circumstance, If feasible,
     the offending provision shall be considered modified so that it becomes legal, valid and enforceable. If the offending provision cannot be so
     modified, it shall be considered deleted from this Agreement Unless otherwise required by hew, the illegality, nvalidity, or unenforceability
     of any provision of this Agreement shell not effect the legality. validity or anforcenbility of any other provision of this Agreement
     Subsidiaries end Affiliates of Borrower. To the extent the context of any provisions of title Agreement makes it appropriate, Includvig
                                                                       is•
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                                                   BUSINESS LOAN AGREEMENT
Loan NO: 4009822988                                       (Continued)                                                                         Page 5

     without I mitetion any representation, warranty or covenant, the word "Borrower' as used in this Agreement shell include all of Borrower's
    subsidiaries and °Berates. Notwithstanding the foregoing however, under no rcumstences shall this Agreement be construed to require
    Lender to make any Loen or other financial accommodation to any of Borrower's subsidiaries or elf Diatom,
    Successors and Assigns. All covenants and agreements by or on behell of Borrower conta ned In this Agreement or any Re`ated
    Documents shall bind Borrower's successors and assigns and shell Inure to the benefit of Lander and its successors and assigns. Borrower
    shell not, however. have the right to assign Borrower's rights under this Agreement or any Interest therein, without the prior written
    consent of Lender.
    Survival of Representations and Warranties. Borrower understands end agrees that In extending Loan Advances, Lender is relying on al
    representations, warranties, and covenants made by Borrower in this Agreement or in any certificate or other Instrument delivered by
    Borrower to Lender under this Agreement or the Belated Documents. Borrower further agrees that regardless of arty investigation made by
    Lender, all such representations, warranties and covenants will survive the extent on of Loan Advances and delivery to Lender of the
    Re Med Documents, shall be continuing in nature, shell be deefned made and redeted by Borrower et the time each Loan Advance is made,
    and shall remain In full force and affect until such•time as Borrower's Indebtedness ahal. be pax! In full, or until this Agreement shall be
    term naiad in the manner provided above, whichever re the last to occur,
     Time Is of the Essence. Time a of the essence,in the performance of this Agreement.
DEFINITIONS. The following cap tented words and terms shall have the following =tenni)* when used in this Agreement, Unless specifically
stated to the contrary, all references to dollar amounts shall mean amounts In lawful money of the United States of America, Words and terms
used In the singular shell hclude the plural, and the plural shell include the singular, as the context may require. Words and terms not otherwise
defined In this Agreement shell have the meanings attributed to such terms in the Uniform Commercial Code. Accounting words and terms not
otherwise defined In this Agreement shell have the meanings assigned to them rn accordance with generally accepted accounting prine p es es in
effect on the date of this Agreement:
     Advance. The word 'Advance" means a itabureement of Loan funds made, or to be made, to Borrower or on Borrower's behal on a line
     of credit or multiple advance basis under the terms and conditions of this Agreement.
    Agreement. The word *Agreement' mean" this Business Loan Agreement, as this Business Loan Agreement may be emended or modified
    from time to time, together with all exh bits end schedules attached to this Business Loan Agreement from time to t.me,
    Borrower. The word "Borrower" means Reaper Auto Mall, Ltd. dbe Reagor,                 Crykes Imports and includes all coesignere end co-makers
    signing the Note and all their successors and assigns.
    Collateral, The word "Collateral' means all property and assets granted as collateral security for is Lean, whether real or personal property,
    w hether granted directly or Indirectly, whether granted now or In the future, end whether granted in the form of a security interest,
    mortgage, co7ateral mortgage, deed of trust, asegnment, pledge, crop pledge, chattel mortgage, collateral chattel mortgage, chattel trust,
    factor's lien, rietepment trust, conditional sere, trust receipt, lien, charge, vim or title retention contract, lease or consignment intended as a
    security device, or any other security or lien Interest whatsoever, whether created by Jew, Contract, or otherwise,
    Environmental Laws, The words "Environmental Laws' mean any and all state, federal and local statutes, regulatons and ordinances
    relating to the protection of human health or the environment, Including without limitation the Comprehensive Environmental Response,
    Compensation, and Liability Act of 1980. as amended, 42 U,S.C. Section 9601, at seq. rCERCLA'), the Superfund Amendments and
    Reauthorization Act of 1986, Pub_ L, No.99.499 ("SARA");:the Hazardous Materials Transportation Act, 49 U.S.C. Section 1801, et seq.,
    the Resource Conservatcon and Recovery Act, 42 U.S.C. Section 6901, et seq, or other app'cab't state or federal laws, rules, or
    regulations adopted pursuant thereto,
    Event of Default, The words 'Event of Default" moan any of the events of default set forth in this Agreement In the default section of this
    Agreement.
    GAAP. The word "GAAP" means generally accepted accounting princlpies,
    Grantor. The word 'Grantor" means each and re,r of the persons or entities granting a Security Interest in any Collateral far the Loan,
    incIrdIng without rim union all Borrowers granting such a Security interest.
    Guarantor. The word 'Guarantor" means any guarantor, surety, or accommodeFen party of any or all of the Leen,
    G uaranty, The word 'Guaranty* means the et/twenty from Guarantor to Lender, including without limitation a guaranty of ell or part of the
    Note.
    Hazardous Substances, The.words "Hazardous Substances' mean materials that, because of their quantity, concentration or physical,
    chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when
    improperly used, treated. stored, disposed of, generated, manufactured, transported or otherwise handled. The words 'Hazardous
    Substances' are used In their very broadest sense end Include without limitation any end all hazardous or toxic substances, material* or
    waste as defined by or listed under the Environmental Laws, The term "Hazardous Substances" else includes, without limitation, petroleum
    and petroleum by-product; or any fraction thereof and asbestos,
    Indebtedness. The word Indebtedness' means the indebtedness evidenced by the Note or Related Documents, including ell principal, and
    interest together with all other Indebtedness end costs and expanses for which Borrower is responsible under this Agreement or under any
    of the Related Documents,
    Lender. The word "Lender" means First Bank & Trust, Its successors end assigns.
    Loan. The word 'Loan" means any and al loans end financial, accommodations from Lender to Borrower whether new or hereafter
    existing, end however evidenced, including without limitation those loans and financial accommodations described Wen or described on
    any exhibit or schedule attached to this Agreement from time to time,
    Note. The word "Note' means the Note dated September 29, 2017 and executed by Reactor Auto Mall, Ltd. dba Reagor-Dykes imports In
    the principat amount of *2,500,000.00, together with all renewals of, extensions of, modifications of, refinancings of, consolidations of,
    and substitutions for the note or credit agreement.
    Permitted Liens. The words 'Permitted Liens' mean Ill liens and security interests securing Indebtedness awed by Borrower to Lender;
    12) liens for taxes, assessments, or similar charges either nor yet due or being contested In good faith; f31 Hans of matertalmen,
    mechanics, warehousemen, or carriers, or other like liens arising In the ordinary course of bushiest, and securing olVgatIons which ere not
    yet delinquent: (4) purchase money lions or purchase money security Interests upon or in any property acquired or held by Borrower In the
    ordinary course of business to secure indebtedness outstanding on the data of this Agreement or permitted to be incurred under the
    paragraph of this Agreement iitled 'Indebtedness end Liens': (61 flans and security interests which, as of the data of this Agreement,
    have been di:elated to and approved by the Lender in writing; end (6) these Ilene and security interests which in the aggregate constitute
    an immaterial and Insignificant mOnOtaty amount with respect to the net vette of Borrower's alums.
    Related Documents. The words 'Related Documents' mean atl promissory notes, credit agreement', loan agreements. environmental
    agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all other enurement',
    agreements and documents, whether now or hereafter ex4ting, executed in connection with the Loan,
    Security Agreemeni. This 'words 'Security Agreement' mean and Include without limitation any agreements, promises, covenants,
    arrangemerds, understandings or other agreements, whether created by law, contract, or otherwise, evidencing, governing, representing, or
    create° a Security interest.
                                                                                                                                             future,
    Security Interest, The words "Security Interest' mean, without !Imitation, any and all types of collatera security, present and
                                                                                                                                    pledge, chattel
    whether In the form of a lien, charge, encumbrance, mortgage, deed of trust, security dead, assignment, pledge, crop
                                                                                     trust, conditional sale, trust receipt, lien or tills retention
    mortgage, collateral chattel mortgage, chattel trust, lector's Van, equipment
                                                                                                                                   created by law,
    contract, lease or consignment Intended as a security device, or any other security or lien Interest whatsoever whether
    contract, or otherwise.
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                                              BUSINESS LOAN AGREEMENT
Loan No: 4009822986                                  (Continued)                                                          Page 6


BORROWER ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS BUSINESS LOAN AGREEMENT AND BORROWER AGREES TO
ITS TERMS. THIS BUSINESS LOAN AGREEMENT IS DATED SEPTEMBER 29, 2017.

BORROWER:



REAOOR AUTO MALL, LTD. DOA REAGOR•DYKES IMPORTS



RE                           General Partner of Reliant Auto Mall. Ltd. db.

                                                                       By;
                                                                             R   yeas. Ma        agor Auto Mall I, L.L.

LENDER:


FIRST BAN & TRUST
                     64



By:
      Jar.     and Towne   Senior Vice President

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                                               . Vu...me. On all. 11             ,s.aa, UM.   %COM Mb:. MU
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                                                         PROMISSORY NOTE
                                                                                                  VN                         of
   Pandit/al   LOerl        Maturity -
                                Da10 < Lean;No,                                       co real              Account            Officer     initials
$2.500.000.00 .09*29-2017 10-01.2018 4009822988W                                       ,1A 146            FIAA2864             JET
     Referenerts in the boxes above ore for Lender's use only and do not lim4 the applicability of this document to any pantcuter loon o item.
                                Any Item above containing          has been omitted due to text angthi,mitations.
Borrower:        Ranger Auto Mail. Ltd. dbe Rengor•Oykes imports             Lender:         First Bank & Trust
                (TIN: 20.0275022)                                                            First Bank Centre
                 1215 Ave J                                                                 9816 Slide Read
                Lubbock, TX 79401                                                            Lubbock, TX 79424
                                                                                            (006)788.0800

  Principal Amount: $2,500,000.00                                                                     Date of Note: September 29, 2017
  PROMISE TO PAY. Ranger Auto Mail, Ltd. dba Reagor•Oykes Imports ("Ilorroworl promises to pay to First Stink & Trust Mender"). or order,
  in lawful money of the United States of America, the principal amount of Two Million Five Hundred Thousand & 00/100 Dollars
  M2,500.000.00) or so much as may be outstandlng, together with interim on the unpaid outstanding principal balance of each advance.
  Interest shall be calculated from the date of each advance until repayment of each advance or maturity, whichever occurs than.
  CHOICE OF USURY CEILING AND INTEREST RATE. The interest rale on this Note has been Implemented under the 'Weekly Ceiling" as referred
  to in Sections 303.002 and 303 003 of the Tease Finance Code,
  PAYMENT. Borrower will pay this loan In full Immediately upon Lender's demand. II no demand is made, Borrower will pay this loan in one
  payment of al outstanding principal plus all accrued unpaid interest art October 1, 2018. In addition, Borrower will pay regular monthly
  payments of all accrued unpaid interest due as of each payment date, beginning November 1, 2017, with all subsequent interest payments to be
  due on the same day of each month after that. Unless otherwise agreed or required by applicable law, payments will be applied first to any
  accrued unpaid interest: then to principal: then to any unpaid collection costs: end then to any late charges. Borrower will pay Lander at
  Lender's address shown obeyer or at such other plate as Lender may designate in writing. Notwithstanding any other provision of this Note,
  Lender will not charge interest on any undisbursed lean proceeds. No scheduled payment, whether of principal or Interest or both, will be due
  unless sufficient loan funds hove bean disbursed by the scheduled payment data to justify the payment.
 VARIABLE INTEREST RATE. The interest rate on this Note Is subject to change from time to time based on changes in an index which is the the
 First Rank & Trust Base Rate (the 'Index"). The Index is not necessarily the lowest rate charged by Lender on its loans end Is set by Lender :n
 its sole discretion. If the Index becomes unavailable during the term of this loan, Lender !nal, designate a substitute Index after not lying
 Borrower. Lender wit tell Borrower the current index rate upon Borrower's request The interest rate change will not occur more often then
each day. Borrower understands that Lender may make loans based on other rates es well. The Index currently is 5.760% per annum, Interest
 prior to maturity on the unpaid principal balance of this Note will be ca'aulated es described in the INTEREST CALCULATION METHOD'
 paragraph using a rota equal to the Index, adjusted if necessary for any minimum end maximum rate lim miens described below, resulting in art
 initial rate of 6.125% per annum based on a year of 360 days. NOTICE: Under no circumstances wi > the Interest rate on this Note be less then
6 125% per annum or more than (except for any higher default rate or Post Maturity Rate shown below) the teem of 18.000% per annum or
 the maximum rate allowed by applicable law. For purposes of this Note, the "maximum rate allowed by applicable law' means the greater of
(Al the maximum rate of interest permitted under federal or other law applicable to the indebtedness evidenced by this Note. or 18) the
"Weekly Ceiling' as referred to in Sections 303,002 and 303.003 of the Taxes Finance Code
 INTEREST CALCULATION METHOD, Interest on this Note Is computed en a 365/360 bails; that H, by applying the ratio of the interest rate
over a year of 360 days, multiplied by the outstanding principal balance, muhiplied by the actual number of days the principal berme, is
 outstanding, unless such calculation would result In a usurious rata, in which case interest shall be calculated on a per diem basis of a year of
365 or 366 days. as the cats may be. All interest payable under this Note is computed using this method.
 PREPAYMENT, Borrower agrees that all loan teas and other prepaid finance charges are earned fully as of the date of the loan and will not be
subject to refund upon early payment (whether voluntary or as a result of default), except as otherwise required by law. Except for the
 foregoing. Borrower may pay without penalty all or a portion of the amount owed earlier than it is duo. Prepayment In full shall cons et of
Payment of the remaining unpaid principal balance together wth all accrued end unpaid interest and all other amounts. costa end expenses for
 which Borrower Is responsible under this Note or any other agreement with Lender pertaining to this loan, end in no event wilt Borrower over be
required to pay any unearned Interest. Early payments will not, unless agreed to by Lender in writing, relieve Borrower at Borrower's obligation
to continue to make payments of accrued unpaid interest. Rather, early payments will reduce the principal balance due, Borrower agrees not to
send Lander payments marked 'paid in full", "without recourse", or similar language. If Borrower sends such 4 payment, Lender may accept It
 without rising any of Lender's rights under the Note, and Borrower will remain obligated to pay any further amount owed to Lender. All written
communications concerning disputed amounts. Including any check or other payment instrument that indiction that the payment constitutes
' payment in lull' of the amount owed or that is tendered with other conditions or limitations or as full satisfaction of a disputed amount must be
mailed or delivered to: First Bank & Trust, 9816 Slide Road Lubbock, TX 79474.
LATE CHARGE, If a payment la 10 days or more late, Borrower w.11 be charged 5,000% of the regularly scheduled payment,
  POST MATURITY RATE, The Past Maturity Rats on this Note Is the teaser of (Al the maximum rate a owed by law or 161 10 000% per
  annum based on a year ci 360 days. Borrower will jaw interest on all sums due after final maturity, whether by ecceleration or otherwee, at
  that rate.
  DEFAULT. Each of the feowing shati constitute en event of default ('Event of Default"' under thin Note:
       Payment Default. Borrower fails to make any payment when due under this Note,
       Other Defaults. Borrower fats to comply with or to perform any other term, ab getion, covenent or condition contained In this Note or In
       any al the related documents or TO comply with or to perform any term, ob.,gation, covenant or condition canto nod In any other agreement
       between Lender and Borrower.
       False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower or on Borrower'■ behalf under this
       Note or the reeled documents Is !also or misleading in any material respect, either now or at the time made or furnished or becomes Wee
       or misaadIng at any time thereafter.
       Death or insolvency, The dissolution or termination of Borrower's existence as a going business or the death of any partner, the Insolvency
       of Borrower, the appointment of a receiver for any pert of Borrower's property, any assignment for the benefit of creditors, any type of
       creditor workout, Or the commencement of any proceedng under any bankruptcy or insolvency laws by or egainet Borrower
       Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding, self•halp,
       raposseesiOn or any other method, by any creditor of Borrower or by any governmental agency against any collateral securing the loan,
       This Includes a garnishment of any of Borrower's accounts, Including deposit accounts, with Lender. However. this Event of Default shell
       not apply lb there Is a good faith dispute by Borrower as to the veldIty or reasonablenese of the calm which Is the basis of the creditor or
       forfeiture proceeding and If Borrower owes Lender written notice of the cred tor or forfeiture proceeding and deposits with lender monies or
       a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, in Its sole discretion, as being an adequate
       reserve or bond for the dispute,
       Events Affecting Guarantor, Any of. the preceding events occurs with respect to any Guarantor of any of the indebtedness or any
       Guarantor dies or becomes Incompetent, or revokes„ or disputes the veidlty of, or lieb I,ty under, any guaranty of the Indebtedness
       evidenced by this Note,
       Events Affecting Carlene Partner of Borrower. Any of the preceding event. occurs with respect to any general partner of Borrower ar any
       general partner dies or becomes Incompetent.,,
       Change in Ownership. Tho resignation or expuislon of any general partner Witt an ownership interest of twenty-five percent (25%) or mare
      in Borrower.
       Adverse Change. A material adverse change occurs in Borrower's finance' cond ton. Or Lender believes the prospect of peymant or
       performance of this Note is impaired.
      Insecurity. Lender IN good faith be:levee Itself insecure.
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                                                                   PROMISSORY NOTE
Loan No: 4009822988                                                   (Continued)                                                                        Page 2

      Cure Previsions. If any default, other than a default in payment, is curable and if Borrower has not bean gven a notice of a broach of the
      same provision of this Note within the preceding twelve (12) months, it may be cured if Borrower, after Lander sends written notice to
      Borrower demanding cure of such default: (1) cures the default within thirty 130) days; or 121 if the cure requires more than thirty (30)
      days, Immediately initiates steps which Lender deems In Lender's sole discretion to be sufficient tq We the default and thereafter
      continues and completes all reasonable and necessary steps sufficient to produce comp ance as soon as reasonably practical,
LENDER'S RIGHTS. Upon default, Lender may declare the entire indebtadnosa. Including the unpaid princ4de *balance under this Note, all
 accrued unpaid interest, and all other amounts, costs end expenses for which Borrower is responsible under this Note or any other agreement
with Lender pertaining to this loan, Immediately due, without notice, end then Borrower will pay that amount,
ATTORNEYS' FEES; EXPENSES. Lender may hire an attorney to help collect this Note if Borrower does not pay, and Borrower will pay Lender's
 reasonable attorneys' fees. Borrower also will pay Lender all other amounts Lender actua ly incurs as court costs, lawful fees for filing,
recording, releasing to any public office any instrument securing this Note; the reasonable cost actually expanded for repossessing, storing,
preparing for vale, and selling any security; and fees for noting a lien on or transferring a certificate of tt'e to ,any motor vehicle offered as
security for this Note, or premiums or identlflable charges received In connection with the sale of authorized tneurence.
 GOVERNING LAW. This Note will be governed by federal few applicable to Lender and, to the extent not preempted by federal law, the laws of
the Stem of Texas without regard to its conflicts of law provisions. This Nate has been accepted by Lender In the State of Texas.
DISHONORED CHECK CHARGE. Borrower will pay a processing fee of $30.00 If any check gi.ven by Borrower to Lender as a payment on this
loan is dishonored.
RIGHT OF SETOFF. To the extent permitted by applicable law, Lender reserves a right of setoff in all Borrower's accounts with Lender (whether
checking, savings, or some other account). This Includes sit accounts Borrower holds jointly with someone else and all accounts Borrower may
open in the future. However, this does, not include any IRA or Keogh accounts, or any trust accounts for which setoff would be prohibited by
taw. Borrower authorizes Lender, to the extent permitted by applicable law, to chorea or aetoff all sums owing on the Indebtednesa against any
and all such accounts, and, at Lender's option, to administratively freeze all such accounts to a-,ow Lender to protect Lender's charge and setoff
 rights provided In this paragraph.
COLLATERAL. Borrower ecknowledgert this Note is secured by a Commercial Security Agreement from Reared Auto Mall, Ltd, dba
 Rearter•Dykas Imports to First Bank & Trust, dated September 29, 2017, secured by All inventory, together with the following specifically
described property: all debtor's inventory of property of every description /specifically including by not limited to) all new end used motor
vehicles, which includes but Is not limited to automobiles, motorcycles, mobile homes, motor homes, travel trailers, boats, vans, pickups,
together with all accessories, attachments, or accessions related to any of the foregone collateral hereafter acquired end evidenced by rise
and/or title, whether held for rental, lease, sale or use, of whatever nature and whosoever located and ell debtor's accounts, accounts
receivable, notes receivable. chock', drafts, contract rights and general Intangibles of every nature evidencing debtor's right to the payment of
monies arising from the sale, leasing, or rental of such inventory Items and/or from the performance of debtor of services in connection
therewith or related thereto all the foregoing whether now owned or hereafter acquired by debtor and the proceeds and products thereof.
LINE OF CREDIT. This. Nato evidences a revolving line of credit. Advances under this Note, as wee es direction* for payment horn Borrower's
accounts, may be requested molly or in writing by Borrower or by en euthorlsed parson Lender may, but need not, require that all oral requests
be confirmed in writing. Borrower agrees to be liable for all sums either: IA) advanced it accordance with the instructions of art authorized
parson or 113) credited to any of Borrower's accounts with Lender. The unpaid principal balance owing on this Note at any time may be
evidenced by endorsements on this Note or by Lender's interned records, including daily computer print-outs. This revolving line of credit shall
not be subject to Ch. 346 of the Texas Finance Code.
ORIGINAL DOCUMENT. "The parties whose signatures appear below agree that a photographic, photostatic, facsimile, electronic, copy or
similar reproduction of this document &hail be valid as the original.%
CHOICE OF VENUE. If there is a lawsuit, Borrower agrees upon Lender's request to submit to the rurisdict on of the Courts of Lubbock County,
Texas. The parties agree that Lubbock County, Texas is the sole and exclusive venue for any lawsu t orlon° out of this transaction.
CANCELLATION.PROVISION. 'Notwithstanding any language to the contrary contained harrin, the loan represented by this Note may be
cancelled at any time and for any reason In the solo discretion of Lender and Lander shall have no obligation to make arty additional advances
thereafter, Lender shell so notify Borrower of Lender's decision to cancel this loan, which notification shall be immediately effective or effective
at the time stated therein if another effective time is stated In the notice. A I principal advanced prior to the cancellation of this loon shall
continue to accrue Interest and shall remain payable pursuant to the terms of this Note ".
RENEWAL AND EXTENSION. This Note is given in renewal end extension and not in novation of the following described indebtedness: a
Promissory Note #4009922968 from Reagor Auto Mail, Ltd. dba Reagor-Dykes Imports to First Bank & Trust, dated August 23, 2016, In the
original commitment amount of $2,500,000.00, with a current principal balance of 52,494,475,00.
SUCCESSOR INTERESTS. The terms of this Note shall be binding upon Borrower, and upon Borrowers heirs, personal representatives,
successors end assigns. and shall inure to the benefit of Lander and its successors and assigns.

GENERAL PROVISIONS. This Note le payable on demand, The inclusion of specific default provisions or rights of Lander shah] not preclude
Lender's right to declare payment of this Note on its demand, if any pert of We Note cannot be enforced, this fact will not affect the rest of the
Note. Borrower doss not agree or intend to pay, and Lender does not agree or inland to contract far, charge, collect, take, reserve or receive
reolactively referred to heroin as 'charge or collect% any amount In the nature of interest or In the nature of a fee for the 'Den, which would in
any way or event (Including demand, prepayment, or acceleration) cause Lender to charge or collect more for this loan than the maximum
Lender would be permitted to charge or collect by federal law or the law of the State of Texas las applicable), Any such excess Interest or
unauthorized fee shall, Instead of anything stated to the contrary, be applied first to reduce the prInc.pel balance of this loan, and when the
principal has been paid In full. be refunded to Borrower. The right to acce'erate maturity of sums due under this Note does not include the right
to accelerate any Interest which has not otherwise accrued on the date of such acceleration, and Lender does not intend to charge or collect any
unearned interest in the event of acceleration. Alt sums paid or agreed to be mild to Lender for tha use, forbearance or detention of sums due
hereunder shell, to the extent permitted by applicable law, be amortized. prorated, allocated and spread throughout the full term of the loan
evidenced by this Note until payment in lull so that the rate or amount at Interest on account of the lean evidenced hereby does not exceed the
epplicatie usury ceiling. Lender may delay or forgo enforcing any of its rights or remedies under this Note without losing them, Borrower and
any other parson who signs, guarantees or endorses this Note, to the extent allowed by law, waive presentment, demand for payment, notice of
dishonor, notice of intent to accelerate the maturity of this Note. and notice of acceleration of the maturity of this Note. Upon any change in the
terms of this Note. and unless otherwise expressly stated In writing, no party who signs this Note, whether as maker, guarantor,
accommodation maker or endorser, shall be released from liability. All such parties agree that Lender may renew or extend (repeatedly and for
any length of timer this scan or release any party, partner, or guarantor or collateral; or impair, lad to realize upon or perfect Lender's security
Interest in the collateral without the consent of or notice to anyone, At such parties a ao agree that Lender may modify this loan without the
consent al or notice to anyone other than the party with whom the modification is merle The obligations under this Note ere Joint and several.
PRIOR TO SIGNING THIS NOTE, BORROWER READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS NOTE, INCLUDING THE VARIABLE
INTEREST RATE PROVISIONS. BORROWER AGREES TO THE TERMS OF THE NOTE.
BORROWER ACKNOWLEDGES RECEIPT OF A COMPLETED COPY OF THIS PROMISSORY NOTE.

BORROWER:



REAGOR AUTO MALL. LTD. OBA REAGORZYKES IMPORTS



REAGOR AUTO              L.L.C,. General Partner of Ream Auto Mall, Ltd. dba

By:                                                                                     By:
      Bert                                             L.L,C.                                 Rick 0          IS    •   eager Auto       ell   L



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           Case 5:18-cv-00234-C Document 103 Filed 03/04/19                                                                     Page 95 of 137 PageID 2083
                                         COMMERCIAL SECURITY AGREEMENT
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02,500.000-00 . .09-29,2017 10.0ft26.18.,'.4009E1229E1B                               4A/45               F1AA244             JET '
    fletNeitees In the boxes above are for Lender's use only and do not limit the app"cab    of this document to any particular loan a Item.
                               Any item above containing l'i•'•l' has been omitted duo to text length limitations.
Grantor:        Realtor Auto Melt, Ltd, dbe Reager.Dykes Imports              Lender:         First Bank S. Trust
                ITIN: 20.02750221                                                             First Bank Centre
                1215 Ave.)                                                                    9816 Slide Road
                Lubbock.TX 79401                                                              Lubbock, TX 79424
                                                                                              18061788.01300


 THIS COMMERCIAL SECURITY AGREEMENT dated September 29, 2017, is made and executed between Ranger Auto Mall, Ltd. dba
 Raegortlykas Imports rerentorl and First Bonk & Trust(-Lander").
 GRANT OF SECURITY INTEREST. For valuable consideration, Grantor grams to Lender a security intermit in the Collateral to seems the
 Indebtedness and agrees that Lender shall have the rights stated in this Agreement with respect to the Collateral, in addition to all other rights
  which Lender may have by law.
 COLLATERAL DESCRIPTION. The word 'Collateral" es used 41 th's Agreement means the following described property, whether now owned or
 hereafter acquired, whether now existing or hereafter arising, and wherever located, in which Grantor is giving to Lender a security interest for
 the payment of the indebtedness and performance of a ^ other obligations under the Note end this Agreement:
      All inventory, together with the following specifically described property: all debtor's inventory of property of every description (specifically
      including by not limited to) all new and used motor vehicles, which Includes but is not limited to automobiles, motorcycles, mobile homes,
      motor homes, travel trailers. boats, vans, pickups, together with ill ammo:lac attachments, or secessions related to any of the foregoing
      collateral hereafter acquired and evidenced by men and/or title. whether held for rental, lease, sale or use, of whatever nature and
      whosoever located and all debtor's accountS, accounts molt/able, notes receivable,- checkse.draftr. contract tights end general intangiblee
      of every nature evidencing debtor's right to the payment of ff1061011 arising from the sale, lensing, or rental of such inventory hems and/or
      from the performance of debtor of Services In connection therewith or related thereto all the foregoing whether now owned or hereafter
      acquired by debtor and the proceeds and products thereof
 In addition, the ward 'colleterer also includes all the le owing, whether now owned or hereafter acquired, whether now existing or hereafter
 arising, and wherever located:
      I Al All accessions, attachments, accesscides, tools, parts, supple*, replacements of and additions to any of the collateral described herein,
      whether Added now or rater.
      1B) All products and produce of any of the property described In this Collateral section,
     (C) AI accounts, general intangibles, instruments, rents, monies, payments, and all other rights, arising out of a sale, lease, consignment
     or other disposition of anti of the property described in this Codeteral section.
      ID) All proceeds (including insurance proceeds) from the sale, destruction, 1:111, or other d spos,tion of any of the property described in this
     Collateral section, and sums due from s third party who has damaged or destroyed the Collateral or from that party's insurer, whether duo
      to judgment, settlement or other process,
      1E) All records and data relating to any of the property described In this Collateral section, whether in the form of a writing, photograph,
     microfilm, microfiche. or electronic media. together with all of Grantor's right, title, and "Merest in and to all computer software required to
     utilize, create, maintain, end process anyouch records or data on electronic media,


 CROSS-COLLATERALIZATION, In addition to the Nom this Agreement secures all obligations, debts and liabrilles, plus interest thereon, of
 Grantor to Lander, or any one or more of them, as well as ea clome by Lender against Grantor or any ono or more of them, whether now
 existing or hereafter arising, whether related Of unrelated to the purpose of the Note, whether voluntary or otherwise. whether due or not due,
 direct or Indirect, determined or undetermined, absolute or contingent, liquidated or untiquldrited, whether Grantor may be liable individually or
 Jointly with others, whether obligated as guarantor, surety, accommodation party or otherwise, However, this Agreement shall not secure, and
 the Indebtedness' shall not include, any obligations arising under Subchapters E and F of Chapter 342 of the Texas Finance Code, as amended,
 RIGHT OF SETOFF. To the extent permitted by appltabo law, Lender reserves a right of setoff In all Grantor's accounts with Lender twhether
 checkhg, savings, or some other account). This Includes oil accounts Grantor he,ds Jointly with someone else end all accounts Grantor may
 open in the future. However, this does not inciude any IRA or Keogh eccounta, or any trust accounts for which setoff would be prohibited by
 taw. Grantor authorizes Lender, to the extent permitted by applicable law, to charge or setoff ell sums owing on the Indebtedness against any
 and all such accounts, and, at Landor's option, to administratively freeze sit such accounts to allow Lender to protect Lender's charge end setoff
 rights provided in ths paragraph.
 GRANTOR'S REPRESENTATIONS AND WARRANTIES WITH RESPECT TO THE COLLATERAL, With respect to the Collateral, Grantor represents
 and promises to Lander that:
       Perfection of Security interest. Grantor agrees to take whatever actions are requested by Lender to perfect end continue Lender's security
       interest in the Collateral, Upon request of Lender, Grantor will deliver to Lender any and a I of the documents evidencing or consuming the
       Collateral, and Grantor will note Lender's Interest upon any and all chattel paper end Instruments if not delivered to Lender for possession
       by Lender. This is a continuing Security Agreement end will continue In effect even though all or any part of the Indebtedness Is paid In full
      and even though for a period of time Grantor may not he Indebted to Lender.
       NC/11C011 to Lender. Grantor vet promptly notify Lender in writing at Lender's address shown above for such other addressee as Lender may
       designate from time to time) prior to any Ill chenge in Grantor's name: 12) change in Grantor's assumed business fermis); 131 change
      in the partners of the partnership, including the addition of new partners or the deporture of current partners from the partnership Grantor;
      14) change In the authorized signer(s); (5) change in Grantor's prinChal office address; (8) change In Grantor's state of organtsation; 17)
      conversion of Grantor to a new or different type of business entity; or 181 change in any other aspect of Grantor that directly or indirectly
      relates to any agreements between Grantor and Lender. No change in Grantor's name, state. or orgenoation, or penclpal office address will
       take effect until after Lander has received notice.
      No Violation. The execution and devilry of this Agreement w not violate any law or agreement governing Grantor or to which Grantor is
      a party, end its partnership agreement does not prohibit any term or condition of this Agreement.
      Enforceability of Collateral. To the extent the Collateral consists of accounts, chattel paper, or general intangibles, as (Sehnert by the
      Uniform Commercial Cade, the Collateral is enforceable in accordance with .H terms, is genuine, and fully complies with all appecable'awe
      end regulations concerning term, content and manner of preparation and execution, end el persons appearing to be obligated on the
      Collateral have authority and capacity to contract and era In fact obligated as they speller to be on the Collateral. There shell be no setoffs
      or counterclaims against any of the Co:etaral, and no agreement shoi have been made under which any deduct aria or discounts may be
      calmed concerning the Collateral except those disclosed to Lender In writing.
      Location of the Coilateral. Except In the ordinary course of Grantor's tntines*, Grantor agrees to keep the Collateral at Grantor's 'Maltese
      shown above or at such other locations as are acceptable to Lender, Upon Lender's request, Grantor will deliver to lender in form
     ,satisfactory to Lender a schedule of reel properties and Collateral locations relating to Grantor's operations, Including without Imitation the
      following: 11) all real property Grantor owns or is purchasing, 12) all real property Grantor is renting or leasing; 131 all storage lac ties
      Granter owns, rents, leases, or uses; and 14) ail other properties where Collateral is or may be located.
      Removal of the Collateral. Except In the ordinary course of Grantor's business, Including the sales of inventory, Grantor shall not remove
      the Conateral from Its exalting location without Lender's prior wrtten consent. To the extent that the Co"sterol consists of vehicles, or
      other titled property, Grantor shell not take or permit any action which wou'd require application for corhficates of 11115 far the vehicles
      outside the State of Texas, without Lender's prior wntten consent. Grantor shall, whenever requested, advise Lander of the exact location
      of the Collateral.
      Transactions Involving Collateral, Except for . nventosy sold or accounts collected In the ordinary course of Grantor's bushess, or es
      otherwise provided for In this Agreement, Grantor shall not sell, offer to sell, or otherwise transfer or dispose of the Collateral. While
      Grantor is not In default under this Agreement, Grantor may sell 'Aventory, but only in the ordinary course of Its business  and only to buyers
      who qualify as a buyer'n the ordinary course of business, A sate In the ordinary course of Grantor's bueness      does not include a treacle, in
                                                                Grantor  shall not pledge, mortgage,  encumber  or otherwise   permit the Collateral to
      porde! or total satialaction of a debt or any bulk sale.                                                            In this Agreement, without
      be subject to any lien, security interest, encumbrance, or charge, other than the security Interest provided for
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                                            COMMERCIAL SECURITY AGREEMENT
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     the prior written consent of Lander, The includes security interests oven it Junior In right to the security interests granted under this
     Agreement. Unless waived by Lender, all proceeds from any disposition of the Collateral (for whatever repoonl shall be held in trust for
     Lender and shell not be cammlnolad with any other funds: provided however, the requirement shall not constitute consent by Lender to any
     late or other disposition, Upon receipt, Grantor shall Immediately deliver any such proceeds to Lander.
     Tide. Grantor represents and warrants to Lender that Grantor holds good and marketable titre to the Collateral, free and clear of ell liens
     and encumbrances except for the lion of this Agreement. No financing statement covering any of the Collateral Is on file in any public
     office other then those which reflect the security interest crested by this Agreement or to which Lender hos specifically consented.
     Grantor shall defend Landerie tights In the Collateral against the claims and demands of slather persons, •
     Repairs and Maintenance. Grantor agrees to keep and maintain, and to cause others to keep and maintain, the Collateral in good order,
     repair end condition at all times while this Agreement remains In effect. Grantor further agrees to pay when due all claims for work done
     on, or services rendered or metered furnished in connection with the Collateral so that no •lien or encumbrance may ever attach to or be
     Iliad against the Collateral,
     Inspection of Collateral. Lender and Lender's designated representatives and agents shall have the right at all reasonable times to examine
     and inspect the Collateral wherever located.
     Texas, Assessments and Liens. Grantor wial pay when due all taxes, assessments and liens upon the Collateral, Its use or operation, upon
     this Agreement, upon any promissory note or notes evidencing the Indebtedness, or upon any of the other feinted Documents. Grantor
     may withhold any such payment or may elect to contest any lien'lf Grantor a in good faith conducting en appropriate proceeding to contest
     the obligation to pay and so tong as Landerie Interest in the Collateral Is not Jeopardized in Lender's sole opinion. In any contest Grantor
     shall defend Itself end Lender and shell satisfy say final adverse Judgment before enforcement against the Collateral. Grantor shall name
     Lender as en additional obligee under any surety bond furnished 'in the contest proceedings. Grantor further agrees to furnish Lender with
     evidence that such taxes, ssssssmenu. and governmental and other charges have been paid In full end in a timely manner. Grantor may
     withhold any such payment or may elect to'contest any Ilan if Grantor is In good faith conducting an appropriate proceeding to contest the
     obligation to pay and so long as Lender's interest in the Collateral is not Jeopardized.
     Compliance with Governmental Requirements. Grantor shall comply promptly with all lawn, ordinances, rules and regulations of all
     eoventrnental author)tios, now or hereafter In effect, appliceble to the ownership, production, disposition, or use of the Collateral, Including
     all laws or regulations relating to the undue erosion of highly-erodible land or relating to the conversion of wetlands for the production of en
     agricultural product or commodity. Grantor may contest in good faith any such law, ordinance or regulation and withhold compliance
     during any proceeding, including appropriate appeals, so long es Lender's Murrell in the Collateral, in Lender's opinion, is not jeopardized.
      Hazardous Substances. Grantor represents end warrants that the Coirtkoral never has been, and never wilt be so long as this Agreement
      remains a Ilan an the Collateral, treed in violation of any Environmental Laws or for the generation, manufacture, storage, transportation,
      treatment, disposal, release or threatened release of any Hazardous Substance, The representations and warranties contained heroin aro
      based on Grantor's due diligence In investigating the Collateral for Hazardous Substances. Grantor hereby ill releases and waives any
      future claims against Lender for indemnity or contribution in the avant Grantor becomes liable for cleanup or other costs under any
      Environmental Laws, and 121 agrees to indemnity, defend, and hold harmless Lender against any.and all claims and leases resulting from a
      breach of this proofs on of this Agreement. This obligation to Indemnify and defend shall survve the payment,of the Indebtedness and the
      setialactIon of this Agreement.
      Maintenance of Casualty Insurance. Grantor shall procure and maintain all risks insurence. including without limitation lire, theft and
      liability coverage together with such other insurance as Lender may require with respect to the Collateral, In form, amounts, coverages and
      bask reasonably acceptable to Lander. Grantor, upon request of Lender, will deliver to Lender from time to time the policies or certificates
      of 'neural= In form satisfactory to Lander, including stipulations that coverages will not be cancelled or diminished without at boast thirty
       Mil days' prior written notice to Lender and not Including any disclaimer of the insurer's liability for failure to give Guth a notice. Each
      insurance policy also shall include en endorsement providing that coverage in favor of Lender will not be impaired in any way by any act,
      omission or default of Grantor or any other person. In connecton with All polices covering assets in which Lender holds or,is offered e
     'murky Interest, Grantor will provide Lender with such loss payable or other endorsements as Lender may require, if Grantor et any time
      fails to obtain:or maintain'any insurance es required under this Agreement, Lender may (but shall not be obligated to) obtain such insurance
      as Lender deems apprOptlete, including ,f Lender so choose; 'single interest insurance,- which will cover only Lender's Interest in the
      Collateral.
       Application of Insurance Proceeds. Grantor she': promptly notify Lender of any toss or damage to the Collateral, whether or not such
      casualty or toss Is covered by insurance. Lender may make proof of lass 1 Grantor fn's to do so within fifteen (151 days of the casualty.
       A ll proceeds of any insurance on the Collateral, incitiding accrued proceeds thereon, shall be held by Lender as pert of the Collateral. If
      Lender consents to repair or replacement of the damaged or destroyed Collateral, Lender she upon satisfactory proof of expenditure, pay
      or reimburse Grantor from the proceeds for the reason/WIG cost of repair or restoration, if Lender does notconsent to repair or replacement
      of the Collateral; Lender shall retain a sufficient amount of the proceeds to pay all of the Indebtedness, and shall pay the berme to
      Grantor, Any proceeds which have not been disbursed within six (61 months after the-r receipt and which Grantor rtes not committed to
      the repair or restoration of the Collator's shall be used to prepay the Indebtednest
      Insurance Resirvas. Lender may require Grantor to maintain with Lender reserves for payment of insurance premiums, which reserves shell
      be created by monthly payments from Grantor of a sum wowed by Lender to be sufficient to produce, at !east fifteen 115) days before
      the premium due data, amounts et least equal to the insurance premiums to bo paid. If fifteen (1 5) days before payment is due, the reserve
      fund; are Insufficient, Grantor shell upon demand pay any deficiency to Lender. The reserve funds shell be held by Lender as a general
      deposit end shall constitute a norointerest-bearing account which Lender may satisfy by payment of the,insurance premiums required to be
      paid by Grantor as they become due Lender does not hold the mew* funds in (runt tot Grantor, and Lander rs not the agent al Granter
      for payment of the insurance premiums required to be paid by Grantor, The respona bliity for the payment of premiums shall !amain
      Grantor's sale responsibkity,
      Insurance Reports. Grantor, upon request of Lender, shall furnish to Lender reports on each existing policy of insurance showng such
      Information as Lander may reasonably tanuast includng the following: II) the nema of the InSurer; 121 the risks Insured; MI the amount
      of the polity; (41 the property insured; 151 the then current value on the basis of Which Insurance has bean obtained and the manner at
      determining that volt,: and 16) the expiration date of the policy, In addition, Grantor shell upon *inset by Lander (however not more
      often than annuai)y) have an Independent appraser satisfactory to Lander determine, as applicable, the cash value ar replacement cost of
      the Collateral.
      Financing Statements. Comer authorizes Lander to file a UCC IrnencIng statement, or a ternativaly, a copy of this Agreement to perfect
      Lender's security Interest At Lander request, Grantor additionally agrees to sign ea other documents that are necessary to perfect,
      protect, and continue Lender's security interest in the Property. Grantor w ir pay all filing fees, ote transfer foes, and other fees and costs
      Involved unless prohibited by law or unless Lander is required by law to pay such tabs end costs, Grantor Irrevocably appoints Lender to
      execute documents necessary to transfer title it there a default. Lender may file a copy of th.s Agreement as a financing statement.
      Granter will promptly notify Lender of any change to Grantor's name or the name of any individual Granter, any individual who is a partner
      for a Grantor, and any individual who is a trustee or settler or truster for a Grantor under this Agreement. Grantor will also promptly notify
      Lender of any change to the name that appears on the most recently Issued, unexpired driver's license or 'kowtowed Identification card,
      any exp'ration of the moat recently issued driver's license or eteto•hsusd identification card tot Grantor or any Individual for whom Grantor
      is required to provide notice regarding name changes,
 GRANTOR'S RIGHT TO POSSESSION. Until default, Grantor may have possession of the tangible persona' property and beneficial use of ell the
 Co' tteral and may use it in any lawful manner not Inconestent with this Agreement or the Related Documents, provided that Grantor's right to
 possession and beneficial use shell not apply to any CoJeteral where possession of the Collateral by Lender is required by law to perfect
 Lender's security Interest In such Corrateral, 11 Lender at any time has possession of any Collateral, whether before or after an Event al Default,
 Lender shell be deemed to have exercised reasonable care In the custody end preservation of the Collateral if Lender takes such action for that
 purpose as Grantor shall request or as Lender. in Lender's sole discretion, shalt deem appropriate under the circumstances, but failure to honor
 any request by Grantor shell not of itself be deemed to be a failure to exercise reasonable care, Lender shall not be required to take any steps
 necessary to preserve any rights in the Ceti-Moral against prior parties, nor to protect, preserve or maintain any security interest given to secure
 the indebtedness.
 LENDER'S EXPENDITURES. II any action or proceed:ng -a commenced that would materially effect Lender's interest in the Collateral or If
 Grantor fitk to comply with any provision of this Agreement or any Reined Documents, Including but not limited to Grantor's failure to
 discharge or pay when due any amounts Grantor is required to discharge or pay under this Agreement or any Reamed Documents, Lender on
 Grantor's behalf may (but shall not be °Wrested tol take any action that Lender dooms appropriate, Including but nor limited to discharging or
 paying all taxes,(lens, security Interests, encumbrances end other claims, et any time levied or placed on the Co lateral and paying all costa for
 insuring, maintaining and preserving the Collateral, Ali such expenditures paid by Lender for such purpose' will then bear interest et the Note
-rate from the dale paid by Lender to the data of repayment by Grantor- To the extent permitted by applicable law, el such extremes will
 become a part of the Indebtedness end, at Lender's option, will (A) be payable en demand; MI be added to the It/nonce of the Note end be
                                iirs,$1.04t",11.0 L'eF
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                                             COMMERCIAL SECURITY AGREEMENT
 Loan No: 4009822988                                   iContiTippd)                                                                           ago 3

apportioned among and be payable with any installment paymonts. tp become due during either 111 the term of any applicable insurance policy;
or 12) the remaining term of the Note: or ICI be treated ai Venom paymeneWhich will be due and payable at the Note's maturity. The
Agreement also will secure payment of these amounts, Such right shall be in addition to all other rights and remedies to which Lender may be
entitled upon Default.
DEFAULT. Each of the following shall constitute art Event of Default under this Agreement:
     Payment Default. Grantor fails to make any payment when due under the Indebtedness.
     Other Defaults. Grantor fells to comply with or to perform any other term, obligation, covenant or condition contained in this Agreement or
     In any of the Related Document, or to comply with or to perform any term, obligation, covenant or condition contained in any other
     agreement between Lander and Grantor.
     Fella Statements. Any warranty, representation or statement made or furnished td Lender by Grantor or on Grantor's behalf under this
     Agreement or the Rotated Documents is lass or misleading In any material respect, either now or at the time made or furnished or becomes
     tale or misleading at any time thereafter,
     Defective Coilateralisallon. This Agreement or any of the Related Documents ceases to be in full force and effect 'including failure of any
     collateral document to create a valid and perfected security interest or (on) At any time and for any meson,
     Ineolvency. The dissolution or termination of Grantor's ex etence as a going business or the death of any partner, the Insolvency of
     Grantor, the appointment of a receiver for any part of Grantor's property, any assignment for the benefit of creditors, any type of creditor
     workout, or the commencement of any proceeding under any bankruptcy or insolvency laws by or against Grantor.
     Creditor or Forfeiture Proceedings. Commencement of foreclosure or forfeiture proceedings, whether by judicial proceeding,
     reposseesion or any other method, by any creditor of Grantor or by any governmental agency noblest any colleens! securing the
     Indebtedness. This Includes a garnishment of any of Grantors accounts, including deposit accounts, with Lender. However, this Event of
     Default shell not apply If there is a good faith dispute by Grantor as to the validity or reasonableness of the cleim which is the basis of the
     creditor or forfeiture proceeding and if Grantor gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender
     monies or a surety bond for the creditor or forfeiture proceeding, in an amount determined by Lender, In Its sole discretion, as being en
     adequate reserve or bond for the dispute.
     Events Affecting Guarantor. Any of the preceding events occurs with respect to any Guarantor of any of the Indebtedness or Guarantor
     dies or becomes Incompetent or revokes or dsputea the validity of. or Veiny under, any Guaranty of the Indebtedness
    . Adverse Change. A materiel adverse change occurs In Grantor's financial condition, or Lander believes the protean of payment or
      performance of the Indebtedness is impaired.
     Insecuray, Lender In good faith believes itself Insecure.
      Cure Provisions. If any default, other than a default In payment, is curable and if Grantor has not been given a notice at a breech of the
      same provision of this Agreement within the preceding twelve 412) months, it may.bircured if Grantor, after Lender sends written notice to
      Grantor demanding cure of such default: 11) cures the default within thirty (30) days; or (2) If the cure requires more then thirty 430)
      days. immediately Initiates steps. which Lender deems In Lender's sole discretion to be muff dent to cure the delimit and thereafter
     continuos and completes all reasonable and necessary steps sufficient to produce compliance as soon as reasonably practical.
RIGHTS AND REMEDIES ON DEFAULT. If an Event of Default occurs under this Agreement, at any time thereafter, Lender shall have all the
rights of a secured party under the Texas Uniform Commercial Code, in addition and without limitation, Lender may exercise any one or more of
the following rights end remedies:
      Accelerate Indebtedness, Lender may declare the entire Indebtedness immediately due and payabo, without notice of any kind to Grantor.
      Assemble Collateral. Lender may require Grantor to deliver to Lender all or any portion of the Collateral and any and all certificates of title
      and other documents relating to the Collateral_ Lender may require Grantor to assemble the Collateral and make It available to Lender at ri
      place to bi designated by Lender, Lender also shall have full power to enter, provided Lender does so without a breach,of the peace or a
     trespass, upon the property of Grantor to take possession of and remove the Collateral. II the Collateral contains other geode not covered
      by this Agreement at the time of repossession, Grantor agrees Lender may take such other goods, provided that Lender makes reasonable
     efforts to return them to Grantor after repossession.
      Salt the Collateral. Lender shall have full power to sell,lease, transfer, or otherwise deal with the Collateral or proceeds thereat In Lender's
      own name or that of Grantor, Lender may sell the Collateral at public auction or private sale, Unless the Collateral threatens to decline
      speedily in value or is of a type customarily sold on a recognized market, Lender will give Grantor, and other persons ea required by law,
      reasonable notice of the time and place of any pubic sale, or the time after which any private sate or any other disposition of the Collates'
      la to be made. However, no notice need be provided to any person who, after Event of Default occurs, enters Into end authenticates en
      agreement waiving that person's right to notification of sale. The requirements of reasonable notice shall be met If such notice is given at
      least ten 1101 days belore the time of the sale or disposition. 'All expenses relating to the disposition of the Cotateral, including without
      limitation the expenses of retek ng, holding, insuring, preparing for sale end selling the Collateral, shall become a part of the Indebtedness
      secured by this Agreement and shall be payabte on demand, with interest et the Note rate Imm date of expenditure unt repaid.
      Appoint Receiver. Lender shall have the right to have a receiver appointed to take possession of all or any part of the Collateral, with the
      power to protect and preserve the Collateral, to operate the Cameral preceding foreclosure or sale, and to collect the rents from the
     Collet:Intl and apply the proceeds, over and above the cast of the receivership, against the Indebtedness. The Meyer may serve without
      bond If permitted by .'aw, Lantler's right to the appointment of a receiver shall exist whether or not the apparent value of the Collateral
     exceeds the indebtedness by a substantial amount. Employment by Lender shall not disqualify a person from serving as a receiver.
     Collect Revenues, Apply Accounts. Lender, either itself or through a receiver, may collect the payments, rents, income, and revenues from
     the Collateral. Lender may et any time in Lender's discretion transfer any Collateral Into Lender's own name or that of Landers nominee
     and receive the payments. 'mite, income, and revenues therefrom and hold the same se security for the Indebtedness or apply it to
     payment of the Indebtedness In such order of preference as Lender may determine, Insofar as the Collateral consists of accounts, general
     intangibles, Insurance polic.es, Instruments, chattel, paper, chases In action, or similar property, Lender may demand,collect, receipt for,
     settle, compromise, adjust, sue for, foreclose, or reeLze on the Collateral as Lender may determine, whether or not Indebtedness or
     Collateral Is then due. For those purposes, Lender may, on behalf of and In the name of Grantor, receive, open end dispose of mall
     addressed to Grantor; change any address to which mail and payments are to be sent) and endorse notes, checke, drafts, money orders,
     documents of title, ,instruments and items pertaining to payment, shipment, or storage of any Collateral.. To fec'aste collection. Lender
     may notify account debtors and obligors on any Collateral to make payments directly to Lender.
     Obtain Deficiency. If Lender chooses to sell any or all of the Colleterre. Lender may obtain a judgment against Grantor for any deficiency
     remaining on the ndebtedness due to Lender after application of all amounts received from the exercise of the rghts provided In this
     Agreement. Grantor obeli be Nebo fore deficiency even If the transaction described In this subsection is a sale of accounts or chattel
     paper.
     Other Rights and Remedies. Lender shall have ref the rights and remedies of a secured creditor under the provisions of the Uniform
     Commercial Code, es may be emended from time to time. in addition, Lender shall have and may exercise any or all other rights end
     remedies it may have available at law, In equity, or otherwise.
     Election of Remedies, Except as may be prohibited by applicable law, all of Lender's rights and remedies, whether evidenced by this
     Agreement, the Related Documents, or by any other writing, shall be cumu`stIve and may be exercised angularly or concurrently. Election
     by Lender to pursue any remedy shell not exclude pursuit of any other remedy, and en election to make expenditures or to take action to
     perform en obligation of Grantor under this Agreement, after Grantor's failure to perform, shall not effect Lender's right to declare a default
     and exercise Its remedies,
ORIGINAL DOCUMENT, *The mutes whose signatures appear below agree that a photographic, photostatic, lecalmIe. electronic, copy or
similar reproduction of this document shell be veld as the original.",
CHOICE OF VENUE. II there is a lawsuit, Grantor agrees upon Lender's request to submit to the jurardiction of the Courts of Lubbock County,
Taxes. The parties agree that Lubbock County, Tempi, the sole and exclusive venue for any lawsuit arsine out of this transaction,                •
MISCELLANEOUS PROVISIONS. The Wowing miecelleneous provision' are a pert of this Agreement:
   Amendments. This Agreement. together with any Related Documents, constitutes the entire understanding and agreement of the parties
   as to the matters sat forth in this Agreement. No alteratan of or amendment to this Agreement shall de alfeatly. unless given in writing
   and signed by the party or parties sought to be charged or bound by the alteration or amendment.
                                                                                                                               reasonable
   Attorneys' Fees: Expenses. Grantor agrees to pay upon demand all of Lender's costs and expenses, including Lender's hire or pay
   attorneys' fees end Lender's legal expenses, Incurred In connection with the enforcement of this Agreement. Lender may
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                                           COMMERCIAL SECURITY AGREEMENT
Loan No: 40098229E18                                (Continued)                                                                          Page 4

    someone else to help enforce this Aareernent, and Grantor shall pay the costs and expenses of such enforcement. Costs and expenses
    include Lender's reasonable attorneys' fees and legal expenses whether or not there Is a lawsuit, Including Lende'r's reasonable attorneys'
    lees end legal expenses for bankruptcy proceedings fincludIng efforts to modify or vacate any automate stay or injunctionl, appeals, and
    any anticipated post-judgment collection services. Grantor also shall pay all court costs and such add tonal fees as may be directed by the
    court.
    Gaoler! Headings. Caption headings In this Agreement are for convenience purposes only and are not to be used to Interpret or define the
    provisions of this Agreement,
    Governing Lew. This Agreement will be governed by federal law applicable to Lender end, to the extent not preempted by federal law, the
    laws of the State of Tease without regard to Its contacts of law provisions. This Agreement has been accepted by Lander In the Stale of
    Terse
    No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Agreement unless such waiver is given in writ ng
    end signed by Lander, No delay or omission on the part of Lender In exercising any right shall operate as a waiver of such right or any
    other right. A waiver by Lender of a provision of this Agreement shall not prejudice or. constitute a waver of Lender's right otherwise to
    demand strict complance with that provision of any other provision of the Agreement, No prior waiver by Lender, nor any course of
    dealing between Lender and Grantor, shall constitute a waver of any of Lender's rights or of any of Grantor's obligations as to any future
    transactions. Whenever the consent of Lender is required under this Agreement, the granting of such consent by Lender In any Instance
    she not constitute continuing consent to subsequent 'meatless where such consent is required and in all cases tuch consent may be
    granted or withheld in the sole discretion of Lender.
    Notices. Any notice requIred to be given under this Agreement shalt be given in writing, and she I be affective when actually delivered,
    when actually received by telefacsimile (unless otherwise required by lawl, when deposited with a nationally recognized overnight courier,
    or, if mailed, when deposied In the United States mall, es first Class, certified or registered mall postage prepaid, directed to the addrestes
    shown near the beginning of this Agreement, Any party may change Its address for notices under this Agreement by giving formal written
    not""-co to the other parties, specifying that the purpose of the notice is to change the party's address. For notice purposes, Grantor agrees
    to keep Lender informed at all times of Grantor's current address, Unless otherwate provided or required by law, if there Is more then one
    Grantor, arty notice given by Lender to any Grantor is deemed tabs notice gluon to ell Grantors.
    Power of Attotney. Grantor hereby appoints Lender as Grantor's irrevocable atterney-M•fact for the purpose of executing any documents
    necessary to perfect, emend, or to multi° the security interest granted in this Agreement or to demand termination of filings of other
    secured parties. Lender may at any time, and without further authorization tram Grantor, file a carbon, photographic or other reproduction
    of any Foaming statement or of this Agreement far use as a financing statement, Grimier will reimburse Lander for ell expanses for the
    perfection and the continuation of the perfection of Lender's security Interest In the Coiateral,
    Severability. if a court of competent jurisdiction finds any provision of this Agreement to be 11100, lnve.41, or unenforceable as to any
    circumstance, that finding shall not make the offending provision Illegal, inved, or unenforceable es to arty other circumstance. if feasible,
    the offending provision shall be considered modified so that it becomes legal, valid end enforceable. If the offending provision cannot be so
    modified. It shalt be considered deleted from this Agreement, Unless otherwise required by law, the age' ty, Invalidity, or unenforceability
    of any provision of this Agreement shall not elect the legality, ye idity or enforceability of any other proWsion of this Agreement.
    Successors   and Assigns. Subject to arty limitations stated in this Agreement on transfer of Grantor's Interest, this Agreement shall be
    binding upon and Inure to the benefit of the partes, the'r successors end assigns. If ownership of the Cohateral becomes vested in a
    parson other then Grantor, Lender, without notice to Grantor, may deal with Grantor's successors with reference to this Agreement and the
    Indebtedness by way of forbearance or extension without releasing Grantor from the obi gallons of this Agreement or liability under the
    Indebtedness.
    Survival of Representations and Warranties. All representations, warranties, and agreements mode by Grantor in this Agreement shall
    survive the execution and delivery of this Agreement, shall be continuing In nature. and shall remain In full force and effect until such time
    as Grantor's Indebtedness she be paid in lull.
    Time Is of the Essence. Time Is of the essence In the performance of this Agreement.
DEFINITIONS. The felowing capitalized words and terms OW have the following meanings when used In this Agreement. Unless specifically
stated to the contrary, sit references to dollar amounts thee mean amounts in lawful money of the United States of America. Words and terms
used in the singular shell include the plural, and the plural shell include the angular, as the context may require. Words and terms not otherwise
defined In this Agreement shall have the meanings attributed to such terms in the Uniform Commercial Cadet
     Agreement. The word 'Agreement' means this Commercial Security Agreement. as this Commercial Security Agreement may be amended
    or modified from time to time, together with all exhiblt end schedules attached to this Commercial Security Agreement from time to time,
    BorroWer. The word "Borrower Means Reaper Auto Mall, Ltd. Mut Reagor-Oykes Imports 'and includes all co•slgnere and co•mekers
    signing the Note end el their successors and insigne
    Collateral. The word 'Co ;auger means ail of Grantor's right, title end interest in and to all the Collateral as described in the Cameral
    Description secton of this Agreement.
    Default. The word "Dateur means the Default set forth in this Agreement Ira the section titled 'Default',
    Environmental Laws. The words 'Environmental Laws' preen any and all state, federal end local statutes, regulations and ordinances
    relating to the protection of human health or the environrhent, including without Imitation the Comprehensive Environmental Response,
    Compensation, and Liability Act of 1980, as amended, 42 U,S,C. Section 9601, of seq. rCERCLA*), the Superfund Amendments and
    Reauthorization Act of 1986, Pub. L. No 99-499 ('SARA"I, the Hazardous Materials Transportation Act, 49 U.S.C, Section 1801, et seq
    the Resource Conservation and Recovery' Act, 42 U,S.C. Section 6901, et seq., or other oplaccabla mate or federal laws, rules, or
    regulations adopted pursuant thereto.      •
    Event of DeWitt. The words "Event of Default' mean any of the events of default set forth In this Agreement In the default section at this
    Agreement.
    Grantor. The word 'Grantor' means Reagor Auto Mel, Ltd. dba Reagor-Dykes Imports.

    Guarantor. The word 'Guarantor' means any guarantor, surety, or accommodaton party of any or all of the Indebtedness.
    Guaranty. The word 'Guaranty' means the guaranty from Guerentor to Lender, including without limitation a guaranty of ell ar part of the
    Note.
    Hazardous Substances. The words *Hazardous Substances" mean materials that, because et their quantity, concentration or physical,
    Chemical or infectious characteristics, may cause or pose a present or potential hazard to human health or the environment when
    improperly used, treated, stored, disposed of, generated, manufactured, transported or otherwise handled, The words 'Hazardous
    Substances" are used In their vary broadest sense end Include without limitation any and all hazardous or toe'c substances, materials or
    waste as defined by or listed under the Environmental Laws, The term "Hazardous Substances' also includes, without limitation, petroleum
    and petroleum byproducts or any fraction thereof and asbestos.
    Indebtedness. The word 'Indebtedness" means the indebtedness evidenced by the Note or Related Documents, including ell principal end
    interest together with all other indebtedness and cools and expenses for which Grantor le respontible under this Agreement or under any of
    the Related Documents. Specifically, without limitation, Indebtedness Includes all amounts that may be indirectly secured by the
    Cross.Collaterailzation proviann of this Agreement,
    Lander. The word "Lender' means First Bank 6 Trust, Its successors and assigns.
    Note. The word `Note" means the Note dated September 29, 2017 and executed by Reagor Auto Mall, Ltd. dbe ReegOr-dykes Imports in
    the principal amount of •2,600,000.00, together with all renowaii of, extensions of, modifications of. refinancing* of, consolidations of,
    and substitutions for the note or credit agreement.
    Property. The word 'Property" means all of Grantor's right, 1410 and Internet in and to ail the Property as described in the "Collateral
    Description" section of this Agreement.
    Related Documents. The words 'Related Documents" mean ell promissory notes, credit agreements, loan agreements, environmental
    agreements, guaranties, security egtooments, mortgagee, deeds of trust, security deeds, collateral mortgages, end ell other Instruments,
    ego:laments and documents, whether now or hereafter existing, executed In connection with the Indebtedness.
GRANTOR HAS READ AND UNDERSTOOD ALL THE PROVISIONS OF THIS COMMERCIAL SECURITY AGREEMENT AND AGREES TO ITS
TERMS,THIS AGREEMENT IS DATED SEPTEMBER 29.2017,
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                                      COMMERCIAL SECURITY AGREEMENT
Loan No: 4009822988                                      (Contintied)                                                         Page 5


GRANTOR:



REAOOR AUTO MALL, LTD. OSA RE/WC/ROMS IMPORTS



REAOOR AU                C. General Partner of Rumor Auto Mall, Ltd.

By:               ar1-
                   al 11.1111                                     By;
      Bart Reag                           I.L.L.C.                                              sailor Auto   all I. L.L.C.

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                                                   COMMERCIAL GUARANTY

Borrower:      Reaper Auto Moll, Ltd. dbe Reaper-Dykes Imports               Lender;          Fiat Bank & Trust
               ITIN: 20.027E0221                                                              First Bank Centre
               1215 Ave .1                                                                    9818 Slide Road
               Lubbock, TX 79401                                                              Lubbock. TX 79424
                                                                                             (8061 MONO
GIMMICK;       Bart Resign (SSN: 454.53.76361
               8504 Oxford Ave
               Lubbock. TX 79423


 CONTINUING GUARANTEE OF PAYMENT AND PERFORMANCE. For good and valuable consideration, Guarantor absolutely and unconditionally
 gueranteas full and punctual payment and satisfaction of the Indebtedness of Borrower to Lender, and the performance and discharge of all
 Borrower's obligations under the Note and the Related Documents, This Is a guaranty of payment and performance and not of collection. so
 Lender can enforce this Guaranty against Guarantor even when Lender has not exhausted Lender's remedies against anyone else obligated to
 pay the Indebtedness or against any collateral securing the Indebtedness, this Guaranty or any other guaranty of the indebtedness. Ouellette
 will make arty payments to Lender or its order, on demand, In legal tender of the United States of America, in same-day funds, without setoff or
 deduction or counterclaim, and will otherwise perform Borrower's obligations under the Note and Related Documents. Under this Guaranty,
 Guarantor's liability is unlimited and Guarantor's obligations are continuing.
 INDEBTEDNESS. The word "Indebtedness' se used in this Guaranty means ail of the principal amount outstanding from time to time and at any
 one or more times, accrued unpaid interest thereon and all collection costs and lapel expense" related thereto permitted by law, Lender's
 reasonable attorneys' fees, arising from any and all debts, liabilities and obligations of every nature or form, now existing or hereafter arising or
 acquired, that Borrower individually or collectively or interchangeably with others, owes or will owe Lender. "Indebtedness' includes, without
.mitation, loans, advances,. debts, overdraft indebtedness, credit card indebtedness, tease abilgotions, liabilities. and obligations under any
 interest rate protection agreements or foreign currency exchange agreements et commodity price protection agreement*, other obligations, and
:iabilities of Borrower, end any present or future judgments against Borrower, future advances, loans or transactions that renew, extend, modify,
refinance, consolidate or substitute these debts, liabilities and Obligations whether: voitintenly or Involuntarily Incurred: due or to become due by
 their terms or acceleration; absteute or contingent; liquidated or unliquidated; determined or undetermined; direct or indirect; primary or
secondary In nature or arising from a guaranty or surety; secured ter unsecured; joint or several or joint and several; evidenced by a negotiable or
 nonmegatlable Instrument or writing; originated by Lender or another or others; barred or unenforceable against Borrower for any reason
 whatsoever; for any transactions that may be voidable for any reason (such as Infancy, insanity, ultra vIres or otherwise); end originated then
 reduced or extinguished and than afterwards Increased or reinstated.
 It Lender presently heidi one or more guaranties, or hereafter receives additional guaranties from Guarantor, Lander's rights under all guaranties
shlel be cumulative, This Guaranty shall not fun es• specifically provided below to the contrary) alfict or invalidate any such other guaranties.
 Guerantor's liability wilt be Guarantor's aggregate liability under the terms of this Guaranty and any such other untarminated guaranties.
CONTINUING GUARANTY. THIS IS A 'CONTINUING GUARANTY' UNDER WHICH GUARANTOR AGREES TO GUARANTEE THE FULL AND
PUNCTUAL PAYMENT, PERFORMANCE AND SATISFACTION OF THE INDEBTEDNESS OF BORROWER TO LENDER, NOW EXISTING OR
HEREAFTER ARISING OR ACC1U;RED, ON AN OPEN AND CONTINUING BASIS, ACCORDINGLY, ANY PAYMENTS MADE ON THE
INDEBTEDNESS WILL NOT DISCHARGE OR DIMINISH GUARANTOR'S OBLIGATIONS AND LIABILITY UNDER THIS GUARANTY FOR ANY
REMAINING AND SUCCEEDING INDEBTEDNESS EVEN WHEN ALL OR PART OF THE OUTSTANDING INDEBTEDNESS MAY BE A ZERO
BALANCE FROM TIME TO TIME.
DURATION OF GUARANTY. This Guaranty will take enact when received by Lender without the necessity of any acceptance by Lender, or any
notice to Guarantor or to Borrower, and will continue In full force until all the Indebtedness incurred or contracted before receipt try Lender of
any notice of revocation shall have been fully and tinny paid and satisfied and all of Guarantor's other obimptions under this Guaranty shall have
been performed ,n full, If Guarantor elects to revoke this Guaranty, Guarantor may only do so in writing. Guarantor's written notice of
revocation must be mailed to Lender, by certified mall, at Lender's address listed above or such other place as Lender may designate In writing.
Written revocation of th s Guaranty will apply only to new Indebtedness created atter actual receipt by Lander of Guarantor's written revocation
and Lender's written acknowledgment of receipt. For this purpose and without limitation, the term "new Indebtedness' does not include the
Indebtedness which at the time of notice of revocation is contingent, unliquidated, undetermined or not due end which tater becomes absolute,
liquidated, determined or due. For this purpose end without rim tenon, ''neW Indebtedness" does not Include ell or part of the Indebtedness that
is; Incurred by Borrower prior to revocation; incurred under a commitment that become binding before revocation; any renewals, extensions,
substitutions, and modifications of the indebtedness, This Guaranty shall bind Guarantor's estate as to the indebtedness created both before
end after Guarantor's death or Incapacity, regardless of Lender's actual notes of Guarantee' death. Subject to the foregoing, Guarantor's
executer or administrator or other legal representative may term.nate this Guaranty in the same manner in which Guarantor might have
terminated it and with the some affect, Release of any other guarantor or termination of any other guaranty of the indebtedness shall not affect
the liability of Guarantor under this Guaranty. A 'evocation Lender receives from any one or more Guarantors shall not affect the liability of any
remaining Guarantors under this Guaranty. It Is anticipated that fluctuations may occur In the aggregate amount of the Indebtedness covered by
this Guaranty. end Guarantor 'pacifically acknowledges end agrees that reduction in the amount of the Indebtedness, even to care dollars
140.001. shalt net constitute a termination of this Guaranty. This Guaranty is binding upon Guarantor and Guarantor's hairs, successors and
assigns so tong as arty of the Indebtedness remains unpaid and even though the indebtedness may from time to time be zero dollars 140.001.
 GUARANTOR'S AUTHORIZATION TO LENDER. Guarantor authorizes Lander, either before or after any revocation hereof, without notice ar
 demand and without lessening or otherwise effecting Guarantor's liability under this Guaranty, from time Werner (Al prior to revocetion es sat
 forth above, to make one or more additions enured or unsecured loans to Borrower, to lease equipment or other goods to Borrower, or
 otherwise to extend additional credit to Borrower; (B) to altar, compromise, renew, extend, accelerate, or otharw ao change one or more times
 the time for payment or other terms of the indebtedness or any part of the ndebtedness, including increases and decreases of the rate at
 Interest on the Indebtedness; extensions may be repeated and may be for longer than the original 'oars term, ICI to take and hold security for
 the payment of this Guaranty or the indebtedness, arid exchange, enforce, waive, eubordinato, fell or decide not to perfect, and release any
such security, with or without the substitution of new collateral; ID) to release, whet:lute, agree not to sue, ar deal with any one or more of
Borrower's sureties, endorsers, or other [Awarders on any terms or in any manner Lender may choose, (El to daterm ne how, when and what
application of payments end credits shall be made on the Indebtedness; (F) to apply such security end direct the order or manner of sale
thereof, Including without limitation, any nanjudiciet sole pormtted by the terms of the controlling security agreement or dead of trust, as Lender
In its discretion may determine; 16} to sell, transfer, assign or grant participat ono In all or any pert of the Indebtedneas; and NI to assign or
transfer this Guaranty in whole or In part.
GUARANTOR'S REPRESENTATIONS AND WARRANTIES. Guarantor represents end warrants to Lender that (A) no representations or
agreements of any kind have been made to Guarantor which would int or quality n any way the terms of this Guaranty; (B1 this Guaranty is
executed at Borrower's request and not et the request of Lender; IC) Guarantor has full power, right and authority to enter into this Guaranty;
ID) the prowls one of this Guaranty do not conflict with or result In a default under any agreement or other Instrument binding upon Guarantor
and do not result in a violation of any law, regulation, court decree or order applicable to Guarantor; (Et Guarantor he; not and will not, without
the prior written consent of Lender, soli, lease, assign, encumber, hypothecate, transfer, or otherwise dispose of all or substantially all at
Guarantor's assets, or any Interest therein; IF) upon Lender's request, Guarantor will provide to Lender financial and credit information in form
ecceptable to Lender. and all such financial information which currently has bean, and a.:" future financial information which will be provided to
Lender is and will be true and correct in all intent respects and fairly present Guarantor's financial cand.Von ai of the dates the financial
information is provided; 10) no material adverse change has occurred In Guarantor's financial conch'on since the data of the most recent
financial statements provided to Lender and no event has occurred which may mataria"y adversely affect Guarantor's tnancial.condition; the
no litigation, claim, Investigation, administrative proceeding or simtor action (including those for unped tans) agent Guarantor is pending or
threatened; (I) Lender has made no representation to Guarantor as to the wed tworthinese of Borrower; and (.1t Guarantor has established
adequate means of obtaining from Borrower on a continu ng basis Information regarding Borrower's !Menial condition, Guarantor agrees to
keep adequately informed from such means of any facts, events, or circumstances which might In any way affect Guarantor's risks under this
Guaranty, and Guarantor further agrees that, absent a request for information, Lander shall have no obligation to disclose to Guarantor any
information or documents acquired by Lender in the course of its raMtlenship with Borrower.
GUARANTOR'S WAIVERS. Except as prohibited by applicable law, Guarantor waives any right to require Lender IA( tp continua lending
money or to extend other credit to Borrower; la) to make any presentment, protest, demand, or not ca of any k nd, Including notice of any
nonpayment of the Indebtedness or of any nonpayment related to any co ateraL or notice of any action or nonactlon on the pert of Borrower.
Lender, any surety, endorser, or other guarantor in connection with the Indebtedness or In connection with the creation of new or additional
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                                                     COMMERCIAL GUARANTY
Loan No: 4009822988                                       (Continued)                                                                      Pogo 2

 loans or obligations; ICI to resort for payment or to proceed directly or at once against any person, including Borrower or any other guarantor,
(Dl to proceed directly ageinet or exhaust any collateral held by Lender from Borrower, any ether guarantor, or any other person; (E) to give
 notice of the terms, time, end piece of any public or private sale of personal property security held by Lander from Borrower or to comply w th
 enyather applicable provisions of the Uniform Commercial Coda; IF) to pursue any other remedy within Lender's power; or (GI to commit any
 act or omission of any kind, or at arty time, with respect to any matter whatsoever.
 Guarantor waives all rights of Guarantor under Chapter 43 of the Taxes Civil Practice and Remedies Code. Guarantor alto waives any and all
 rights or defenses based on suretyship or impairment of collateral including. but not limited to. any rights or defenses silting by reason of IA)
 any 'one action" or "enti.deficiettcy" law or any other law which may prevent Lender hero bringing any action, including a claim for deficiency,
 against Guarantor, before or after Lender', commencement or completion of any foreclosure action, either Judicially or by exercise of a power of
 sale; 1Bi any election of remedies by Lender which destroys or otherwise adversely affects Guarantor's subrogetion rights or Guarantor's rights
 to proceed against Borrower for reimbursement, Including without limitation, any loss of rights Guarantor may tuff& by reason of any taw
 lirhiting, qualifying, or discharging the Indebtedness; IC) any disability or other defense of Borrower, of any other guarantor, or of any other
 person, or by reason of the cessation of Borrower's. liability from any cause whatsoever, other than payment In full in legal tender, of the
 indabledneis; (0) any right to claim discharge of the Indebtedness on the basis of unjustified impairment of any collateral for the Indebtedness,
 1E1 any statute of emitationi, If at any time any acilon or suit brought by Lander against Guarantor Is commenced, there Is outstanding
 Indebtedness which is not barred by any applicable statute of limitations; or IFI any defenses given to guarantors at law or In equity other than
 actual payment and performance of the indebtedness, If payment Is made by Borrower, whether voluntarily or otherwise, or by any third party,
on the Indebtedness end thereafter Lender is forced to remit the amount of that payment to Borrower's trustee in bankruptcy or to any similar
 person under any federal or state bankruptcy law or law for the relief of debtors, the Indebtedness shall be considered unpaid for the purpose of
 the enforcement of this Guaranty.
 Guarantor further waives and agrees not to assert or claim at any time any deductions to the amount guaranteed under this Guaranty for any
claim of setoff, counterclaim, counter demand, recoupment or similar right, whether such claim, demand or right may be asserted by the
 Borrower, the Guarantor, or both,
 GUARANTOR'S UNDERSTANDING WITH RESPECT TO WAIVERS, Guarantor warrants and agrees that each of the waivers sot forth above Is
 made with Guarantor's lull knowledge of its significance and consequences and that, under the circumstances, the waivers are reasonable end
not contrary to public policy or law. If any such waiver is determined to be contrary to any applicable law or public policy, such waiver shall be
effective only to the extent permitted by law or public policy.
RIGHT OF SETOFF. To the extant permitted by applicable law, Lender reserves a right of setoff in all Guarantor's accounts with Lender
 lwhether checking, savings, or some other account!. This inctudoe all accounts Guarantor holds jointly with someone else end all account.
Guarantor may open In the future, However, this does not ineludo any IRA or Keogh accounts, or any trust accounts for which Wolf would be
prohibited by law. Guarantor authorizes Lender, to the extant permitted by applicable law, to hold these funds If there is a default, and Lender
may apply the funds In these accounts to pay what Guarantor owes under the terms of this Guaranty.
SUBORDINATION OF BORROWER'S DEBTS TO GUARANTOR, Guarantor agrees that the Indebtedness, whether now existing or hereafter
created, shall be superior to any claim that Guarantor may now have or hereafter acquire against Borrower, whether or not Borrower becomes
Insolvent, Guarantor hereby expressly subordinates any claim Guarantor may hove against Eicirrower, upon any account whatsoever, to any
claim that Lender may now or hereafter have against Borrower. In the event of insolvency and consequent liquidation of the assets of Borrower,
through bankruptcy, by an assignment for the benefit of creditors, by voluntary liquidation, or otherwise, the assets of Borrower applicable to
the payment of the claims of both Lender and Guarantor shell be paid to Lender and shell be first applied by Lender to the Indebtedness.
Guarantor does hereby assign to Lender all claims which It may have or acquire against Borrower or, against any assignee or, trustee 2n
bankruptcy of Borrower; provided however, that such assignment thee be effective only for the puipese of assuring to Lender full payment
legal lender of the Indebtedness, If Lender so requests, any notes or credit agreements now or hereafter evidencing any debts or obligations of
Borrower to Guarantor shall be marked with a legend that the seine era subject to this Guaranty and shall be delivered to Lender, Guarantor
agrees, end Lender is hereby authorized, In the name of Guarantor, from time to time to file financing statements and continuation statement'
and to execute documents and to take such other actions as Lender deems necessary or appropriate to perfect, preserve and enforce its rights
under this Guaranty.
MISCELLANEOUS PROVISIONS, The following miscellaneous provisions are a part at this Guaranty:
     Amendments. This Guaranty, together with any Related Documents, constitutes the entire understanding and agreement of the parties as
     to the matters set forth in this Guaranty. No alteration of or amendment to this Guaranty shall be effective unless given In writing end
    signed by the party or parties sought to be charged or bound    by the alteration or amendment,
                                                                  ..
     Attorneys' Fees: Expenses. 'Otiarantor agrees to pay upon ;remand all of Lender's coats and expenses, including Lender's reasonable
     attorneys' fees end lander's legal expenses, Incurred in connection with the enforcement of this Guaranty. Lender may hire or pay
    someone also to help enforce this Guaranty, and Guarantor shall pay the costs and expenses of such enforcement. Costa and expenses
     Include Lender's reasonable attorneys' fees and legal expense* whether or net there is a lawsuit, including Lender's reasonable attorneys'
    fees and legal expanses for bankruptcy proceedings (including efforts to modify or vacate any automatic stay or injunction), appeals, and
    any anticipated postnudgment collection services. Guarantor also shall pay all court costs and such additional fees as may be directed by
    the court.
    Caption Headings. Caption headings in this Guaranty are for convenience purposes only and are not to be used to Interpret or define the
    provisions of this Guaranty.
    Governing Law. This Guaranty will be governed.by federal law applicable to Lender and, to theaxtent-not preempted by federal law, the
    taws of the State of Taxes without regard to its conflicts of law provisions.
    Integration. Guarantor further agrees that Guarantor has read and fully understands the terms of this Guaranty; Guarantor has had the
    opportunity to be,advlsed by Guarantor's attorney wIth.respect to this-Guaranty; the Guaranty fully reflects Guarantor's intentions and panel
    evidence is not required to Interpret the terms of this Guaranty. Guarantor hereby inderttnilles and holds Lender harmless front all losses,
    Claims, damages, and costa (including Lender's attorneys' lees} suffered or incurred by Lender ass result of any breach by Guarantor of the
    warranties, representations and agreements of this paragraph.
    Interpretation, In all cases where there is more then one Borrower or Guarantor, then all Words tiled in this Guaranty in 'the singular shall
    be deemed to have been Used in the plural where the context and construction so require; end where there is MOO than one Borrower
    named In this Guaranty of when this Guaranty is executed by more than one Guarantor, the words 'Borrower" and -Guerentor"
    respectively shall mean all and any one or more of them. The words "Guarantor,' 'Borrower," and 'Lender" Include the heirs, successors.
    assigns., and transferee* of each of them, If a court finds that any provision of this Guaranty Is not valid or should not bo enforced, that
    fact by itself will not mean that the test of this Guaranty will not be valid or enforced. Therefore, a court will enforce the rest of the
    provisions of this Gueranty even fI a provision of this Guaranty may be found to be invalid or unenforceable. If any ono or more of
    Borrower or Guarantor ere corporations, partnerships, limited liability companies, or similar entities. It is not necessary for Lender to Inquire
    into the powers of Borrower or Guarantor or of the officers, directors, partnere, managers, or other agents acting or purporting to act art
    their behalf, and any Indebtedness made or created In reliance upon the prolessed exercise of such powers shall be gueranteed under this
    Guaranty.
    Notices. Any notice required to be given under this Guaranty shall be given In writing, and, except for revocation notices by Guarantor,
    shell be effective when actually delivered, when actually received by telefficsimile (unless otherwise required by law), when deposited with
    a nationally recognized overnight courier, or, If mailed, when deposited In the United States mail, as first class, certified or registered men
    postage prepaid, directed to the addresses shown near the beginning 6f this Guaranty. Ail revocation notices by Guarantor shell be In
    writing and shall be effective upon delivery to Lender as provided in the section of this Guaranty entitled "DURATION OF GUARANTY."
    Any party may change its address for notices under this Guaranty by giving formal written notice to the other parties, specifying that the
    purpose of the notice is to change the party's address. For notice purposes, Guarantor agrees to keep Lender Informed at all times of
    Guarantor's current address. Unless otherwise provided or required by law, II there is more than one Guarantor, any notice given by Lender
    to any Guarantor le deemed to be notice given to all Guarantor".
    No Waiver by Lender. Lender shall not be deemed to have waived arty rights under this Guaranty unless such waiver is given in writing and
    signed by Lander. No delay or omission on the pert of Lender In exercising any right shall operate as a waiver of such right or any other
    right. A waiver by Lender of a provision of this Guaranty shall not prejudice or constitute a waiver of Lender'. right otherwise to demand
    strict compliance with that provision at any other provision of this Guaranty. No prior waiver by Lender, nor any course of dealing between
    Lender end Guarantor, shall constitute a waiver of any of Lender's rights or of any of Guarantor's obligations as to any future transactions.
    Whenever the consent of Lender Is required under this Guaranty, the granting of such consent by Lender In any instance shall not constitute
    continuing consent to subsequent Instances where such consent is required and In all cases such consent may be granted or withheld in
    the sole discretion of Lender.
    Successors and Assigns. Subject to any limitations stated in this Guaranty On transfer of Guarantor's interest, this Guaranty shall be
    binding upon and Inure to the benefit of the parties, their successors and assigns.
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                                                                            •
                                                           COMMERCIAL GUARANTY
Loan No: 4009822988                                             (Contlpupd)                                                                       Page 3


     Waive Jury. Lender. and Guarantor hereby we've the right to any Jury trial in any action,,proceeding, or counterclaim brought by either
     Lander or Guarantor against the other.
     Original Document. 'The parties whoa* signatures appear below agree that a photographic, photostatic, facsimile, electronic, copy or
     slmi ar reproduction of this document shell be valid as the original.".
     Choice of Venue, 11 there is a lawsuit, Guarantor agrees upon Lander's request to submit to the jurisdiction of the Courts of Lubbock
     County. Texas. The pantos agree that Lubbock County, Texas is the solo and exclusive venue for any lawsuit arising out of this Guaranty.
DEFINITIONS, The following capitalized words and terms shall have the following meanings when used in this Guaranty. Unless specifically
stated to the contrary, alt references to dollar emounta shall mean amounts in lawful money of the United States at America. Words end terms
used in the singular shall Include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
defined in this Guaranty shall have the meanings attributed to such terms in the Uniform Commercial Code:
     Borrower. The word "Borrower' means Reegor Auto Mall, Ltd, dba Raegor-Dykas Imports end Includes all canonry* and co-makers
     signing the Note and all their successors and assigns.
    Guarantor. The word "Guarantor" means everyone signing this Guaranty, including without limitation Bart Reagor, and In each cask any
    signer's successors and assigns,
    Guaranty. The ward 'Guaranty' means this guaranty from Guarantor to Lender.
    Indebtedness. The word 'Indebtedness' means Borrower's indebtedness to Lender as more particularly described n this Guaranty.
    Lender, The ward 'Lender" means First Bank & Trust, Its successors and assigns.
    Note, The word "Note" means and includes without limitation all of Borrower's promiasory notes and/or credit agreements evidencing
    Borrower's loan obligations In favor of Lender, together with all renewals of, extensions of, modifications of, refinancings of, consorldatIons
    of and substitutions for promissory notes or erect* agreements.
    ReWed Documents. The words 'Related Documents' mean all promissory notes, credit agreements, loan agreements, environmental
    agreements, guaranties, security agreements, mortgages, deeds of trust, security deeds, collators mongagen and all other instruments.
    agreements and documents, whether now or hereafter existing, executed in connection with the indebtedness,
EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
TERMS. IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR'S EXECUTION AND
DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
IN THE SECTION TITLED 'DURATION OF GUARANTY". NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAHE THIS GUARANTY
EFFECTIVE, THIS GUARANTY IS DATED SEPTEMBER 29, 2011.

GUARANTOR:




                                                    INDIVIDUAL ACKNOWLEDGMENT

STATE OF             q-1 4-C6
                                                                                   I5S
COUNTY OF      LA-3173nrzitY't


This instrument   was acknowledged before me                                                  ,7\                               by Bert Ream.

                      ''t ,,t,
                       n!            LYNETTE BONHAM
                                                      Cl Texas
                   h.:*..,h   .sNolant Rololle. Stole
                   i     :‘. #41 Comm, Explieli 05,22.2019                                           N               c,Stem of Tease
                      '       .#'' Notary   ID 125882733

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                   11                    000000004009822996%0220%092920 7%00000000RAA2564

                                                    COMMERCIAL GUARANTY
                                                                                                    id        11                 111
Borrower:       Reaper Aute Moil. Ltd. On ReagoriCrykes tmpons                 Lender:         First Bonk & Trust
                ITIN; 20.02750221                                                              First Bank Centre
                1215 Ave J                                                                    9916 Slide Road
                Lubbock,TX 79401                                                               Lubbock. TX 79424
                                                                                              (906)780.0900
Guarantor:      Rick Dykes ISSN: 46747.5345)
                4705 21st Street
                Lubbock, TX 79407

 CONTINUING GUARANTEE OF PAYMENT AND PERFORMANCE. For good and valuable consideration, Guarantor absolutely end unconditionally
 guarantees lull and punctual payment and satisfaction of the Indebtedness of Borrower to Lender, and the performance and discharge of ell
 Borrower's obligations under the Note and the Related Documents. This is a guaranty of payment and performance end not of collection. so
 Lender can enforce this Guaranty against Guarantor even when Lander has not exhausted Lender's remedies against anyone else obligated to
 pay the indebtedness or against any collateral securing the indebtedness, this Guaranty or any other guaranty of the indebtedness. Guarantor
 will make any payments to Lender or its order, an demand, In legal tender of the United States of America, in tempo* funds, without set-oft or
 deduction or counterclaim, and will otherwise perform Borrower's obligations under the Note and Refitted Documents. Under this Guaranty,
 Guarantor's liability Is unlimited and Guarantor's obligations are continuing.
   INDEBTEDNESS. The word "Indebtadnees• as used in this Guaranty means all of the principal amount outstanding from lime to time and at any
  one or more times, accrued unpaid interest thereon and all collection costs end legal expenses related thereto permitted by law, Lender's
  reasonable attorneys' fees, arising from arty and all debts, liabilities and obligations of every nature or form, now existing or hereafter arising or
  acquired, that Borrower Individually or collectively or interchangeably with others, owes or will owe Lender. 'Indebtedness- Includes. without
  limitation, loans, advances, debts, overdraft indebtedness, credit card indebtedness, lane obligations, liabilities and obligations under any
  interest rate protectIon agreements or foreign currency exchange agreements or commodity price protection agreements, other obligations, and
  liabilities of Borrower, and any present or future judgments against Borrower, future advances, loans or transactions that renew, emend, modify,
  refinance, consolidate or substitute these debts, liabilities and obligations whether; voluntarily or Involuntarily Incurred; due or to become due by
  their terms or acceleration; absolute or contingent; liquidated or unequideted; determined or undetermined; OW or indirect; primary or
  secondary in nature or arising from'a guaranty or surety: secured or unsecured; joint or several or joint and several; evidenced by a negotiable or
  nonnegotiable instrument or writing; originated by Lender or another or others; barred or unenforceable against Borrower for any reason
   whatsoever; for any transactions that may be voidable for any reason (such as infancy, insanity, ultra viras or otherwise); and originated then
   reduced or extinguished and then afterwards increased or reinetated.
   If Lender presently holds one or more guaranties, or hereafter receives additional guaranties from Guarantor, Lender's rights under all guaranties
   Melt be cumulative. This Guaranty shall not (unless specifically provided below to the contrary) effect or invalidate arty such other guaranties.
  Guarantor's liability will be Guarantor's aggregate liability under the terms of this Guaranty and any much other unterminated guaranties.
  CONTINUING GUARANTY. THIS IS A "CONTINUING GUARANTY' UNDER WHICH GUARANTOR AGREES TO GUARANTEE THE FULL AND
  PUNCTUAL PAYMENT, PERFORMANCE AND SATISFACTION OF THE INDEBTEDNESS OF BORROWER TO LENDER, NOW EXISTING OR
  HEREAFTER ARISING OR ACQUIRED, ON AN OPEN AND CONTINUING BASIS. ACCORDINGLY, ANY PAYMENTS MADE ON THE
  INDEBTEDNESS WILL NOT DISCHARGE OR DIMINISH GUARANTOR'S OBLIGATIONS AND LIABILITY UNDER THIS GUARANTY FOR ANY
  REMAINING AND SUCCEEDING INDEBTEDNESS EVEN WHEN ALL OR PART OF THE OUTSTANDING INDEBTEDNESS MAY BE A ZERO
  BALANCE FROM TIME TO TIME.
 DURATION OF GUARANTY. This Guaranty will take effect when received by Lender without the necessity of any acceptance by Lender, or arty
  notice to Guarantor or to Borrower, and will continue in full force until at the Indebtedness Incurred or contracted before receipt by Lender of
  any notice of revocation shall have been fully and finally paid and satisfied end all at Guarantee* other obligations under this Guaranty shall have
  bean performed in full, If Guarantor elects to revoke this Guaranty, Guarantor may only do so in writing. Guarantor's written notice of
  revocation moat be mead to Lender, by certified me, at Lender's address listed above or such other place es Lender may designate in writing.
  Written revocation of this Guaranty will apply only to new Indebtedness created after actual receipt by Lender of Guarantor's written revocation
 and Lender's written acknowledgment of receipt. For the purpose end without limitet on, the term 'new Indebtedness' does not include the
  indebtedness whet' et the time of notice of revocation is contingent, unlIqu.dated, undetermined or not due and which rater becomes absolute,
 liquidated, determined or due, For this purpose and without timiteren, 'new Indebtedness' does not include all or pert of the indebtedness that
 is; incurred by Borrower prier to revocation; Incurred under a commitment that became Ifnding before revocation; any renewals, extensions,
 substitut ons. end modIfIcations of the indebtodnese. This Guaranty shall bred Guarantor's estate as to the Indebtedness created both before
  and otter Clueronier's death or incapacity, regard ess of Lender's actual notice of Guarantor's death, Subject to the foregoing, Guarantor's
 executor or administrator or other legal representative may terminate this Guaranty In the same manner try which Guarantor might have
  terminated It and with the same effect. Release of any other guarantor or termination of any other guaranty of the indebtedness shall not affect
  the liability of Guarantor.under this Guaranty. A revocation Lander receives from any one or more Guarantors shall not affect the liability of any
  remaining Guarantors under this 0.4arenty, It is anticipated that fluctuations may occurin the aggregate amount of the Indebtedness covered by
  this Guaranty, and Guarantor specifically acknowledges and egress that reductions In the amount of the Indebtedness, even to sere dollars
00.001, shall not constitute a termination of this Guaranty. This Guaranty Is Wilding upon Guarantor and Guarantor's helm. successors and
 assigns so long as any of the indebtedness remains unpaid and even though the Indebtedness may from time to lime be taro dotlarslag.001.
 GUARANTOR'S AUTHORIZATION TO LENDER. Guarantor authorizes Lender, either before or after any revocation hereof, without notice or
 demand and without lessening or otherwise affecting Guarantor's liability under this Guaranty, from time to time; (Al prior to revocation es sat
 forth above. to make one or more additions secured or unsecured loans to Borrower, to lease equipment or other goods to Borrower, or
 otherwise to extend additional Credit to Borrower; (S) to alter, compromise, renew, extend, accelerate, or otherwise change one or more times
 the time for payment or ether terms of the ndebtednese or any pert of the Indebtedness, including increases and decreases of the rate of
  Interest on the Indebtedness; extensions may be repeated and may be for anger than the original loan term; (CI to tetra and hold security for
 the payment of this Guaranty or the indebtedness, and exchange, enforce, wave, subordinate, fell or decIda not to perfect, and release any
 such security, with or without the substitution of new collateral; WI to release, substitute, agree not to sue, or deal voTth any one or more of
 Borrower's sureties, endorsers, or other guarantors on any terms or in any manner Lander may choose; (El to determine how, when and what
 application of payments and credits shall be made on the Indebtedness; (F) to apply such security end direct the order or manner of sale
 thereof, including without'irritation, any nonjudicial safe permitted by the terms of the controlling security agreement or dead of trust, as Lender
 in its discretion may determine; 101 to sae, transfer, assign or grant penalization' in all or any part of the Indebtedness; and 09 to assign or
 transfer this Guaranty In whole or in port,
 GUARANTOR'S REPRESENTATIONS AND WARRANTIES. Guarantor represents and warrants to Lender that (Al no reprosentetions or
 agreements of any k nd have been made to Guarantor which would limit or quality in any way the terms of this Guaranty; IS) this Guaranty is
 executed at Borrower's request and not at the request of Lander; ICI Guarantor has full power, right end authority to enter into this Guaranty;
(01 the proviCans of this Guaranty do not conflict with or result in a default under any agreement or other instrument binding upon Guarantor
 and do not result In a Vitiation of any law, reguletion, court decree or order applicable to Guarantor; (El Guarantor has not and will not, without
 the prior written consent of Lender, sail, ramie, assign, encumber, hypothecate, transfer, or otherwise dispose of ail nr substantially all at
 Guarantor's assets. or any interest therein; IF) upon Lender's request, Guarantor w provide to Lender financial and creditinformation in form
 acceptable to Lender, and a such unsocial {formation which currently has bean, and all future financial information which will be provided to
 Lender Is and wit. be true end correct in all materiel respects and fairly present Guarantor's financial condition as of the dates the financial
Information is provided; 101 no material adverse change has occurred in Guarantor's financial condition erne* the data of the most recent
 financial statements provided to Lender and no avant has occurred which may materially adversely affect Guarantor's financial condition; (HI
 no litigation, claim, investgation, administrative proceeding or similar action (Including those for unpaid taxes) against Guarantor is pending or
 threatened,) (ii. Lander.has made no representation to Guarantor as to the creditworthiness of EfOrrower;„and (J) Guarantor has established
 adequate means of obtaining from Borrower on a continuing basis information regarding Borrower's financial condition. Guarantor agrees to
 keep adequately informed from such means of any facts, events, or circumstances which might In any way effect Guarantor's risks under this
 Guaranty, and Guarantor further agrees that, absent a request for information. Lender shell have no obi.getion to discrete to Guarantor any
 information or documents acquired by Lender in the course of Its relatortship with Borrower.
 GUARANTOR'S WAIVERS. Except as prohibited by applicable law, Guarantor waive* any right to requra Lender (Al                        to continue lending
 Money or to extend other credit to Borrower; IBI to make any presentment, protest, demand, or notice of               any kind, Including notice of any
 nonpayment of the indebtedness or of any nonpayment related to any collateral, or notice of any action or nonaction            on the part ol Borrower,
                                                                                                                           creation of new or additional
 Lender, any surety, endorser, or otter guarantor In connection with the indebtedness or in connection with the
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                                                     COMMERCIAL GUARANTY
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 loans or obligations; ICI to resort for payment or to proceed directly or at once against any person, including Borrower or any other guarantor;
(D) to proceed directly against or exhaust any collateral hold by Lander from Borrower, any other guarantor, or any other person; 1E) to give
 notice of the terms, time, and place of any public or private gale of personal property secunty held by Lender from Borrower or to comply with
 any other applicable provisions of the Uniform Commercial Coda; IF) to pursue any other remedy within Lander's power; or (0) to commit any
 act or omission of any kind, or at anytime, with respect to any matter whatsoever,
 Guarantor waives all rights of Guarantor under Chapter 43 of the Texas Civil Practice and Remedies Code. Guarantor also waives any end a I
 rights or defenses based on suretyship or Impairment of collateral Including, but not Jimlad to, any rights or defenses arising by mason of (A)
 any 'one action' or 'anti.deficlancr law or any other law which may prevent Lender from benzene any action, including a claim for derciancy,
 against Guarantor, before or alter Lender's commencement or completion of any foreclosure action, either judicially or by 'seamiest of a power of
 sate; 1131 any election of remedies by Lender which destroys or otherwise adversely effects Guarantor's subrogation rightsorGa   useornanto rights
                                                                                                                            by reGuarantor's     w
to proceed egelnet Borrower for reimbursement, including without lenitation, any lots of rights Guarantor may suitor                      of any
 limiting, qualifying, or discharging the Indebtedness; ICI any disability or other defense of Borrower, of any other guarantor, or of any other
 parson, or by reason of the cessation of Borrower's liabely from any cause whatsoever. other than payment In full In legal tender, of the
 Indebtedness; (0) any right to claim discharge of the Indebtedness on the basis of unjustified impairment of any collateral for the indebtedness;
(E) any statute of limitations, if at any time any action or suit brought by Lender against Guarantor is commenced, there is outstanding
 Indebtedness which is not barred by any applicable statute of limitations; or (Fi any defenses given to guarantors at law or in equity other than
 actual payment and performance of the Indebtedness. If payment is made by Borrower, whether voluntarily or otherwise, or by any third party,
 on the Indebtedness and thereafter Lender Is forced to remit the amount of that payment to Borrower's trustee in bankruptcy or to any similar
parson under any federal or state bankruptcy law or law for the relief of debtors, the Indebtedness shall be conssieted unpaid for the purpose of
the enforcement of this Guaranty.
Guarantor further waives and agrees not to assert or claim at any time any deductions to the amount guaranteed under this Guaranty for any
claim of setoff, counterclaim, counter demand, recoupment or similar right, whether such claim, demand or right may be asserted by the
Borrower, the Guarantor, or both.
 GUARANTOR'S UNDERSTANDING WITH RESPECT TO WAIVERS. Guarantor warrants and agrees that each of the waiver's get forth above is
 made with Guarantor's full knowledge of its significance and consequences and that, under the circumstances, the waivers are reasonable and
 not contrary to publIc,polley or low. 'If any such waiver is determned to be contrary to any appitabte law or public policy, such waiver shall be
 affective only to the extent permitted by law or public policy,
RIGHT OF SETOFF. To the extent patmitted by applicable law, Lender reserves a right of seeeff in en Guarantor's accounts with Lander
(whether checking, savings, or some other account). This includes all accounts Guarantor holds jointly with someone elite end all accounts
Guarantor may open In the future, However, this doei not include any IRA or Keogh accounts, or any trust accounts for which setoff would be
 prohibited by law. Guarantor authorizes Lander, to the extent permitted by applicable 4we, to hold these funds it there'll; a default, and Lender
 may apply the funds in these accounts to pay what Guarantor owes under the terms of this Guaranty.
SUBORDINATION OF BORROWER'S DEBTS TO GUARANTOR. Guarantor agrees that the Indebtedness, whether now existing or hereafter
created, shell be superior to any claim that Guarantor may now have or hereafter acquire age'net Borrower, whether or not Borrower becomes
insolvent. Guarantor hereby expressly subordinates any clam Guarantor may have against Borrower, upon any account whatsoever. to any
claim that Lender may now or hereafter have against Borrower. In the event of insolvency and consequent liquidation of the assets of Borrower,
through bankruptcy, by an assignment for the benefit Of creditors, by voluntary liquidation, or otherwise, the assets of Borrower applicable to
the payment of the claims of both Lender and Guarantor shat) be paid to Lender and shall be first applied by Lender to the Indebtedness.
Guarantor does hereby assign to Lender all claims which t may have or acquire against Borrower or against any assignee or trustee in
bankruptcy of Borrower; provided however, that such assignment shall be affective only for the purpose of insuring to Lender full payment in
legal tender of the Indebtedness. If Lender so requests, any notes or credit agreements now or hereafter evidencing any debts or obegations of
Borrower to Guarantor shall be marked with a legend that the same are subject to this Guaranty and shall be delivered to Lender. Guarantor
agrees, end Lender is hereby authorized, In the name of Guarantor, from time to time to lie financing statements and continuation statements
and to execute documents end to take such other actions as tender deems necessary or appropriate to perfect, preserve and enforce its rights
under this Guaranty,
MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Guaranty;
   A mendments. This Guaranty, together with any Related Documents, constitutes the entire understanding and agreement of the parties as
   to the matters set forth in this Guaranty. No alteration of or emendment to this Guaranty shalt be effective unless given in writing and
   signed by the party or parties sought to be charged or bound by the alteration or amendment,
   Attorneys' Fees; Expanses. Guarantor agrees to pay upon demand all of Lender's costs and expenses, including Lander's reasonable
   attorneys' tees end Lenderie legal expenses, incurred in connection with the enforcement of this Guaranty. Lender may hire or pay
   someone else to help enforce thla Guaranty, and Guarantor shad pay the costs and oxygneet of such enforcement, Coats and expanses
   include Lender's reasonable attorneys' Mee and lege expenses whether or not there is a lawsuit, including Lender's reasonable attorneys'
   fees end legal expenses for bankruptcy proceedings (including efforts to may or vacate any automatic stay or injunction), appeals, and
   any anticipated post-judgment ceMection services, Guarantor also emit pay all court casts and such additional foes as may be directed by
   the eourt.
    Caption Headings. Caption headings in this Guaranty are for convenience purposes only and are not to be used to interpret or define the
     provisions of this Guaranty.
     Governing Law. This Guaranty will be governed by federal law applicable to Lender end, to the extent not preempted by federal law, the
    laws of the State of Taxes without regard to Its conflict" of law provisions.
     Integration. Guarantor further agrees that Guarantor has reed and fully understands the terms of this Guaranty; Guarantor has had the
    opportunity to be advised by Guarantor's attorney with respect to this Guaranty; the Guaranty fully reflects Guarantor's intentions and portal
    evidence is not required to interpret the terms of. this Guaranty, Guarantor hereby. Indemnifies and hotels Lender Writhes" from all fosses,
    claim*, damages, and costs (including Lender's attorneys' fees) suffered or incurred by Lender as a result of any breech byGuarenter of the
    w arranties. representations and agreements of this paragraph.
    Interpretation. in ad cases where there is more then one Borrower or Guarantor, than all words used in this Guaranty In the singular shall
    be deemed to have been used In the plural whore the context end construction so require; and where there la more then ono Borrower
    named in this Guaranty ar when this Guaranty Is executed by more then one Guarantor, the words 'Borrower" and "Guarantor'
    respectively Shell mean all and any one or more of them, The words 'Guarantor.* *Borrower." and 'Lender" 'include the heirs, successors.
    assigns, and transferees of each of them. If a Court finds that any provision of this Guaranty Is not valid or should not be enforced, that
    fact by Itself will not moan that the rest of this Guaranty w not be weld or enforced. Therefore, a court will enforce the rest of the
    provisions of this Guaranty even If a provision of this Guaranty may be found to be invaild or unenforceable, If any one or more of
    Borrower or Guarantor are corporations, partnerships, limited liability companies, or simlor ',Wiwi, It not necessary for Lender to inquire
    Into the powers of Borrower or Guarantor or of the officers, directors, partners, managers, or other agents acting or purporting to act on
    their behalf, and any Indebtedness made or created in reliance upon the professed exercise of such powers shall be guaranteed under this
    Guaranty.
    Notices. Any notice required to be given under this Guaranty shell be given In writing, and, except for revocation notices by Guarantor,
    shall be effective when actually delivered, when actually received by telefecsimite (unless otherwise required by law), when deposited with
    a regionally recognized overnight courier, or, it mailed, when deposited in the United States mail, as first class, certified or registered mall
    postage prepaid, directed to the addresses shown near the beginning of this Guaranty. All revocation notices by Guarantor shell be In
    writing arid shall be efletettve upon delivery to Lender as provided in the section of this Guaranty entitled 'DURATION OF GUARANTY."
    Any party may change Its address for notice* under this Guaranty by giving formal written notice to the other parties, spectlying that the
    purpose of the notice is to change the party's address. For notice purposes, Guarantor agrees to keep Lender informed at ell times of
    Guarantor* current address. Unless otherwise provided or required by law, if there is more than one Guarantor. any notice given by Lender
    to any Guarantor is deemed to be notice glean to ail Guarantors.
    No Waiver by Lander. Lender shall not be deemed to have waived any rights under the Guaranty unitise such waiver is given in writing and
    signed by Lender. No delay or omission on the part of Lender in exorcising any right shell operate as 4 waiver of such right or any other
    right. A waiver by Lender of a provision of this Guaranty ;hall not prejudice or cortittlute a waiver of Lender's right otherwise to demand
    strict comp -once with that prevision or any other provision of this Guaranty, No prior waiver by Lender, nor any comets of dealing between
    Lender and Guarantor, shall constitute a waiver of any of Lender's rights or of any of Guarantor's obligation' es to any future transactions.
    Whenever the consent of Lender is required under this Guaranty, the granting of such consent by Lander in any instance shall not constitute
    continbing consent to subsequent audiences where such consent is required and in all cases such consent may be granted or withheld In
    the sole discretion of Lender.
    Successors end Assign*. Subset to any imitations stated in this Guaranty on transfer of Guarantor's Interest. this Guaranty shall be
    binding upon and Inure to the benefit of the potties, their eucceasora end assigns,
                                      •                        „x?io
                                                                   ,fryLyosr:T
       Case 5:18-cv-00234-C Document
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                                     103 Filed 03/04/19                                                                       Page 107 of 137 PageID 2095
                                                         COMMERCIAL GUARANTY
Loari No: 40091322988                                         (Continued)                                                                 Pager 3

     Waive Jury. Lender and Guarantor hereby waive the tight to any jury trial in any action, proceeding, or counterclaim brought by either
     Lender or Guarantor against the other-                       •
     Original Document. ''The parties whose signatures appear below agree that a photographic, photostatic, face mite, electronic, copy or
     similar reproduction of this document shall be valid as the original.",
     Choice of Venue, If there is a lawsuit. Guarantor agrees upon Lender's request to submit to the jurisdiction of the Courts of Lubbock
     County, Texas, The ponies agree that Lubbock County, Texas Is the sofa and exclusive venue for any lawsuit arising out of this Guaranty.
DEFINITIONS. The following capitalized words and terms chill have the following meanings when used in this Guaranty. Unless specifically
stated to the contrary. all references to dear amounts ahell mean amounts In lawful money of the United States of America. Words and terms
used in the singular shell Include the plural, and the plural shall include the singular, as the context may require. Words and terms not otherwise
defined In this Guaranty shall have the meanings attributed to such term. in the Uniform Commercial Code:
     Borrower. The word 'Borrower" means Ranger Auto Mall, Ltd. dbs Reagor•Dykes Import, end includes all co•signers end co•makers
    signing the Note and all their successors and assigns,
     Guarantor. The word "Guarantor" means everyone signing this Guaranty, including without limitatfon Rick Dykes, and In each case, any
    signer's successors and assigns.
     Guaranty. The word "Guaranty" moans this guaranty from Guarantor to Lender.
     Indebtedness. The word "Indebtedness" means Borrower's Indebtedness to Lender as more particularly described In this Guaranty.
    Lender. The word 'Lender' means First Bank & Trust, its successors end assigns.
    Note, The word ''Note' means and Inc•udes wThout limitation all of Borrower's promissory notes andtor credit agreements evidencing
    Borrower's loan obligations in favor of Lender, together with all renewals of, extensions of, modifications of, refinancings of, consolidations
    of end substitutions for prormssory notes or credit agreements.
    Related Documents, The wards 'Related Documents' mean all promissory notes, credit agreements, loan agreements, environmental
    agreements, guaranties, security, agreements, mortgages/dm:deal trust, security deeds, collateral mortgages, and alt other Instruments,
 • iegreementi andVocuments, whether now or hereafter existing, executed In connection with the Indebtedness.
EACH UNDERSIGNED GUARANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS GUARANTY AND AGREES TO ITS
TERMS, IN ADDITION, EACH GUARANTOR UNDERSTANDS THAT THIS GUARANTY IS EFFECTIVE UPON GUARANTOR'S EXECUTION AND
DELIVERY OF THIS GUARANTY TO LENDER AND THAT THE GUARANTY WILL CONTINUE UNTIL TERMINATED IN THE MANNER SET FORTH
IN THE SECTION TITLED 'DURATION OF GUARANTY", NO FORMAL ACCEPTANCE BY LENDER IS NECESSARY TO MAKE THIS GUARANTY
EFFECTIVE, T              NTY IS DATED SEPTEMBER 29. 2017.

GUARAN



  Rick Dykes


                                                 INDIVIDUAL ACKNOWLEDGMENT

STATE OF
                                                                               I SS
COUNTY OF




This Instrument was acknowledged before me on                                                        -I-     by Rick Dykes.

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Case 5:18-cv-00234-C Document 103 Filed 03/04/19   Page 108 of 137 PageID 2096
           Case 5:18-cv-00234-C Document 103 Filed 03/04/19                                        Page 109 of 137 PageID 2097

                                                            Account A.                                            Date: 05/17/13
                                                                     .
                                                                                                Totally Free Bus Ck                       4016015978
 Institution Name & Address                                                Internaltise
  First Bank & Trust Company                                               Account Tale & Address                                   ,
  First Bank & Trust Centre                                                  Reagor Auto Mall, Ltd
  9816 Slide         Road                                                    3.211 19th St
                                                                             Lubbock TX 79401
  Lubbock, TX 79424
   (806) 788-0800


                                                                            O wnership of Account
                                                                           The specified ownership Will remain the same for all accounts.
I MPORTANT ACCOUNT OPENING INFORMATION: Federal law requires               (For consumer accounts, select and Irittlat.1:                   Notice:
us to obtain sufficient information to verify your identity. You may be     Uniform Single-Party or Multiple-Party Account Selection Form passes at
asked several questions and to provide one or more forms of                 The type of account you select may determine how property      held in
identification to fulfill this requirement. In some instances we may use    your death. Your Will may not control the disposition of funds
outside sources to confirm the information. The information you provide     soma of the following accounts:
le protected by our privacy policy and federal law.                        0 Single-Party Account with Payable-On-Death
Enter Non-Individual Owner Information on page 2. Thera is additional          (POD) Designation
Owner/Signer Information space on page 2.
                                                                           0 Single-Party Account without POD Designation
 O wner/Signer Information 1                                                0 Multiple-Party Account with Right of Survivorship
                                                                                                                                       POD
 Name          BART R!AGOR                                                  0 Multiple-Party Account with Right of Survivorship and
 nitelopthip   SIGNER                                                       0 Multiple-Party Account without Right of Survivorship
 Address       8504 OXFORD AVE                                             •Convenience Account
               LUBBOCK TX 79423                                            0Trust Account (name beneficiaries below)
 Mating Address                                                            •
 tit conotenti
 NOM Phan.                (Boa)   790-4593                                  0 Corporation - For Profit         • Corporation - Nonprofit
Work Phone                                                                   E3 Partnership                    0 Sole Proprietorship
 Mobile Phone                                                               0   Limited Liability Company
 E-mail                                                                     El Trust-Separate Agreement Dated:
 Birth Date               02/01/66                                          •
 SSN/TIN                  XXX-XX-XXXX                                       Beneficiary Naow(s), Address(es), and SSN(s)
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Issue Dm,Exp. Duel
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 Other ID
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 Previous
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 O wner/Signer Information 2
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               RICK DYKES                                                                                                                        reporting
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                                                                            o other d
 Address       4705 21ST ST                                                 writhdra w
                                                                            signetur
                                                                                                (the    account(s), provided the required number
                                                                                                 ted above is satisfied, The undersigned      person
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                                                                                                                                                           nd
               LUBBOCK TX 79407                                                               if of, the account owner(s)    agree  to the terms     ,end
                                                                                                                                                   of,
                                                                            as, or
 Meiling Address                                                            eckn             receipt of copylles) of, this document and the following:
 of ditlerent)                                                                                                         Privacy
                                                                                           nd Conditions
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 Work Phone                                                                 3Substitute Checks                     3Funds Availability
 Mobile Phone                                                               31  Common       Features        [B         New Account Opening Proce
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 Birth Date               01/12/60                                          Sea #It        i
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Issue Date, Exp. Oats(

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                                                                                                                             SHEILA E MILLER

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Signeture Card-TX
bankers Systems iv                                                                                                                                    Page I at 2
Wolters Xlower Financial Services 02003,2008


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            Case 5:18-cv-00234-C Document 103 Filed 03/04/19                                          Page 110 of 137 PageID 2098
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                                                       iellill~
   Name                  Shane Andrew Smith                                    Herne                  Aeagor Auto Mall, Ltd
   FOOMmMblp             SIGNER                                                EIN                    XX-XXXXXXX
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  Work Phone             (806) 687-7771                                        of Orginisehon
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 Employer               RIAGOR AUTO MALL LTD
 PurvIoue                                                                     Other Terms/Information
     B.4     1

 Backup Width )Iding Certifications                                           All overdraft amounts and overdraft fees and/or
                                                                              insufficient funds charges may, at Hank's discretion,
(if not a "U.S, Person," certify foreign status separately.)                  be added to the balance of any promissory note, of
                                                                              whatever type, that exists by and between Sank and
 TIN:      _2n-027507,                                                        the Owner(s) and/or Customer or any entity
  E9 Taxpayer 1.0. Number (TIN)- The number shown above is my                 directly or indirectly owned or controlled by
                                                                              Owner(e) and/or Customer, in whatever
 correct taxpayer identification number.
                                                                              capacity.
  Ei Backup Withholding - I am not subject to backup withholding
 either because I have not been notified that I am subject to backup
  withholding as a result of a failure to report all interest or dividends,
 or the Internal Revenue Service has notified me that I am no longer
 subject to backup withholding.
  D Exempt Recipients - I am an exempt recipient under the Internal
 Revenue Service Regulations.
 1 certify under penalties of perjury the statements checked in
 this section and that I am a U.S. person (including a U.S.
 resident alien)

 X                                                               (Data)



Signature CardTX                                                                                                                     MPMP-Laz-TX 12/18/2095
Bankers Systems'
Wolters Kluwer Financial Services 02003,2006                                                                             Wheat                    Pape 2 al 2
     Case 5:18-cv-00234-C Document 103 Filed 03/04/19                                  Page 111 of 137 PageID 2099


                                               SIGNATURE ADDENDUM     4016015979

 Date of Document:              05/17/13
                                Revised Date: 05/23/13
 Additional Parties' Type:
 Names and Addresses of Parties:
DIANA H MIAS
  12.11 19TH ST
  LUBBOCK TX 79401




Signatures. Sy signing under seal, I agree to the terms contained In the named document. The undersigned also
acknowledge receipt of a copy of this named document.

 Reagor Auto Mall, Ltd
                                                                         Entity Name


                                                             (Seal)                                                        (Seal)
   nature                                             Date               Signature                             Date
 D ANA H URIAS

                                                             (Seal)                                                        (Seal)
Signature                                             Date               Signature                             Date


                                                             (Seal)                                                        (Seal)
Signature                                             Date               Signature                             Date


                                                             (Seal)                                                        (Seal)
Signature                                             Date               Signature                             Date




Entity Name                                                              Entity Name

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Signature Addendum                                                                                        SU3.ADOENDUM 12116/2000
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Wafters Kluwer Financial Services 02001,2000                                                     Mihaly                 Pegs 1 of 1
       Case 5:18-cv-00234-C Document 103 Filed 03/04/19                                            Page 112 of 137 PageID 2100


                                                  PARTNERSHIP RESOLUTION OF AUTHORITY
       First Bank & Trust Company                                                 gy:Reagor Auto Mall, Ltd
       9816 Slide Road.                                                              1211 19th St
       Lubbock, TX 79424                                                             Lubbock TX 79401



           Referred to In this document as "Financial institution"                               Referred to in this document as "Partnership"
     The above partnership consists of the following partners (or If a limited partnership, the following general partners):


 /tZ r           yakif
 The above-nam,..d parties represent %kat they constitute all of the partners of the Partnership designated above, or If e limited Partnership, constitute all
of the general partners of the parmership designated above. These Individuals are referred to in this document as "Partners."
 Federal I.D. Number     XX-XXXXXXX                     ..,            for Reagor Auto Mall, Ltd                             oats 05/23/13
(EIN If one has been obtained or SSN if no EIN                            (Trade Name of Partnership if•E(N prOvided
 has been obtained)                                                       or Name of Partner supplying SSN}
 AGENTS Any Agent listed below, subject to any written limitations, Is authorized to exercise the powers granted as Indicated below:
                     Name and Title or Position                                                 eture                             Facsimile Signature
                                                                               op-
                                                                                -4:-..sra6
                                                                                        i                                              (If used)
  A.BART REAGOR-SIGNER
 8, RICK DYKES-SIGNER.                                                     X       iArS1     01                         X
                                                                                    Irolfro. -   meet
 C SHANE SMITH-SIGNER                                                     X      /i ,,
                                                                                     :.1. .,   ,                        x
 D.SHEILA MILLER-SIGNER                                                        OfX1
                                                                                  a 14111F                              X
 E, DIANA URIAS-SIGNER                                                         i/#14KRILAL,...                          X
                                                                               ?-.
 F.                                                                      X                                    X
 POWERS GRANTED (Attach one or more Agents to each power by placing the letter corresponding to their name in the area before each newel
 Following each•power indicate the number of Agent signatures required to exercise the power.)
 Indicate A, 13, C, Description of Power                                                                                      indicate number o
 D, E, and/or F                                                                                                               signatures require(
 A, C,D E           (7) Exacter: all of the powers listed in this resolution.                                                               1
                    (2) Open any deposit or share account(s) in the name of the Partnership.
                    (3) Endorse checks and orders for the payment of money or otherwise withdraw or transfer funds on deposit
                         with this Financial institution.
                     (4) Borrow money on behalf and In the name of the Partnership, sign, execute and deliver promissory noted
                         or other evidences of Indebtedness.
                     (5) Endorse, assign, transfer, mortgage or pledge bills receivable, warehouse receipts, bills of lading, stocks,
                         bonds, reel estate or other property now owned or hereafter owned or acquired by the Partnership as
                         security for sums borrowed, and to discount the same, unconditionally guarantee payment of all bills
                         received, negotiated or discounted and to waive demand, presentment, protest, notice of protest and
                         notice of non-payment,
                     (6) Enter into a written (ease for the purpose of renting, maintaining, accessing and terminating a Safe
                         Deposit Box in this Financial institution.
                      17) Other


 LIMITATIONS ON POWERS The following are the Partnership's express limitations on the powers granted under this resolution.

 EFFECT ON PREVIOUS RESOLUTIONS Th;s resolution supersedes resolution dated                 •       . It not completed, all resolutions remain in effect
 CERTIFICATION OP AUTHORITY i further certify that the Partnership has, and at the time'of adoption of this resolution had, full power and tawft
 authority to adopt the resolutions on page 2 and to confer the powers granted above to the person named who have full power end lawful authority t
 exercise the same.
 Signatures:(Type name of each Partner below each signature line.)
 X                                                     X

 x                                                     x

 Partnership AuthorlzetIon                                                                                                                       PRO 9/111200'
 WIND Bankers Systeme'    ,                                                                                                                     VMPC1 et 10905
 MAWS Kluwer elnenclat Smiles, OS995, MD                                                                                                             Pepe I of ,
          Case 5:18-cv-00234-C Document 103 Filed 03/04/19                                               Page 113 of 137 PageID 2101


   The Partners to the Partnership resolve, warrant and agree as follows;
       The Financial Institution Is designated as a depository for the funds of the Partnership and to provide other financial accommodations indicated in
        this resolution.
(2)This resolution shall continue to have affect until express written notice of its rescission or modification has been received and recorded by the
       Financial Institution. Any and ail prior resolutions adopted by the Partners and certified to the Financial Institution as governing the operation of this
       partnership's account(s), are In full force and effect, until the Financial Institution receives end acknowledges an express written notice of Its
       revocation, modification or replacement. Any revocation, modification or replacement of a resolution must be accompanied by documentation,
       satisfactory to the Financiel Institution, establishing the authority for the changes.
   131 The signature of an Agent on this resolution is conclusive evidence of their authority to act on behalf of the Partnership. Any Agent, so long as they
       act in a representative capacity as an Agent of the Partnership,'is authorized to make any and ell other contracts, agreements, stipulations and
       orders which they may deem advisable for the effective exercise of the powers indicated on page one, from time to time with the Financial
       Institution, subject to any restrictions on this resolution or otherwise agreed to in writing.
   14)All transactions, If any, with respect to any deposits, withdrawals, rediscounts end borrowings by or on behalf of the Partneriship with the Financial
       Institution prior to the adoption of this resolution ere hereby ratified, approved and confirmed.
(5) The Partners agree to the terms end conditions of any account agreement, properly opened by any Agent of the Partnership. The Partners authorize
       the Financial Institution, at any time, to charge the Partnership for all checks, drafts, or other orders, for the payment of money, that are drawn on
      the Financial institution, so long as they contain the rmuired number of signatures for this purpose.
  16)The Partners acknowledge and agree that the Financial institution may furnlah at its discretion._ automated access devices to Agents of the •
      Partnership to facilitate those powers authorized by this resolution or other resolutions in effect at the time of Issuance. The term "automated
      access device" includes, but is not limited to, credit cards, automated teller machines (ATM), arid debit cards.
(7)The Partners acknowledge and agree that the Financial Institution may rely on alternative signature and verification codes issued to or obtained
      from the Agent named on this resolution. The term "alternatiiie signature and verification codes" Includes, but is not limited to, facsimile signatures
      on file with the Financial institution, personal identlficatioil numbers WIN), end digital signatures. If a facsimile signature specimen has been
      provided on this resolution, (or that are flied separately by the Pertrierehip with the Financial institution from time to time) the Financial institution Is
      authorized to treat the facsimile signature as tha signature of the Agent's) regardless of by whom or by what means the facsimile signature may
      have been affixed so long ss It resembles the' facsimile. signature specimen on Me. The Partners authorize each Agent to have custody of the
      Partnership's private key used to create a diglial signature and to request issuance of a certificate listing the corresponding public key. The Financial
      institution shall have no responsibility pr liability for unauthorized use of alternative signature and verification codes unless otherwise agreed in
      w riting.
 181 if any other parties become Interested In the partnership as co-partners, the partnership relationship is altered in any way or if the business should
      become incorporated, the Partnere shall promptly notify the FInancial.Institution.
(,e,1 8y signing this resolution, Partners represent that they have provided the Financial institution with true and complete copies of the partnership
      agreement, If any, as amended to the date of this resolution.

 Pennsylvania. The designation of an Agent dose not create a power of attorney; therefore, Agents era not aubjeot to the provisions of 20 Pa.C.S.A.
 Section 5601 et'seq. (Chapter 66; Decedents, Estates and Fiduciaries Code) unless the agency was created by a separate power of attorney. Any
 prevision that assigns Financial institution rights to act on behalf of any person or entity is not subject to the provisions of 20 Pa,C.S.A, Section 6601
 at seq. (Chapter 66; Decedents, Estates and Fiduciaries Cade).


                                                                FINANCIAL INSTITUTION USE ONLY


 Acknowledged and received on                         (date) by                          This resolution Is superseded by resolution dated

 Comments;




 Partnership Puthontallett
 V MP9) Bankere SystimoN                                                                                                                          PA-1 9/11/2009
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                                    Terms and Conditions of Your Account
 Contents:
  (1) Important Information about Procedures for                  (11) Notices
       Opening a New Account                                      (12) Statements
  (2) Agreement                                                           Your Duty to Report Unauthorized
  (3) Liability                                                           Signatures, Alterations, and Forgeries
  (4) Deposits                                                            Your Duty to Report Other Errors
  (5) Withdrawals                                                         Errors Relating to Electronic Fund Transfers
          Generally                                                       or Substitute Checks
          Postdated Checks                                        (13) Direct Deposits
          Checks and Withdrawal Rules                             (14) Temporary Account Agreement
          A Temporary Debit Authorization Hold                    (15) Setoff
          Affects Your Account Balance                            (16) Check Processing
          Overdrafts                                              (17) Check Cashing
          Multiple Signatures, Electronic Check                   (18) Truncation, Substitute Checks, and Other
          Conversion, and Similar Transactions                         Check Images
          Notice of Withdrawal                                    (19) Remotely Created Checks
  (6) Uniform Single-Party or Multiple-Party                      (20) Unlawful Internet Gambling Notice
       Account Selection Form Notice                              (21) ACM and Wire Transfers
          Single-Party Account Without "P.O.D."                   (22) Facsimile Signatures
         (Payable on Death) Designation                           (23) Restrictive Legends or Indorsements
          Single-Party Account With "P.O.D."                      (24) Account Transfer
         (Payable on Death) Designation                           (25) Indorsements
          Multiple-Party Account Without Right of                 (26) Death or Incompetence
          Survivorship                                            (27) Fiduciary Accounts
          Multiple-Party Account With Right of                    (28) Credit Verification
          Survivorship                                            (29) Legal Actions Affecting Your Account
          Multiple-Party Account with Right of                    (30) Security
          Survivorship and "P.O.D."(Payable on                    (31) Telephonic Instructions
          Death) Designation                                      (32) Monitoring and Recording Telephone Calls
          Convenience Account                                          and Consent to Receive Communications
          Trust Account                                           (33) Claim of Loss
  (7) Business, Organization, and Association                     (34) Early Withdrawal Penalties
       Accounts                                                   (35) Address or Name Changes
  (8) Stop Payments                                               (36) Resolving Account Disputes
  (9) Telephone Transfers                                         (37) Waiver of Notices
  (10) Amendments and Termination                                 (38) Additional Terms

(1) Important Information about Procedures for                  to use the account, you agree to these rules. You will
Opening a New Account. To help the government fight             receive a separate schedule of rates, qualifying balances, and
the funding of terrorism and money laundering activities,       fees if they are not included in this document. If you have
federal law requires all financial institutions to obtain,      any questions, please call us.
verify, and record information that identifies each person
who opens an account.                                           This agreement is subject to applicable federal laws, the
                                                                laws of the state of Texas and other applicable rules such as
What this means for you; When you open an account, we           the operating letters of the Federal Reserve Banks and
will ask for your name, address, date of birth, and other       payment processing system rules (except to the extent that
information that will allow us to identify you. We may also     this agreement can and does vary such rules or laws). The
ask to see your driver's license or other identifying           body of state and federal law that governs our relationship
documents.                                                      with you, however, is too large and complex to be
                                                                reproduced here. The purpose of this document is to:
(2) Agreement. This document, along with any other
documents we give you pertaining to your account(s), is a        1. summarize some laws that apply to common
contract that establishes rules which control your account(s)       transactions;
with us. Please read this carefully and retain it for future     2. establish rules to cover transactions or events which the
reference. If you sign the signature card or open or continue       law does not regulate;

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Bankers Soloman' VMPS                                                                                             TC TX 4.1/2816
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 3. establish rules for certain transactions or events which       an interest in your account. This also includes any action
    the law regulates but permits variation by agreement;          that you or a third party takes regarding the account that
    and                                                            causes us, in good faith, to seek the advice of an attorney,
 4. give you disclosures of some of our policies to which          whether or not we become involved in the dispute. All costs
    you may be entitled or in which you may be interested.         and attorneys' fees can be deducted from your account when
                                                                   they are incurred, without notice to you.
If any provision of this document is found to be                   (4) Deposits. We will give only provisional credit until
unenforceable according to its terms, all remaining                 collection is final for any items, other than cash, we accept
provisions will continue in full force and effect. We may           for deposit (including items drawn "on us"). Before
permit some variations from our standard agreement, but we          settlement of any item becomes final, we act only as your
must agree to any variation in writing either on the signature      agent, regardless of the form of indorsement or lack of
card for your account or in some other document. Nothing            indorsement on the item and even though we provide you
in this document is intended to vary our duty to act in good
                                                                    provisional credit for the item. We may reverse any
faith and with ordinary care when required by law.
                                                                    provisional credit for items that are lost, stolen, or returned.
As used in this document the words "we," "our," and "us"            Unless prohibited by law, we also reserve the right to charge
mean the financial institution and the words 'you" and              back to your account the amount of any item deposited to
"your" mean the account holder(s) and anyone else with the          your account or cashed for you which was initially paid by
authority to deposit, withdraw, or exercise control over the        the payor bank and which is later returned to us due to an
funds in the account. However, this agreement does not              allegedly forged, unauthorized or missing indorsement,
intend, and the terms ''you" and "your" should not be               claim of alteration, encoding error or other problem which
interpreted, to expand an individual's responsibility for an        in our judgment justifies reversal of credit. You authorize us
organization's liability. If this account is owned by a              to attempt to collect previously returned items without
corporation. partnership or other organization, individual          giving you notice, and in attempting to collect we may
liability is determined by the laws generally applicable to          permit the payor bank to hold an item beyond the midnight
that type of organization. The headings in this document are         deadline. Actual credit for deposits of, or payable in,
for convenience or reference only and will not govern the           foreign currency will be at the exchange rate in effect on
interpretation of the provisions. Unless it would be                 final collection in U.S. dollars. We are not responsible for
inconsistent to do so, words and phrases used in this                transactions by mail or outside depository until we actually
document should be construed so the singular includes the            record them. We will treat and record all transactions
plural and the plural includes the singular.                         received after our 'daily cutoff time" on a business day we
                                                                     are open, or received on a day we are not open for business,
"Party" means a person who, by the terms of an account,              as if initiated on the next business day that we are open. At
 has a present right, subject to request, to payment from the        our option, we may take an item for collection rather than
 account other than as a beneficiary or agent.                       for deposit. If we accept a third-party check for deposit, we
(3) Liability. You agree, for yourself(and the person or              may require any third-party indorsers to verify or guarantee
entity you represent if you sign as a representative of              their indorsements, or indorse in our presence.
 another) to the terms of this account and the schedule of         (5) Withdrawals.
charges. You authorize us to deduct these charges, without
 notice to you, directly from the account balance as accrued.        Generally. Unless clearly indicated otherwise on the
 You will pay any additional reasonable charges for services         account records, any of you, acting alone, who signs to
 you request which are not covered by this agreement.                open the account or has authority to make withdrawals
                                                                      may withdraw or transfer all or any part of the account
 Each of you also agrees to be jointly and severally                 balance at any time. Each of you (until we receive written
(individually) liable for any account shortage resulting from        notice to the contrary) authorizes each other person who
 charges or overdrafts, whether caused by you or another             signs or has authority to make withdrawals to indorse any
 with access to this account. This liability is due                   item payable to you or your order for deposit to this
 immediately, and can be deducted directly from the account          account or any other transaction with us.
 balance whenever sufficient funds are available. You have
 no right to defer payment of this liability, and you are liable       Postdated Checks. A postdated check is one which
 regardless of whether you signed the item or benefited from           bears a date later than the date on which the check is
 the charge or overdraft.                                              written. We may properly pay and charge your account
                                                                       for a postdated check even though payment was made
 You will be liable for our costs as well as for our reasonable        before the date of the check, unless we have received
 attorneys' fees, to the extent permitted by law, whether              written notice of the postdating in time to have a
 incurred as a result of collection or in any other dispute            reasonable opportunity to act. Because we process checks
 involving your account. This includes, but is not limited to,         mechanically, your notice will not be effective and we
 disputes between you and another joint owner; you and an              will not be liable for failing to honor your notice unless it
 authorized signer or similar party; or a third party claiming

 Terms and Condidons•TX                                                                                                  TC TX 40;2016
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    precisely identifies the number, date, amount and payee       transactions will be reduced by the amount of the
    of the item.                                                  temporary hold. If another transaction is presented for
                                                                  payment in an amount greater than the funds left after the
    Checks and Withdrawal Rules. If you do not purchase           deduction of the temporary hold amount, that transaction
    your check blanks from us, you must be certain that we        will be a nonsufficient funds(NSF) transaction if we do
    approve the check blanks you purchase. We may refuse          not pay it or an overdraft transaction if we do pay it. You
    any withdrawal or transfer request which you attempt on       will be charged an NSF or overdraft fee according to our
    forms not approved by us or by any method we do not           NSF or overdraft fee policy. You will be charged the fee
    specifically permit. We may refuse any withdrawal or          even if you would have had sufficient funds in your
    transfer request which is greater in number than the          account if the amount of the hold had been equal to the
    frequency permitted, or which is for an amount greater or     amount of your purchase.
    less than any withdrawal limitations. We will use the date
    the transaction is completed by us (as opposed to the date    Here is an example of how this can occur - assume for
    you initiate it) to apply the frequency limitations. In       this example the following:(I) you have opted-in to our
    addition, we may place limitations on the account until       overdraft services for the payment of overdrafts on ATM
    your identity is verified.                                    and everyday debit card transactions,(2) we pay the
                                                                  overdraft, and (3) our overdraft fee is $35 per overdraft,
    Even if we honor a nonconforming request, we are not          but we do not charge the overdraft fee if the transaction
    required to do so later. If you violate the stated            overdraws the account by less than $10.
    transaction limitations (if any), in our discretion we may
    close your account or reclassify it as a transaction          You have $120 in your account. You swipe your card at
    account. If we reclassify your account, your account will     the card reader on a gasoline pump. Since it is unclear
    be subject to the fees and earnings rules of the new          what the final bill will be, the gas station's processing
    account classification.                                       system immediately requests a hold on your account in a
                                                                  specified amount, for example, $80. Our processing
    If we are presented with an item drawn against your           system authorizes a temporary hold on your account in
    account that would be a "substitute check," as defined by     the amount of $80, and the gas station's processing
    law, but for an error or defect in the item introduced in     system authorizes you to begin pumping gas. You fill
    the substitute check creation process, you agree that we      your tank and the amount of gasoline you purchased is
    may pay such item.                                            only $50. Our processing system shows that you have
    See the funds availability policy disclosure for              $40 in your account available for other transactions($120
    information about when you can withdraw funds you             - $80 = $40)even though you would have $70 in your
    deposit. For those accounts to which our funds                account available for other transactions if the amount of
    availability policy disclosure does not apply, you can ask    the temporary hold was equal to the amount of your
    us when you make a deposit when those funds will be           purchase ($120 - $50 = $70). Later, another transaction
    available for withdrawal. An item may be returned after       you have authorized is presented for payment from your
    the funds from the deposit of that item are made available    account in the amount of $60 (this could be a check you
    for withdrawal. In that case, we will reverse the credit of   have written, another debit card transaction, an ACH
    the item. We may determine the amount of available            debit or any other kind of payment request). This other
    funds in your account for the purpose of deciding             transaction is presented before the amount of the
    whether to return an item for insufficient funds at any       temporary hold is adjusted to the amount of your
    time between the time we receive the item and when we         purchase (remember, it may take up to three days for the
    return the item or send a notice in lieu of return. We need   adjustment to be made). Because the amount of this other
    only make one determination, but if we choose to make a       transaction is greater than the amount our processing
                                                                  system shows is available in your account, our payment
    subsequent determination, the account balance at the          of this transaction will result in an overdraft transaction.
    subsequent time will determine whether there are
                                                                  Because the transaction overdraws your account by $20,
    insufficient available funds.
                                                                  your account will be assessed the overdraft fee of $35
    A Temporary Debit Authorization Hold Affects                  according to our overdraft fee policy. You will be
    Your Account Balance. On debit card purchases,                charged this $35 fee according to our policy even though
    merchants may request a temporary hold on your account        you would have had enough money in your account to
    for a specified sum of money, which may be more than          cover the $60 transaction if your account had only been
    the actual amount of your purchase. When this happens,        debited the amount of your purchase rather than the
    our processing system cannot determine that the amount        amount of the temporary hold or if the temporary hold
    of the hold exceeds the actual amount of your purchase.       had already been adjusted to the actual amount of your
    This temporary hold, and the amount charged to your           purchase.
    account, will eventually be adjusted to the actual amount     Overdrafts. You understand that we may, at our
    of your purchase, but it may be up to three days before       discretion, honor withdrawal requests that overdraw your
    the adjustment is made. Until the adjustment is made, the     account. However, the fact that we may honor
    amount of funds in your account available for other           withdrawal requests that overdraw the account balance
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   does not obligate us to do so later. So you can NOT rely          Single-Party Account With "P.O.D." (Payable on
   on us to pay overdrafts on your account regardless of             Death) Designation. The party to the account owns the
   how frequently or under what circumstances we have paid           account. On the death of the party, ownership of the
   overdrafts on your account in the past. We can change             account passes to the P.O.D. beneficiaries of the account.
   our practice of paying overdrafts on your account without         The account is not a part of the party's estate.
   notice to you. You can ask us if we have other account
   services that might be available to you where we commit           Multiple-Party Account Without Right of
   to paying overdrafts under certain circumstances, such as         Survivorship. The parties to the account own the account
   an overdraft protection line-of-credit or a plan to sweep         in proportion to the parties' net contributions to the
   funds from another account you have with us. You agree            account. The financial institution may pay any sum in the
   that we may charge fees for overdrafts. For consumer              account to a party at any time. On the death of a party,
   accounts, we will not charge fees for overdrafts caused           the party's ownership of the account passes as a part of
   by ATM withdrawals or one-time debit card transactions            the party's estate under the party's will or by intestacy.
   if you have not opted-in to that service. We may use              Multiple-Party Account With Right of Survivorship.
   subsequent deposits, including direct deposits of social          The parties to the account own the account in proportion
   security or other government benefits, to cover such              to the parties' net contributions to the account. The
   overdrafts and overdraft fees.                                    financial institution may pay any sum in the account to a
   Multiple Signatures, Electronic Check Conversion,                 party at any time. On the death of a party, the party's
   and Similar Transactions. An electronic check                     ownership of the account passes to the surviving parties.
   conversion transaction is a transaction where a check or          Multiple-Party Account With Right of Survivorship
   similar item is converted into an electronic fund transfer
                                                                     and "P.O.D." (Payable on Death) Designation. The
   as defined in the Electronic Fund Transfers regulation. In
   these types of transactions the check or similar item is          parties to the account own the account in proportion to
                                                                     the parties' net contributions to the account. The financial
   either removed from circulation (truncated) or given back
   to you. As a result, we have no opportunity to review the         institution may pay any sum in the account to a party at
   check to examine the signatures on the item. You agree            any time. On the death of the last surviving party, the
   that, as to these or any items as to which we have no             ownership of the account passes to the P.O.D.
   opportunity to examine the signatures, you waive any              beneficiaries.
   requirement of multiple signatures.                               Convenience Account. The parties to the account own
                                                                     the account. One or more convenience signers to the
   Notice of Withdrawal. We reserve the right to require             account may make account transactions for a party. A
   not less than 7 days' notice in writing before each               convenience signer does not own the account, On the
   withdrawal from an interest-bearing account other than a          death of the last surviving party, ownership of the
   time deposit or demand deposit, or from any other                 account passes as a part of the last surviving party's
   savings account as defined by Regulation D.(The law               estate under the last surviving party's will or by
   requires us to reserve this right, but it is not our general      intestacy. The financial institution may pay funds in the
   policy to use it.) Withdrawals from a time account prior
                                                                     account to a convenience signer before the financial
   to maturity or prior to any notice period may be restricted
                                                                     institution receives notice of the death of the last
   and may be subject to penalty. See your notice of penalty
                                                                     surviving party. The payment to a convenience signer
   for early withdrawal.
                                                                     does not affect the parties' ownership of the account.
(6) Uniform Single-Party or Multiple-Party Account                   Trust Account. The parties named as trustees to the
Selection Form Notice. The type of,account you select                account own the account in proportion to the parties' net
 may determine how property passes on your death. Your               contributions to the account. A trustee may withdraw
 will may not control the disposition of funds held in some of       funds from the account. A beneficiary may not withdraw
the following accounts. You may choose to designate one or           funds from the account before all trustees are deceased.
 more convenience signers on an account, even if the account         On the death of the last surviving trustee, the ownership
 is not a convenience account. A designated convenience              of the account passes to the beneficiary. The trust account
signer may make transactions on your behalf during your              is not a part of a trustee's estate and does not pass under
lifetime, but does not own the account during your lifetime.         the trustee's will or by intestacy, unless the trustee
The designated convenience signer owns the account on                survives all of the beneficiaries and all other trustees.
 your death only if the convenience signer is also designated
 as a P.O.D. payee or trust account beneficiary.                  (7) Business, Organization, and Association
    Single-Party Account Without "P.O.D." (Payable                 Accounts. Earnings in the form of interest, dividends, or
    on Death) Designation. The party to the account owns          credits will be paid only on collected funds, unless
    the account. On the death of the party, ownership of the      otherwise provided by law or our policy. You represent that
    account passes as a part of the party's estate under the       you have the authority to open and conduct business on this
    party's will or by intestacy.                                 account on behalf of the entity, We may require the

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Bankers Systems!" VMP®                                                                                                TC TX 4/112016
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 governing body of the entity opening the account to give us     "preauthorized transfers" during the month). Other account
 a separate authorization telling us who is authorized to act    transfer restrictions may be described elsewhere.
 on its behalf. We will honor the authorization until we
 actually receive written notice of a change from the            (10) Amendments and Termination. We may change
 governing body of the entity.                                   any term of this agreement. Rules governing changes in
                                                                 interest rates are provided separately in the Truth-in-
(8) Stop Payments. Unless otherwise provided, the rules          Savings disclosure or in another document, For other
 in this section cover stopping payment of items such as         changes, we will give you reasonable notice in writing or by
checks and drafts. Rules for stopping payment of other types     any other method permitted by law. We may also close this
of transfers of funds, such as consumer electronic fund          account at any time upon reasonable notice to you and
 transfers, may be established by law or our policy. If we       tender of the account balance personally or by mail. Items
 have not disclosed these rules to you elsewhere, you may        presented for payment after the account is closed may be
ask us about those rules.                                        dishonored. When you close your account, you are
                                                                 responsible for leaving enough money in the account to
 We may accept an order to stop payment on any item from         cover any outstanding items to be paid from the account.
 any one of you. You must make any stop-payment order in         Reasonable notice depends on the circumstances, and in
 the manner required by law; it must be made in a dated,         some cases such as when we cannot verify your identity or
 authenticated record that describes the item with certainty.    we suspect fraud, it might be reasonable for us to give you
(Generally, a "record" is information that is stored in such a   notice after the change or account closure becomes effective.
 way that it can be retrieved and can be heard or read and       For instance, if we suspect fraudulent activity with respect
 understood - you can ask us what type of stop payment           to your account, we might immediately freeze or close your
 records you can give us), We must receive it in time to give    account and then give you notice. If we have notified you of
 us a reasonable opportunity to act on it before our             a change in any term of your account and you continue to
stop-payment cutoff time. Because stop-payment orders are        have your account after the effective date of the change, you
 handled by computers, to be effective, your stop-payment        have agreed to the new term(s).
order must precisely identify the number, date, and amount
of the item, and the payee.                                      (11) Notices. Any written notice you give us is effective
                                                                 when we actually receive it, and it must be given to us
You may stop payment on any item drawn on your account           according to the specific delivery instructions provided
whether you sign the item or not. Your stop-payment order        elsewhere, if any. We must receive it in time to have a
is effective for six months. Your order will lapse after that    reasonable opportunity to act on it. If the notice is regarding
time if you do not renew the order in writing before the end     a check or other item, you must give us sufficient
of the six-month period. We are not obligated to notify you      information to be able to identify the check or item,
when a stop-payment order expires. A release of the              including the precise check or item number, amount, date
stop-payment request may be made only by the person who          and payee. Written notice we give you is effective when it is
initiated the stop-payment order.                                deposited in the United States Mail with proper postage and
                                                                 addressed to your mailing address we have on file. Notice to
If you stop payment on an item and we incur any damages          any of you is notice to all of you.
or expenses because of the stop payment, you agree to
indemnify us for those damages or expenses, including            (12) Statements.
attorneys' fees. You assign to us all rights against the payee     Your Duty to Report Unauthorized Signatures,
or any other holder of the item. You agree to cooperate with       Alterations, and Forgeries. You must examine your
us in any legal actions that we may take against such              statement of account with "reasonable promptness." If
persons. You should be aware that anyone holding the item          you discover (or reasonably should have discovered) any
may be entitled to enforce payment against you despite the         unauthorized signatures or alterations, you must promptly
stop-payment order.                                                notify us of the relevant facts. As between you and us, if
                                                                   you fail to do either of these duties, you will have to
 Our stop-payment cutoff time is one hour after the opening        either share the loss with us, or bear the loss entirely
 of the next banking day after the banking day on which we         yourself(depending on whether we used ordinary care
 receive the item. Additional limitations on our obligation to     and, if not, whether we contributed to the loss). The loss
stop payment are provided by law (e.g„ we paid the item in         could be not only with respect to items on the statement
 cash or we certified the item).                                   but other items with unauthorized signatures or alterations
(9) Telephone Transfers. A telephone transfer of funds             by the same wrongdoer.
from this account to another account with us, if otherwise
 arranged for or permitted, may be made by the same                 You agree that the time you have to examine your
 persons and under the same conditions generally applicable         statement and report to us will depend on the
 to withdrawals made in writing. Unless a different limitation      circumstances, but will not, in any circumstance, exceed
 is disclosed in writing, we restrict the number of transfers       a total of 30 days from when the statement is first sent or
from a savings account to another account or to third               made available to you.
 parties, to a maximum of six per month (less the number of

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Bankers SYSternsi" VMPO                                                                                             TC.TX 4/1/2016
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   You further agree that if you fail to report any                future. If this account is owned by one or more of you as
   unauthorized signatures, alterations or forgeries in your       individuals, we may set off any funds in the account against
   account within 60 days of when we first send or make the        a due and payable debt a partnership owes us now or in the
   statement available, you cannot assert a claim against us       future, to the extent of your liability as a partner for the
   on any items in that statement, and as between you and us       partnership debt. If your debt arises from a promissory
   the loss will be entirely yours. This 60-day limitation is      note, then the amount of the due and payable debt will be
   without regard to whether we used ordinary care. The            the full amount we have demanded, as entitled under the
   limitation in this paragraph is in addition to that contained   terms of the note, and this amount may include any portion
   in the first paragraph of this section.                         of the balance for which we have properly accelerated the
                                                                   due date.
   Your Duty to Report Other Errors. In addition to your
   duty to review your statements for unauthorized                 This right of setoff does not apply to this account if
   signatures, alterations and forgeries, you agree to             prohibited by law. For example, the right of setoff does not
   examine your statement with reasonable promptness for           apply to this account if: (a) it is an Individual Retirement
   any other error - such as an encoding error. In addition,       Account or similar tax-deferred account, or (b) the debt is
   if you receive or we make available either your items or        created by a consumer credit transaction under a credit card
   images of your items, you must examine them for any             plan (but this does not affect our rights under any
   unauthorized or missing indorsements or any other               consensual security interest), or (c) the debtor's right of
   problems. You agree that the time you have to examine            withdrawal only arises in a representative capacity, or (d)
   your statement and items and report to us will depend on        the debt is created by a home equity loan, or (e) setoff is
   the circumstances. However, this time period shall not          prohibited by the Military Lending Act or its implementing
   exceed 60 days. Failure to examine your statement and           regulations. We will not be liable for the dishonor of any
   items and report any errors to us within 60 days of when        check when the dishonor occurs because we set off a debt
   we first send or make the statement available precludes         against this account. You agree to hold us harmless from
   you from asserting a claim against us for any errors on         any claim arising as a result of our exercise of our right of
   items identified in that statement and as between you and       setoff.
   us the loss will be entirely yours.                             (16) Check Processing. We process items mechanically
    Errors Relating to Electronic Fund Transfers or                by relying solely on the information encoded in magnetic
    Substitute Checks (For consumer accounts only). For            ink along the bottom of the items. This means that we do
     information on errors relating to electronic fund transfers    not individually examine all of your items to determine if
   (e.g., computer, debit card or ATM transactions) refer to       the item is properly completed, signed and indorsed or to
    your Electronic Fund Transfers disclosure and the              determine if it contains any information other than what is
    sections on consumer liability and error resolution. For       encoded in magnetic ink. You agree that we have exercised
    information on errors relating to a substitute check you       ordinary care if our automated processing is consistent with
    received, refer to your disclosure entitled Substitute         general banking practice, even though we do not inspect
    Checks and Your Rights.                                        each item. Because we do not inspect each item, if you write
                                                                    a check to multiple payees, we can properly pay the check
(13) Direct Deposits. If we are required for any reason to          regardless of the number of indorsements unless you notify
 reimburse the federal government for all or any portion of a       us in writing that the check requires multiple indorsements.
 benefit payment that was directly deposited into your              We must receive the notice in time for us to have a
account, you authorize us to deduct the amount of our               reasonable opportunity to act on it, and you must tell us the
liability to the federal government from the account or from        precise date of the check, amount, check number and payee.
any other account you have with us, without prior notice            We are not responsible for any unauthorized signature or
 and at any time, except as prohibited by law. We may also          alteration that would not be identified by a reasonable
 use any other legal remedy to recover the amount of our            inspection of the item. Using an automated process helps us
 liability.                                                         keep costs down for you and all account holders.
(14) Temporary Account Agreement. If the account                   (17) Check Cashing. We may charge a fee for anyone
 documentation indicates that this is a temporary account          that does not have an account with us who is cashing a
agreement, each person who signs to open the account or            check, draft or other instrument written on your account.
has authority to make withdrawals (except as indicated to the       We may also require reasonable identification to cash such a
contrary) may transact business on this account. However,          check, draft or other instrument. We can decide what
 we may at some time in the future restrict or prohibit further     identification is reasonable under the circumstances and such
 use of this account if you fail to comply with the                 identification may be documentary or physical and may
requirements we have imposed within a reasonable time.              include collecting a thumbprint or fingerprint.
(15) Setoff. We may (without prior notice and when                 (18) Truncation, Substitute Checks, and Other Check
permitted by law) set off the funds in this account against        Images. If you truncate an original check and create a
any due and payable debt any of you owe us now or in the           substitute check, or other paper or electronic image of the
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 original check, you warrant that no one will be asked to          financial institution, person or account other than the one
 make payment on the original check, a substitute check or         named. You agree to be bound by automated clearing house
 any other electronic or paper image, if the payment               association rules. These rules provide, among other things,
 obligation relating to the original check has already been        that payments made to you, or originated by you, are
 paid. You also warrant that any substitute check you create       provisional until final settlement is made through a Federal
 conforms to the legal requirements and generally accepted         Reserve Bank or payment is otherwise made as provided in
 specifications for substitute checks. You agree to retain the     Article 4A-403(a) of the Uniform Commercial Code. If we
 original check in conformance with our internal policy for       do not receive such payment, we are entitled to a refund
 retaining original checks. You agree to indemnify us for any     from you in the amount credited to your account and the
 loss we may incur as a result of any truncated check             party originating such payment will not be considered to
 transaction you initiate, We can refuse to accept substitute     have paid the amount so credited. Credit entries may be
 checks that have not previously been warranted by a bank or       made by ACH. If we receive a payment order to credit an
 other financial institution in conformance with the Check 21     account you have with us by wire or ACH, we are not
 Act. Unless specifically stated in a separate agreement           required to give you any notice of the payment order or
 between you and us, we do not have to accept any other           credit.
 electronic or paper image of an original check.
                                                                  (22) Facsimile Signatures. Unless you make advance
(191 Remotely Created Checks. Like any standard check             arrangements with us, we have no obligation to honor
or draft, a remotely created check (sometimes called a            facsimile signatures on your checks or other orders. If we
telecheck, preauthorized draft or demand draft) is a check or     do agree to honor items containing facsimile signatures, you
draft that can be used to withdraw money from an account.         authorize us, at any time, to charge you for all checks,
Unlike a typical check or draft, however, a remotely created      drafts, or other orders, for the payment of money, that are
check is not issued by the paying bank and does not contain       drawn on us. You give us this authority regardless of by
the signature of the account owner (or a signature purported      whom or by what means the facsimile signature(s) may have
to be the signature of the account owner). In place of a          been affixed so long as they resemble the facsimile signature
signature, the check usually has a statement that the owner       specimen filed with us, and contain the required number of
authorized the check or has the owner's name typed or             signatures for this purpose. You must notify us at once if
printed on the signature line.                                    you suspect that your facsimile signature is being or has
                                                                  been misused.
 You warrant and agree to the following for every remotely
created check we receive from you for deposit or collection:      (23) Restrictive Legends or Indorsements. The
(1) you have received express and verifiable authorization to     automated processing of the large volume of checks we
 create the check in the amount and to the payee that appears     receive prevents us from inspecting or looking for restrictive
on the check;(2) you will maintain proof of the                   legends, restrictive indorsements or other special
 authorization for at least 2 years from the date of the          instructions on every check. Examples of restrictive legends
 authorization, and supply us the proof if we ask; and (3) if a   placed on checks are "must be presented within 90 days" or
check is returned you owe us the amount of the check,             "not valid for more than $1,000.00." The payee's signature
 regardless of when the check is returned. We may take            accompanied by the words "for deposit only" is an example
funds from your account to pay the amount you owe us, and         of a restrictive indorsement. For this reason, we are not
 if there are insufficient funds in your account, you still owe   required to honor any restrictive legend or indorsement or
 us the remaining balance.                                        other special instruction placed on checks you write unless
                                                                   we have agreed in writing to the restriction or instruction.
(20) Unlawful Internet Gambling Notice. Restricted                Unless we have agreed in writing, we are not responsible for
transactions as defined in Federal Reserve Regulation GG          any losses, claims, damages, or expenses that result from
are prohibited from being processed through this account or       your placement of these restrictions or instructions on your
relationship. Restricted transactions generally include, but      checks.
are not limited to, those in which credit, electronic fund
transfers, checks, or drafts are knowingly accepted by            (24) Account Transfer. This account may not be
gambling businesses in connection with die participation by       transferred or assigned without our prior written consent.
others in unlawful Internet gambling.                             (25) Indorsements. We may accept for deposit any item
(21) ACH and Wire Transfers. This agreement is subject            payable to you or your order, even if they are not indorsed
to Article 4A of the Uniform Commercial Code - Fund               by you. We may give cash back to any one of you. We may
Transfers as adopted in the state in which you have your          supply any missing indorsement(s) for any item we accept
account with us. If you originate a fund transfer and you         for deposit or collection, and you warrant that all
 identify by name and number a beneficiary financial              indorsements are genuine.
 institution, an intermediary financial institution or a          To ensure that your check or share draft is processed
 beneficiary, we and every receiving or beneficiary financial     without delay, you must indorse it (sign it on the back) in a
 institution may rely on the identifying number to make           specific area. Your entire indorsement (whether a signature
 payment. We may rely on the number even if it identifies a

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 or a stamp) along with any other indorsement information         who is appointed to act on behalf of and for the benefit of
(e.g., additional indorsements, ID information, driver's          another. We are not responsible for the actions of a
 license number, etc.) must fall within 1 I/2" of the "trailing   fiduciary, including the misuse of funds. This account may
 edge" of a check. Indorsements must be made in blue or           be opened and maintained by a person or persons named as
 black ink, so that they are readable by automated check          a trustee under a written trust agreement, or as executors,
 processing equipment,                                            administrators, or conservators under court orders. You
                                                                  understand that by merely opening such an account, we are
 As you look at the front of a check, the "trailing edge" is      not acting in the capacity of a trustee in connection with the
 the left edge. When you flip the check over, be sure to keep     trust nor do we undertake any obligation to monitor or
 all indorsement information within 1 1/2" of that edge.          enforce the terms of the trust or letters.
                                                     7654
      Name
      Address, City, State                     20
                                                                  (28) Credit Verification. You agree that we may verify
      Pay to the                                                  credit and employment history by any necessary means,
      order of                             $                      including preparation of a credit report by a credit reporting
                                                 dollars
                                                                  agency.
      Bank Name
      and Location
      Memo
                                                                  (29) Legal Actions Affecting Your Account. If we are
        r:1 23456769r:          7654                              served with a subpoena, restraining order, writ of
                                                                  attachment or execution, levy, garnishment, search warrant,
                      FRONT OF CHECK
                                                                  or similar order relating to your account(termed "legal
 t                     TRAILING EDGE
                                                                  action" in this section), we will comply with that legal
                                                                  action. Or, in our discretion, we may freeze the assets in the
                                                                  account and not allow any payments out of the account until
              YOUR INDORSEMENT MUST
 It        F— BE WITHIN THIS AREA                                 a final court determination regarding the legal action. We
                                                                   may do these things even if the legal action involves less
                                                                  than all of you. In these cases, we will not have any liability
                                                                   to you if there are insufficient funds to pay your items
  -4-1 Ve—e-                 Keep your Indorsement
                                                                   because we have withdrawn funds from your account or in
                                out 01 this area.                 any way restricted access to your funds in accordance with
                                                                   the legal action. Any fees or expenses we incur in
                                                                   responding to any legal action (including, without limitation,
                                                                   attorneys' fees and our internal expenses) may be charged
                       BACK OF CHECK                              against your account. The list of fees applicable to your
 It is important that you confine the indorsement information     account(s) provided elsewhere may specify additional fees
 to this area since the remaining blank space will be used by     that we may charge for certain legal actions.
 others in the processing of the check to place additional        (30) Security. It is your responsibility to protect the
 needed indorsements and information. You agree that you          account numbers and electronic access devices (e.g., an
 will indemnify, defend, and hold us harmless for any loss,        ATM card) we provide you for your account(s). Do not
 liability, damage or expense that occurs because your             discuss, compare, or share information about your account
 indorsement, another indorsement, or information you have         number(s) with anyone unless you are willing to give them
 printed on the back of the check obscures our indorsement.       full use of your money. An account number can be used by
 These indorsement guidelines apply to both personal and           thieves to issue an electronic debit or to encode your number
 business checks.                                                 on a false demand draft which looks like and functions like
(26) Death or Incompetence. You agree to notify us                an authorized check. If you furnish your access device and
promptly if any person with a right to withdraw funds from        grant actual authority to make transfers to another person(a
 your account(s) dies or is adjudicated (determined by the        family member or coworker, for example) who then exceeds
                                                                   that authority, you are liable for the transfers unless we have
appropriate official) incompetent. We may continue to honor
                                                                   been notified that transfers by that person are no longer
 your checks, items, and instructions until:(a) we know of
 your death or adjudication of incompetence, and (b) we have       authorized. Your account number can also be used to
                                                                   electronically remove money from your account, and
 had a reasonable opportunity to act on that knowledge. You        payment can be made from your account even though you
agree that we may pay or certify checks drawn on or before         did not contact us directly and order the payment. You must
the date of death or adjudication of incompetence for up to        also take precaution in safeguarding your blank checks.
 ten(10) days after your death or adjudication of                  Notify us at once if you believe your checks have been lost
incompetence unless ordered to stop payment by someone            or stolen. As between you and us, if you are negligent in
claiming an interest in the account.                               safeguarding your checks, you must bear the loss entirely
(27) Fiduciary Accounts. Accounts may be opened by a               yourself or share the loss with us(we may have to share
 person acting in a fiduciary capacity. A fiduciary is someone

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 Bankers Systamsre VMP®                                                                                               TC•TX 4/112016
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some of the loss if we failed to use ordinary care and if we      authorize us to contact you through the use of voice, voice
substantially contributed to the loss).                           mail and text messaging, including the use of pre-recorded
                                                                  or artificial voice messages and an automated dialing device.
Except for consumer electronic funds transfers subject to
Regulation E, you agree that if we offer you services             If necessary, you may change or remove any of the
appropriate for your account to help identify and limit fraud     telephone numbers or email addresses at any time using any
or other unauthorized transactions against your account,          reasonable means to notify us.
such as positive pay or commercially reasonable security
procedures, and you reject those services, you will be           (33) Claim of Loss. If you claim a credit or refund
                                                                 because of a forgery, alteration, or any other unauthorized
responsible for any fraudulent or unauthorized transactions
which could have been prevented by the services we               withdrawal, you agree to cooperate with us in the
                                                                 investigation of the loss, including giving us an affidavit
offered, unless we acted in bad faith or to the extent our
                                                                 containing whatever reasonable information we require
negligence contributed to the loss. If we offered you a
                                                                 concerning your account, the transaction, and the
commercially reasonable security procedure which you
reject, you agree that you are responsible for any payment       circumstances surrounding the loss. You will notify law
                                                                 enforcement authorities of any criminal act related to the
order, whether authorized or not, that we accept in
                                                                 claim of lost, missing, or stolen checks or unauthorized
compliance with an alternative security procedure that you
have selected.                                                   withdrawals. We will have a reasonable period of time to
                                                                 investigate the facts and circumstances surrounding any
(31) Telephonic Instructions. Unless required by law or          claim of loss. Unless we have acted in bad faith, we will not
 we have agreed otherwise in writing, we are not required to     be liable for special or consequential damages, including
 act upon instructions you give us via facsimile transmission    loss of profits or opportunity, or for attorneys' fees incurred
or leave by voice mail or on a telephone answering machine.      by you. You agree that you will not waive any rights you
                                                                 have to recover your loss against anyone who is obligated to
(32) Monitoring and Recording Telephone Calls and                repay, insure, or otherwise reimburse you for your loss.
 Consent to Receive Communications. We may monitor               You will pursue your rights or, at our option, assign them
or record phone calls for security reasons, to maintain a        to us so that we may pursue them. Our liability will be
record and to ensure that you receive courteous and efficient    reduced by the amount you recover or are entitled to recover
service. You consent in advance to any such recording. We        from these other sources.
need not remind you of our recording before each phone
conversation.                                                    (34) Early Withdrawal Penalties (and involuntary
                                                                  withdrawals). We may impose early withdrawal penalties on
To provide you with the best possible service in our ongoing     a withdrawal from a time account even if you don't initiate
business relationship for your account we may need to            the withdrawal. For instance, the early withdrawal penalty
contact you about your account from time to time by               may be imposed if the withdrawal is caused by our setoff
telephone, text messaging or email. However, we must first       against funds in the account or as a result of an attachment
obtain your consent to contact you about your account            or other legal process. We may close your account and
because we must comply with the consumer protection              impose the early withdrawal penalty on the entire account
provisions in the federal Telephone Consumer Protection          balance in the event of a partial early withdrawal. See your
Act of 1991 (TCPA), CAN-SPAM Act and their related               notice of penalty for early withdrawals for additional
federal regulations and orders issued by the Federal             information.
Communications Commission (FCC).
                                                                 (35) Address or Name Changes. You are responsible for
  ♦ Your consent is limited to this account, and as
                                                                  notifying us of any change in your address or your name.
    authorized by applicable law and regulations.
                                                                  Unless we agree otherwise, change of address or name must
  ♦ Your consent does not authorize us to contact you for         be made in writing by at least one of the account holders.
    telemarketing purposes (unless you otherwise agreed          Informing us of your address or name change on a check
    elsewhere).                                                  reorder form is not sufficient. We will attempt to
With the above understandings, you authorize us to contact       communicate with you only by use of the most recent
you regarding this account throughout its existence using        address you have provided to us. If provided elsewhere, we
any telephone numbers or email addresses that you have            may impose a service fee if we attempt to locate you.
previously provided to us or that you may subsequently           (36) Resolving Account Disputes. We may place an
provide to us.                                                    administrative hold on the funds in your account (refuse
This consent is regardless of whether the number we use to        payment or withdrawal of the funds) if it becomes subject to
contact you is assigned to a landline, a paging service, a        a claim adverse to (1) your own interest;(2) others claiming
cellular wireless service, a specialized mobile radio service,    an interest as survivors or beneficiaries of your account; or
other radio common carrier service or any other service for      (3) a claim arising by operation of law. The hold may be
which you may be charged for the call. You further                placed for such period of time as we believe reasonably

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necessary to allow a legal proceeding to determine the
merits of the claim or until we receive evidence satisfactory
to us that the dispute has been resolved. We will not be
liable for any items that are dishonored as a consequence of
placing a hold on funds in your account for these reasons.
(37) Waiver of Notices. To the extent permitted by law,
 you waive any notice of non-payment, dishonor or protest
regarding any items credited to or charged against your
account, For example, if you deposit a check and it is
 returned unpaid or we receive a notice of nonpayment, we
do not have to notify you unless required by federal
 Regulation CC or other law.
(38) Additional Terms.




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Vehicles Located in Lubbock County
          Description     Last 8 of VIN       Value

2013 Lexus RX 350         DC090040        $      17,100.00
2015 Nissan Rogue          FC830059       $      15,500.00
2015 Honda Accord          FA190286       $      17,000.00
2018 Kia Forte             JE170347       $      13,500.00
2018 Toyota 4Runner        J5491075       $      33,750.00
2018 Toyota Corolla        JC031095       $      15,750.00
2015 Lexus 350             FA001178       $      24,300.00
2014 Toyota Sequoia        ES051207       $      24,000.00
2017 Subaru Forester      HH431207        $      22,850.00
2018 Kia Forte             JE171304       $      13,750.00
2018 Toyota Corolla        JJ561533       $      14,000.00
2016 Mercedes GLC         GF041726        $      30,025.00
2017 Nissan Murano        HN131843        $      19,250.00
2018 Nissan Murano         JN121877       $      28,000.00
2017 Nissan Pathfinder    HC662240        $      19,950.00
2017 Nissan Murano        HN102263        $      19,750.00
2010 VW Passat             AE142451       $       5,500.00
2015 Nissan Murano         FN232730       $      24,575.00
2017 Nissan Versa          HL812790       $      10,500.00
2017 Kia Soul              H7412875       $      13,250.00
2017 Hyundai Accent       HU172887        $      10,000.00
2016 Lexus ES 350         GU032921        $      21,250.00
2017 Toyota Camry         HU763024        $      19,025.00
2016 BMW 5 Series         GG253191        $      37,250.00
2016 BMW 6 Series         GGT83326        $      41,000.00
2017 Lexus LL              H5173482       $      52,000.00
2010 Land Rover            AA254020       $      16,750.00
2016 Merc Benz            GB214072        $      37,500.00
2018 Kia Forte             JE174291       $      13,450.00
2018 Nissan Altima         JC114308       $      18,250.00
2016 Hyundai Elantra      GU604413        $       7,975.00
2013 Toyota Tundra        DX295156        $      28,750.00
2017 Nissan Titan         HN545492        $      32,000.00
2015 Volvo XC60            F2586263       $      16,000.00
2016 Nissan Maxima        GC906292        $      21,750.00
2014 Toyota 4Runner        E5186403       $      26,000.00
2018 Mazda CX 9            J0216641       $      30,000.00
2018 Kia Forte             JE206676       $      13,500.00
2015 Honda CR-V            FH556980       $      22,500.00
2018 Hyundai Santa Fe      JH077002       $      18,000.00
2014 Nissan Altima        EN227772        $      13,500.00
2017 Nissan Versa         HK408079        $      10,500.00
2013 Jaguar XF            D8S88635        $       3,900.00
2017 Nissan Maxima        HC449963        $      22,000.00
2018 Toyota 4Runner        J5169974       $      32,000.00
2012 Infiniti QX 56       XC9018987       $      14,000.00
2018 Toyota 4Runner        J555839        $      48,900.00
2016 Land Rover           GA549061        $      49,500.00
2016 Hyundai Elantra      GH758999        $       9,900.00
Total Value                               $   1,069,450.00
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Vehicles Located in Hockley County
           Description            Last 8 of VIN       Value
2015 Ford F350                     431340006      $    44,250.00
2011 Chevy Traverse                 BJ360152      $        6,000.00
2017 Volvo XC60                     H2011582      $    24,950.00
2017 Ford Edge                     HBB31863       $    23,000.00
2016 Cadillac Escalade             GR182212       $    13,400.00
2016 Ford F150                     GKE72318       $    24,200.00
2015 Honda Pilot                    FB012803      $    18,575.00
2017 Ford Escape                   HUA63004       $    20,000.00
2015 Toyota Tundra                  FX433239      $    34,000.00
2016 Chevy Silverado               GF113904       $    47,500.00
2014 Ford F150                     EKF04969       $    29,000.00
2014 Ford F250                     EEA96875       $    37,425.00
2015 GMC Acadia                     FJ237782      $    23,500.00
2016 Toyota Tundra                 GX518888       $    37,500.00
2015 Ford F350                     FEC79071       $    49,500.00
2015 Ford Explorer                 FGA19464       $    22,000.00
2015 GMC Yukon                      FR129493      $    39,000.00
Total Value                                           $493,800.00
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                                   CAUSE NO.

FIRST BANK & TRUST,                                      IN THE DISTRICT COURT

                Plaintiff,

v.


REAGOR AUTO MALL,LTD. d/b/a
REAGOR-DYKES OF LEVELLAND
and d/b/a REAGOR-DYKES                                         JUDICIAL DISTRICT
IMPORTS,FIRSTCAPITAL BANK
OF TEXAS,N.A.,BART REAGOR,
RICK DYKES,SHANE SMITH,
SHEILA MILLER,BRAD D.
BURGESS,and KENNETH L.
BURGESS,

                Defendants.                               LUBBOCK COUNTY,TEXAS

                             AFFIDAVIT OF JARED TOWNSEND

STATE OF TEXAS

COUNTY OF LUBBOCK              §

       1.      My name is Jared Townsend. I am over the age of 21, and am fully competent and

authorized to execute this Affidavit in support of Plaintiff's Original Petition and Application for

a Writ of Sequestration.

       2.      I am a Senior Vice President of First Bank & Trust ("First Bank").

       3.      I have personal knowledge of all facts set forth in this affidavit and in First Bank's

Original Petition and Application for Writ of Sequestration (the "Petition"), based on my review

of First Bank's books and records and my dealings with Reagor Auto Mall Ltd. d/b/a Reagor-

Dykes of Levelland and d/b/a Reagor-Dykes Imports ("RAM"). Thus, the matters stated herein

are true and correct and within my personal knowledge.

       4.       I have reviewed the Petition and hereby verify that the factual allegations contained

in the Petition are true and correct.


AFFIDAVIT OF JARED TOWNSEND -PAGE 1
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       5.      All capitalized terms in this Affidavit have the same meaning as in the Petition,

unless otherwise defined herein.

       6.      First Bank requests a Writ of Sequestration (the "Writ") in order to protect its

interests as the holder of security interests in collateral pledged to it by, and currently in the

possession of, RAM.

       7.      First Bank seeks the Writ because RAM has sold vehicles in which First Bank has

a security interest without remitting the contractually-required payments to First Bank. RAM has

made misrepresentations to First Bank regarding the status ofthe inventory RAM pledged to First

Bank and is otherwise in default under its agreements with First Bank. RAM has failed to cure its

defaults and has not voluntarily surrendered the collateral in its possession subject to First Bank's

security interests,

       8.       This has compelled First Bank to seek the Writ to recover its collateral and to

protect its rights as a secured creditor.

       9.       All of the documents attached to the Petition are true and correct copies of First

Bank's business records.

                                   The RD-Levelland Agreements

        10.     On or about September 29, 2017, RAM obtained a loan from First Bank for use in

renewing an existing floor plan line of credit at its Levelland location, pursuant to the terms of a

Business Loan Agreement. A true and correct copy of the Business Loan Agreement is attached

to the Petition as Exhibit A (the "RD-Levelland Business Loan Agreement").

        1 1.    On or about September 29, 2017, RAM executed a Promissory Note payable to

First Bank in the principal amount of $1,000,000.00. A true and correct copy of the Promissory

Note is attached to the Petition as Exhibit B (the "RD-Levelland Promissory Note").




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       12.     On or about September 29, 2017, RAM executed a Commercial Security

Agreement. A true and correct copy of the Commercial Security Agreement is attached to the

Petition as Exhibit C (the "RD-Levelland Security Agreement").

       13.     On or about September 29,2017,Bart Reagor executed and delivered to First Bank

a continuing Commercial Guaranty. A true and correct copy of the Commercial Guaranty is

attached to the Petition as Exhibit D (the "RD-Levelland Reagor Commercial Guaranty").

       14.     On or about September 29, 2017, Rick Dykes executed and delivered to First Bank

a continuing Commercial Guaranty. A true and correct copy of the Commercial Guaranty is

attached to the Petition as Exhibit E (the "RD-Levelland Dykes Commercial Guaranty").

                                 The RD-Imports Agreements

       15.     On or about September 29, 2017, RAM obtained a loan from First Bank for use in

renewing an existing floor plan line of credit at its Imports location, pursuant to the terms of a

Business Loan Agreement. A true and correct copy of the Business Loan Agreement is attached

to the Petition as Exhibit F (the "RD-Imports Business Loan Agreement").

       16.     On or about September 29, 2017, RAM executed a Promissory Note payable to

First Bank in the principal amount of $2,500,000.00. A true and correct copy of the Promissory

Note is attached to the Petition as Exhibit G (the "RD-Imports Promissory Note").

       17.     On or about September 29, 2017, RAM executed a Commercial Security

Agreement. A true and correct copy of the Commercial Security Agreement is attached to the

Petition as Exhibit H (the "RD-Imports Security Agreement").

       18.     On or about September 29,2017, Bart Reagor executed and delivered to First Bank

a continuing Commercial Guaranty. A true and correct copy of the Commercial Guaranty is

attached to the Petition as Exhibit I(the "RD-Imports Reagor Commercial Guaranty").




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       19.     On or about September 29,2017, Rick Dykes executed and delivered to First Bank

a continuing Commercial Guaranty. A true and correct copy of the Commercial Guaranty is

attached to the Petition as Exhibit J(the "RD-Imports Dykes Commercial Guaranty").

                                        RAM's Defaults

       20.    In August 2018, I, on behalf of First Bank, began investigating the status ofRAM's

inventory at its Levelland and Imports(the "Dealerships")locations in an effort to monitor vehicle

sales information and to identify whether RAM was falsely reporting sales data and inventory

status. Though the investigation is ongoing,I have discovered that some of First Bank's collateral

has been sold, is missing, or has been double pledged.

       21.     My analysis included a review ofmonthly floor plan inspections for the Dealerships

and an inspection I personally conducted of the inventory present at each Dealership in August

2018. Based on my analysis, I discovered that there were numerous vehicles sold out of trust,

others that were simply missing from the floor plan, and others that were double-floored.

       22.     For example, regarding the Levelland location's pledged inventory, I discovered

that of the 40 vehicles on the Levelland floor plan, 21 have been sold, but still floor planned,

allowing RAM to continue to obtain financing payments from First Bank while avoiding and/or

delaying paying First Bank the amounts owed to it for the sold inventory. The payoff amount that

RAM owes First Bank for these 21 vehicles is $420,025.00. In addition, 1 vehicle is missing from

the floorplan with no explanation as to its location. For this missing vehicle, RAM owes First

Bank $31,750.00. My inspection ofthe Levelland inventory has also revealed 7 instances ofRAM

"double-flooring" vehicles pledged as collateral to First Bank. In other words, RAM applied for

financing from First Bank and from Ford Motor Credit on these 7 vehicles, thereby obtaining

double financing on them.




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       23.     With regard to the pledged inventory at the Imports location, my inspection

revealed that of the 101 units on the Imports floor plan, 43 have been sold, but still floor planned,

allowing RAM to continue to obtain financing payments from First Bank while avoiding and/or

delaying paying First Bank the amounts owed to it for the sold inventory. The payoff amount that

RAM owes First Bank for these 43 vehicles is $1,084,025.00. My inspection also revealed that 6

of the 101 units are inexplicably missing from the floorplan. For these 6 vehicles, RAM owes

First Bank $69,750.00. I also discovered that 13 units were double-floored.

       24.     RAM's false representations regarding the status ofthe pledged inventory allowed

it to avoid and/or delay paying First Bank the amounts it is owed for such inventory.

        25.    These misrepresentations show that RAM has experienced a material adverse

change in its financial condition, giving rise to First Bank's good faith belief that it is insecure

under its agreements with RAM.

        26.    In addition, RAM maintained an active deposit account at First Bank. At times

when the account would become overdrawn,I would contact RAM's then CFO,Shane Smith, who

assured me that RAM was simply paying off vehicles and the money to cover the overdrawn

amounts would immediately be deposited. This proved to be false, as RAM has now overdrawn

its First Bank account by over $1.5 million.

        27.     Though First Bank's analysis is ongoing, the information I have reviewed and

analyzed indicates that the problems identified above are pervasive and are ongoing.

        28.     As of September 7, 2018, after applying all credits and offsets, the estimated

amount First Bank believes to be owed by RAM on the RD-Levelland Agreements and the RD-

Imports Agreements is $3,057,045.47 (approximately $966,825 on the Levelland floor plan and

 approximately $2,090,220.47 on the Imports floor plan).




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       29.     As ofthe filing of First Bank's Petition, the collateral has not been surrendered, nor

has RAM or either of its guarantors paid the amounts due.

                                             Conclusion

       30.     Based upon the foregoing and the allegations contained in First Bank's Petition,

First Bank has instituted this suit and applied for the sequestration of its collateral and recovery of

any resulting deficiency after First Bank's collateral is liquidated.

        31.    I am not aware of any defense to First Bank's claims.

        32.    RAM's indebtedness and First Bank's right to immediate possession of its

collateral is demonstrated by the evidence attached to the Petition and to this Affidavit.

        33.     RAM's continued possession ofthe collateral is irreparably harming First Bank, as

the value of the collateral is depreciating, and even disappearing. In addition, RAM's failure to

make payments to First Bank when vehicles are sold and its false representations regarding the

status of the vehicles gives rise to First Bank's good faith belief that, absent court intervention,

RAM will continue to conceal, dispose of, ill-treat, waste or destroy the collateral, resulting in

substantial losses to First Bank.

        34.     Accordingly, First Bank requests that this Court issue the requested Writ. Further,

First Bank requests that the Court grant such other and further relief as the Court deems necessary

to protect First Bank's interests.

        35.     A list of the vehicles pledged as collateral to First Bank pursuant to the

aforementioned agreements, and which are believed to still be in RAM's possession, is attached

to the Petition as Exhibit M. A copy is also attached to this Affidavit.




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       36.      First Bank is willing to post a reasonable undertaking deemed necessary by this

Court, or segregate funds into a separate account, in lieu of posting a bond, pending further order

of the Court.

       37.      No prior application for this relief has been made.


DATED: September      1 3,2018



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Sworn to and subscribed before me by Jared Townsend on September0 ,2018.




                                   II                 Notary Public in and for the State of Texas




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      Vehicles Located in Lubbock County
                Description    Last 8 of VIN       Value

      2013 Lexus RX 350        DC090040        $      17,100.00
      2015 Nissan Rogue         FC830059       $      15,500.00
      2015 Honda Accord         FA190286       $      17,000.00
      2018 Kia Forte            JE170347       $      13,500.00
      2018 Toyota 4Runner       J5491075       $      33,750.00
      2018 Toyota Corolla       JC031095       $      15,750.00
      2015 Lexus 350            FA001178       $      24,300.00
      2014 Toyota Sequoia       ES051207       $      24,000.00
      2017 Subaru Forester     HH431207        $      22,850.00
      2018 Kia Forte            JE171304       $      13,750.00
      2018 Toyota Corolla       JJ561533       $      14,000.00
      2016 Mercedes GLC        GF041726        $      30,025.00
      2017 Nissan Murano       HN131843        $      19,250.00
      2018 Nissan Murano        JN121877       $      28,000.00
      2017 Nissan Pathfinder   HC662240        $      19,950.00
      2017 Nissan Murano       HN102263        $      19,750.00
      2010 VW Passat           AE142451        $       5,500.00
      2015 Nissan Murano        FN232730       $      24,575.00
      2017 Nissan Versa         HL812790       $      10,500.00
      2017 Kia Soul             H7412875       $      13,250.00
      2017 Hyundai Accent      HU172887        $      10,000.00
      2016 Lexus ES 350        GU032921        $      21,250.00
      2017 Toyota Camry        HU763024        $      19,025.00
      2016 BMW 5 Series        GG253191        $      37,260.00
      2016 BMW 6 Series        GGT83326        $      41,000.00
      2017 Lexus LL             H5173482       $      52,000.00
      2010 Land Rover          AA254020        $      16,750.00
      2016 Mere Benz           GB214072        $      37,500.00
      2018 Kia Forte            JE174291       $      13,450.00
      2018 Nissan Altima        JC114308       $      18,250.00
      2016 Hyundai Elantra     GU604413        $       7,975.00
      2013 Toyota Tundra       DX295156        $      28,750.00
      2017 Nissan Titan        HN545492        $      32,000.00
      2015 Volvo XC60           F2586263       $      16,000.00
      2016 Nissan Maxima       GC906292        $      21,750.00
      2014 Toyota 4Runner       E5186403       $      26,000.00
      2018 Mazda CX 9           J0216641       $      30,000.00
      2018 Kia Forte            JE206676       $      13,500.00
      2015 Honda CR-V          FH556980        $      22,500.00
      2018 Hyundai Santa Fe    JH077002        $      18,000.00
      2014 Nissan Altima       EN227772        $      13,500.00
      2017 Nissan Versa        HK408079        $      10,500.00
      2013 Jaguar XF           D8588635        $       3,900.00
      2017 Nissan Maxima       HC449963        $      22,000.00
      2018 Toyota 4Runner       J5169974       $      32,000.00
      2012 Infiniti QX 56      XC9018987       $      14,000.00
      2018 Toyota 4Runner       J555839        $      48,900.00
      2016 Land Rover          GA549061        $      49,500.00
      2016 Hyundai Elantra     GH758999        $       9,900.00
      Total Value                                  1,069,450.00
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Vehicles Located in Hockley County
           Description          Last 8 of VIN       Value
2015 Ford F350                   431340006      $    44,250.00
2011 Chevy Traverse               BJ360152      $     6,000.00
2017 Volvo XC60                   H2011582      $    24,950.00
2017 Ford Edge                    HBB31863      $    23,000.00
2016 Cadillac Escalade            GR182212      $    13,400.00
2016 Ford F150                    GKE72318      $    24,200.00
2015 Honda Pilot                  FB012803      $    18,575.00
2017 Ford Escape                  HUA63004      $    20,000.00
2015 Toyota Tundra                FX433239      $    34,000.00
2016 Chevy Silverado              GF113904      $    47,500.00
2014 Ford F150                    EKF04969      $    29,000.00
2014 Ford F250                    EEA96875      $    37,425.00
2015 GMC Acadia                   FJ237782      $    23,500.00
2016 Toyota Tundra                GX518888      $    37,500.00
2015 Ford F350                    FEC79071      $    49,500.00
2015 Ford Explorer                FGA19464      $    22,000.00
2015 GMC Yukon                    FR129493      $     39,000.00
Total Value                                         $493,800.00
